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                              1 C. Brandon Wisoff (State Bar No. 121930)
                                bwisoff@fbm.com
                              2 Deepak Gupta (State Bar No. 226991)
                                dgupta@fbm.com
                              3 Jeffrey G. Lau (State Bar No. 281629)
                                jlau@fbm.com
                              4 Rebecca H. Stephens (State Bar No. 299234)
                                rstephens@fbm.com
                              5 Farella Braun + Martel LLP
                                235 Montgomery Street, 17th Floor
                              6 San Francisco, California 94104
                                Telephone: (415) 954-4400
                              7 Facsimile: (415) 954-4480

                            8 Laurence H. Tribe* (State Bar No. 39441)
                              Carl M. Loeb University Professor and
                            9 Professor of Constitutional Law
                              Harvard Law School
                           10 1575 Massachusetts Avenue
                              Cambridge, Massachusetts 02138
                           11 Telephone: (617) 495-1767
                              Admitted pro hac vice
                           12
                              Attorneys for Plaintiff hiQ Labs, Inc.
                           13

                           14                                  UNITED STATES DISTRICT COURT

                           15                                 NORTHERN DISTRICT OF CALIFORNIA

                           16

                           17 hiQ Labs, Inc.                                    Case No. 3:17-cv-03301-EMC

                           18                    Plaintiff,                     DECLARATION OF DEEPAK GUPTA IN
                                                                                SUPPORT OF PLAINTIFF’S MOTION
                           19             vs.                                   FOR PRELIMINARY INJUNCTION
                           20 LinkedIn, Corp.,                                  The Hon. Edward M. Chen

                           21                    Defendant.                     Date:     July 27, 2017
                                                                                Time:     1:30 P.M.
                           22                                                   Location: Courtroom 5, 17th Floor
                                                                                          450 Golden Gate Ave.
                           23                                                             San Francisco, CA 94102

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                           28
   Farella Braun + Martel LLP
                           th
235 Montgomery Street, 17 Floor
                                   GUPTA DECL. ISO PLAINTIFF’S MOTION FOR              *Affiliation noted for identification purposes only.
 San Francisco, California 94104   PRELIMINARY INJUNCTION – Case No. 3:17-cv-                                               34556\6111148.1
         (415) 954-4400
                                   03301-EMC
                                   Case 3:17-cv-03301-EMC Document 48-1 Filed 07/20/17 Page 2 of 187




                              1 I, Deepak Gupta, declare as follows:

                              2           1.     I am a partner with the law firm of Farella Braun + Martel LLP, attorneys of record

                              3 for Plaintiff hiQ Labs, Inc. (“hiQ”). I have personal knowledge of the facts set forth below and if

                              4 called as a witness I could and would competently testify to those facts. The materials listed

                              5 below are publicly available and readily accessible on databases such as Lexis-Nexis.

                              6           2.     Attached as Exhibit V is a true and correct copy of LinkedIn’s Notice of Motion

                              7 and Motion to Dismiss First Amended Class Action Complaint and to Strike Class Allegations

                              8 from Perkins v. LinkedIn Corporation, No. 5:13-cv-04303-LHK, Dkt. 17 (N.D. Cal. Dec. 6,

                              9 2013).

                           10             3.     Attached as Exhibit W is a true and correct copy of LinkedIn’s Notice of Motion

                           11 and Motion to Dismiss Second Amended Class Action Complaint and to Dismiss Request for

                           12 Statutory Damages from Perkins v. LinkedIn Corporation, No. 5:13-cv-04303-LHK, Dkt. 60

                           13 (N.D. Cal. Sept. 18, 2014).

                           14             4.     Attached as Exhibit X is a true and correct copy of James Surowiecki, “Why Tesla

                           15 is Worth More than GM,” MIT Technology Review (Jun. 27, 2017).

                           16             5.     Attached as Exhibit Y is a true and correct copy of House of Representatives

                           17 Report No. 98-894, 1984 U.S.C.C.A.N. 3689 (1984).

                           18             6.     Attached as Exhibit Z is a true and correct copy of Senate Report No. 99-432, 1986
                           19 U.S.C.C.A.N. 2479 (1986).

                           20             7.     Attached as Exhibit AA is a true and correct copy of Legislative Counsel’s Digest,

                           21 1987 Cal. Legis. Serv. 1499 (West).

                           22             8.     Attached as Exhibit BB is a true and correct copy of Orin S. Kerr, Norms of

                           23 Computer Trespass, 116 Colum. L. Rev. 1143 (2016).

                           24             9.     Attached as Exhibit CC is a true and correct copy of Judicial Council of California

                           25 Civil Jury Instruction (CACI) 2210 (“Affirmative Defense – Privilege to Protect Own Financial

                           26 Interest”).

                           27             10.    Attached as Exhibit DD is a true and correct copy of Bala Iyer, et al., The Next

                           28 Battle in Antitrust Will be About Whether One Company Knows Everything About You, Harvard
                                   GUPTA DECL. ISO PLAINTIFF’S MOTION FOR                                                  34556\6111148.1
   Farella Braun + Martel LLP
                           th
235 Montgomery Street, 17 Floor                                                     2
 San Francisco, California 94104
         (415) 954-4400
                                   PRELIMINARY INJUNCTION – Case No. 3:17-cv-
                                   03301-EMC
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                              1 Business Review (Jul. 6, 2017).

                              2           I declare under penalty of perjury under the laws of the United States of America that the

                              3 foregoing is true and correct. Executed on July 20, 2017, at San Francisco, California.

                              4

                              5
                                                                                               /s/ Deepak Gupta
                              6                                                                Deepak Gupta

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   Farella Braun + Martel LLP
                           th
235 Montgomery Street, 17 Floor                                                     3
 San Francisco, California 94104
         (415) 954-4400
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                         Case No. 3:17-cv-03301 EMC


                  Plaintiff’s Supplemental Brief In Support Of
                       Motion for Preliminary Injunction




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 1 JEROME C. ROTH (State Bar No. 159483)
   ROSEMARIE T. RING (State Bar No. 220769)
 2 JONATHAN H. BLAVIN (State Bar No. 230269)
   WILLIAM J. EDELMAN (State Bar No. 285177)
 3 MUNGER, TOLLES & OLSON LLP
   560 Mission Street, 27th Floor
 4 San Francisco, California 94105
   Tel: (415) 512-4000
 5 Fax: (415) 512-4077
   Email: jerome.roth@mto.com
 6
   Attorneys for Defendant
 7 LINKEDIN CORPORATION

 8                         UNITED STATES DISTRICT COURT
 9                       NORTHERN DISTRICT OF CALIFORNIA
10                                 SAN JOSE DIVISION
11

12 PAUL PERKINS, PENNIE SEMPELL, ANN          CASE NO. 13-cv-04303-LHK
   BRANDWEIN, ERIN EGGERS, CLARE
13 CONNAUGHTON, JAKE KUSHNER,
   NATALIE RICHSTONE, NICOLE CROSBY,
14 and LESLIE WALL; individually and on       DEFENDANT’S NOTICE OF MOTION
   behalf of all others similarly situated,   AND MOTION TO DISMISS FIRST
15                                            AMENDED CLASS ACTION
                           Plaintiffs,        COMPLAINT AND TO STRIKE CLASS
16                                            ALLEGATIONS; MEMORANDUM OF
                                              POINTS AND AUTHORITIES IN
17              v.                            SUPPORT THEREOF
18
     LINKEDIN CORPORATION,
19                                            Judge:    Hon. Lucy H. Koh
                      Defendant.              Date:     April 10, 2014
20                                            Time:     1:30 p.m.
                                              Location: Courtroom 8 – 4th Floor
21

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 1               NOTICE OF MOTION AND MOTION TO DISMISS AND TO STRIKE
 2          PLEASE TAKE NOTICE that on April 10, 2014 at 1:30 p.m. before the Honorable Lucy

 3 H. Koh in Courtroom 8 on the Fourth Floor of the above-entitled Court located at 280 South 1st

 4
     Street, San Jose, California, Defendant LinkedIn Corporation (“LinkedIn”) will move to dismiss
 5
     Plaintiffs’ First Amended Class Action Complaint (“First Amended Complaint” or “FAC”), and in
 6
     the alternative, to strike the class allegations therefrom. LinkedIn’s motion is made pursuant to
 7
     Federal Rules of Civil Procedure 12(b)(1), 12(b)(6), 9(b), 12(f), 23(c)(1)(A), and 23(d)(1)(D), and
 8

 9 is based on this Notice of Motion and Motion, the accompanying Memorandum of Points and

10 Authorities, the Request for Judicial Notice filed herewith, the Declaration of William J. Edelman

11 (and exhibits thereto) filed herewith, all pleadings and papers on file in this matter, and such other

12
     matters as may be presented to this Court at the hearing or otherwise.
13
                                  STATEMENT OF RELIEF SOUGHT
14
            LinkedIn seeks an order, pursuant to Rules 12(b)(1), 12(b)(6), and 9(b), dismissing with
15
     prejudice the FAC and each of its causes of action for lack of standing and failure to state a claim
16

17 upon which relief can be granted, or, in the alternative, an order pursuant to Rules 12(f),

18 23(c)(1)(A), and 23(d)(1)(D) striking the class allegations as immaterial and impertinent.

19                            STATEMENT OF ISSUES TO BE DECIDED
20          1.      Whether Plaintiffs have standing under Article III of the U.S. Constitution.
21          2.      Whether the FAC states a claim upon which relief can be granted.
22          3.      Whether the FAC’s class allegations should be stricken.
23
                          MEMORANDUM OF POINTS AND AUTHORITIES
24
            LinkedIn is the world’s largest professional network, with more than 259 million members.
25
     In contrast to social networks used to share personal information among friends and family,
26
     LinkedIn allows members to connect with, find, and be found by current and potential business
27
     contacts to create professional networks online. As with traditional business networking, the more
28
     connections a member has, the larger and more effective the member’s professional network
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 1 becomes, and the more exposure and opportunities the member enjoys. LinkedIn provides

 2 members with a variety of tools to expand their networks, including one called Add Connections,

 3 which allows members to import email addresses from their external email accounts and send

 4 emails inviting those contacts to join their networks.

 5          In this putative class action, Plaintiffs bring a series of meritless claims based on their

 6 contention that Add Connections is a “deceptive advertising scheme” used by LinkedIn to expand

 7 its member base. According to Plaintiffs, permission screens presented to members when they use

 8 Add Connections deceive them into allowing access to their email contacts and sending

 9 connection invitations to those contacts in violation of California’s common law right to publicity,

10 California’s Unfair Competition Law (“UCL”), the Stored Communications Act (“SCA”), the

11 Wiretap Act, and California Penal Code section 502. As shown below, every one of these claims

12 is groundless as a matter of law and should be dismissed.

13          First, all of Plaintiffs’ claims fail because Plaintiffs’ allegations establish, as a matter of

14 law, that members consent to Add Connections accessing their email contacts and sending

15 connection invitations. Plaintiffs acknowledge that LinkedIn members must click through a series

16 of permission screens when using Add Connections. Any reasonably prudent Internet user who

17 reviewed these screens would understand that, by clicking buttons labeled “Allow” and “Add

18 Connections,” they were consenting to the challenged actions. At a minimum, Plaintiffs have not

19 adequately pled their own lack of consent as required to state a claim under any of the asserted

20 causes of action. Because all of Plaintiffs’ claims are based on their contention that Add

21 Connections permission screens are deceptive, their claims are “grounded in fraud” and thus

22 subject to the heightened pleading standard of Rule 9(b). Plaintiffs do not come close to meeting

23 this standard because they do not allege what screens they saw, how they were supposedly

24 deceived by the screens, and what actions they took in reliance on them. Without such allegations,

25 Plaintiffs also fail to satisfy even the more lenient notice pleading standard of Twombly/Iqbal.

26 There are no facts alleged from which a plausible inference may be drawn that, despite clicking

27 though permission screens requiring members to consent before email contacts are accessed or

28 connection invitations are sent, they did not consent to such actions.
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 1          Second, Plaintiffs’ right of publicity, UCL, and California Penal Code Section 502 claims

 2 fail on the additional ground that Plaintiffs do not allege a cognizable injury sufficient to establish

 3 Article III standing or to state a claim. Plaintiffs fail in their attempt to make this case “fit” this

 4 Court’s opinion in Fraley v. Facebook, Inc., 830 F. Supp. 2d 785, 800 (N.D. Cal. 2011) (Koh, J.),

 5 because they do not allege facts showing that connection invitations have “concrete, measureable,

 6 and provable” economic value. In Fraley, the plaintiffs challenged Facebook’s “Sponsored

 7 Stories” program, by which paid advertisements were displayed stating that members “Like” the

 8 third-party advertiser. The plaintiffs alleged that these “endorsements” were two to three times

 9 more valuable than regular advertisements, and that they were injured because Facebook should

10 have compensated them for this increased value. Id. at 797-99. Here, by contrast, Add

11 Connections allows members to expand their professional networks—the very reason they join

12 LinkedIn—not to advertise on behalf of third parties. Plaintiffs’ contention that each connection

13 invitation has economic value because, if accepted, it grows LinkedIn’s member base is precisely

14 the type of indirect and undefined economic value rejected as insufficient to show injury by this

15 Court in Fraley and by Cohen v. Facebook, Inc., 798 F. Supp. 2d 1090 (N.D. Cal. 2011), 2011

16 WL 5117164 (N.D. Cal. Oct. 27, 2011). Nor do Plaintiffs allege that they suffered any emotional

17 harm in support of their claims.

18          Third, Plaintiffs’ claims under the SCA, the Wiretap Act, and Section 502 also fail because

19 Plaintiffs do not allege facts showing that the importation of email addresses, or the manner in

20 which they were imported, violates any of these statutes. Instead, Plaintiffs falsely accuse

21 LinkedIn of “hacking into” the contents of email communications. These conclusory and baseless

22 allegations are not only insufficient to state a claim, but are highly prejudicial to LinkedIn and

23 should be stricken under Rule 12(f).

24          Plaintiffs’ claims should be dismissed under Rule 12(b)(1), Rule 12(b)(6), and Rule 9(b).

25 To the extent any of Plaintiffs’ claims survive dismissal because the Court concludes that consent

26 is not established as a matter of law, or that injury in the form of emotional harm is sufficiently

27 alleged, Plaintiffs’ class allegations should be stricken. Whether class members misunderstood

28 Add Connections permission screens, or were embarrassed by a connection invitation, are
                                                       -3-         MOTION TO DISMISS FIRST AMENDED COMPLAINT
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 1 individualized issues that preclude class treatment of Plaintiffs’ claims. Thus, the class allegations

 2 should be stricken under Rules 12(f), 23(c)(1)(A), and 23(d)(1)(D) to avoid a waste of time and

 3 resources by the Court and the parties on a futile class certification motion.

 4 I.       BACKGROUND AND SUMMARY OF ALLEGATIONS
 5          A.     The Add Connections Networking Tool
 6          Add Connections allows LinkedIn members to expand their professional networks quickly

 7 and efficiently by importing contacts from their external email accounts and sending emails

 8 inviting their contacts to join the members’ LinkedIn networks. As Plaintiffs’ allegations show,

 9 members using Add Connections are guided through a multi-step process by a series of permission

10 screens that explain each step and require members to affirmatively consent before email contacts

11 are accessed and before connection invitations are sent. 1 Because all of the permission screens

12 presented to members, and the order in which they are presented, are relevant to Plaintiffs’

13 contention that members are deceived into allowing Add Connections to access their email

14 contacts and send connection invitations, a screen omitted by Plaintiffs is properly subject to

15 judicial notice, see Request for Judicial Notice (“RJN”) at 4-5, and set forth below as it was

16 presented to members.

17          B.     Accessing Email Contacts
18          Members must click through two permission screens affirmatively demonstrating consent
19 before email contacts are accessed. The first screen is from LinkedIn and invites members to

20 “Grow your network on LinkedIn” and “Get started by adding your email address”:

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26   1
     Plaintiffs allege that Add Connections accesses email contacts from “Yahoo! Mail, Microsoft
   Mail, Google Gmail, and any number of other email service providers,” FAC ¶ 24, but only allege
27
   facts relating to Google Gmail. Accordingly, Plaintiffs’ claims are limited to accessing and
28 sending emails to contacts from Google Gmail.
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 9 FAC ¶ 29 & Figure 3, at 15. Members have the choice to “Continue” or “Skip this step.”

10 Members who click “Continue” are connected to Google Gmail in one of two ways, depending on

11 whether they are logged into their Google accounts. If they are not logged in, they have to enter

12 their passwords. Id. ¶ 30. Once they enter their passwords, or if they are logged into their Google

13 accounts, members are presented with a second permission screen from Google notifying them

14 that “LinkedIn is asking for some information from your Google Account,” including “Google

15 Contacts,” which Google describes elsewhere to Gmail users as follows: “[e]mail addresses are

16 automatically added to your Contacts list each time you use the Reply, Reply to all, or Forward

17 functions to send mail to addresses that don’t already exist in your Contacts list.” Declaration of

18 William J. Edelman in Support of RJN (“Edelman Decl.”), Ex. D.

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27 FAC Figure 4. Members have the choice to “Allow” access to their Google accounts, including

28 their Google Contacts, or to deny access by clicking “No thanks.”
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 1          C.      Sending Connection Invitations
 2          For members who “Allow” access to their Google accounts and Google Contacts, email
 3 addresses are imported and presented to the members using two permission screens, one for

 4 contacts who are members of LinkedIn and one for contacts who are not. Both screens require

 5 members to affirmatively demonstrate their consent before connection invitations are sent. The

 6 first screen invites members to “Connect with people you know on LinkedIn”:

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18 Edelman Decl., Ex. F. The LinkedIn profiles of these contacts are presented in a screen with a

19 vertical scroll bar along the right side. The screen invites members to select contacts they want to

20 connect to (“Select the people you’d like to connect to”), and indicates that all contacts are

21 currently selected by displaying a checked “Select All” checkbox and stating the total number

22 selected (“218 Selected”). Members may consent or decline to send connection invitation emails

23 by taking one of the following actions: (1) click “Add Connection(s)” to send connection

24 invitation emails to all contacts; (2) uncheck the “Select All” box, select individual contacts, and

25 click “Add Connection(s)” to send connection invitation emails to selected contacts; or (3) click

26 “Skip this step” to decline to send connection invitations and proceed to the next screen. If

27 members choose (1) or (2), emails are sent to selected contacts.

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 1          The second permission screen invites members to “Stay in touch with your contacts who

 2 aren’t on LinkedIn yet” and “Invite them to connect with you”:

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16 FAC Figure 5. The names and email addresses of these contacts are presented in a screen with a

17 vertical scroll bar along the right side. Id. ¶ 44. The screen allows members to “[i]nvite them to

18 connect with you,” and indicates that all contacts are selected by displaying a checked “Select All”

19 checkbox and stating the total number of contacts selected (“1132 Selected”). Id. Figure 5.

20 Members may consent or decline to send connection invitations by taking one of the following

21 actions: (1) click “Add to Network” to send connection invitation emails to all contacts; (2)

22 uncheck the “Select All” box, select specific contacts, and click “Add to Network” to send

23 connection invitation emails to selected contacts; or (3) click “Skip this step” to decline to send

24 invitations. For members who choose (1) or (2), emails are sent to selected contacts. Because the

25 vast majority of LinkedIn members have public profiles, including all of the Plaintiffs with current

26 LinkedIn accounts, see Edelman Decl., Exs. B1-B9, these connection invitations convey no more

27 information than what Plaintiffs made publicly available on LinkedIn. As with all connection

28 invitations, if there is no response, reminder emails are sent. FAC ¶ 6.
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 1          D.      Plaintiffs’ Claims
 2          Plaintiffs contend that Add Connections is a “deceptive advertising scheme to improperly
 3 use the names, photographs, likenesses, and identities of Plaintiffs for the purpose of generating

 4 substantial profits for LinkedIn.” FAC ¶ 10. Plaintiffs do not challenge connection invitations

 5 sent to contacts who are LinkedIn members, presumably because it contradicts their theory that the

 6 purpose of Add Connections is to expand LinkedIn’s member base. They also do not allege any

 7 facts about their own experiences with the Add Connections permission screens. They do not

 8 allege what screens they saw, what they understood them to mean, or whether they sent invitations

 9 to LinkedIn members or clicked “Skip this Step” to proceed directly to the screen used to send

10 invitations to contacts who are not on LinkedIn. In short, Plaintiffs do not allege that they actually

11 read or were deceived by any of the permission screens upon which their claims are based.

12          Plaintiffs also contend, without factual support, that connection invitations and “additional
13 spam emails” containing their names were sent to their email contacts “endorsing and advertising”

14 LinkedIn. Id. ¶¶ 13-21. Plaintiffs allege that they were “deprived [of the] monetary value” of

15 these so-called “endorsements,” id. ¶¶ 72-73, but they do not point to anything in the emails that

16 endorses LinkedIn. They contend that invitations have “monetary value” because they increase

17 the size of LinkedIn’s member base. See, e.g., id. ¶¶ 52, 58. Plaintiffs misquote LinkedIn founder

18 and Chairman Reid Hoffman as crediting Add Connections with LinkedIn’s growth, id. ¶ 52

19 (quoting Mr. Hoffman as saying “it’s that connection with the individual that I think leads to

20 growth rate”), when in fact Mr. Hoffman was referring to LinkedIn’s connection with its members.

21 See Edelman Decl., Ex. A. Plaintiffs also selectively quote discussion board posts by anonymous

22 LinkedIn members expressing frustration and embarrassment supposedly caused by invitations,

23 see, e.g., FAC ¶ 31, though they allege no such supposed injury as to themselves.

24          With respect to accessing email contacts, Plaintiffs falsely accuse LinkedIn of “guessing

25 [email account] passwords” and of “hacking into,” “breaking into,” and “tunneling” into their

26 email accounts and the “contents” of their emails, id. ¶¶ 2, 3, 32, 43, 114, 115, 119, all without any

27 factual support whatsoever; they do not allege a single instance where a password was “guessed”

28 or the contents of emails were accessed.
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 1          Plaintiffs’ claims challenging Add Connections fall into three categories. First, Plaintiffs

 2 contend that Add Connections accessed their email contacts without consent in violation of the

 3 SCA, 18 U.S.C. § 2701 et seq., the Wiretap Act, 18 U.S.C. § 2510 et seq., and California Penal

 4 Code Section 502. See FAC ¶¶ 110-138. Second, Plaintiffs contend that Add Connections, also

 5 without consent, sent emails inviting these contacts to join LinkedIn members’ networks in

 6 violation of California’s common law right of publicity. Id. ¶¶ 88-99. Third, Plaintiffs contend

 7 that Add Connections violates all three prongs of the UCL, California Business & Professions

 8 Code § 17200 et seq., based on alleged violations of other state laws (“unlawful” prong) and

 9 alleged misrepresentations in permission screens and on LinkedIn’s blog (“unfair” and

10 “fraudulent” prongs). Id. ¶¶ 100-109. Plaintiffs seek to represent a class of “All natural persons in

11 the United States who had an account registered on www.linkedin.com as of May 15, 2013, and

12 had their names, photographs, likenesses, or identities associated with their accounts used in an

13 endorsement email sent to third parties by LinkedIn.” Id. ¶ 75.

14 II.      LEGAL STANDARDS
15          Federal courts have subject matter jurisdiction only over “cases” or “controversies” under

16 Article III of the U.S. Constitution. Lujan v. Defenders of Wildlife, 504 U.S. 555, 559 (1992). To

17 invoke that jurisdiction, a plaintiff must allege “standing for each claim he seeks to press” or face

18 dismissal under Rule 12(b)(1). Daimlerchrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006).

19          A Rule 12(b)(6) motion “tests the legal sufficiency of a claim.” Navarro v. Block, 250

20 F.3d 729, 732 (9th Cir. 2001). A complaint “must contain sufficient factual matter … to ‘state a

21 claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

22 Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Though the court accepts all allegations of

23 material fact as true and construes the pleadings in the light most favorable to the plaintiffs,

24 Faulkner v. ADT Sec. Servs., Inc., 706 F.3d 1017, 1019 (9th Cir. 2013), it should not accept mere

25 “labels and conclusions,” nor a “formulaic recitation of the elements of a cause of action.” Iqbal,

26 556 U.S. at 678 (internal quotation marks omitted). In addition to a plaintiff’s allegations, the

27 court may consider documents referenced in the complaint and relevant matters subject to judicial

28 notice. E.g., Lapidus v. Hecht, 232 F.3d 679, 682 (9th Cir. 2000).
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 1 III.     ARGUMENT
 2          A.      All Of Plaintiffs’ Claims Fail Because Members Consent To Allowing Access
                    To Email Contacts and Sending Connection Invitations
 3
            Plaintiffs must show lack of consent to state a claim under each of the asserted causes of
 4
     action.2 Because any reasonably prudent Internet user who reviewed the Add Connections
 5
     permission screens would understand that they were consenting to Add Connections accessing
 6
     their email contacts and sending connection invitations on their behalf, Plaintiffs’ own allegations
 7
     establish consent as a matter of law. This is fatal to Plaintiffs’ claims. At a minimum, Plaintiffs
 8
     do not adequately allege lack of consent under Rule 9(b) or even the more lenient notice pleading
 9
     standard of Twombly/Iqbal.
10
            Claims based on lack of consent can be dismissed on the pleadings where the allegations
11
     establish consent to the challenged conduct. See, e.g., Ibey v. Taco Bell Corp., 2012 WL 2401972,
12
     at *3 (S.D. Cal. June 12, 2012) (dismissing claim where “Plaintiff expressly consented to contact
13
     by Defendant”); Mortensen v. Bresnan Commc’ns, L.L.C., 2010 WL 5140454, at *4-5 (D. Mont.
14
     Dec. 13, 2010) (finding consent for Wiretap Act claim where consent “evident” based on ISP
15
     privacy notice and user agreement). “Consent is determined from the reasonable viewpoint of
16
     another person, not from Plaintiff’s unexpressed subjective beliefs.” Jones v. Corbis Corp., 815 F.
17
     Supp. 2d 1108, 1112 n.2 (C.D. Cal. 2011) (citing Restatement (Second) of Torts § 892)), aff’d,
18
     489 F. App’x 155, 156 (9th Cir. 2012); see also Be In, Inc. v. Google Inc., 2013 WL 5568706, at
19
     *9 (N.D. Cal. Oct. 9, 2013) (Koh, J.) (applying “reasonably prudent internet user” standard to
20
     determine whether users had notice of website’s terms of service so as to be bound by them).
21

22   2
       See Cohen, 798 F. Supp. 2d at 1093-94 (plaintiff must establish “lack of consent” under
     California common law right of publicity (citing Newcombe v. Adolf Coors Co., 157 F.3d 686, 692
23
     (9th Cir. 1998)); 18 U.S.C. § 2701(c)(2) (under SCA, person may “authorize[]” access to
24   electronic communications if he or she is a “user” of the “service”); Shefts v. Petrakis, 2011 WL
     5930469, at *7 n.10 (C.D. Ill. Nov. 29, 2011) (“under the SCA, it would be Plaintiff’s burden to
25   prove that the access was unauthorized”); 18 U.S.C. § 2511(2)(d) (under Wiretap Act, interception
     not unlawful where “one of the parties to the communication has given prior consent to such
26   interception”); Cal. Penal Code §§ 502(c)(1) and (6)-(8), 502(b)(10) (requiring defendant to be
     acting “without permission”). Plaintiffs’ UCL claim also relies upon the absence of consent
27
     because the alleged misrepresentations Plaintiffs contend negate consent (deceptive screens) are
28   not “likely to deceive” a reasonable consumer, see infra Part III.D.2.

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 1          Plaintiffs’ allegations establish that, as a matter of law, they consented to Add Connections

 2 accessing their email contacts by clicking through two permission screens. In the first screen,

 3 members are invited to “Grow your network on LinkedIn” and “Get started by adding your email

 4 address,” and are given the choice to “Continue” or “Skip this step.” FAC Figure 3. Only

 5 members who click “Continue” are taken to the second screen, which informs all first-time users

 6 of the tool that “LinkedIn is asking for some information from your Google Account,” including

 7 “Google Contacts.” Id. Figure 4. They are again given the choice to “Allow” access to their

 8 Google accounts and Google Contacts or to deny access by clicking “No Thanks.” Id. ¶ 32 &

 9 Figure 4. Google Contacts are accessed only if members click “Allow.” Members who read these

10 permission screens and clicked buttons labeled “Continue” and “Allow” would reasonably

11 understand that they were consenting to Add Connections accessing their Google Contacts.

12          Plaintiffs concede that members provide “authority and consent” to access “external email

13 accounts” and “contact lists” from those accounts. Id. ¶ 33. But they contend that the term

14 “Google Contacts” is deceptive because it does not mean email addresses “of every person

15 emailed by the users and every person who has received an email from LinkedIn’s users.” Id.

16 ¶ 33. Plaintiffs are wrong. As Plaintiffs acknowledge, “it is Google that provides this screen,” id.

17 ¶ 32, not LinkedIn, and Google describes Google Contacts to Gmail users as follows: “Email

18 addresses are automatically added to your Contacts list each time you use the Reply, Reply to all,

19 or Forward functions to send mail to addresses that don’t already exist in your Contacts list.”

20 Edelman Decl., Ex. D (Google description of “Google Contacts”). Accordingly, by clicking

21 “Continue” and then “Allow,” in response to screens stating that LinkedIn was requesting

22 information, including “Google Contacts,” from their Google accounts, Plaintiffs consented to

23 Add Connections accessing all email addresses contained in their Google Contacts.

24          Plaintiffs’ allegations also establish that, as a matter of law, they consented to Add

25 Connections sending connection invitations by clicking through a permission screen. A

26 reasonably prudent user who read the permission screen used by members to send invitations to

27 contacts who are not on LinkedIn would understand that clicking “Add to Network” on a screen

28 that asks them to “Stay in touch with your contacts who aren’t on LinkedIn yet” and “Invite them
                                                     -11-        MOTION TO DISMISS FIRST AMENDED COMPLAINT
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 1 to connect with you,” and that provides a list of email addresses with a check-box indicating that

 2 all of them are selected along with the total number selected, will result in connection invitations

 3 being sent to the selected email addresses. See FAC Figure 5. In the context of a professional

 4 network, in which names are part of public profiles available for viewing by any Internet user, a

 5 reasonably prudent Internet user would understand that a connection invitation will include their

 6 names. Consent to sending reminder emails may also be determined as a matter of law because,

 7 under California’s common law right of publicity, consent “may be implied from the consenting

 8 party’s conduct and the circumstances of the case.” Jones, 815 F. Supp. 2d at 1113. Reminder

 9 emails are no different than connection requests. They contain the same information and are sent

10 to the same contacts. As LinkedIn explains to members, in a document the FAC cites to and relies

11 upon, the “intention behind sending reminders is to jog the receiver’s memory in case they

12 overlooked the original message. No more than two reminders are ever sent,” and the reminders

13 stop once a member replies. Edelman Decl., Ex. E & FAC ¶ 8. In light of these circumstances,

14 consent to reminder emails is implied from a member’s consent to send the initial invitation.

15          Plaintiffs acknowledge that members are “provided a screen that allows [them] to scroll

16 down and view the total list of email addresses downloaded,” FAC ¶ 44, but contend that “the

17 screen greys out this scroll bar,” id. ¶ 34. However, the screen shot in the FAC shows the scroll

18 bar and the total number of contacts available to be viewed. Id. Figure 5. Scroll bars are a

19 common means to display a large amount of information on a website. Courts routinely hold, for

20 example, that information is “‘reasonably communicated’ to a webpage user” where the user

21 “simply has to scroll down a page to read the clause.” Scherillo v. Dun & Bradstreet, Inc., 684 F.

22 Supp. 2d 313, 322 (E.D.N.Y. 2010) (“A person who checks the box agreeing to the terms and

23 conditions of a purchase on an internet site without scrolling down to read all of the terms and

24 conditions is in the same position as a person who turns to the last page of a paper contract and

25 signs it without reading the terms.”).3

26
     3
    See also, e.g., Chudner v. TransUnion Interactive, Inc., 626 F. Supp. 2d 1084, 1090 (D. Or.
27
   2009) (“[Plaintiff] argues that the TrueCredit forum selection clause was a surprise to consumers,
28 because it was contained in a small text-box that required the consumer to scroll down repeatedly
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 1          Anecdotal allegations of complaints by a de minimis fraction of LinkedIn’s more than 259

 2 million members do nothing to change the conclusion that a reasonably prudent Internet user who

 3 viewed and clicked through the Add Connection permission screens consented as a matter of law.

 4 See Chamberlain v. Ford Motor Co., 369 F. Supp. 2d 1138, 1145 (N.D. Cal. 2005) (where a

 5 “reasonable consumer” standard is used, “[a]necdotal evidence alone is insufficient” to show that a

 6 reasonable consumer is likely to be misled). While some members may conceivably have clicked

 7 on buttons labeled “Allow” and “Add Connections” without paying attention to the accompanying

 8 permission screens, that does not mean that they did not objectively consent, much like someone

 9 who inadvertently clicks on “Reply to All” in Outlook and sends an email to a broader audience

10 than intended.

11          The Add Connections permission screens distinguish this case from this Court’s decision

12 in Fraley and from Cohen, 798 F. Supp. 2d 1090, which both held that consent could not be found

13 as a matter of law where the defendant relied on provisions in a website’s terms and conditions

14 agreed to at registration. See, e.g., Fraley, 830 F. Supp. 2d at 805-06 (consent premised on

15 Facebook’s “Terms of Use” presented to users during initial account registration process prior to

16 initiation of “Sponsored Stories” program); Cohen, 798 F. Supp. 2d at 1094-96 (consent argument

17 premised on Facebook’s “Statement of Rights and Responsibilities,” “Principles,” and “Privacy

18 Policy”). The Fraley plaintiffs argued that they “were never asked to review or renew their Terms

19 of Use subsequent to Facebook’s introduction of the Sponsored Stories feature, which operates on

20 an opt-out basis.” Fraley, 830 F. Supp. 2d at 805. Here, in contrast, Plaintiffs acknowledge that

21 members using Add Connections must click through the permission screens that establish consent,

22 and thus cannot claim they did not have the opportunity to review them before consenting. The

23 screen used to send connection invitations (FAC Figure 5) alone precludes Plaintiffs’ right of

24

25 to read it in full.... Although [plaintiff] contends that this renders the forum selection clause hidden
   and, thus, unenforceable, that fact is simply insufficient to render the forum selection clause
26 invalid due to surprise.”); Feldman v. Google, 513 F. Supp. 2d 229, 237 (E.D. Pa. 2007) (“That
   the user would have to scroll through the text box of the Agreement to read it in its entirety does
27
   not defeat notice because there was sufficient notice of the Agreement itself and clicking ‘Yes’
28 constituted assent to all of the terms.”).
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 1 publicity and UCL claims since those claims relate solely to the supposed “endorsement” of

 2 LinkedIn in those invitations. The preceding two screens authorizing access to email contacts

 3 (FAC Figures 3 & 4) dispose of Plaintiffs’ remaining claims based on the SCA, the Wiretap Act,

 4 and Section 502.

 5          At a minimum, Plaintiffs do not adequately allege their own lack of consent to Add

 6 Connections accessing email contacts and sending connection invitations. Plaintiffs speculate

 7 about what LinkedIn members might not understand about the Add Connections permission

 8 screens, but a “class action, when filed, includes only the claims of the named plaintiff or

 9 plaintiffs.” Gibson v. Chrysler Corp., 261 F.3d 927, 940 (9th Cir. 2001). Plaintiffs allege nothing

10 about their own experiences with the Add Connections permission screens, aside from conclusory

11 statements that Add Connections accessed their email contacts “without [their] authorization,”

12 e.g., FAC ¶ 13, and sent connection invitations “without prior consent,” e.g., id. In addition,

13 because the alleged lack of consent is based entirely on the contention that LinkedIn intentionally

14 misled members into using Add Connections through deceptive permission screens — in other

15 words, obtained consent through fraud — all of Plaintiffs’ claims are grounded in fraud and thus

16 subject to the particularity requirements of Rule 9(b).4 In “cases where fraud is not a necessary

17 element of a claim, a plaintiff may choose nonetheless to allege in the complaint that the defendant

18 has engaged in fraudulent conduct,” and “allegations (‘averments’) of fraudulent conduct must

19 satisfy the heightened pleading requirements of Rule 9(b).” Vess v. Ciba-Geigy Corp. USA, 317

20 F.3d 1097, 1103-05 (9th Cir. 2003). Under Rule 9(b), Plaintiffs must plead with particularity

21 “‘the who, what, when, where, and how’ of the misconduct charged,” Vess, 317 F.3d at 1106, and

22 “set forth an explanation as to why the statement or omission complained of was false or

23 misleading,” In re Stac Elecs. Sec. Litig., 89 F.3d 1399, 1404 (9th Cir. 1996). Plaintiffs’ failure to

24
     4
25   E.g., FAC ¶ 1 (LinkedIn engaged in “deceptive business practices”) ¶ 33 (“LinkedIn’s
   disclosures on its website are designed to deceive”), ¶ 32 (screen “misleadingly states”
26 information), ¶ 34 (“design, layout, and format of the page is aimed to deceive”), ¶ 35 (“LinkedIn
   is deceiving its users”), ¶ 36 (“LinkedIn is aware that its web pages are deceptive”), ¶ 37 (screen
27
   “misleads” users), ¶ 38 (“LinkedIn misleads its users with respect to the implications of
28 [permission] screen”), ¶ 47 (“LinkedIn makes numerous deceptive and misleading statements”).
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 1 provide any facts about what permission screens they saw or how they were supposedly deceived

 2 falls far short of Rule 9(b)’s heightened pleading standard.

 3          All of Plaintiffs’ claims rise or fall on the contention that members do not consent to Add

 4 Connections accessing their email contacts and sending connection invitations. Because any

 5 reasonably prudent Internet user who read the Add Connections permission screens would

 6 understand that by clicking through them they were agreeing to both, consent is established as a

 7 matter of law. At a minimum, Plaintiffs do not adequately allege lack of consent as to themselves

 8 because they do not allege any facts showing that they were deceived by the permission screens

 9 and therefore did not consent to the challenged actions.

10          B.      Plaintiffs Lack Article III Standing To Bring Right Of Publicity, UCL, And
                    Section 502 Claims
11
            Plaintiffs fail to allege a cognizable injury to satisfy the standing requirements of Article
12
     III, and thus their right of publicity, UCL, and Section 502 claims should be dismissed under Rule
13
     12(b)(1).
14
            To establish Article III standing, a plaintiff “must show (1) it has suffered an ‘injury in
15
     fact’ that is (a) concrete and particularized and (b) actual or imminent, not conjectural or
16
     hypothetical; (2) the injury is fairly traceable to the challenged action of the defendant; and (3) it is
17
     likely, as opposed to merely speculative, that the injury will be redressed by a favorable decision.”
18
     Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180–81 (2000). For
19
     the injury-in-fact requirement, Plaintiffs must allege a “coherent and factually supported theory of
20
     what that injury might be,” which means a “particularized example of economic injury or harm,”
21
     not simply “abstract concepts” such as “value-for-value exchanges.” In re iPhone Application
22
     Litig., 2011 WL 4403963, at *5-6 (N.D. Cal. Sept. 20, 2011) (Koh, J.) (internal citations and
23
     quotations omitted) (quoting La Court v. Specific Media, Inc., 2011 WL 1661532, at *6 (C.D. Cal.
24
     Apr. 28, 2011); see also Low v. LinkedIn Corp., 2011 WL 5509848, at *3-4 (N.D. Cal. Nov. 11,
25
     2011) (Koh, J.) (plaintiff’s allegation that “[p]ersonal information has an independent economic
26

27

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 1 value, and that he was not justly compensated for LinkedIn’s transfer of his personal data” was

 2 “too abstract and hypothetical to support Article III standing”).5

 3          Here, Plaintiffs do not allege any “coherent and factually supported” theory of economic or

 4 non-economic harm to show injury in fact. Two recent cases, Cohen (Seeborg, J.) and Fraley

 5 (Koh, J.), addressed “what kind of facts must be alleged to show the existence of economic

 6 damages” for right of publicity and UCL claims. Cohen, 2011 WL 5117164, at *2. In Cohen, the

 7 plaintiffs challenged Facebook’s “Friend Finder” program, which allegedly was

 8                  designed to encourage Facebook users to create larger networks of
                    ‘friends,’ and, at least allegedly, to give Facebook access to email
 9                  addresses for non-users who can then be solicited to join Facebook.
                    As such, the service facilitates Facebook’s ability to increase both its
10                  user base and the amount of time individual users spend on the
                    site . . . . [I]t is beyond dispute that its ability to earn advertising
11                  revenues and its valuation as a company are dependent on the size
                    and involvement of its user base.
12
     Cohen, 798 F. Supp. 2d at 1096. The plaintiffs argued that their names and likenesses were used
13
     by Facebook to promote the Friend Finder program, which “had an economic value to Facebook”
14
     because their use “can be seen as serving a commercial purpose, undertaken with at least the intent
15
     of achieving growth in Facebook’s user base, thereby ultimately resulting in monetary gain for
16
     Facebook.” Cohen, 2011 WL 5117164, at *2. The court held that such allegations, even if true,
17
     did not identify a cognizable economic injury, and dismissed the claim in both the original and
18
     amended complaints. Id. at *3; 798 F. Supp. 2d at 1097.
19
            In contrast, this Court in Fraley held that the plaintiffs had “articulated a coherent theory of
20
     how they were economically injured by the misappropriation of their names, photographs, and
21
     likenesses.” 830 F. Supp. 2d at 799. In Fraley, the plaintiffs alleged that when they clicked the
22
     5
23     See also, e.g., In re Doubleclick Inc. Privacy Litig., 154 F. Supp. 2d 497, 525 (S.D.N.Y. 2001)
     (unauthorized collection of personal information not “economic loss to the subject”); LaCourt,
24   2011 WL 1661532, at *5 (plaintiffs failed to adequately allege injury in fact because they provided
     no facts showing that they “ascribed an economic value” to their personal information, attempted a
25
     value-for-value exchange of information, or were deprived of its value); In re JetBlue Airways
26   Corp. Privacy Litig., 379 F. Supp. 2d 299, 327 (E.D.N.Y. 2005) (“there is [] no support for the
     proposition that an individual passenger’s personal information has or had any compensable value
27   in the economy at large”).
28
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 1 “Like” button on Facebook pages of certain companies, they were subsequently featured in

 2 “Sponsored Stories” displayed to their Facebook Friends advertising that they “Like” the

 3 company’s products, services, or brand. Id. at 797-99.

 4          In holding that the Fraley plaintiffs adequately pled injury in fact under Article III, this

 5 Court emphasized that they “allege[d] that their individual, personalized endorsement of products,

 6 services, and brands to their friends and acquaintances has concrete, provable value in the

 7 economy at large, which can be measured by the additional profit Facebook earns from selling

 8 Sponsored Stories compared to its sale of regular advertisements.” Id. at 799 (emphasis added).

 9 The Court noted that “Plaintiffs do not merely cite abstract economic concepts in support of their

10 theory of economic injury, but rather point to specific examples of how their personal

11 endorsement is valued by advertisers,” id. at 799, including statements by Facebook executives

12 that these endorsements were “worth two to three times more than traditional advertisements on

13 Facebook,” and that “Facebook presumably profits from exploitation of this calculable

14 commercial value.” Id. at 809 (emphasis added); see also id. at 799 (same). The Fraley plaintiffs

15 thus “identified a direct, linear relationship between the value of their endorsement of third-party

16 products, companies, and brands to their Facebook friends, and the alleged commercial profit

17 gained by Facebook.” Id. at 800.6

18          As this Court explained, Cohen was distinguishable from Fraley because the Cohen
19 plaintiffs “were unable to show that their names and likenesses had any general commercial value”

20 to Facebook. Id. at 800. In contrast to the Cohen plaintiffs who alleged that the Friend Finder

21 service was used by Facebook “to attract a larger user base result[ing] in monetary gain for

22 Facebook,” id. at 809, the Fraley plaintiffs alleged that Sponsored Stories were “two to three times

23 more valuable than generic advertisements sold to Facebook Advertisers, id. at 800. In addition,

24 the Fraley plaintiffs “identified a direct, linear relationship between the value of their endorsement

25
     6
     The Court in Fraley also noted that the plaintiffs there alleged “a violation of their individual
26 statutory rights under California Civil Code § 3344, and therefore, an invasion of a legally
   protected interest for Article III purposes.” F. Supp. 2d at 797. By contrast, Plaintiffs here only
27
   assert a common law misappropriation claim, and do not assert a claim under Civil Code Section
28 3344.
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 1 of third-party products, companies, and brands to their Facebook friends, and the alleged

 2 commercial profit gained by Facebook.” Id. Thus, this Court concluded that, unlike the Cohen

 3 plaintiffs, the Fraley plaintiffs “alleged facts showing that their personal endorsement [had]

 4 concrete, measureable, and provable value in the economy at large.” Id.

 5          Here, as in Cohen, Plaintiffs have not alleged facts showing that the alleged use of their

 6 names and likenesses in connection invitations have any general commercial value in the economy

 7 at large beyond allegedly growing LinkedIn’s member base. Plaintiffs do not allege that

 8 connection invitations contain “endorsements” of LinkedIn or any third party—a connection

 9 invitation is simply a request from a member to join his or her professional network. Nor do

10 Plaintiffs allege any basis for calculating a “concrete, measureable, and provable” value of

11 connection invitations, in contrast to the facts alleged by the Fraley plaintiffs showing a “direct,

12 linear” relationship between the alleged profits to Facebook and the value of their “endorsements”

13 in Sponsored Stories. Although Plaintiffs attempt to parrot this Court’s ruling in Fraley by

14 asserting the conclusory allegation that their “[i]ndividualized personalized endorsement of

15 LinkedIn to Plaintiffs’ friends and acquaintances has concrete provable value,” FAC ¶ 53, the sole

16 alleged basis for this claim is that connection invitations grow LinkedIn’s member base, which

17 leads to increased business for LinkedIn. See id. ¶ 51 (“[h]aving a growing number of members is

18 central to LinkedIn’s business”; “[m]ember growth is directly correlated to the success of

19 LinkedIn’s business”); id. ¶ 58 (“LinkedIn is growing its network by having its members endorse

20 LinkedIn multiple times without their consent”; “[t]his growth of LinkedIn’s network is leading to

21 increased direct revenue through sales of products directly to new members, and indirect revenue

22 through sales to increasing numbers of recruiters and large corporations”). Not only do Plaintiffs

23 misquote LinkedIn founder and Chairman Reid Hoffman in making this allegation, as discussed

24 supra at 8, but even accepting this claim as true, any such indirect, undefined benefit is precisely

25 what Cohen and this Court in Fraley found to be insufficient.

26          Because Plaintiffs allege no facts that could provide the necessary baseline for a

27 “calculable commercial value,” such as the value of generic advertisements in Fraley, they resort

28 to alternative “calculations” based on other networking tools that have nothing to do with the
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 1 purported monetary value of connection invitations. For example, Plaintiffs suggest that because

 2 LinkedIn charges $10 to use its InMail networking tool, connection invitations must have the same

 3 value because InMail and connection invitations both involve sending emails and reminders. See

 4 FAC ¶ 55. That is specious, because the two services are completely different. InMail allows

 5 members to contact LinkedIn members with whom they have had no previous communication

 6 (and thus do not have their email addresses), and to customize the content of the message without

 7 space or other limitations applicable to connection invitations. In contrast, connection invitations

 8 sent through Add Connections use a standardized message and may be sent only to existing email

 9 contacts. See Edelman Decl., Ex. C. Indeed, if they were comparable services, no consumer

10 would pay $10 for InMails when connection invitations are free of charge.

11          Plaintiffs also suggest that connection invitations may have the same value as the price of

12 premium LinkedIn services that might be purchased by some recipients of those requests, FAC

13 ¶ 56, a theory that, again, was soundly rejected by Cohen and Fraley—that “attract[ing] a larger

14 user base resulted in monetary gain for [the defendant].” Fraley, 830 F. Supp. 2d at 809 (citing

15 Cohen, 2011 WL 5117164, at *2). Moreover, the vast majority of connection invitations have no

16 conceivable relationship to any premium account revenue for LinkedIn, as only a tiny percentage

17 of LinkedIn members (less than 1%) have premium accounts. Plaintiffs’ allegation that LinkedIn

18 “would be forced to pay for email addresses to advertise and promote its services,” FAC ¶ 57, is

19 likewise off-base, because their right of publicity and UCL claims concern the alleged

20 misappropriation of their names or likenesses, not of third-party email addresses.

21          Plaintiffs’ failure to allege any injury in fact is not surprising because the Add Connections

22 tool is designed to, and does, benefit members. Add Connections enables members to do just what

23 they joined LinkedIn to do: expand their professional networks. While each Sponsored Story in

24 Fraley provided a direct, calculable benefit to Facebook and its advertisers, with no such benefit to

25 the plaintiffs, the situation here is reversed: Add Connections provides a direct benefit to members

26 in the form of larger networks, no benefit to third parties, and, even as alleged, only an indirect,

27 undefined benefit to LinkedIn.

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 1          As for non-economic harm, Plaintiffs provide anecdotes from online discussion board

 2 users expressing frustration with the Add Connections tool. See, e.g., FAC ¶¶ 31, 33, 41, 49,

 3 50, 58. But none of those anecdotes are from Plaintiffs themselves. Though Plaintiffs identify

 4 certain relationships they had with people they emailed through the Add Connections tool, id.

 5 ¶¶ 17, 18, 19, 21, no Plaintiff has alleged that they suffered emotional harm as a result. See

 6 id.¶¶ 72-73 (alleging that Plaintiffs were “deprived of money” and that “[e]ach plaintiff has been

 7 personally injured by this loss of money”) (emphases added), ¶¶ 93-94 (alleging that “Plaintiffs

 8 were harmed by LinkedIn’s actions” and that “Plaintiffs were deprived of the earnings they would

 9 otherwise be entitled to”) (emphasis added). Accordingly, Plaintiffs have not even attempted to

10 state a right of publicity claim based on emotional injury. See, e.g., In re iPhone, 2011 WL

11 4403963, at *4 (dismissing claim where “Plaintiffs do not allege injury in fact to themselves”).

12          In any event, the anecdotes do not identify any cognizable non-economic injury because

13 the emotional harm they describe was not caused by LinkedIn allegedly misappropriating their

14 name or likeness for commercial advantage; rather, it was caused by LinkedIn contacting people

15 that the members did not intend to communicate with at all. To state a right of publicity claim for

16 emotional harm, a plaintiff must establish that the harm flows from a commercial

17 misappropriation. See, e.g., Miller v. Collectors Universe, Inc., 159 Cal. App. 4th 988, 1006

18 (2008) (“mental anguish resulting from commercial misappropriation”); Lugosi v. Universal

19 Pictures, 25 Cal. 3d 813, 835-36 & n.11 (1979) (noting that “[c]ommercial misappropriations

20 may injure a person’s feelings” such as the “person may find any commercial exploitation

21 undesirable and offensive” or others “may disparage one who would sell their identity” for

22 commercial purposes). The mental harm described in the anecdotes, however, has nothing to do

23 with any commercial exploitation of individuals’ names or likenesses. Rather, it flows entirely

24 from Add Connections sending emails on behalf of members to people whom they would have

25 preferred not to contact. Thus, the alleged embarrassment would have been the same if the

26 connection invitations did not mention LinkedIn at all. And, as noted, all Plaintiffs with active

27 LinkedIn accounts have created public LinkedIn profiles which can be viewed by all Internet

28 users, precluding any claim that the association of their identities with LinkedIn was personally
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 1 offensive. Accordingly, Plaintiffs have not alleged any cognizable emotional harm “fairly

 2 traceable” to a violation of the right of publicity. Laidlaw, 528 U.S. at 180-81.

 3          C.      Plaintiffs Fail To State A Claim For Violations Of California’s Common Law
                    Right Of Publicity
 4
            California’s common law right of publicity has four elements: “(1) the defendant’s use of
 5
     the plaintiff’s identity; (2) the appropriation of plaintiff’s name or likeness to defendant’s
 6
     advantage, commercially or otherwise; (3) lack of consent; and (4) resulting injury.” Cohen, 798
 7
     F. Supp. 2d at 1093-94 (citing Newcombe, 157 F.3d at 692). As demonstrated above, Plaintiffs
 8
     fail to adequately allege lack of consent or any resulting injury, which is “the sine qua non of a
 9
     cause of action for misappropriation of name.” Id. at 1097 (quoting Slivinsky v. Watkins–Johnson
10
     Co., 221 Cal. App. 3d 799, 807 (1990)). Accordingly, Plaintiffs’ right of publicity claim should
11
     be dismissed under Rule 12(b)(6) for failure to state a claim.
12
            D.      Plaintiffs Fail To State A Claim For Violations Of California’s Unfair
13                  Competition Law
14          California’s Unfair Competition Law prohibits “any unlawful, unfair or fraudulent

15 business act or practice.” Cal. Bus. & Prof. Code § 17200, et seq. Plaintiffs attempt to assert

16 claims under the “unfair” and “fraudulent” prongs based on alleged misrepresentations in Add

17 Connections permission screens and on LinkedIn’s blog. Claims asserted under the “unlawful”

18 prong are based on alleged violations of other state laws. All of Plaintiffs’ UCL claims fail.

19          Plaintiffs allege that LinkedIn misrepresented that members “have full control to prevent

20 their name and appearance in LinkedIn advertisements, including endorsement emails sent by

21 LinkedIn to third parties,” and that “repeated emails would not be sent to third parties containing

22 their names and likenesses without their permission,” but then “encourage[ed] [members] to

23 utilize LinkedIn in such a way that allowed LinkedIn to access [their] external email accounts and

24 send endorsement emails to email addresses contained therein.” FAC ¶¶ 103-04. Plaintiffs do not

25 identify any statement by LinkedIn making any such representations. Instead, they rely on words

26 and phrases plucked from Add Connections permission screens and LinkedIn’s blog. None of

27 these statements support a misrepresentation claim.

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 1                   1.     Plaintiffs Do Not Satisfy Rule 9(b)
 2          Plaintiffs’ claims are subject to Federal Rule of Civil Procedure 9(b) but do not satisfy its
 3 heightened pleading standard. Under Rule 9(b), “[i]n alleging fraud or mistake, a party must state

 4 with particularity the circumstances constituting fraud or mistake.” Rule 9(b) applies to state law

 5 claims “sound[ing] in fraud,” regardless of whether they are labeled “fraud” claims. See Vess, 317

 6 F.3d at 1105. Plaintiffs allege that LinkedIn “intentionally and knowingly” made mispresentations

 7 regarding Add Connections, which members “justifiably relied upon …when deciding to join and

 8 utilize LinkedIn.” FAC ¶ 103. Plainly, these claims “sound in fraud” and thus are subject to Rule

 9 9(b)’s particularity requirement that Plaintiffs plead the “‘the who, what, when, where, and how’

10 of the misconduct charged.” Vess, 317 F.3d at 1106. Plaintiffs do not satisfy this standard because

11 they do not allege how any of the selected words or phrases are false or misleading.

12          Plaintiffs allege that permission screens for accessing Google accounts use the terms
13 “some information” and “Google Contacts” and therefore are “designed to deceive” members into

14 believing that only their “contact lists” will be imported.” Id. ¶ 32-33. As explained above,

15 members are invited to “Grow your network” by “adding your email address” and given the option

16 to “Continue” or “Skip this step.” Members who choose to “Continue” are taken to a Google

17 permission screen, stating that “LinkedIn is asking for some information from your Google

18 Account,” including “Google Contacts,” which Google describes as including exactly the email

19 addresses Plaintiffs contend are not included in “contact lists.” Plaintiffs do not explain how the

20 challenged terms are false or misleading in light of these statements on the LinkedIn and Google

21 permission screens.

22          With respect to the permission screen used to send connection invitations to contacts who

23 are not LinkedIn members, Plaintiffs allege that the “Add to Network” button is deceptive

24 because, “[a]lthough LinkedIn provides a list of the email addresses it has downloaded,” it

25 displays the emails in a scroll down format in which only the first ten are visible and it does not

26 state that those email addresses will receive connection invitations or that reminder emails will be

27 sent. FAC ¶¶ 38-41. Plaintiffs again ignore other statements on this screen. As explained above,

28 the screen offers members the opportunity to “Stay in touch with your contacts who aren’t on
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 1 LinkedIn yet” and “Invite them to connect with you.” Directly after these statements, the names

 2 and email addresses of all contacts not on LinkedIn are presented to members using a scroll-down

 3 list with checkboxes indicating that all of them have been selected (“Select All”) as well as the

 4 total number selected (“1132 Selected”). Members have the option to “Add to Network” or “Skip

 5 this step.” If Plaintiffs contend that, notwithstanding this context, they did not know that email

 6 addresses in addition to the ones visible were selected, and that by clicking on “Add to Network”

 7 the listed addresses would receive connection invitations, they must include those allegations to

 8 explain how the “Add to Network” button is false or misleading.

 9          Finally, Plaintiffs allege that selected statements from LinkedIn’s blog are misleading. See

10 Id. ¶ 47. None of these alleged statements support any misrepresentation claim under the UCL

11 because Plaintiffs do not allege how they are false or misleading in light of the Add Connections

12 permission screens described above. Indeed, it is unclear whether and how they relate to Add

13 Connections at all, e.g., references to “spam” and “abusive behavior” by members spamming other

14 members. Id. (“We take spam very seriously”).

15                   2.     The Alleged Misrepresentations Are Not “Likely To Deceive”
                            Reasonable Consumers As A Matter Of Law
16
            Misrepresentation claims under the UCL require a showing that “members of the public
17
     are likely to be deceived.” See Freeman v. Time, Inc., 68 F.3d 285, 289 (9th Cir. 1995); Comm.
18
     on Children’s Television, Inc. v. Gen. Foods Corp., 35 Cal. 3d 197, 211 (1983) (same). Therefore,
19
     to state a claim, Plaintiffs must allege facts showing that the selected statements from Add
20
     Connections permission screens and LinkedIn’s blog are “likely to deceive” reasonable
21
     consumers. As demonstrated above, the Add Connections permission screens are not “likely to
22
     deceive” a reasonable consumer who actually reads them. To the contrary, these screens not only
23
     explain each step in the process—from accessing and importing Google Contacts, to selecting and
24
     sending connection invitations to contacts on LinkedIn, to selecting and sending connection
25
     invitations to contacts not yet on LinkedIn—but require members to consent to each step by
26
     clicking buttons labeled “Continue,” “Allow,” “Add Connection(s),” and “Add to Network”
27
     before any action is taken. Any reasonably prudent Internet user clicking these buttons to move
28
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 1 from one screen to the next would understand that they were consenting to allowing access to their

 2 email contacts and to sending connection invitations. Indeed, Plaintiffs do not allege that they

 3 read the permission screens, which, as set forth below, alone requires dismissal of their claims.

 4                   3.     Plaintiffs Do Not Allege Reliance
 5          Plaintiffs do not allege that they actually and reasonably relied upon any of the alleged

 6 misrepresentations. See In re Tobacco II Cases, 46 Cal. 4th 298, 326 (2009) (actual reliance

 7 required for UCL claim). Rule 9(b) requires “the same level of specificity [] with respect to

 8 [pleading] reliance’ as with respect to misrepresentations.” Mazur v. eBay Inc., 2008 WL

 9 618988, at *13 (N.D. Cal. Mar. 4, 2008)). This standard has not been met. Plaintiffs’ allegations

10 of reliance are conclusory and do not allege facts specific to any named Plaintiff, such as what

11 screens they saw, what they understood them to mean, and whether they imported email contacts

12 and sent connection invitations to contacts who were LinkedIn members and those who were not,

13 or only to contacts who were not LinkedIn members by clicking “Skip this Step” in the permission

14 screen for contacts who were LinkedIn members. Plaintiffs simply allege that they “justifiably

15 relied upon” alleged misrepresentations. See FAC ¶ 103. Accordingly, Plaintiffs have not

16 adequately alleged actual and reasonable reliance on any misrepresentation. Cf. In re LinkedIn

17 User Privacy Litig., 932 F. Supp. 2d 1089, 1093 (N.D. Cal. 2013) (plaintiffs “[did] not even allege

18 that they actually read the alleged misrepresentation[] which would be necessary to support a

19 claim of misrepresentation”).

20                   4.     Plaintiffs’ Claims Under The Unlawful Prong Fail
21          The “unlawful” prong of the UCL “embrac[es] ‘anything that can properly be called a

22 business practice and that at the same time is forbidden by law.’” Cel-Tech Commc’ns, Inc. v.

23 L.A. Cellular Tel. Co., 20 Cal. 4th 163, 180 (1999). Plaintiffs’ claims under the UCL’s “unlawful”

24 prong are predicated on alleged violations of California’s common law right of publicity, the

25 California Computer Fraud and Abuse Act, the California Comprehensive Data Access and Fraud

26 Act, the California Invasion of Privacy Act, and the California Consumer Remedies Act. FAC

27 ¶ 101. For the reasons stated above, Plaintiffs fail to state any claim for violations of California’s

28 common law right of publicity or California’s Comprehensive Data Access and Fraud Act. With
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 1 respect to California’s Computer Fraud and Abuse Act (which is not actually a law), Invasion of

 2 Privacy Act, and Consumer Remedies Act, Plaintiffs do not even attempt to state claims under

 3 these laws. Accordingly, Plaintiffs fail to state a claim under the “unlawful” prong of the UCL.

 4                   5.      All Of Plaintiffs’ UCL Claims Fail For Lack Of Standing
 5          To have standing to sue under the UCL, Plaintiffs must show that they “suffered injury in

 6 fact and ha[ve] lost money or property as a result of the unfair competition.” Cal. Bus. & Prof.

 7 Code § 17204. As set forth above, Plaintiffs have not alleged sufficient facts to show injury in

 8 fact based on connection invitations sent using Add Connections. Nor have they adequately

 9 alleged that connection invitations resulted in the loss of money or property recoverable as

10 restitution under the UCL. Indeed, Plaintiffs do not allege that they have ever paid any money to

11 LinkedIn. See Korea Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1144 (2003) (Under

12 the UCL, “prevailing plaintiffs are generally limited to injunctive relief and restitution.”).

13          E.      Plaintiffs Fail To State A Claim Under The SCA
14          The SCA prohibits “(1) intentionally access[ing] without authorization a facility through

15 which an electronic communication service is provided; or (2) intentionally exceed[ing] an

16 authorization to access that facility ... and thereby obtain[ing] ... access to a wire or electronic

17 communication while it is in electronic storage in such system.” 18 U.S.C. § 2701(a)(1) (emphasis

18 added). “Electronic storage” is defined as “(A) any temporary, intermediate storage of a wire or

19 electronic communication incidental to the electronic transmission thereof; and (B) any storage of

20 such communication by an electronic communication service for purposes of backup protection of

21 such communication.” 18 U.S.C. § 2510(17) (emphases added). In addition to failing to

22 adequately allege that any access occurred without authorization, Plaintiffs’ SCA claim should be

23 dismissed under Rule 12(b)(6) for several additional reasons.

24                   1.      Plaintiffs Do Not Allege Access To “Electronic Communications”
25          There is no plausible allegation in the FAC that LinkedIn gained access to any “electronic

26 communications.” As the FAC states, the “subject of this complaint” involves LinkedIn’s alleged

27

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 1 practice of “downloading email addresses.” FAC ¶ 2 (emphasis added). Indeed, the FAC alleges

 2 repeatedly that LinkedIn gained access only to email addresses.7

 3          Email addresses are not “electronic communications” within the meaning of 18 U.S.C.

 4 § 2701(a)(1). In Hernandez v. Path, Inc., 2012 WL 5194120 (N.D. Cal. Oct. 19, 2012), the

 5 plaintiffs similarly alleged that the defendant “accessed, uploaded and stored data from the users’

 6 Contact Address Books,” which consisted of users’ “contacts” including their “e-mail addresses.”

 7 Id. at *1 & n.1. The court dismissed the SCA claim because “as defined by and used in the SCA,

 8 the term ‘electronic storage’ refers to the temporary, intermediate storage of the electronic

 9 communication that is incidental to the electronic transmission of the communication,” and thus

10 plaintiffs’ “Contact Address Books are not a communication to which the SCA applies.” Id. at *4

11 (quoting 18 U.S.C. § 2510(17)) (emphases added).

12          Plaintiffs allege that LinkedIn “accessed members’ email communications,” FAC ¶¶ 114-

13 15, but those allegations are wholly conclusory, without any supporting factual detail, and are

14 inconsistent with the other allegations in the FAC that allege only access to email addresses.

15 These conclusory allegations fail as a matter of law. See Iqbal, 556 U.S. at 678; Nexsales Corp. v.

16 Salebuild, Inc., 2012 WL 216260, at *3 (N.D. Cal. Jan. 24, 2012) (“conclusory statements that

17 repeat the statutory definitions of the terms” do “not support a claim under the [SCA]”); Yunker v.

18 Pandora Media, Inc., 2013 WL 1282980, at *9 (N.D. Cal. Mar. 26, 2013) (dismissing “conclusory

19 allegations that parrot the text of the [SCA]”).

20                  2.      Plaintiffs Do Not Allege That Any “Electronic Communications” Were
                            In “Electronic Storage”
21
            Plaintiffs also have not alleged any facts showing that electronic communications were
22
     obtained while they were in “electronic storage.” See, e.g., Cruz Lopez v. Pena, 2013 WL 819373,
23
     at *3 (N.D. Tex. Mar. 5, 2013) (complaint failed “to adequately allege facts showing that the
24
     emails were in ‘electronic storage.’”). As noted, “electronic storage” is defined under the SCA as
25

26   7
    See, e.g., FAC ¶ 3 (“extract email addresses”), ¶ 7 (“appropriation of email addresses”), ¶¶ 16-
   21, 24 (“harvesting email addresses”), ¶ 30 (“downloads the email addresses”), ¶ 33 (“accessing of
27
   email addresses”), ¶ 44 (same), ¶ 55 (“email addresses that LinkedIn takes”), ¶ 57 (“email
28 addresses appropriated”).
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 1 either (1) “temporary, intermediate storage” or (2) storage for purposes of “backup protection.” 18

 2 U.S.C. § 2510(17). Plaintiffs, however, “fail[] to provide specific facts demonstrating that [their]

 3 data was ‘in electronic storage,’ instead relying on conclusory statements that repeat the statutory

 4 definitions of the terms.” Nexsales, 2012 WL 216260, at *4. Indeed, there is no allegation that

 5 LinkedIn accessed any communications that were in “temporary, intermediate storage,” which

 6 courts have limited to “messages not yet delivered to their intended recipient.” Theofel v. Farey–

 7 Jones, 359 F.3d 1066, 1075 (9th Cir. 2004) (emphasis added); In re DoubleClick Inc. Privacy

 8 Litig., 154 F. Supp. 2d 497, 512 (S.D.N.Y. 2001) (dismissing SCA claim which failed to allege

 9 defendant obtained “communications temporarily stored . . . incident to their transmission-for

10 example, when an email service stores a message until the addressee downloads it”). Moreover,

11 the FAC does not allege that any communications were in storage for purposes of “backup

12 protection,” which courts have found inapplicable to web-based email services — such as the

13 “Yahoo! Mail, Microsoft Mail,” and “Google Gmail” services referenced in the FAC. FAC ¶ 24.

14 As the Ninth Circuit has held, where the service “might be the only place a user stores his

15 messages,” as is the case with web-based email, the “messages are not stored for backup

16 purposes.” Theofel, 359 F.3d at 1070; United States v. Weaver, 636 F. Supp. 2d 769, 772 (C.D.

17 Ill. 2009) (in “case of web-based email systems,” service “is not storing that user’s opened

18 messages for backup purposes”).

19                   3.      Plaintiffs’ Allegations Establish That Google Authorized Access To Its
                             Users’ Accounts
20
            Regardless of whether Plaintiffs consented to access, the SCA exempts from liability
21
     “conduct authorized ... by the person or entity providing a wire or electronic communications
22
     service.” 18 U.S.C. § 2701(c)(1). Plaintiffs’ allegations plainly establish that Google, the provider
23
     of the electronic communications services at issue, was authorized to access its users’ accounts.
24
     Thus Plaintiffs’ SCA claim falls squarely within this exemption and fails as a matter of law.
25
            As Plaintiffs allege, Google, not LinkedIn, provides a permission screen in which Google
26
     states that “LinkedIn is asking for some information from your Google Account,” including
27
     “Google Contacts.” FAC ¶ 32 & Figure 4 (“it is Google that provides this screen”). “LinkedIn
28
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 1 users provide” consent to such access, id. ¶ 33, by clicking “Allow” on the screen, id. Figure

 2 4. Plaintiffs’ allegations thus clearly demonstrate that Google directly authorized access to its

 3 users’ accounts. Moreover, Plaintiffs nowhere allege that Google did not provide such

 4 authorization. This pleading deficiency alone is fatal to Plaintiffs’ SCA claim. See Cornerstone

 5 Consultants, Inc. v. Prod. Input Solutions, L.L.C., 789 F. Supp. 2d 1029, 1051 (N.D. Iowa 2011)

 6 (“[T]o allege the lack of authorization, as required, the plaintiffs would have to allege sufficient

 7 facts to make it plausible that none of the entities identified in § 2701(c) authorized the access.

 8 The plaintiffs have not done so, here.”) (emphasis added); Garcia v. Haskett, 2006 WL 1821232,

 9 at *5 (N.D. Cal. June 30, 2006) (although defendant may have accessed facility of third-party ISP

10 by accessing plaintiff’s email account, plaintiff failed to state SCA claim because did not allege

11 that such access “was conduct unauthorized by” ISP). “This glaring omission is not cured by the

12 plaintiffs’ allegations that they ‘did not authorize’” access to their accounts—which, as discussed

13 supra at Part III.A separately fails—“because a ‘provider’s’ authorization would make a ‘user’s’

14 lack of authorization of no consequence” under the SCA. Cornerstone,789 F. Supp. 2d at 1051.

15          F.      Plaintiffs Fail To State A Claim Under The Wiretap Act
16          The Wiretap Act creates a right of action against anyone who “intentionally intercepts,

17 endeavors to intercept, or procures any other person to intercept or endeavor to intercept, any wire,

18 oral, or electronic communication.” 18 U.S.C. § 2511(1)(a). The Act defines “intercept” as the

19 “acquisition of the contents of any wire, electronic, or oral communication through the use of any

20 electronic, mechanical, or other device.” 18 U.S.C. § 2510(4). In addition to failing to adequately

21 allege the absence of consent, Plaintiffs’ Wiretap Act claim should be dismissed under Rule

22 12(b)(6) for several additional reasons.

23                   1.     Plaintiffs Do Not Allege That The “Contents” Of Any “Electronic
                            Communications” Were Intercepted
24
            Under the Wiretap Act, email addresses are not “contents” of “electronic
25
     communications.” The Wiretap Act defines “contents” to mean “information concerning the
26
     substance, purport, or meaning of that communication.” 18 U.S.C. § 2510(8) (emphasis added).
27
     “Contents” thus includes the substantive text of an email or text message; it does not encompass
28
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 1 address information. See, e.g., United States v. Reed, 575 F.3d 900, 914-15 (9th Cir. 2009)

 2 (identities of parties to a communication are not “contents”); United States v. Forrester, 512 F.3d

 3 500, 509-10 (9th Cir. 2008) (address information, such as email addresses and IP addresses, are

 4 not “contents” of communications). As the Hernandez court held in also dismissing the plaintiff’s

 5 Wiretap Act claim, “[a]lthough [the defendant] allegedly transmitted the Class Members’ Contact

 6 Address Books from the Class Members’ mobile devices to Path’s servers,” which included email

 7 addresses, it “did not ‘intercept’ a ‘communication’ to do so.” Hernandez, 2012 WL 5194120, at

 8 *3. The same is true here. And as noted, Plaintiffs’ conclusory allegations that they accessed

 9 “electronic communications” and the “contents” thereof, see, e.g., FAC ¶¶ 119-20, simply parrot

10 the language of the statute, are unsupported by any factual allegations, and fail as a matter of law.

11                   2.     Plaintiffs Do Not Allege Any Interception
12          Plaintiffs do not—and cannot—allege that electronic communications were acquired

13 “contemporaneous with transmission,” a requirement of any “interception” under the statute.

14 Konop v. Hawaiian Airlines, Inc., 302 F.3d 868, 877-78 (9th Cir. 2002) (emphasis added). At

15 best, Plaintiffs have alleged only access to data located in Google accounts, not communications

16 that were in transmission at the time of any alleged acquisition. Thus, Plaintiffs fail to allege an

17 “interception” under the statute. See id.; Mintz v. Mark Bartelstein & Assocs. Inc., 906 F. Supp.

18 2d 1017, 1031 (C.D. Cal. 2012) (dismissing Wiretap Act claim where “Defendants did not access,

19 disclose, or use any emails that had been acquired during transmission. Rather, the emails

20 Defendants viewed were stored on Gmail”). Finally, Plaintiffs’ wholly conclusory assertions that

21 an “interception” occurred, FAC ¶¶ 119-20, simply repeat the language of the statute and are

22 legally insufficient. See Crowley v. CyberSource Corp., 166 F. Supp. 2d 1263, 1268 (N.D. Cal.

23 2001) (courts should “not accept a conclusory allegation that conduct alleged in the complaint

24 constituted an interception under the Wiretap Act”); Garback v. Lossing, 2010 WL 3733971, at *4

25 (E.D. Mich. Sept. 20, 2010) (“no allegation that any emails were ‘intercepted’ contemporaneously

26 with transmission” and rejecting “conclusory allegation” of “intercept”); Global Policy Partners,

27 LLC v. Yessin, 686 F. Supp. 2d 631, 639 (E.D. Va. 2009) (same).

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 1          G.      Plaintiffs Fail To State A Claim Under California Penal Code Section 502
 2          California Penal Code Section 502(c) prohibits, among other things, a person from
 3 “[k]nowingly and without permission access[ing] or caus[ing] to be accessed any computer,

 4 computer system, or computer network.” Cal. Penal Code § 502(c)(7). Plaintiffs allege that Add

 5 Connections violates this and similar subsections of Section 502(c). FAC ¶¶ 129-133 (alleging

 6 violations of Cal. Penal Code §§ 502(c)(1) and (6)-(8)). In addition to failing to adequately allege

 7 injury in fact and lack of consent, i.e., that LinkedIn acted “without permission,” Plaintiffs’

 8 Section 502 claim should be dismissed under Rule 12(b)(6) on the additional grounds below.

 9                   1.     Plaintiffs Do Not Allege Circumvention Of Any “Technical” Or
                            “Code-Based” Barriers
10
            “Courts within this District have interpreted ‘without permission’”— which is an element
11
     of each of the Section 502 subsections at issue (Cal. Penal Code §§ 502(c)(1) and (6)-(8), and
12
     502(b)(10))—“to require that a defendant access a network ‘in a manner that circumvents
13
     technical or code based barriers in place to restrict or bar a user’s access.’” In re Google Android
14
     Consumer Privacy Litig., 2013 WL 1283236, at *11-12 (N.D. Cal. Mar. 26, 2013) (emphasis
15
     added); In re iPhone Application Litig., 2011 WL 4403963, at *4 (citing authorities and stating
16
     that “individuals may only be subjected to liability for acting ‘without permission’ under Section
17
     502 if they ‘access[ ] or us[e] a computer, computer network, or website in a manner that
18
     overcomes technical or code-based barriers’”) (alterations original). “Section 502 defines ‘access’
19
     in terms redolent of ‘hacking’ or breaking into a computer.” Chrisman v. City of Los Angeles, 155
20
     Cal. App. 4th 29, 34 (2007). Plaintiffs do not allege any circumvention of technical or code-based
21
     barriers; at best, they allege that Add Connections, with permission, accessed their email accounts,
22
     but then acted in excess of that authorization. Plaintiffs allege that Add Connections
23
     communicates with external email accounts in one of two ways: first, for email accounts that are
24
     not already open, LinkedIn “requests the username and password of an external email account,”
25
     and second, “[i]f a LinkedIn user leaves an external email account open,” LinkedIn can directly
26
     communicate with that account. FAC ¶ 30. Either way, members are notified that Add
27
     Connections is requesting access to their Google accounts and certain information, including
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 1 Google Contacts. Id. ¶ 32 & Figure 4 (“Google screen pops up stating, ‘LinkedIn is asking for

 2 some information from your Google Account,’” specifically identifying “Google Contacts”). As

 3 noted, Plaintiffs concede that members provide “authority and consent” to access their “external

 4 email accounts,” but assert that LinkedIn “exceeds” such authorization. Id. ¶ 33.

 5          Plaintiffs do not allege, however, that Add Connections circumvented any technical or

 6 code-based barriers to exceed such authorization. As the Ninth Circuit held in United States v.

 7 Nosal, 676 F.3d 854 (9th Cir. 2012) with respect to the Computer Fraud and Abuse Act, the

 8 federal corollary to Section 502,8 a claim that a party “exceeds authorized access” would “apply to

 9 inside hackers,” id. at 858 (emphasis added), as opposed to those who exceed contractual use

10 restrictions, with “hacking” being defined as the “circumvention of technological access barriers,”

11 id. at 863. Thus, as here, a party fails to state a claim that defendants “exceeded their authorized

12 access” where “there are no direct or clear allegations of ‘hacking,’” being “broadly, the

13 ‘circumvention of technological access barriers.’” Incorp Servs. Inc. v. Incsmart.Biz Inc., 2012

14 WL 3685994, at *3 (N.D. Cal. Aug. 24, 2012) (quoting Nosal, 676 F.3d at 863).

15          Although the FAC is replete with conclusory allegations of “hacking” or “tunneling,” e.g.,

16 FAC ¶¶ 3, 32, 43, 114, 119, there are no factual allegations detailing how technical or code-based

17 barriers are circumvented. Indeed, as shown above, the FAC’s allegations demonstrate the

18 opposite. The FAC’s threadbare assertions of “hacking” fail to establish a violation of Section

19 502. See Incorp, 2012 WL 3685994, at *3 (dismissing complaint where “factual allegations fail to

20 ‘flesh out’ what the Ninth Circuit has described as hacking”); In re Am. Airlines, Inc., Privacy

21 Litig., 370 F. Supp. 2d 552, 559 n.14 (N.D. Tex. 2005) (“Although plaintiffs allege that AAI

22 ‘hacked’ into American’s electronic communication service or remote computing service . . . , this

23 is a conclusory assertion that the court need not accept” under “Rule 12(b)(6)”).9

24
     8
25   Courts routinely “consider[] cases interpreting the Computer Fraud and Abuse Act (‘CFAA’),
   the federal corollary to Section 502, in evaluating how broad an application Section 502 should
26 properly be given.” Facebook, Inc. v. Power Ventures, Inc., 2010 WL 3291750, at *7 (N.D. Cal.
   July 20, 2010).
27 9
     Plaintiffs’ “hacking” allegations should be stricken under Rule 12(f), which empowers district
28 courts to strike “any redundant, immaterial, impertinent, or scandalous matter” from a pleading.
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 1                   2.     Plaintiffs Do Not Allege Any Cognizable Injury Under Section
                            502(c)(8)
 2
            With respect to Plaintiffs’ claim under Section 502(c)(8), Plaintiffs nowhere allege that
 3
     LinkedIn has “introduce[d] any computer contaminant into any computer, computer system, or
 4
     computer network.” Cal. Penal Code § 502(c)(8). As this Court has held, the phrase “computer
 5
     contaminants” is “aimed at ‘viruses or worms,’ and other malware that usurps the normal
 6
     operation of the computer or computer system.” In re iPhone App. Litig., 2011 WL 4403963, at
 7
     *13. There is no allegation that LinkedIn has introduced any computer contaminants, like viruses
 8
     or worms, that have usurped the normal operation of any computer system. Thus, Plaintiffs fail to
 9
     state a claim under Section 502(c)(8). See In re Facebook Privacy Litig., 2011 WL 6176208, at *4
10
     (N.D. Cal. Nov. 22, 2011) (dismissing Section 502(c)(8) claim for failing to allege “‘contaminant’
11
     introduced to ‘usurp’ the ‘normal operations’ of the subject computers”).
12
     IV.    IN THE ALTERNATIVE, THE COURT SHOULD STRIKE THE CLASS
13          ALLEGATIONS IN THE FAC
14           “Under Rules 23(c)(1)(A) and 23(d)(1)(D), as well as pursuant to Rule 12(f), this Court
15 has authority to strike class allegations prior to discovery if the complaint demonstrates that a class

16 action cannot be maintained.” Tietsworth v. Sears, 720 F. Supp. 2d 1123, 1146 (N.D. Cal. 2010)

17 (granting motion to strike). Accordingly, district courts regularly strike class allegations at the

18 pleading stage “to avoid the expenditures of time and money that must arise from litigating

19 District courts enjoy considerable discretion in exercising that authority. E.g., Fantasy, Inc. v.

20 Fogerty, 984 F.2d 1524, 1527-28 (9th Cir. 1993) (review for abuse of discretion), rev’d on other
   grounds, 510 U.S. 517 (1994). Scandalous allegations include allegations that “improperly cast[]
21 a derogatory light on someone, most typically a party to the action,” Moreno v. USG Corp., 2007
   WL 951301, at *1 (S.D. Cal. Mar. 19, 2007), or allegations that “are superfluous descriptions and
22 not substantive elements of the cause of action,” Alvarado-Moralez v. Digital Equip. Corp., 843
   F.2d 613, 618 (1st Cir. 1988) (allegations that company conducted layoff in a cruel manner were
23
   properly stricken as scandalous). See also Talbot v. Robert Matthews Distrib. Co., 961 F.2d 654,
24 665  (7th Cir. 1992) (allegations that food distribution company intentionally caused salmonella
   outbreak were properly stricken as scandalous). Here, Plaintiffs’ outrageous allegations that
25 LinkedIn gained access to users’ external email accounts by “hacking into,” “breaking into,”
   “tunneling” into, and “guessing [email account] passwords” for those accounts, FAC ¶¶ 2, 3, 32,
26 43, 114, 115, 119, should all be stricken. Plaintiffs allege no factual support for these
   “superfluous descriptions” that “improperly cast a derogatory light” on LinkedIn; nor could they,
27
   as Plaintiffs’ own screen shots make plain that LinkedIn accesses external email accounts only
28 after users consent to access by clicking “Allow” on a permission screen.
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 1 spurious issues.” Sanders v. Apple, Inc., 672 F. Supp. 2d 978, 990–91 (N.D. Cal. 2009); see also

 2 Lyons v. Bank of Am., NA, 2011 WL 6303390, at *7 (N.D. Cal. Dec. 16, 2011); Stearns v. Select

 3 Comfort Retail Corp., 2009 WL 1635931, at *19 (N.D. Cal. June 5, 2009).

 4          Under Rule 23(b)(3), Plaintiffs must show that common factual issues “present a

 5 significant aspect of the case and . . . can be resolved for all members of the class in a single

 6 adjudication.” Mazza v. Am. Honda Motor Co., Inc., 666 F.3d 581, 589 (9th Cir. 2012). It is clear

 7 from the allegations of the FAC that Plaintiffs’ claims are not suitable for class treatment.

 8 Allowing this case to proceed to the class certification stage would be a waste of both the Court’s

 9 and the parties’ time and resources through months of class certification discovery and briefing,

10 while only postponing the inevitable conclusion that no class can be certified under Rule 23.

11          A.      If Held To Be An Issue Of Fact, Consent Is Inherently Individualized
12          As demonstrated above, Plaintiffs’ consent is established as a matter of law based upon the

13 Add Connections permission screens requiring users to consent affirmatively to the challenged

14 conduct. If, however, the Court were to conclude that consent is an issue of fact, allegations that

15 consent may be determined on a classwide basis should be stricken. See FAC ¶ 78 (“Common

16 questions of law and fact affecting the Class predominate over any individual issues,” including

17 “Whether Plaintiffs and the Class consented to the use of their names, photographs, likenesses, or

18 identities in multiple endorsement emails sent to third parties by LinkedIn”); id. ¶ 61 (same).

19 Whether class members misunderstood Add Connections permission screens is an individualized

20 inquiry that predominates with respect to each of Plaintiffs’ claims, precluding class certification.

21          Consent depends on numerous subjective factors concerning an individual’s knowledge

22 and state of mind, including whether he or she understands disclosures seeking consent, and is

23 familiar with a company’s practices based upon his or her experience or general awareness of

24 industry practices. See, e.g., Jones, 815 F. Supp. 2d at 1114-17 (resolving consent issue based on

25 evidence of the plaintiff’s “past industry experience” and various “custom[s] and practice[s] in the

26 entertainment industry”). Thus, it is not surprising that courts repeatedly have denied class

27 certification in cases where consent is an element of the claims. See, e.g., Murray v. Fin. Visions,

28 Inc., 2008 WL 4850328, at *4-5 (D. Ariz. Nov. 7, 2008) (denying certification of Wiretap Act
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 1 claim, noting that “question of consent, either express or implied,” is a “fact intensive inquiry and

 2 may vary with the circumstances of the parties” and “will require an individualized showing of

 3 each class member’s knowledge and consent with respect to each intercepted email”); Torres v.

 4 Nutrisystem, Inc., 289 F.R.D. 587, 594 (C.D. Cal. 2013) (denying certification of California Penal

 5 Code Section 637 claims, noting that “issue of whether class members consented to the recordings

 6 would also require a detailed factual inquiry for each class member, likely resulting in varying

 7 responses to the consent issue,” including whether users “actually expected the calls to be

 8 recorded”); Fields v. Mobile Messengers Am., Inc., 2013 WL 6073426, at *4 (N.D. Cal. Nov. 18,

 9 2013) (holding that plaintiffs “failed to meet their burden to prove that the issue of consent can be

10 addressed with class-wide proof” and finding “individualized inquiries regarding consent”);

11 O’Donovan v. Cashcall, Inc., 278 F.R.D. 479, 495 (N.D. Cal. 2011) (denying certification in

12 action alleging uniform wrongful conduct by initiating unauthorized electronic fund transfers

13 (“EFTs”), given need to assess whether “a specific borrower authorized or consented to [an]

14 EFT”).

15          Here, if the Court here were to determine that consent is an issue of fact, the class
16 allegations should be stricken because determining whether class members consented will require

17 individualized inquiries that predominate over common issues and preclude class certification.

18 Consent will turn on each class member’s subjective mental state, including, e.g., whether, how,

19 and to what extent each class member read and understood Add Connections permission screens.

20 In addition, each class member’s personal experiences, prior knowledge, and expectations about

21 how LinkedIn operates, including how connection invitations and reminders are used, will have to

22 be considered in determining whether there is consent. As the court held in Sanders, 672 F. Supp.

23 2d 978, in striking class allegations where reliance was an element of the plaintiffs’ claims, “if the

24 proposed class were to be certified, the Court would be forced to engage in individual inquiries of

25 each class member with respect to materiality of the statement, whether the member saw Apple’s

26 advertisements or visited Apple’s website, and what caused the member to make the purchase.” Id.

27 at 991. The same is true here with respect to consent, thus precluding class certification.

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 1          B.      Plaintiffs’ Claims Based On Emotional Harm Are Inherently Individualized
 2          Plaintiffs’ claims based on emotional harm not only fail as a matter of law, but they are
 3 also individualized and preclude class certification. As noted, Plaintiffs point to various highly

 4 personal statements of LinkedIn members describing embarrassment and other types of non-

 5 economic harm allegedly resulting from invitations being sent to individuals that they did not wish

 6 to contact. See, e.g., FAC ¶¶ 31, 41, 49-50. These examples, which include contacting people

 7 who are mentally ill and acquaintances from the distant past whose spouses recently died, show

 8 the highly individualized and idiosyncratic nature of these harms. See, e.g., id. ¶¶ 31, 41.

 9          Determining whether and to what extent class members suffered such non-economic harm

10 would be an inherently individualized inquiry for each class member that would revolve around

11 highly unique and personal circumstances. Courts repeatedly have held that class certification is

12 improper for claims based on emotional harm. See, e.g., Allison v. Citgo Petroleum Corp., 151

13 F.3d 402, 417 (5th Cir. 1998) (the “very nature of these damages, compensating plaintiffs for

14 emotional and other intangible injuries, necessarily implicates the subjective differences of each

15 plaintiff’s circumstances; they are an individual, not class-wide, remedy”); Legge v. Nextel

16 Commc’ns, Inc., 2004 WL 5235587, at *7 (C.D. Cal. June 25, 2004) (“mental distress,

17 humiliation, embarrassment” damages always vary by consumer). The Court should do the same

18 here and strike all allegations of classwide injury based on non-economic harm. See, e.g., Lyons,

19 2011 WL 6303390, at *8.

20 V.       CONCLUSION
21          For these reasons, the Court should dismiss Plaintiffs’ FAC, or alternatively, strike

22 Plaintiffs’ class allegations.

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 1 DATED: December 6, 2013            MUNGER, TOLLES & OLSON LLP
                                         JEROME C. ROTH
 2                                       ROSEMARIE T. RING
 3                                       JONATHAN H. BLAVIN
                                         WILLIAM J. EDELMAN
 4

 5
                                      By:          /s/ Jerome C. Roth
 6
                                           JEROME C. ROTH
 7                                    Attorneys for Defendant
                                      LINKEDIN CORPORATION
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 1 JEROME C. ROTH (State Bar No. 159483)
   ROSEMARIE T. RING (State Bar No. 220769)
 2 JONATHAN H. BLAVIN (State Bar No. 230269)
   WILLIAM J. EDELMAN (State Bar No. 285177)
 3 MUNGER, TOLLES & OLSON LLP
   560 Mission Street, 27th Floor
 4 San Francisco, California 94105
   Tel: (415) 512-4000
 5 Fax: (415) 512-4077
   Email: jerome.roth@mto.com
 6
   Attorneys for Defendant
 7 LINKEDIN CORPORATION

 8                          UNITED STATES DISTRICT COURT
 9                       NORTHERN DISTRICT OF CALIFORNIA
10                                  SAN JOSE DIVISION
11

12 PAUL PERKINS, PENNIE SEMPELL, ANN          CASE NO. 13-cv-04303-LHK
   BRANDWEIN, ERIN EGGERS, CLARE
13 CONNAUGHTON, JAKE KUSHNER,
   NATALIE RICHSTONE, NICOLE CROSBY,
14 and LESLIE WALL; individually and on       DEFENDANT’S NOTICE OF MOTION
   behalf of all others similarly situated,   AND MOTION TO DISMISS SECOND
15                                            AMENDED CLASS ACTION
                           Plaintiffs,        COMPLAINT AND TO DISMISS
16                                            REQUEST FOR STATUTORY
                                              DAMAGES; MEMORANDUM OF
17              v.                            POINTS AND AUTHORITIES IN
                                              SUPPORT THEREOF
18
     LINKEDIN CORPORATION,
19
                       Defendant.             Judge:    Hon. Lucy H. Koh
20                                            Date:     November 13, 2014
                                              Time:     1:30 p.m.
21                                            Location: Courtroom 8 – 4th Floor

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 1                       NOTICE OF MOTION AND MOTION TO DISMISS
 2          PLEASE TAKE NOTICE that on November 13, 2014 at 1:30 p.m. before the Honorable

 3 Lucy H. Koh in Courtroom 8 on the Fourth Floor of the above-entitled Court located at 280 South

 4 1st Street, San Jose, California, Defendant LinkedIn Corporation (“LinkedIn”) will move to

 5 dismiss Plaintiffs’ request for minimum statutory damages under California Civil Code Section

 6 3344(a) and to dismiss the Second Amended Class Action Complaint (“SAC”) in its entirety for

 7 failure to state a claim upon which relief can be granted under Federal Rule of Civil Procedure

 8 12(b)(6). LinkedIn’s motion is based on this Notice of Motion and Motion and accompanying

 9 Memorandum of Points and Authorities, the Request for Judicial Notice and Declaration of

10 Jonathan H. Blavin (and exhibits thereto) filed herewith, all pleadings and papers on file in this

11 matter, and such other matters as may be presented to this Court at the hearing or otherwise.

12                                STATEMENT OF RELIEF SOUGHT
13          LinkedIn seeks an order, pursuant to Rule 12(b)(6), dismissing the SAC with prejudice for
14 failure to state a claim upon which relief can be granted, or in the alternative, dismissing the

15 request for minimum statutory damages under California Civil Code Section 3344(a).

16                            STATEMENT OF ISSUES TO BE DECIDED
17          1.      Whether the SAC’s request for minimum statutory damages under California Civil
18                  Code Section 3344(a) should be dismissed.
19          2.      Whether the SAC states a claim upon which relief can be granted.

20                       MEMORANDUM OF POINTS AND AUTHORITIES
21          In their Second Amended Class Action Complaint (“SAC”), Plaintiffs again assert claims

22 based on LinkedIn’s “Add Connections” feature, which allows LinkedIn members to build their

23 online professional networks by importing contacts from external email accounts and sending

24 connection invitation emails inviting some or all of those contacts to connect. If there is no

25 response to the connection invitation, up to two “reminder” emails are sent reminding the recipient

26 that the original invitation is pending.

27          The vast majority of the theories in Plaintiffs’ first two complaints are now gone. In those

28 complaints, Plaintiffs asserted that Add Connections violates various anti-hacking and computer
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 1 crime laws by “hacking” into external email accounts and importing contacts, and that the

 2 connection invitations and reminders sent to those contacts violate California’s common law right

 3 of publicity and California’s Unfair Competition Law (“UCL”). By Order dated June 12, 2014,

 4 this Court dismissed all of Plaintiffs’ “hacking” claims and claims based on connection

 5 invitations, holding that, as a matter of law, members consent to importing email contacts and

 6 sending invitations to those contacts based on permission screens presented in real time when

 7 using the Add Connections feature.

 8          In the SAC, Plaintiffs abandon their baseless claims of “hacking” and all claims premised

 9 on connection invitations, and now seek to represent a putative nationwide class based solely on

10 reminders. Accordingly, all that remains in the case are claims based on the use of their names

11 and likenesses in reminder emails—the same use that Plaintiffs consented to in connection

12 invitations as a matter of law—under California’s common law right of publicity, the UCL, and

13 now California’s statutory right of publicity, Cal. Civ. Code § 3344, including minimum statutory

14 damages of $750.

15          As an initial matter, Plaintiffs’ new claim for the minimum statutory damages under

16 Section 3344 should be dismissed because Plaintiffs’ alleged injuries are based on economic harm,

17 not mental harm. The California Court of Appeal has held that the statutory damages provision

18 applies only to claims based on mental harm. See Miller v. Collectors Universe, Inc., 159 Cal.

19 App. 4th 988, 1005 (2008). Where, as here, a plaintiff claims injury for economic harm, his or her

20 sole recourse is to prove actual damages.

21          Plaintiffs also fail to state any claim upon which relief can be granted, requiring dismissal

22 of the SAC in its entirety for three reasons. First, all of Plaintiffs’ claims are preempted by the

23 Federal Communications Decency Act, 47 U.S.C. § 230 (“CDA”), which bars state law claims

24 attempting to impose liability on interactive computer services, like LinkedIn, for publication and

25 republication of content provided by users. Connection invitations ⎯and reminders that republish

26 them⎯are activities protected under the CDA because Plaintiffs consent to and create the content

27 of those communications. The core policy behind the CDA of “promot[ing] the continued

28 development of the Internet and other interactive computer services,” 47 U.S.C. §§ 230(b)(1)-(2),
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 1 would be advanced by finding that the state law claims asserted here are preempted, especially in

 2 light of Plaintiffs’ own claims that the reminders have been “critical” to the growth and

 3 development of LinkedIn. See, e.g., SAC ¶ 16.

 4          Second, reminder emails are not actionable because they are protected activity under the

 5 First Amendment. Reminders promote the First Amendment rights of free speech and association

 6 and, therefore, concern matters of public interest. Even if Plaintiffs were to claim that reminders

 7 are commercial speech, which they are not, the use of member names and likenesses in reminders,

 8 which publicize connection invitations through which members exercise their rights of free speech

 9 and association, are incidental uses also subject to protection under the First Amendment.

10          Third, reminder emails are not actionable because they fall within the incidental use

11 exception under the Restatement (Second) of Torts. The use of member names and likenesses in

12 reminders is necessary to identify the sender of a connection invitation so that the recipient knows

13 who is asking to connect. Accordingly, the challenged use is incidental to and customary for

14 online networking and, therefore, is not actionable as a right of publicity violation.

15 I.       PROCEDURAL BACKGROUND AND SUMMARY OF ALLEGATIONS
16          A.      Add Connections
17          LinkedIn is the world’s largest professional network. It is a free service that members use

18 to build online professional networks through which they can connect with, find, and be found by

19 current and potential business contacts. LinkedIn provides a variety of tools for building online

20 professional networks, including a feature called Add Connections, which members use to import

21 email addresses from their external email accounts and send emails to some or all of those contacts

22 inviting them to join their LinkedIn networks. See SAC Figs. 3-10. Members can send

23 connection invitations to contacts who are already LinkedIn members and to those who are not.1

24 If there is no response to an invitation, up to two reminders are sent by email reminding the

25 recipient that the connection invitation is pending. SAC ¶ 11.

26

27   1
    Plaintiffs challenge Add Connections only with respect to reminders sent to non-members. See
28 MTD Hr’g Tr. 18:1-12, Apr. 10, 2014; see also, e.g., SAC ¶ 17.
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 1          B.     Prior Proceedings
 2          Plaintiffs filed this case on September 17, 2013, and filed a First Amended Complaint
 3 (“FAC”) on October 2, 2013, challenging the Add Connections feature. Plaintiffs asserted, on

 4 behalf of a putative nationwide class, that Add Connections imported contacts from external email

 5 accounts, sent connection invitations, and sent up to two reminders of those connection invitations

 6 without member consent in violation of the Stored Communications Act, 18 U.S.C. § 2701 et seq.,

 7 the Wiretap Act, 18 U.S.C. § 2510 et seq., California Penal Code § 502, California’s common law

 8 right of publicity, and the UCL. See FAC, ECF No. 7 ¶¶ 110-138. On December 6, 2013,

 9 LinkedIn moved to dismiss the FAC. See ECF No. 17 (“MTD”). On June 12, 2014, this Court

10 granted LinkedIn’s MTD as to all but two claims, and limited those remaining claims to reminder

11 emails. Based on real-time permission screens presented to members using Add Connections, the

12 Court held that, as a matter of law, Plaintiffs consented to importing email contacts and sending

13 connection invitations. See ECF No. 47 (“MTD Order”) at 23-27. On this and related grounds,

14 the Court dismissed all of Plaintiffs’ claims based on importing email contacts and sending

15 connection invitations. Id. at 28-30. Because the Court found that consent to sending reminders

16 could not be established as a matter of law, Plaintiffs’ common law right of publicity claims and

17 derivative UCL claims based on reminders survived. Id. at 30-32.

18          On August 28, 2014, Plaintiffs filed the SAC. Plaintiffs abandoned their baseless claims
19 challenging their use of Add Connections to import email contacts and to send connection

20 invitations.2 Instead, relying solely on reminders, they reassert the two claims that survived the

21

22
     2
     LinkedIn renews its request that the Court strike under Rule 12(f) Plaintiffs’ “hacking”
23 allegations, which the Court denied in connection with the FAC, finding that these allegations
   were relevant to Plaintiffs’ California Penal Code Section 502 claim. MTD Order at 33 n.7.
24 Plaintiffs have dropped that claim in the SAC, but continue to assert, still without basis,
   allegations of “hacking,” “break[ing] into” members’ email accounts, and “tunneling.” See SAC
25 ¶¶ 7, 50 51, 69. The Court should strike these allegations as “immaterial, impertinent, [and]

26 scandalous” under Rule 12(f). See Fed. R. Civ. P. 12(f); see also Moreno v. USG Corp., 2007 WL
   951301, at *1 (S.D. Cal. Mar. 19, 2007) (scandalous allegations include allegations that
27 “improperly cast[] a derogatory light on…a party to the action”); Alvarado-Moralez v. Digital
   Equip. Corp., 843 F.2d 613, 618 (1st Cir. 1988). Plaintiffs still do not allege any factual support
28 for these allegations that “improperly cast a derogatory light” on LinkedIn; nor could they—as the
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 1 Court’s MTD Order and add a new claim under California Civil Code Section 3344. Plaintiffs

 2 claim that, although they consented to importing email contacts and sending connection invitations

 3 as a matter of law, they did not consent to sending reminders. According to Plaintiffs, they

 4 suffered economic harm because they were “deprived” of the “monetary value” of the use of their

 5 names and likenesses in reminders. See SAC ¶¶ 104-05, 132-143.

 6          C.     Reminders
 7          Although Plaintiffs’ entire case now hinges exclusively on reminders, the sixty-page SAC,

 8 which includes fifteen images of Add Connections permission screens and connection invitations,

 9 does not include a single image of a reminder. See SAC ¶¶ 9-11, 72. Below is an example from

10 the putative class period of a reminder email sent to a non-member, which is properly subject to

11 judicial notice, see Request for Judicial Notice (“RJN”) at 2-3.

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     Declaration of Jonathan H. Blavin (“Blavin Decl.”), Ex. A.
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   Court explained, Plaintiffs’ own allegations make plain that LinkedIn accesses external email
28 accounts only after users consent. See MTD Order at 23-27, 32-34.
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 1             A reminder is exactly what the name indicates—it reminds the recipient of a connection

 2 invitation that the invitation is pending. That is all.

 3 II.         LEGAL STANDARD
 4             A Rule 12(b)(6) motion “tests the legal sufficiency of a claim.” Navarro v. Block, 250

 5 F.3d 729, 732 (9th Cir. 2001). A complaint “must contain sufficient factual matter, accepted as

 6 true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678

 7 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A court should not accept

 8 mere “labels and conclusions” in a complaint, nor a “formulaic recitation of the elements of a

 9 cause of action.” Id. The court may consider documents referenced in the complaint and relevant

10 matters subject to judicial notice. E.g., Lapidus v. Hecht, 232 F.3d 679, 682 (9th Cir. 2000).

11 Requests for damages that are precluded as a matter of law are subject to dismissal under Rule

12 12(b)(6). See Whittlestone, Inc. v. Handi-Craft Co., 618 F.3d 970, 974 (9th Cir. 2010); Daly v.

13 United Healthcare Ins. Co., 2010 WL 4510911, at *7 (N.D. Cal. Nov. 1, 2010) (Koh, J.) (“[A]

14 Fed. R. Civ. P. 12(b)(6) motion is the proper method for dismissing a claim for damages . . . .”).

15 III.        ARGUMENT
16             A.     Plaintiffs’ Request For Minimum Statutory Damages Under Section 3344
                      Should Be Dismissed Because Plaintiffs Seek Damages For Only Economic
17                    Harm, Not Mental Harm
18             Under their new Section 3344 claim, Plaintiffs claim minimum statutory damages of $750.

19 See SAC ¶ 143 (requesting “a remedy as provided for by the California Right of Publicity Statute

20 in the amount of $750 per LinkedIn member”); see also Cal. Civ. Code § 3344(a).3 Plaintiffs’

21 claim for minimum statutory damages should be dismissed because Section 3344’s statutory

22 damages provision applies only to claims for mental harm, which Plaintiffs do not allege and, in

23
     3
24       California Civil Code Section 3344(a) provides that a defendant who violates the statute
               shall be liable for any damages sustained by the person or persons injured as a
25             result thereof. In addition, in any action brought under this section, the person
               who violated the section shall be liable to the injured party or parties in an amount
26
               equal to the greater of seven hundred fifty dollars ($750) or the actual damages
27             suffered by him or her as a result of the unauthorized use, and any profits from the
               unauthorized use that are attributable to the use and are not taken into account in
28             computing the actual damages.
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 1 fact, have expressly disclaimed. In Miller v. Collectors Universe, Inc., 159 Cal. App. 4th 988,

 2 1005 (2008), the California Court of Appeal held that the statutory damages provision of Section

 3 3344 is intended to protect plaintiffs seeking recovery for mental—not commercial—harm, and

 4 thus only those plaintiffs may recover the $750 minimum statutory damages. That ruling is

 5 binding on this Court.4

 6          In Miller, the plaintiff, an authenticator of memorabilia, sued his former employer

 7 Collectors, alleging that following Miller’s termination, Collectors had issued to customers 14,060

 8 “certificates of authenticity” bearing Miller’s name in violation of his statutory right of publicity

 9 under Section 3344. See 159 Cal. App. 4th at 991. Miller sought $750 in statutory damages for

10 each of the 14,060 certificates. Id.

11          The Court of Appeal reversed the judgment in plaintiff’s favor after trial. The court

12 explained that the right protected by Section 3344 “has two aspects: (1) the right of publicity

13 protecting the commercial value of celebrities’ names and likenesses, and (2) the appropriation of

14 the name and likeness that brings injury to the feelings, that concerns one’s own peace of mind,

15 and that is mental and subjective.” Id. at 1005. Miller had contended that, apart from his claims

16 of mental harm, he was entitled to $750 in statutory damages for each of the certificates because

17 he had “suffered commercial loss from the dilution of the value of his future authentications.” Id.

18 at 1005-06. After surveying the legislative history of Section 3344 in detail, the court rejected

19 Miller’s argument, concluding that “the statutory minimum damages were meant to compensate

20 non-celebrity plaintiffs who suffer…mental anguish yet no discernible commercial loss.” Id. at

21 1006; see also Lugosi v. Universal Pictures, 25 Cal. 3d 813, 842 n.23 (1979) (Bird, C.J.,

22 dissenting) (observing that “Legislature recently enacted Civil Code Section 3344 to provide a

23 minimum amount of damages” and that the “legislative history of Section 3344 strongly suggests

24
   4
     This Court is “bound to follow” California appellate court interpretations “absent convincing
25 evidence that the California Supreme Court would reject the interpretation of” a statute by such

26 courts. In re Watts, 298 F.3d 1077, 1082 (9th Cir. 2002); see also Guillen v. Bank of Am. Corp.,
   2011 WL 4071996, at *4 (N.D. Cal. Aug. 31, 2011) (“This court must defer to the interpretation of
27 the California Court of Appeal absent convincing evidence the California Supreme Court would
   decide the matter differently.”). There is no evidence, much less convincing evidence, that the
28 California Supreme Court would reject Miller.
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 1 that the Legislature was concerned with an individual’s right to privacy, not an individual’s

 2 proprietary interest in his or her name and likeness”).

 3          The Miller court concluded instead that the “primary right protected by section 3344(a)’s

 4 provision for statutory minimum damages is the right to be free from . . . mental anguish resulting

 5 from commercial misappropriation,” and that Miller was therefore entitled only to a single award

 6 of $750 for his claims of mental harm. Id. “To the extent Miller suffered commercial loss due to

 7 his status as an authenticator well known in the ‘close-knit collectibles and autograph industry,’”

 8 the court held, “his recourse was to prove actual damages like any other plaintiff whose name has

 9 commercial value.” 159 Cal. App. 4th at 1006 (emphasis added).

10          Thus, under Miller, a plaintiff claiming damages based on economic harm allegedly

11 resulting from violation of the right to publicity, as Plaintiffs do here, is not entitled to Section

12 3344’s minimum statutory damages but must “prove actual damages.” Id.; see also Cohen v.

13 Facebook, Inc., 798 F. Supp. 2d 1090, 1097 (N.D. Cal. 2011) (under Miller, plaintiffs are not

14 automatically entitled to statutory damages but “must, at a minimum, plead that they suffered

15 mental anguish as a result of the alleged misappropriation”); McCarthy, Rights of Publicity and

16 Privacy § 6:46 (2d ed.) (Miller held that “statutory minimum damages could not be recovered by a

17 person as a measure of damages for injury to the commercial value of his or her identity. Rather,

18 the statutory minimum could be used only when a plaintiff seeks damages for injury to mental

19 feeling and peace of mind”).

20          Miller is consistent with a long line of California cases holding that statutory damages may

21 be recovered only by those who “fall within the class of persons intended to be protected” by the

22 statutory damages provision. Starbucks Corp. v. Superior Court, 168 Cal. App. 4th 1436, 1449

23 (2008). In Starbucks, for example, the plaintiffs sued the coffee chain under a Labor Code

24 provision prohibiting employers from asking in a job application about marijuana convictions

25 more than two years old. Id. at 1440 (citing Cal. Lab. Code § 432.8). The plaintiffs, who did not

26 themselves have any marijuana convictions, sought to represent a class of 135,000 Starbucks

27 applicants, and requested statutory damages of $200 per applicant. Id. The Labor Code provision

28 at issue included a statutory damages component: “In any case where a person violates this section
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 1 . . . the applicant may bring an action to recover from that person actual damages or two hundred

 2 dollars ($200).” Cal. Lab. Code § 432.7.

 3          Notwithstanding that broad language, the California Court of Appeal “decline[d] to adopt

 4 an interpretation that would turn the statute into a veritable financial bonanza for litigants like

 5 plaintiffs.” Id. at 1449. Instead, citing a long line of cases narrowly construing statutory damages

 6 provisions to avoid disconnecting the award from the harm it was designed to address—including

 7 the Miller decision—the court held that only applicants who themselves had marijuana

 8 convictions could sue under that provision, because only those individuals were in the “class of

 9 people the Legislature sought to protect.” Id. at 1449-51 (citing Hale v. Morgan, 22 Cal. 3d 388,

10 402, 405 (1978) (narrowly interpreting a statutory damages provision)); Balmoral Hotel Tenants

11 Ass’n v. Lee, 226 Cal. App. 3d 686, 695, 697 (1990) (same)).5

12          Miller compels dismissal of Plaintiffs’ statutory damages claims here. Recognizing the
13 impossibility of certifying a class based on claims of mental harm,6 Plaintiffs abandoned any

14 theory of injury based on mental harm in opposition to LinkedIn’s motion to strike the class

15 allegations in Plaintiffs’ FAC, stating that the “harm giving rise to Plaintiffs’ class actions are the

16 economic harm each Plaintiff has suffered as a result of LinkedIn,” [sic] and that “it is Plaintiffs’

17 economic injuries giving rise to the class action claims at issue.” ECF No. 24, at 33 n.20

18
     5
19     The “plain language” of Section 3344(a) does not counsel otherwise, because as the Court of
     Appeal in Starbucks explained in rejecting the lower court’s conclusion that the “plain language”
20   of the statute required a contrary result, 168 Cal. App. 4th at 1443, to the extent the statutory
     damages provision can be read as providing damages for plaintiffs other than those the Legislature
21   intended to protect, it is ambiguous and must be “narrowly interpret[ed]” to avoid that “absurd
     result,” 168 Cal. App. 4th at 1451. See also State ex rel. Dockstader v. Hamby, 162 Cal. App. 4th
22   480, 487-88 (2008) (although statute authorizing treble damages and civil penalties against “any
23   natural person” was unambiguous on its face, it was ambiguous in context of purpose of statute
     and prior judicial interpretation of law); Larson v. Casual Male Stores, LLC, 2009 WL 932648, at
24   *4-6 (Cal. Ct. App. Apr. 8, 2009) (unpublished) (“The apparent purpose of a statute will not be
     sacrificed to a literal construction. When aid to construction of the words, as used in the statute, is
25   available, there certainly can be no rule of law which forbids its use, however clear the words may
     appear on superficial examination.” (internal citations and quotation marks omitted)).
26   6
     See, e.g., Stilson v. Reader’s Digest Ass’n, Inc., 28 Cal. App. 3d 270, 274 (1972) (in common
27 law right of publicity case, denying class certification and noting that “to award even slightly more
   than nominal damages, the court would be required to examine the mental and subjective state of
28 each of the millions of plaintiffs”).
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 1 (emphases added). Likewise, in the SAC, Plaintiffs limit allegations of injury solely to economic

 2 harm. See SAC ¶¶ 104-05 (“Each Plaintiff was deprived the [sic] monetary value of having his or

 3 her endorsement appear in the endorsement emails” and “[e]ach Plaintiff has been personally

 4 injured by this loss of money”), ¶¶ 132-143 (describing harm under 3344 claim as “receiv[ing] no

 5 compensation” and being “deprived of earnings”). Just as in Miller, Plaintiffs cannot recover

 6 statutory damages based on their claims of economic harm. On the contrary, exactly as in Miller,

 7 to the extent Plaintiffs claim that their status among their contacts gave rise to commercial losses,

 8 they must prove their actual damages.

 9          B.      Plaintiffs’ Claims Are Barred By The Federal Communications Decency Act,
                    47 U.S.C. § 230
10
            Under section 230 of the CDA, “[n]o provider or user of an interactive computer service
11
     shall be treated as the publisher or speaker of any information provided by another information
12
     content provider.” 47 U.S.C. § 230(c)(1). Section 230 expressly preempts any application of state
13
     law that interferes with this rule, providing that “[n]o cause of action may be brought and no
14
     liability may be imposed under any State or local law that is inconsistent with this section.” Id.
15
     § 230(e)(3). It “provides broad immunity [to websites that publish] content provided primarily by
16
     third parties.” Carafano v. Metrosplash.com, Inc., 339 F.3d 1119, 1123 (9th Cir. 2003); Barrett v.
17
     Rosenthal, 40 Cal. 4th 33, 57 (2006) (section 230 provides “blanket immunity from tort liability
18
     for online republication of third party content”). Section 230 thus protects a “(1) a provider or
19
     user of an interactive computer service (2) whom a plaintiff seeks to treat, under a state law cause
20
     of action, as a publisher or speaker (3) of information provided by another information content
21
     provider.” Barnes v. Yahoo!, Inc., 570 F.3d 1096, 1100-01 (9th Cir. 2009). As described further
22
     below, all of Plaintiffs’ claims are based on allegations that fall squarely within those three
23
     elements of the protection afforded by the CDA and are therefore preempted.
24
            Section 230 immunity for emails Plaintiffs send using Add Connections, including
25
     reminders, is also consistent with and bolstered by the policies underlying the CDA. Congress
26
     enacted the immunity provisions of section 230 “to promote the continued development of the
27
     Internet and other interactive computer services and other interactive media” and “to preserve the
28
                                                      -10-      MOTION TO DISMISS SECOND AMENDED COMPLAINT
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 1 vibrant and competitive free market that presently exists for the Internet and other interactive

 2 computer services, unfettered by Federal or State regulation.” 47 U.S.C. §§ 230(b)(1)-(2).

 3 Without such immunity, websites “might not be able to offer” their “services and certainly not to

 4 the same degree,” thus undermining the “‘continued development” of “interactive computer

 5 services.” Carafano v. Metrosplash.com. Inc., 339 F.3d 1119 (9th Cir. 2003) (quoting 47 U.S.C.

 6 § 230(b)(1)). Here, Plaintiffs repeatedly allege that reminders have played a “critical” role in

 7 LinkedIn’s development as a professional online network. See, e.g., SAC ¶ 16 (“Sending a second

 8 and third reminder email was critical to LinkedIn growing its user base.” (emphasis added)).

 9 Imposing liability on LinkedIn based on reminders because they allegedly allowed LinkedIn to

10 develop an online professional network would directly undermine the Congressional policies

11 underlying the CDA.

12          CDA immunity extends to all state statutory and common law claims, including claims for

13 violation of the right of publicity, see Carafano, 339 F.3d at 1125 (upholding section 230

14 immunity for misappropriation claim),7 and is a proper ground upon which to grant a motion to

15 dismiss, see Evans v. Hewlett-Packard Co., 2013 WL 5594717, at *3 (N.D. Cal. Oct. 10, 2013)

16 (“[E]valuating Section 230 immunity [is] proper at the dismissal stage”).8 “[C]lose cases . . . must

17 be resolved in favor of immunity, lest we cut the heart out of Section 230 by forcing websites to

18 face death by ten thousand duck-bites . . . .” Fair Hous. Council of San Fernando Valley v.

19 Roommates.com, 521 F.3d 1157, 1174 (9th Cir. 2008) (en banc).

20

21

22
     7
23   See also Perfect 10, Inc. v. CCBill LLC, 488 F.3d 1102, 1118-19 (9th Cir. 2007) (affirming
   Section 230 immunity against right of publicity claims and for claims for unfair competition and
24 false advertising, noting “Congress’s expressed goal of insulating the development of the Internet
   from various state-law regimes”); Joude v. WordPress Found., 2014 WL 3107441, at *7 (N.D.
25 Cal. July 3, 2014) (under section 230, “computer service providers in this circuit are entitled to
   immunity from state intellectual property claims, including the right of publicity”).
26 8
     See also Black v. Google Inc., 2010 WL 3222147, at *3 (N.D. Cal. Aug 13, 2010) (granting
27 motion   to dismiss under Section 230); Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591
   F.3d 250, 255-58 (4th Cir. 2009) (courts should “resolve the question of § 230 immunity at the
28 earliest possible stage of the case” (citing Roommates.com, 521 F.3d at 1175)).
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 1                  1.      LinkedIn Is An “Interactive Computer Service” Provider
 2          An “interactive computer service” is “any information service system, or access software
 3 provider that provides or enables computer access by multiple users to a computer server,

 4 including specifically a service or system that provides access to the Internet and such systems

 5 operated or services offered by libraries or educational institutions.” 47 U.S.C. § 230(f)(2). Under

 6 Section 230(f)(4), an “access software provider” is “a provider of software (including client or

 7 server software), or enabling tools that do any one or more of the following: (A) filter, screen, or

 8 disallow content; (B) pick, choose, analyze, or digest content; or (C) transmit, receive, display,

 9 forward, cache, search, subset, organize, reorganize, translate content.” LinkedIn is an

10 “interactive computer service” provider within the meaning of the CDA, as courts have held in

11 similar contexts for social networking websites. See Klayman v. Zuckerberg, 753 F.3d 1354, 1357

12 (D.C. Cir. 2014) (“Facebook qualifies as an interactive computer service because it is a service

13 that provides information to ‘multiple users’ by giving them ‘computer access . . . to a computer

14 server,’ 47 U.S.C. § 230(f)(2), namely the servers that host its social networking website.”);

15 Roommates.com, 521 F.3d at 1162 n.6 (“[T]he most common interactive computer services are

16 websites.”); Young v. Facebook, Inc., 2010 WL 4269304, at *5 (N.D. Cal. Oct. 25, 2010)

17 (Facebook is an interactive computer service; granting motion to dismiss under Section 230).

18 LinkedIn “provides information to ‘multiple users’ by giving them ‘computer access . . . to a

19 computer server,’” 47 U.S.C. § 230(f)(2)—the LinkedIn servers hosting its site—and in the

20 specific context of connection invitations and reminders, “transmit[s],” “display[s],” and

21 “organize[s]” content, among other functions, id. § 230(f)(4).

22                  2.      Plaintiffs’ Claims Treat LinkedIn As A “Publisher Or Speaker”
23          Plaintiffs’ claims treat LinkedIn as the “publisher or speaker” of information because they

24 challenge LinkedIn’s alleged sending of reminder emails over the Internet. See, e.g., SAC ¶ 5

25 (claims arise from “practice of sending repeated endorsement emails”), ¶ 9 (same), ¶ 22 (Plaintiffs

26 “filed this case to stop LinkedIn’s practice of sending repeated endorsement emails”). All of

27 Plaintiffs’ causes of action arise from the sending of these reminder emails. See id. ¶¶ 122, 134

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 1 (common law right of publicity and Section 3344 claims arising from use of Plaintiffs’ names or

 2 likenesses in emails), ¶ 147 (UCL claim arising out of “send[ing] repeated reminder emails”).

 3          The Ninth Circuit has held, “what matters is not the name of the cause of action,” but

 4 “whether the cause of action inherently requires the court to treat the defendant as the ‘publisher or

 5 speaker’ of content provided by another. In other words, courts must ask whether the duty that the

 6 plaintiff alleges the defendant violated derives from the defendant’s status or conduct as a

 7 ‘publisher or speaker.’ If it does, section 230(c)(1) precludes liability.” Barnes, 570 F.3d at 1100-

 8 01.

 9          Courts consistently treat “distributors” of content as equivalent to “publishers” under the

10 CDA, and repeatedly have held that claims challenging the sending of emails to third parties fall

11 squarely within the scope of Section 230 immunity. In Optinrealbig.com, LLC v. Ironport

12 Systems, Inc., 323 F. Supp. 2d 1037 (N.D. Cal. 2004), for example, the plaintiff, a sender of “bulk

13 commercial electronic mail (email),” brought suit against an Internet-based anti-SPAM service,

14 claiming that the defendant overstated the complaints against the plaintiff to ISPs, causing the

15 ISPs to curtail bandwidth for the plaintiff. The defendant’s registered users would “forward what

16 they believe to be spam” to the defendant, and the defendant would then email these reports to the

17 originating ISP. Id. at 1040. The plaintiff filed various state law claims and sought a preliminary

18 injunction enjoining defendant from “transmitting or sending reports it forwards to third parties.”

19 Id. at 1039, 1047.

20          The court denied the injunction and found that the defendant was immune from liability

21 under the CDA. The plaintiff had argued that “deliberately sending the reports to non-subscribers,

22 that is third parties who did not choose to receive the reports, removes SpamCop from immunity”

23 under the CDA. Id. at 1046. Observing that courts “have consistently found that the CDA does

24 not distinguish between publishers and distributors,” the court held that section 230 immunity

25 applied. Id. at 1045. Thus, while the defendants’ “[d]istributing content to non-subscribers may

26 be perceived as aggressive activity,” it “does not destroy the distributor’s immunity,” as the “focus

27 on distributor liability is and should be conterminous with the focus on publisher liability:

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 1 content.” Id. Numerous other courts have reached the same conclusion.9

 2          Likewise, here, Plaintiffs’ challenge to LinkedIn “distributing content” to third party non-

 3 subscribers treats LinkedIn as a “publisher or speaker” of information under the CDA.

 4                   3.      Plaintiffs Provided The Information, And LinkedIn Is Not An
                             “Information Content Provider”
 5
            Plaintiffs provided the information in the challenged emails under the CDA—the request
 6
     from each Plaintiff to a third party to join his or her professional network—and therefore LinkedIn
 7
     cannot be considered an “information content provider.”10
 8
            Under the CDA, “lawsuits seeking to hold a service provider liable for its exercise of a
 9
     publisher’s traditional editorial functions—such as deciding whether to publish, withdraw,
10
     postpone or alter content—are barred.” Zeran v. Am. Online, Inc., 129 F.3d 327, 330 (4th Cir.
11
     1997) (cited with approval by Roommates.com, 521 F.3d at 1179–80); Ramey v. Darkside Prods.,
12
     Inc., 2004 WL 5550485, at *7 (D.D.C. May 17, 2004) (defendant was not an information content
13
     provider because it edited the ads posted on its website). Accordingly, courts have held that where
14
     a defendant does not change the substantive nature of the content the user provides, it is not an
15
     9
16     See, e.g., Hung Tan Phan v. Lang Van Pham, 182 Cal. App. 4th 323, 325 (2010) (act of
     “forward[ing]” allegedly defamatory email to “to at least one” other individual with “introductory
17   paragraph” immune from liability under CDA); Mitan v. A. Neumann & Assocs., LLC, 2010 WL
     4782771, at *1, 5 (D.N.J. Nov. 17, 2010) (act of forwarding email immune under CDA, noting
18   that “regardless of the original source of the [email], it is undisputed that [defendant] received the
     [email] via the Internet (email) and republished the same via the Internet (email)”); Shrader v.
19   Biddinger, 2012 WL 976032, at *9 (D. Colo. Feb. 17, 2012) (holding that “directing” users to site
     through emailing “does not diminish the protections of the CDA’s immunity”); Gavra v. Google
20   Inc., 2013 WL 3788241, at *3 (N.D. Cal. July 17, 2013) (rejecting plaintiff’s attempt to
     “distinguish between publishers and distributors” under the CDA).
21   10
        Plaintiffs do not allege any facts to support their conclusory allegations that LinkedIn was the
22   creator and developer of the content of “endorsement emails,” see, e.g., SAC ¶ 99 (“LinkedIn was
     solely responsible for the creation and development of each endorsement email, the content, and
23   the advertisement scheme by which each endorsement email was created.”), and actually
     demonstrate the opposite in the SAC. Accordingly, the Court may ignore these allegations. See,
24   e.g., Universal Commc’n Sys., Inc. v. Lycos, Inc., 478 F.3d 413, 418 (1st Cir. 2007) (plaintiff “has
     attempted to plead around” CDA immunity but the “facts pleaded simply do not fit those theories”
25   and “[n]o amount of artful pleading can avoid that result”); Evans v. Hewlett-Packard Company,
     2013 WL 5594717,at *4 (N.D. Cal. Oct. 10, 2013) (“Plaintiffs attempt to plead around Section
26
     230, but these schemes fail.”); Perfect 10, Inc. v. Google, Inc., 2008 WL 4217837, at *8 (C.D. Cal.
27   July 16, 2008) (where plaintiff “claims that it has pleaded around CDA preemption by alleging
     that Google is an ‘information content provider’” rejecting these “conclusory allegations” as “at
28   best, dubious”); Levitt v. Yelp! Inc., 2011 WL 5079526, at *5 (N.D. Cal. Oct. 26, 2011) (same).
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 1 “information content provider.” See Asia Econ. Inst. v. Xcentric Ventures LLC, 2011 WL

 2 2469822, at *8 (C.D. Cal. May 4, 2011) (“Absent a changing of . . . substantive content that is

 3 visible to consumers, liability cannot be found.”); Roommates.com, 521 F.3d at 1169 (“website

 4 operator who edits user-created content—such as by correcting spelling, removing obscenity or

 5 trimming for length—retains his immunity” whereas “a website operator” who “transform[s] an

 6 innocent message into a libelous one—is directly involved in the alleged illegality and thus not

 7 immune”); Donato v. Moldow, 374 N.J. Super. 475, 500 (App. Div. 2005) (“commenting

 8 favorably or unfavorably on some postings, without changing the substance of the message

 9 authored by another, does not constitute ‘development’” under CDA).

10          Reminder emails fall squarely within the realm of “traditional editorial functions” that are

11 immune from challenge under the CDA. Traditional editorial functions immune from liability

12 include using pre-written language in response to user conduct. In Carafano v. Metrosplash.com.

13 Inc., 339 F.3d 1119 (9th Cir. 2003), for example, the Ninth Circuit held that a dating website that

14 provided “a menu of ‘pre-prepared responses’” for users was protected by the CDA because “no

15 profile has any content until a user actively creates it” and “[w]ithout standardized, easily encoded

16 answers, [the site] might not be able to offer these services and certainly not to the same degree.”

17 Id. at 1125; see also, Goddard v. Google, Inc., 640 F. Supp. 2d 1193, 1997-99 (N.D. Cal. 2009)

18 (CDA immunity applied even though Google allegedly “disproportionately suggests the term ‘free

19 ringtone’ in response to an advertiser’s entry of the term ‘ringtone’”); Jurin v. Google Inc., 695 F.

20 Supp. 2d 1117, 1123 (E.D. Cal. 2010) (Google’s practice of “suggesting keywords” to competing

21 advertisers “merely helps third parties to refine their content” and was protected by the CDA);

22 Prickett v. InfoUSA, Inc., 561 F. Supp. 2d 646, 651-52 (E.D. Tex. 2006) (defendant not

23 “information content provider” even though users “prompted to select subcategories through the

24 Defendant’s database gathering system” and the “Defendant directed the third party’s selections”).

25          The allegations of the SAC make clear that here Plaintiffs provided the substantive

26 “content” to LinkedIn by providing their own names, likenesses, and contacts to LinkedIn, and by

27 then clicking the “Add to Network” button on the LinkedIn permission screen; LinkedIn did not

28 alter the substance of such content in connection invitations or reminders. See SAC ¶¶ 64-65,
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 1 Figures 1-8. LinkedIn used the phrase “I’d like to add you to my professional network” in the

 2 connection invitation in response to the user’s action, SAC Figure 10, which is substantively

 3 identical to the language Plaintiffs consented to by clicking the “Add to Network” button. As the

 4 Court stated in its Order on LinkedIn’s motion to dismiss, the

 5          actual email that is ultimately sent to the contacts states ‘I’d like to add you to my
            professional network’ with the name of the LinkedIn user below. See ECF No. 7,
 6          Fig. 7. The Court finds that a reasonable user who saw the disclosure ‘Invite
            [contacts] to connect with you’ has consented to this language in the email. The
 7
            email contains the message that LinkedIn discloses to users: an invitation from
 8          the user to the users’ contacts to connect with the user on LinkedIn.

 9 MTD Order at 29 (emphasis added). Indeed, as the Court emphasized, “Plaintiffs do not

10 challenge the specific format or content of the invitation email.” Id. Moreover, Plaintiffs at all

11 times could have “skip[ped] this step” and declined to send any connection invitations or

12 reminders at all through Add Connections. See id. at 28-29 (noting ability to “‘Skip this step’
                11
13 altogether”). Accordingly, Plaintiffs are the source of the content of the communications at

14 issue.

15          LinkedIn’s republishing of this user content—the request to join Plaintiff’s professional

16 networks—through the sending of up to two reminder emails does not convert LinkedIn into an

17 information content provider. As the SAC makes clear, the challenged reminders contain nothing

18 more than the same substantive content as the initial connection invitations: “The reminder

19 endorsement emails requested that the recipients join LinkedIn.” SAC ¶¶ 23, 25, 29, 31, 33, 35,

20 37, 39; see also Blavin Decl. Ex. A (showing text of reminder email). Courts repeatedly have held

21 that active and selective republication of user content is immune from liability, as “Congress has

22 comprehensively immunized republication” under the CDA. Barrett, 40 Cal. 4th at 62 (party that

23 “actively selected and republished information” on several different occasions on website remains

24 immune from liability as publisher); see also Novins v. Cannon, 2010 WL 1688695, at *2 (D.N.J.

25
     11
      This is in contrast to sites where the user submitted certain information as a required condition
26 of using the site at all. See, e.g., Doe II v. MySpace Inc., 175 Cal. App. 4th 561, 575 (2009) (that
   users were “encouraged” to enter “personal information” and “information is organized by the
27 site” does not convert site into information content provider; emphasizing that user does not
   “require[] its members to answer the profile questions as a condition of using the site”).
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 1 Apr. 27, 2010) (“As multiple courts have accepted, there is no relevant distinction between a user

 2 who knowingly allows content to be posted to a website he or she controls and a user who takes

 3 affirmative steps to republish another person’s content; CDA immunity applies to both”).12

 4          Indeed, courts have emphasized that under Ninth Circuit law, “[i]ncreasing the visibility

 5 of a statement is not tantamount to altering its message,” and that “[t]his holding is bolstered by

 6 the Ninth Circuit’s en banc opinion in Roommates.com,” where the court “asserted that ‘in cases

 7 of enhancement by implication or development by inference ... section 230 must be interpreted to

 8 protect websites.’” Asia Econ. Inst., 2011 WL 2469822, at *8 (quoting Roommates.com, 521 F.3d

 9 at 1174–75) (emphases added). Thus, “[a]bsent a changing” of the “substantive content that is

10 visible to consumers,” none of which is or can be alleged here with respect to connection

11 invitations or their reminders, “liability cannot be found.” Id. (emphasis added); see also Small

12 Justice LLC v. Xcentric Ventures LLC, 2014 WL 1214828, at *7 (D. Mass. Mar. 24, 2014) (where

13 defendant allegedly instructed search engines to make copies of user reports and to display copies

14 to “maximize the number of times each of the” reports were listed on search engines’ index, court

15 held that “merely endeavoring to increase the prominence” of content “does not make [defendant]

16 an information content provider”).

17          This is equally true where, as alleged here, the users who are the source of the content

18 claim that they did not explicitly authorize future republication, i.e., reminder emails. Courts may

19 withdraw “protection only for those internet service providers who would publish on the Internet

20 private communications the provider knew or had reason to know were never intended to be

21 published at all” online. Perfect 10, Inc. v. CCBill, LLC, 340 F. Supp. 2d 1077, 1110-11 (C.D.

22 Cal. 2004), aff’d in part, rev’d in part on other grounds and remanded, 481 F.3d 751 (9th Cir.

23 2007) (emphasis added) (citing Batzel v. Smith, 333 F.3d 1018 (9th Cir. 2003)). Courts have

24   12
      As the California Supreme Court has held, “[a]t some point active involvement in the creation”
25 of an “Internet posting would expose a defendant to liability as an original source,” but where the
   defendant “made no changes” to the user consent, the court “need not consider when that line is
26 crossed.” Barrett, 40 Cal. 4th at 60. Here, LinkedIn made no substantive changes to the content
   at issue in the connection invitation, and only sent two reminders of those invitations to users.
27 Thus, the Court need not consider precisely where such “active involvement” would cross the line.

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 1 therefore rejected arguments that CDA immunity turns on whether plaintiffs intended for work

 2 already published on the Internet to be published on the defendant’s website in particular, holding

 3 that such a rule improperly would require the defendant “to determine whether the information

 4 content provider intended the content to be published in a particular forum.” Id. Similarly, courts

 5 have held that a website is immune from liability even where the “author of the defamatory

 6 content himself requests that it be taken down,” holding that “liability based on an author’s notice,

 7 workable or not, is without statutory support and is contrary to well-settled precedent that the

 8 CDA is a complete bar to suit against a website operator for its ‘exercise of a publisher’s

 9 traditional editorial functions.’” Global Royalties, Ltd. v. Xcentric Ventures, LLC, 544 F. Supp.

10 2d 929, 932 (D. Ariz. 2008).13 The content at issue here was not “private” or “unpublished.” As

11 the Court held, Plaintiffs consented to LinkedIn distributing their connection invitations to third

12 parties. LinkedIn’s decision to republish those invitations through reminders—to the very same

13 parties that already received the connection invitations—is immune from liability under the CDA.

14          This Court’s decision in Fraley is not to the contrary. There, the Court held that although
15 under Plaintiffs’ allegations Facebook “members provide some of the information used in

16 Sponsored Stories by taking an action such as clicking the ‘Like’ button on a third-party’s

17 website,” Facebook so fundamentally transformed this information in its Sponsored Stories that

18 Facebook itself became an “information content provider” under the CDA. Fraley v. Facebook,

19 Inc., 830 F. Supp. 2d 785, 801-02 (N.D. Cal. 2011). As the Court observed, Facebook created

20 content by “mistranslating members’ actions, such as clicking on a ‘Like’ button on a company’s

21 page, into the words ‘Plaintiff likes [Brand],’ and further combining that text with Plaintiff’s

22 photograph, the company’s logo, and the label ‘Sponsored Story.’” Id. at 802 (emphasis

23 added). Facebook did not just “rearrang[e] text and images provided by members,” but “by

24   13
        Even if Plaintiffs alleged that they had not intended for LinkedIn to distribute any connection
     invitations at all, which the Court rejected in its Order, the potential absence of consent or
25   knowledge on Plaintiffs’ end is irrelevant because under the CDA “the focus should be not on the
     information provider’s intentions or knowledge when transmitting content but, instead, on the
26
     service provider’s or user’s reasonable perception of those intentions or knowledge.” Batzel, 333
27   F.3d at 1034 (emphasis added). “Otherwise, posting of information on the Internet and other
     interactive computer services would be chilled, as the service provider or user could not tell
28   whether posting was contemplated.” Id.
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 1 grouping such content in a particular way with third-party logos, Facebook transformed the

 2 character of Plaintiffs’ words, photographs, and actions into a commercial endorsement” and thus

 3 was not entitled to immunity under the CDA on the pleadings. Id. (emphases added).

 4          Here, in contrast, Plaintiffs do not, and cannot, allege that LinkedIn “mistranslated” or

 5 “transformed the character” of any content provided by them. To the contrary, the connection

 6 invitation “contains the message that LinkedIn discloses to users” and to which they consented.

 7 MTD Order at 29 (emphasis added). The reminder emails merely refer back to and therefore

 8 contain exactly the same substantive content as the initial connection invitations, e.g., SAC ¶ 23,

 9 and Plaintiffs “do not challenge the specific format or content” of the invitations or reminders,

10 MTD Order at 29. Indeed, while the Court in Fraley held that the character of the content

11 Facebook users created by pressing the “Like” button was “transformed” into a commercial

12 endorsement, the Court here already has rejected the notion that there is a “distinction between

13 invitations, which LinkedIn clearly discloses, and endorsements, which Plaintiffs contend are

14 contained in the email,” as “an invitation and endorsement are synonymous.” Id. Thus, unlike in

15 Fraley, Plaintiffs’ allegations do not demonstrate that LinkedIn is an “information content

16 provider” under the CDA.

17          C.     Plaintiffs’ Claims Are Barred By The First Amendment
18                  1.      Reminder Emails Concern Matters of Public Interest
19          Under the First Amendment, publication of matters in the public interest is not actionable

20 under California’s common law or statutory rights of publicity. See Downing v. Abercrombie &

21 Fitch, 265 F.3d 994,1001 (9th Cir. 2001); Montana v. San Jose Mercury News, Inc., 34 Cal. App.

22 4th 790, 793 (1995). This defense “is not limited to ‘news’ in the narrow sense of reports of

23 current events. It extends also to the use of names, likenesses or facts in giving information to the

24 public for purposes of education, amusement or enlightenment, when the public may reasonably

25 be expected to have a legitimate interest in what is published.” Shulman v. Group W Prods., Inc.,

26 18 Cal. 4th 200, 225 (1998) (citing Restatement (Second) of Torts § 652D cmt. j). “The First

27 Amendment requires that the right to be protected from unauthorized publicity be balanced against

28 the public interest in the dissemination of news and information consistent with the democratic
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 1 processes under the constitutional guaranties of freedom of speech and of the press.” Gionfriddo

 2 v. Major League Baseball, 94 Cal. App. 4th 400, 409 (2001) (internal citations and quotation

 3 marks omitted). “[T]his balancing process begins by identifying and weighing the factors

 4 properly taken into account. At a minimum, a court must first consider the nature of the precise

 5 information conveyed and the context of the communication to determine the public interest in the

 6 expression,…[which] must then be weighed against the plaintiffs’ [asserted interests].” Id. at 410

 7 (emphasis added). Here, the facts alleged in the SAC and subject to judicial notice establish, as a

 8 matter of law, that reminder emails concern matters of public interest that outweigh Plaintiffs’

 9 asserted economic interests, and therefore constitute activity protected by the First Amendment.

10          Reminders serve the function identified by their name and convey the information required

11 by that function⎯they remind the recipients of connection invitations sent by LinkedIn members

12 that those invitations are pending and identify the LinkedIn members who sent them so that the

13 recipients know who the pending invitations are from. As a platform for creating professional

14 networks of people, LinkedIn promotes the rights of speech and association guaranteed by the

15 First Amendment. Accordingly, reminder emails, which refer recipients to communications from

16 LinkedIn members expressing their desire to connect, and which, according to Plaintiffs, increase

17 the likelihood of creating such connections, facilitate associations among people and therefore

18 concern matters of public interest.

19          The challenged use of member names and likenesses in reminders conveys information

20 that directly relates to these matters of public interest and, therefore, constitutes noncommercial

21 speech subject to the full protection of the First Amendment. “[T]he core notion of commercial

22 speech is that it does no more than propose a commercial transaction.” Hoffman v. Capital

23 Cities/ABC, Inc., 255 F.3d 1180, 1184-85 (9th Cir. 2001) (quoting Bolger v. Youngs Drug

24 Products Corp., 463 U.S. 60, 66 (1983)). Here, even if the names and likenesses of LinkedIn

25 members used in reminders are found to endorse LinkedIn’s services, they equally inform the

26 recipients of connection invitations sent by those same LinkedIn members that the invitations are

27 pending, as this Court has concluded. See MTD Order at 29 (“an invitation and endorsement are

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 1 synonymous”). As such, the challenged use in this case is readily distinguishable from uses that

 2 do “no more than propose a commercial transaction.”

 3           A comparison of Dora v. Frontline Video, Inc., 15 Cal. App. 4th 536 (1993), and

 4 Downing, 265 F.3d 994 (9th Cir. 2001), illustrates the difference between reminder emails and

 5 uses that do no more than advertise a service or product. Both cases involved surfing and surf

 6 culture, which were found to be matters of public interest, but only one conveyed information that

 7 “contributed significantly” to that topic so as to be protected by the First Amendment. In Dora,

 8 the plaintiff, surfing legend Mickey Dora, sued the producer of a surfing documentary for using

 9 his name and likeness in the film without his consent, claiming common law and statutory

10 violations of his right of publicity. See 15 Cal. App. 4th at 540. The trial court and Court of

11 Appeal found that the challenged use was protected under the First Amendment because Dora’s

12 contribution to the development of surf culture and his influence on the sport was “the point of the

13 program,” and he was depicted in the documentary because his identity directly contributed to the

14 story about surfing. Id. at 543.

15          By contrast, in Downing, the Ninth Circuit held that the defendant retailer’s use of the

16 plaintiff surfers’ names and photographs in a product catalog were not protected by the First

17 Amendment. Although the catalog had a surfing theme, and therefore concerned a matter of

18 public interest, the court found that the challenged use was “essentially [] window-dressing to

19 advance the catalog’s surf-theme.” 265 F.3d at 1002. “The catalog did not explain that [plaintiffs]

20 were legends of the sport and did not in any way connect [plaintiffs] with the story preceding it.”

21 Id. Accordingly, the court held that the First Amendment defense did not apply because the

22 challenged use did “not contribute significantly to a matter of the public interest.” Id.

23          This Court’s decision in Fraley v. Facebook, Inc., further highlights the distinction. In

24 Fraley, the plaintiffs alleged that Facebook used member identities, without consent, in pure

25 advertisements for unrelated third-party products and services based on members clicking “Like”

26 buttons corresponding to the advertised products and services. 830 F. Supp. 2d at 791. The Court

27 held that it could not be determined as a matter of law that the plaintiffs’ right of publicity claims

28 were barred by the First Amendment because the plaintiffs had sufficiently alleged that their
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 1 identities were used by Facebook in Sponsored Stories for “commercial advertising purposes and

 2 not part of ‘any news, public affairs, sports broadcast or account, or any political campaign.’” Id.

 3 at 805 (emphasis added).

 4          Here, as in Dora, the challenged use of member names and likenesses “directly contribute”

 5 to the purpose of reminder emails because they identify the sender of connection invitations

 6 referenced in reminder emails. Indeed, they are “the point” of reminder emails because, without

 7 such information, people receiving reminders would not know who sent the connection invitation

 8 referenced in the reminder. And, in contrast to Downing and Fraley, although Plaintiffs claim that

 9 the challenged use is for commercial advertising purposes, they do not and cannot claim that it is

10 solely for advertising purposes.

11          In the SAC, Plaintiffs allege that LinkedIn sent reminders “endorsing its products, services,

12 and brand to potential new users,” including premium memberships, for the purpose of “monetary

13 gain.” SAC ¶¶ 9, 14, 90. Even taking this as true, a cursory review of an actual reminder shows

14 that member names are equally used in reminder emails to convey factual information concerning

15 a matter of public interest⎯that LinkedIn members have sent connection invitations. According

16 to Plaintiffs, LinkedIn also sends reminders “to maximize membership growth and LinkedIn’s

17 profits,” which “increases its indirect revenue through sales to growing numbers of recruiters and

18 large corporations.” SAC ¶ 90. But profits alone do not render expression purely commercial.

19 “The First Amendment is not limited to those who publish without charge. [An expressive

20 activity] does not lose its constitutional protection because it is undertaken for profit.” Comedy III

21 Prods., Inc. v. Gary Saderup, Inc., 25 Cal. 4th 387, 396 (2001); see also Montana, 34 Cal. App.

22 4th at 797 n.2.

23          Finally, even commercial use is only actionable “when the plaintiff’s identity is used,

24 without consent, to promote an unrelated product.” Gionfriddo, 94 Cal. App. 4th at 413-14

25 (emphasis added); see also, e.g., Newcombe v. Adolf Coors Co., 157 F.3d 686, 691–94 (9th Cir.

26 1998) (use of pitcher’s image in beer advertisement); Abdul–Jabbar v. Gen. Motors Corp., 85

27 F.3d 407, 416 (9th Cir. 1996) (use of basketball star’s name in car commercial); Waits v. Frito–

28 Lay, Inc., 978 F.2d 1093, 1097–98 (9th Cir. 1992) (use of imitation of singer’s voice in snack food
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 1 commercial); White v. Samsung Elecs. Am., Inc., 971 F.2d 1395, 1396 (9th Cir. 1992) (use of

 2 game-show hostess’s “identity” in ad for electronic products); Midler v. Ford Motor Co., 849 F.2d

 3 460, 461 (9th Cir. 1988) (use of imitation of singer’s voice in car commercial). In the context of

 4 this case, challenging the means of creating an online professional network, the “product” is either

 5 the sender of the connection invitation, the platform facilitating the connection, or both.

 6 Accordingly, however the “product” is defined, the challenged use is not only related to the

 7 product, it is essential to its operation.

 8          Plaintiffs’ right of publicity claims should be dismissed because the information conveyed

 9 by reminder emails and the context in which it is conveyed establish, as a matter of law, that they

10 concern matters of public interest that outweigh Plaintiffs’ claimed economic interest in being

11 compensated for the use of their names and likenesses in reminders. Reminders follow up on

12 connection invitations sent by Plaintiffs themselves, are sent shortly after those connection

13 invitation to the same people for the same purpose, contain the same information which Plaintiffs

14 chose to make public by creating LinkedIn profiles and sending connection invitations, and which

15 are limited to at most two emails. See e.g., Johnson v. Harcourt, Brace, Jovanovich, Inc., 43 Cal.

16 App. 3d 880, 892 (1974) (“A person may, by his own activities or by the force of circumstances,

17 become a public personage and thereby relinquish a part of his right of privacy to the extent that

18 the public has a legitimate interest in his activities.” (citation omitted)).

19                   2.      Reminder Emails Publicize Protected Speech
20          Even if reminders are commercial speech, they are protected by the First Amendment

21 because reminders merely refer to and publicize connection invitations which are themselves

22 protected activity under the First Amendment. See, e.g., Page v. Something Weird Video, 960 F.

23 Supp. 1438, 1443–44 (C.D. Cal. 1996); Guglielmi v. Spelling–Goldberg Prods., 25 Cal. 3d 860,

24 872–73 (1979) (Bird, C.J., concurring); Rezec v. Sony Pictures Ent., Inc., 116 Cal. App. 4th 135,

25 140–44 (2004). Under this line of cases, First Amendment protection is extended to the use of a

26 person’s name and likeness in publicizing the underlying protected activities because it was

27 “adjunct” or “incidental” to those activities. Here, because connection invitations promote the

28 rights of free speech and association protected by the First Amendment, to the extent reminders
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 1 are commercial speech, reminders are nevertheless protected by the First Amendment because

 2 they refer to and publicize that protected activity.

 3          In Page v. Something Weird Video, 960 F. Supp. 1438 (C.D. Cal. 1996), for example, a

 4 manufacturer and distributor of videocassettes used drawings of the plaintiff, a former actress, to

 5 advertise videos of films in which she starred. The plaintiff claimed that the advertisements

 6 misappropriated her identity by using newly-created drawings of her to publicize the release of the

 7 videos. Id. at 1444. The court disagreed, holding that the “advertising is protected because the

 8 videos themselves are protected by the First Amendment, and the advertising is incidental to the

 9 protected publication of the videos.” Id. Likewise, here, reminders publicize connection

10 invitations, which are themselves protected activity, by notifying the recipients of those invitations

11 that they are pending. Accordingly, the First Amendment protections afforded to connection

12 invitations extends to the reminders that publicize them.

13          D.      Plaintiffs’ Claims Are Barred Because They Challenge An Incidental Use
14          The alleged use of Plaintiffs’ names and likenesses in reminder emails is an incidental use

15 under the Restatement (Second) of Torts (“Restatement”), and, therefore, is not actionable under

16 California’s common law or statutory right of publicity. The Restatement describes the incidental

17 use exception a follows:

18          Incidental use of name or likeness. The value of the plaintiff’s name is not
            appropriated by mere mention of it, or by reference to it in connection with
19          legitimate mention of his public activities; nor is the value of his likeness
            appropriated when it is published for purposes other than taking advantage of his
20
            reputation, prestige, or other value associated with him, for purposes of publicity.
21          No one has the right to object merely because his name or his appearance is
            brought before the public, since neither is in any way a private matter and both are
22          open to public observation. It is only when the publicity is given for the purpose
            of appropriating to the defendant's benefit the commercial or other values
23          associated with the name or the likeness that the right of privacy is invaded.
24 Restatement (Second) of Torts § 652C cmt. d. Whether a challenged use falls within the

25 incidental use exception “is determined by the role that the use of the plaintiff’s name or likeness

26 plays in the main purpose and subject of the work at issue.” Yeager v. Cingular Wireless LLC,

27 673 F. Supp. 2d 1089, 1100 (E.D. Cal. 2009). Here, the “subject” of reminder emails is

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 1 connection invitations sent by LinkedIn members themselves, and their “purpose” is to “remind”

 2 recipients that those invitations that they are pending.

 3          The “role” played by reminders further supports application of the incidental use exception

 4 because it represents a common industry practice. In Almeida v. Amazon.com, Inc., 456 F.3d

 5 1316, 1325–26 (11th Cir. 2006), the court held that use of the plaintiff’s photo, which was

 6 displayed on Amazon.com’s website to promote the sale of a book in which the photo appeared,

 7 did not constitute a violation of Florida’s statutory right of publicity because “Amazon’s use of

 8 book cover images is not an endorsement or promotion of any product or service, but is merely

 9 incidental to, and customary for, the business of Internet book sales.” Id. The court held that it

10 could “discern no set of facts by which an internet retailer such as Amazon, which functions as the

11 Internet equivalent to a traditional bookseller, would be liable for displaying content that is

12 incidental to book sales.” Id.

13          Likewise, here, the use of member names and likenesses in reminders simulates

14 “traditional” networking. People who want to connect in person share their names through

15 business cards and other means. Accordingly, as an online network, LinkedIn’s use of member

16 names and likenesses in connection invitations and reminders is incidental to, and customary for,

17 the practice of networking because it allows members to invite people to connect and for those

18 they have invited to consider the invitation and decide whether to accept it. In light of these

19 circumstances, it may be determined as a matter of law that, as in Almeida, the challenged use of

20 member names and likenesses in reminder emails “is not an endorsement or promotion of any

21 product or service,” but is “incidental to, and customary for” the business of online networking,

22 and therefore is not actionable as a violation of Plaintiffs’ common law or statutory rights of

23 publicity.

24 IV.      CONCLUSION
25          For these reasons, the Court should dismiss Plaintiffs’ request for statutory damages under

26 California Civil Code Section 3344 and dismiss the SAC with prejudice.

27

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 1 DATED: September 18, 2014          MUNGER, TOLLES & OLSON LLP
                                         JEROME C. ROTH
 2                                       ROSEMARIE T. RING
 3                                       JONATHAN H. BLAVIN
                                         WILLIAM J. EDELMAN
 4

 5
                                      By: /s/ Jerome C. Roth
 6
                                           JEROME C. ROTH
 7                                    Attorneys for Defendant
                                      LINKEDIN CORPORATION
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                        hiQ Labs, Inc. v. LinkedIn Corp.
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                  Plaintiff’s Supplemental Brief In Support Of
                       Motion for Preliminary Injunction




                      EXHIBIT X


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   Business Impact


   Why Tesla Is Worth More Than GM
   A few companies that master digital technologies are capturing huge chunks of the economy.
   Does this explain the persistence of slow growth?

   by James Surowiecki              June 27, 2017



                      he digital economy has transformed the way we communicate
            T         with each other; the way we consume information, products,
                      and services; the way we entertain ourselves. It’s
   revolutionized seemingly non-digital industries—think of how diûerent
   ﬁnancial services, for instance, are today from what they were two
   decades ago—and investors expect it to soon transform others, which is
   why Tesla Motors is worth more than General Motors despite making a
   tiny fraction as many cars as GM makes and earning a tiny fraction of
   the revenue.


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       50 Smartest Companies, 2017
       Browse the list



   This phenomenon explains why the so-called Big Five of the digital
   economy—Apple, Alphabet, Microsoft, Amazon, and Facebook—have,
   at various points over the last year, been the ﬁve most valuable
   companies in the world.



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   So you might say that the digital economy has lived up to the
   expectations people had for it 20 years ago, in the early days of the Web.
   In other important ways, however, its consequences have been smaller
   than you might think. U.S. GDP growth has, by historical standards,
   been disappointingly slow since the arrival of the Internet. Productivity
   growth, which many assumed would be invigorated by the impact of
   digital technologies, has been dismal for much of this century. In the
   heyday of the Internet boom during the late 1990s, productivity growth
   accelerated for the ﬁrst time since the 1970s, and it appeared for a short
   while as if technological innovation had solved a central problem with
   the U.S. economy. But the productivity boom ended in the early 2000s,
   and it never resumed. Some observers initially suspected
   mismeasurement, arguing that GDP was not capturing the true value of
   the many free goods the digital economy oûers. But there’s little doubt

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   that the productivity revolution we hoped digitization would usher in
   has yet to materialize.

   The digital economy also has not transformed the job market as much
   as one might have expected. To be sure, we now have entirely new
   categories of workers: ﬂeets of Uber drivers, and the TaskRabbiters who
   haunt Whole Foods stores in major cities. But Americans aren’t job-
   hopping more than they used to—in fact, by some measures they’re
   changing jobs less than at any point in the past two decades. And
   digitization has also eliminated swaths of workers—not just because of
   automation, but also because of things like online shopping, which has
   put hundreds of thousands of retail workers out of a job. More
   important, the digital economy has not been the source of a huge
   number of good, well-paying jobs. In fact, the rise and consolidation of
   the digital economy has coincided with an extraordinarily weak labor
   market. Wages for American workers have just recently started to grow
   at a clip faster than inﬂation, but for most of this century they’ve been
   close to stagnant. (The same is true in most developed countries.) That’s
   not the fault of digitization. But digitization has not been the driver of
   job and economic growth that many hoped it would be. Information and
   communication technologies—which include software and IT
   companies and Internet ﬁrms, along with entertainment and publishing
   —have seen their share of GDP rise just 1 percent since 2000. And while
   that’s almost certainly an understatement—and doesn’t capture the
   impact of digitization on other industries—the number is striking. So,
   too, is the fact that only a small percentage of private-sector workers
   work in what you would think of as digital companies.

   Still, the most surprising—and potentially troubling—thing about
   today’s digital economy is how remarkably stable it has become. The
   buzzword that was always associated with digitization was “disruption.”
   The Internet and other digital technologies, it was assumed, would
   accelerate competitive pressures and make it harder for incumbents to
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   hold onto power. If the old industrial order was characterized by
   companies that stayed at the top for decades, the digital economy, with
   its supposedly low barriers to entry and low switching costs, was going
   to be characterized by constant turnover at the top. Instead, the
   opposite is true. Today’s digital economy, at least on the consumer side,
   is dominated by the same ﬁve giants that have dominated it for at least
   the past decade and that almost everyone seems to anticipate will
   dominate it for the foreseeable future (at least if you go by their market
   capitalizations, which anticipate many more years of enormous proﬁts
   for all of them). The digital economy is an economy in which platforms
   are the biggest source of value, and the Big Five’s platforms are the most
   lucrative ever invented. The result is that this economy is governed, in
   eûect, by an oligopoly. The Big Five sometimes compete and sometimes
   coöperate, but ultimately each has solid control over its core markets.

   “Oligopoly” sounds sinister, but this one was not primarily created by
   overtly anticompetitive or monopolistic behavior. Rather, digital
   markets are what economists call winner-take-all markets, in which
   success tends to breed nearly insuperable advantages. The rule that
   seems to govern today’s digital economy, in fact, was well stated in
   Matthew 13:12: “For whoever has, to him more shall be given, and he
   will have an abundance.” Which is great for those who have, and not so
   great for everyone trying to compete with them.


   POWER OF NUMBERS

   How did we end up with a digital economy dominated by a few big
   players? The simplest explanation focuses on what are called network
   eûects, whereby a product or service becomes more valuable the more
   people use it. In the classic example of a network eûect, a telephone is
   worthless if only one person has one, since there’s no one to call. If two
   people have telephones, they now have some value. And if a million


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   people have telephones, the phone network suddenly becomes
   enormously valuable.

   The implication is that the more users a network has, the easier it
   becomes to add more users. And direct network eûects in this sense are
   important in understanding the success of a company like Facebook.
   Facebook’s single biggest advantage over any would-be competitors, at
   this point, is simply that it’s such an immense network that if you want
   to connect with people, it’s the logical place to start. The same is true of
   services like Instagram and China’s WeChat. For digital companies like
   Snap and Twitter, which are struggling to become proﬁtable, direct
   network eûects are just about the only value they have at all.

   The Big Five also beneﬁt from what are sometimes called indirect
   network eûects, including the fact that sellers want to be where buyers
   are, and vice versa. Because Google has such an enormous user base,
   companies want to advertise with it. And that makes Google a natural
   place to go if you’re looking to buy something. Similarly, because
   Amazon has such a critical mass of customers, it’s the natural place for
   third-party sellers to gravitate. When Amazon made the decision to
   allow third-party sellers on its site, competing with its own wares, the
   decision seemed crazy to many at the time. But it positioned the
   company to beneﬁt from the network eûect: having third-party sellers
   made Amazon more appealing to customers, which in turn made it
   more appealing to sellers, creating a virtuous cycle for the company.

   Beyond the network eûects is another, related way that the sheer scale of
   the Big Five helps them stay on top: through the access they have to
   enormous amounts of user data. That data, which is far more detailed
   and granular than anything companies have been able to access in the
   past, helps these companies improve their products and services, which
   in turn helps them add more users, which gives them access to more
   data, and so on. This data ﬂywheel eûect did not get as much attention
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   as network eûects in the early days of the digital economy, but it’s
   become clear that user data is an enormous competitive advantage for
   the powerhouses of the digital economy and a key reason why it’s
   diùcult to imagine them being toppled anytime soon. By tracking
   people’s clicks, Google is continually improving its search results and ad
   servicing. Amazon and Netﬂix and Apple mine their data to improve
   their recommendation algorithms, making it more likely they’ll oûer you
   things you want to buy or watch. This process isn’t automatic—you need
   to have lots of smart data scientists and be willing to invest the resources
   to ceaselessly upgrade your product. But if you do that, and all of the Big
   Five do, the rewards can be immense—far greater than what comes
   merely from the traditional online business model of packaging data
   and selling it to advertisers.

   The ability to gather enormous amounts of data and analyze it eùciently
   is also at least part of the reason investors think Tesla is more valuable
   than General Motors. After a traditional car company sells a car to a
   customer, its relationship with that customer typically is limited (except
   for maintenance and servicing). Tesla, by contrast, collects terabytes of
   driving data—including, in some cases, video data—from its customers.
   That data is then put to use in improving the self-driving features of its
   cars. According to Adam Jonas, an analyst at Morgan Stanley, Tesla cars
   are now logging ﬁve million miles a day. Since making self-driving cars
   work depends on machine learning, which in turn requires reams of the
   data that AI learns from, Tesla’s advantage in data is likely to translate
   into a huge advantage in making safe and eûective self-driving cars.
   Indeed, Jonas has argued that Tesla’s new mass-market Model 3 sedan
   could be up to 10 times safer than the average car.

   Finally, the Big Five have entrenched themselves in a more traditional
   fashion, by using their highly valued stock and their enormous amounts
   of cash to buy other companies, something they’ve done far more
   aggressively in recent years. Together, Google, Apple, and Microsoft
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   have roughly a quarter of the cash reserves in the entire S&P 500.
   Google, the most active buyer, has averaged one acquisition a month.
   Acquisitions have become increasingly important as a way to gain new
   technology and new engineering talent, expand into new markets or
   new product areas, and in some cases squelch potential competition.
   And since no competitor has the resources to outbid the Big Five, it’s
   another way in which simply being big makes it easier to keep getting
   bigger.


   DIGITAL MONOPOLIES

   So on the one hand, we have a digital economy that, for all the value it’s
   created, has not dramatically improved economic growth or wage
   growth for ordinary workers; on the other, a big chunk of that economy
   is dominated by a very small group of players. And what’s interesting is
   that there’s some reason to think these two things are, in fact, connected
   to each other.

   To begin with, the most important fact about platform companies is that
   they scale, meaning that they can create enormous amounts of value
   while employing a relatively small number of workers. This is a good
   thing from the perspective of eùciency. But it also helps explain why
   today’s digital giants have a smaller impact on the economy than
   dominant companies had in the past. Together, the Big Five employ
   around 400,000 full-time workers in the United States. That might
   sound like a lot. But roughly half of those workers are Amazon
   employees, many in relatively low-skill, low-paying warehouse jobs. And
   it’s actually fewer employees than General Motors alone had in 1979,
   when the U.S. workforce was a lot smaller. What’s more, where GM’s
   production led to eight jobs in its supply chain for every one person it
   employed directly, the ripple eûects of the Big Five’s businesses, with the
   exception of Apple, are much smaller. The result is that the rewards of


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   the digital economy are more concentrated among a small number of
   workers than the rewards of the industrial economy were.

   This is aggravated by the fact that the Silicon Valley dream of starting a
   company in your garage and making it into a huge business has become
   less realistic than ever. Even though billions continue to be poured into
   venture funding (more than $200 billion between 2011 and 2016), and
   even though the number of so-called high-growth startups has not
   declined in recent years, work by the MIT economists Scott Stern and
   Jorge Guzman shows that fewer of those startups are succeeding than
   did in the past. Of course, we still have the Teslas and Ubers (or Lyfts) of
   the world. But they are rarer than they once were. And one plausible
   reason is the sheer scale and scope of the Big Five, which can meet
   competitive challenges either by copying the innovations of others (as
   Facebook arguably did with Snapchat), and thereby making them seem
   superﬂuous, or simply by buying potential competitors at an early stage.
   Regardless of why it’s happening, though, the result is less dynamism in
   the economy, and less spreading of the wealth.

   One obvious solution to the problems caused by the concentration of
   power in just a few companies is to break up the Big Five or regulate
   them as, in eûect, public utilities. And of late, there have been more and
   more calls for dramatic action. But this is diùcult for a variety of
   reasons. First, these companies don’t, for the most part, ﬁt the
   stereotype of the monopolist. They aren’t “natural monopolies,” like
   power companies, in markets where it would be practically impossible
   for a competitor to arise. Anyone who wants to build a new search
   engine, or a new online retailer, can do so. These companies also, with
   some exceptions, didn’t achieve their dominance by engaging in
   conventionally anticompetitive behavior so much as they exploited the
   nature of the digital economy to build and maintain their empires.



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   Nor do you hear too many complaints from consumers, although issues
   of privacy obviously still matter. Indeed, relative to industries like cable
   television or airlines, digital companies tend to do well on customer
   satisfaction, and the digital economy as a whole has become a
   cornucopia of “free” stuû (paid for with consumers’ attention but not
   their cash). And even though, in practice, consumers often get locked in
   to the technologies these companies oûer (if only because once your data
   is in the cloud, it’s so much easier to stay than leave), the businesses have
   no real leverage over consumers. Most also continue to pour billions of
   dollars into research and development, and they are constantly
   upgrading their products and services. So it’s hard to argue that these
   giants have been anything but beneﬁcial to consumer welfare, which
   since the 1970s has been the standard that antitrust regulators apply.

   Indeed, when we look at what the digital economy has done over the
   past two decades, what becomes clear is that it has created an enormous
   amount of value for consumers and for a small group of big companies,
   even as it has diminished competition, centralized power, and made life
   much more diùcult for businesses that produce content or try to
   compete with the economy’s dominant players. (In one way or another,
   if you want to make money in the digital economy, you will almost
   certainly ﬁnd yourself working with, rather than against, one of the Big
   Five.) In the industrial economy, the beneﬁts were spread widely among
   companies, employees, and consumers. The digital economy is giving us
   a world in which the beneﬁts are concentrated among consumers and
   the Big Five who serve them. Everyone else just lives in it.

   James Surowiecki is the author of The Wisdom of Crowds and a senior
   story producer at Vice News Tonight.



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                      EXHIBIT Y


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                         H.R. REP. 98-894, H.R. Rep. No. 894, 98TH Cong., 2ND Sess.
                           1984, 1984 U.S.C.C.A.N. 3689, 1984 WL 37453 (Leg.Hist.)
                           **3689 P.L. 98-473, CONTINUING APPROPRIATIONS,
                         1985-- COMPREHENSIVE CRIME CONTROL ACT OF 1984
                                           SEE PAGE 98 STAT. 1837
                      HOUSE REPORT (APPROPRIATIONS COMMITTEE) NO. 98-1030,
                               SEPT. 17, 1984 (TO ACCOMPANY H.J.RES. 648)
                      SENATE REPORT (APPROPRIATIONS COMMITTEE) NO. 98-634,
                                SEPT. 25, 1984 (TO ACCOMPANY S.J.RES. 356)
                       HOUSE CONFERENCE REPORT NO. 98-1159, OCT. 10, 1984 (TO
                                         ACCOMPANY H.J.RES. 648)
                                      CONG. RECORD VOL. 130 (1984)
                                DATES OF CONSIDERATION AND PASSAGE
                                 HOUSE SEPTEMBER 25, OCTOBER 10, 1984
                                        SENATE OCTOBER 4, 11, 1984

           (CONSULT NOTE FOLLOWING TEXT FOR INFORMATION ABOUT OMITTED
        MATERIAL. EACH COMMITTEE REPORT IS A SEPARATE DOCUMENT ON WESTLAW.)

                                            HOUSE REPORT NO. 98-894

                                            JULY 24, 1984
  MUCH OF TITLE II, CHAPTER XXI, WAS DERIVED FROM H.R. 5616, A PROPOSED COUNTERFEIT
ACCESS DEVICE AND COMPUTER FRAUD AND ABUSE ACT OF 1984, AS PASSED BY THE HOUSE ON
JULY 24, 1984. THE REPORT TO ACCOMPANY H.R. 5616 (HOUSE COMMITTEE ON THE JUDICIARY, H.
REP. NO. 98-894, JULY 24, 1984) IS SET OUT:

  *1 THE COMMITTEE ON THE JUDICIARY, TO WHOM WAS REFERRED THE BILL (H.R. 5616)
TO AMEND CHAPTER 47 OF TITLE 18 OF THE U.S.C. TO PROVIDE PENALTIES FOR FRAUD AND
RELATED ACTIVITIES IN CONNECTION WITH ACCESS DEVICES AND COMPUTERS, AND FOR
OTHER PURPOSES, HAVING CONSIDERED THE SAME, REPORT FAVORABLY THEREON WITH AN
AMENDMENT AND RECOMMEND THAT THE BILL AS AMENDED DO PASS.


                                                     ****

                                     *4 PURPOSE OF THIS LEGISLATION

  ON SEPTEMBER 29 AND NOVEMBER 10, 1983, AND MARCH 28, 1984, THE SUBCOMMITTEE ON
CRIME HELD HEARINGS ON THE GENERAL ISSUES OF CREDIT CARD AND COMPUTER FRAUD AND
ABUSE. GENERALLY, THESE HEARINGS DOCUMENTED THAT OUR SOCIETY IS INCREASINGLY
BECOMING DEPENDENT ON NUMEROUS CREDIT CARDS AND OTHER PLASTIC DEVICES, ALL OF
WHICH EVENTUALLY INVOLVE USE OF COMPUTERS AND OTHER ELECTRONIC DEVICES WHICH
ALSO ARE SUBJECT TO CRIMINAL ATTACK. FOR EXAMPLE, THERE ARE INDICATIONS OF A
GROWING PROBLEM IN COUNTERFEIT CREDIT CARDS AND UNAUTHORIZED USE OF ACCOUNT
NUMBERS OR ACCESS CODES TO BANKING SYSTEM ACCOUNTS CALLED DEBIT INSTRUMENTS.
FINANCIAL INSTITUTIONS **3690 CLAIM THAT THEY LOST $128 MILLION FROM BANK CARD
FRAUD IN 1982-- AN INCREASE OF 35 PERCENT OVER 1981 LOSSES. THEY FURTHER ESTIMATE THAT
$40 MILLION OF THIS FIGURE WAS JUST FROM COUNTERFEIT CREDIT CARDS WHICH WAS A 500-



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PERCENT INCREASE SINCE 1980. THERE ARE ALSO INDICATIONS THAT THIEVES ARE BECOMING
INCREASINGLY SOPHISTICATED AND IN FACT ARE STEALING ACCOUNT NUMBERS AND USING
THEM WITHOUT EVEN GETTING PHYSICAL CONTROL OF THE CARDS THEMSELVES.

  AS THE CREDIT INDUSTRY AND OTHER PARTS OF OUR SOCIETY ENLARGES ITS CAPACITY
IN THE USE OF COMPUTER TECHNOLOGY, FOR EXAMPLE, IN THE USE OF ‘SMART CARDS ‘
WHICH CONTAIN MICROCHIPS AND ARE THEMSELVES A FORM OF ‘PASSIVE‘ COMPUTER, THERE
IS EVERY INDICATION THAT THE CRIMINAL ELEMENT IS ENLARGING ITS CAPACITY IN THIS
AREA. SINCE THE COMPUTER INDUSTRY IS ITSELF EXPANDING TO THE POINT WHERE IT IS
PROJECTED THAT SOME 80 MILLION ‘HOME COMPUTERS‘ WILL BE IN EXISTENCE BY 1990 (AS
COMPARED WITH 5,000 IN 1978), IT SEEMS CLEAR THAT WE MUST NOT ONLY BRING OUR LAWS
UP-TO-DATE IN THE CREDIT AREA, BUT ALSO GIVE SERIOUS CONSIDERATION TO DETERRING
THE CRIMINAL ELEMENT FROM ABUSING COMPUTER TECHNOLOGY IN FUTURE FRAUDS. THE
COMMITTEE BELIEVES THAT JUST REVIEWING PRESENT TRENDS MAY NOT BE ADEQUATE, FOR
RAPIDLY CHANGING TECHNOLOGY WILL LEAVE THEM OBSOLETE IN ANOTHER 5 OR 10 YEARS
AND POSSIBLY SOONER. EXPERTS TOLD THE COMMITTEE THAT WE NEED TO SHIFT ATTENTION
IN OUR STATUTES FROM CONCEPTS SUCH AS ‘TANGIBLE PROPERTY‘ AND CREDIT AND DEBIT
INSTRUMENTS TO CONCEPTS OF ‘INFORMATION‘ AND ‘ACCESS TO INFORMATION.‘

 H.R. 5616, AS REPORTED BY THE COMMITTEE, IS AN ATTEMPT TO STEM THE TIDE OF CRIMINAL
BEHAVIOR IN THESE DISTINCT BUT INTER-RELATED PROBLEMS.


                                             BACKGROUND

 H.R. 5616 IN GENERAL DEALS WITH CREDIT AND COMPUTER FRAUD WHICH CAN BE
CHARACTERIZED AS ‘WHITE COLLAR‘ CRIMES AND AS SUCH OFTEN ARE NEGLECTED BOTH AT
THE FEDERAL AND STATE LEVELS. THE COMMITTEE BELIEVES THAT THIS NEGLECT IS A GREAT
MISTAKE AND IN FACT AN ATTACK ON WHITE COLLAR CRIME CAN OFTEN BE MUCH MORE
PRODUCTIVE, ECONOMICALLY, *5 TO THIS COUNTRY THAN THE MORE PUBLICIZED EMPHASIS
ON VIOLENT CRIME.

  FOR INSTANCE, THE WALL STREET JOURNAL EARLY IN THE SPRING OF 1983 NOTED THAT
THE COST OF CONSTRUCTING HIGHWAYS IN THE NATION HAD FALLEN SIGNIFICANTLY, IN
SOME CASES AS MUCH AS 25 TO 35 PERCENT BELOW ENGINEER ESTIMATES. THIS REMARKABLE
DECLINE IN COSTS HAS BEEN DIRECTLY ATTRIBUTABLE BY MANY TO THE DEPARTMENT OF
JUSTICE PROSECUTIONS IN DOZENS OF CASES OF BID-FIXING IN THE HIGHWAY CONSTRUCTION
INDUSTRY. THESE PROSECUTIONS HAVE RESULTED IN OVER 90 PERCENT CONVICTIONS WITH
NUMEROUS JAIL SENTENCES AND FINES TOTALLING $41 MILLION. THIS SITUATION IS EVIDENCE
THAT THE DETERRENT POWER OF THE LAW WHEN ENFORCED CAN BE VERY STRONG,
ESPECIALLY IN THE AREA OF WHITE COLLAR CRIME. THE PROSECUTION OF THIS TYPE OF CRIME,
WHICH SILENTLY ROBS MILLIONS OF DOLLARS FROM ALL OF THE TAXPAYERS, A FEW DOLLARS
AT A TIME, WE BELIEVE, MUST REMAIN A HIGH PRIORITY FOR FEDERAL LAW ENFORCEMENT.
IT IS IN THIS PERSPECTIVE WE MUST DEAL WITH THE ANALOGOUS SITUATION PRESENTED IN
CREDIT AND COMPUTER FRAUD AS WE MOVE CLOSER TO BECOMING A ‘CASHLESS‘ SOCIETY, IN
WHICH CURRENCY **3691 AND EVEN CHECKS ARE BECOMING A DIMINISHING PART OF OUR
EVERYDAY LIFE.




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                                CREDIT AND DEBIT CARDS-- PRESENT LAW

  THERE ARE TWO MAJOR PIECES OF FEDERAL LEGISLATION IN THE CREDIT CARD AREA, BOTH
IN TITLE 15 OF THE UNITED STATES CODE. THE FIRST IS 15 U.S.C. 1644, THE TRUTH IN LENDING ACT,
WHICH DEALS WITH FRAUDULENT USE OF CREDIT CARDS AND PROHIBITS USE, TRANSPORTING,
SELLING, RECEIPT OF TICKETS FOR INTERSTATE TRAVEL FROM SUCH CARDS ($500 THRESHOLD),
AND FRAUDULENT FURNISHING OF MONEY TO PEOPLE WITH COUNTERFEIT, STOLEN OR
LOST CREDIT CARDS. THIS LEGISLATION DOES NOT COVER THE ACTUAL COUNTERFEITING OR
ALTERING OF THE CARDS AND THERE IS SOME QUESTION WHETHER IT COVERS THE STEALING
AND USE OF THE ACCOUNT NUMBERS. ANOTHER LOOPHOLE IN THAT STATUTE IS THAT IT
DOES NOT PUNISH POSSESSION OF FRAUDULENT CARDS OR OTHER SIMILAR PAYMENT DEVICES.
FURTHERMORE, CASE LAW INTERPRETATION OF THE LANGUAGE OF THE STATUTE HAS LIMITED
ITS PROHIBITIONS TO ACTS INVOLVING CREDIT CARDS THEMSELVES. U.S. V. CALLAHAN, 666 F.2D
422(1982). THE CURRENT LAW DOES NOT, FOR EXAMPLE, DEAL WITH THE USE OR SALE OF ANY
DEVICE OR MECHANISM WHICH COULD BE USED IN THE PLACE OF A LEGITIMATE PAYMENT
DEVICE (SUCH AS SALES SLIPS OR CREDIT SLIPS).

  THE SECOND RELEVANT STATUTE IS A SECTION OF THE ELECTRONIC FUNDS TRANSFER
ACT, 15 U.S.C. 1693N, WHICH COVERS TRANSACTIONS INVOLVING DEBIT INSTRUMENTS IN A
SIMILAR FASHION TO SECTION 1644. DEBIT INSTRUMENTS INCLUDE A CARD, CODE OR OTHER
DEVICE OTHER THAN A CHECK, DRAFT OR OTHER PAPER INSTRUMENT WHICH MAY INITIATE
AN ELECTRONIC FUNDS TRANSFER. THIS STATUTE DOES NOT COVER COUNTERFEITING OR
FRAUDULENT POSSESSION OF DEBIT CARDS OR CODES.

  BOTH OF THESE STATUTES USE A JURISDICTIONAL AMOUNT OF $1,000 OF ACTIVITY
IN EACH INSTRUMENT WITHIN 1 YEAR; INDUSTRY REPRESENTATIVES STATE THAT THE
ORGANIZED GROUPS GENERALLY STAY JUST UNDER THIS AMOUNT BUT USE MANY DIFFERENT
COUNTERFEIT OR STOLEN CARDS OR DEBIT INSTRUMENTS.


                                   *6 COMPUTER CRIME-- PRESENT LAW

  THERE IS HO SPECIFIC FEDERAL LEGISLATION IN THE AREA OF COMPUTER CRIME.
ANY ENFORCEMENT ACTION IN RESPONSE TO COMPUTER-RELATED CRIME MUST RELY ON
STATUTORY RESTRICTIONS THAT WERE DESIGNED FOR OTHER OFFENSES, SUCH AS MAIL FRAUD
(18 U.S.C . 1341) OR WIRE FRAUD (18 U.S.C. 1343) STATUTES. EVEN IF AN APPROACH IS DEVISED THAT
APPARENTLY COVERS THE ALLEGED ACTS IN COMPUTER-RELATED CRIMES, IT STILL MUST BE
TREATED AS AN UNTESTED BASIS FOR PROSECUTION IN THE FEDERAL TRIAL COURTS.

  TWO CASES WERE CITED BY THE DEPARTMENT OF JUSTICE TO ILLUSTRATE THE PRESENT
DILEMMA FACING FEDERAL PROSECUTORS. (STATEMENT BY JOHN C. KEENEY, DEPUTY
ASSISTANT ATTORNEY GENERAL, CRIMINAL DIVISION, U.S. DEPARTMENT OF JUSTICE, BEFORE
THE SUBCOMMITTEE ON CIVIL AND CONSTITUTIONAL RIGHTS, HOUSE COMMITTEE ON THE
JUDICIARY, NOVEMBER 18, 1983.) THE FIRST WAS PROSECUTED UNDER THE WIRE FRAUD STATUTE
IN THE STATE OF MARYLAND (U.S. V. SEIDLITZ, 589 FE. REP.). THE FACTS OF THIS CASE WERE THAT
THE OWNER OF A COMPUTER COMPANY STOLE CONFIDENTIAL SOFTWARE BY TAPPING INTO THE
COMPUTER SYSTEM OF A PREVIOUS **3692 EMPLOYER FROM DEFENDANT'S REMOTE TERMINAL.
HAD THE DEFENDANT NOT MADE TWO OF THE FIFTY ACCESS CALLS ACROSS STATE LINES,
THE DEPARTMENT OF JUSTICE INDICATED THERE WOULD HAVE BEEN NO BASIS FOR FEDERAL



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PROSECUTION. IN ANOTHER WIRE FRAUD CASE (UNREPORTED) THE DEFENDANT LANGEVIN, A
FORMER EMPLOYEE OF THE FEDERAL RESERVE BOARD WHO WAS THEN EMPLOYED PRIVATELY
AS A FINANCIAL ANALYST, WAS APPREHENDED AND CONVICTED AFTER HE ATTEMPTED TO
CONTINUE TO ACCESS INFORMATION IN THE FEDERAL RESERVE BOARD'S MONEY SUPPLY (M-1)
FILE WITHOUT AUTHORIZATION. ANY INFORMATION HE OBTAINED FROM THESE COMPUTER
FILES WOULD HAVE BEEN EXTREMELY USEFUL IN ANALYZING HIS CLIENT'S HOLDINGS. AS
IN SEIDLITZ, HAD THE ACCESS TELEPHONE CALLS NOT GONE ACROSS STATE LINES, THE U.S.
PROSECUTOR WOULD NOT HAVE BEEN ABLE TO USE THE WIRE FRAUD STATUTE. UNDER H.R. 5616,
THE PROSECUTOR WOULD BE ABLE TO PROSECUTE BOTH DEFENDANTS UNDER SEC. 1030(A)(1) (A
FELONY) IF THEY COULD SHOW THAT THEIR CONDUCT AFFECTED INTERSTATE COMMERCE AND
OBTAINED, ANYTHING OF VALUE AGGREGATING $5,000. IN THE LANGEVIN SITUATION, FEDERAL
PROSECUTORS COULD HAVE PROVEN A MISDEMEANOR OFFENSE (SEC. 1030(A)(5)) BY JUST THE
UNAUTHORIZED ACCESS.

 THE COMMITTEE CONCLUDED THAT THE LAW ENFORCEMENT COMMUNITY, THOSE WHO OWN
AND OPERATE COMPUTERS, AS WELL AS THOSE WHO MAY BE TEMPTED TO COMMIT CRIMES BY
UNAUTHORIZED ACCESS TO THEM, REQUIRE A CLEARER STATEMENT OF PROSCRIBED ACTIVITY.


                         CREDIT AND DEBIT FRAUD-- NEED FOR LEGISLATION

  THE INCREASE IN CREDIT AND DEBIT CARD FRAUD IN RECENT YEARS HAS BEEN DRAMATIC.
STATISTICS PRESENTED BY WITNESSES TO THE SUBCOMMITTEE ON CRIME ILLUSTRATE THAT
MANY OF THE CARD-RELATED ABUSES INVOLVE ACTIVITIES WHICH WERE UNIMAGINABLE
WHEN EXISTING CREDIT CARD LAWS WERE ENACTED. SOPHISTICATED NATIONAL SCHEMES
EXPLOITING STOLEN CARDS, COUNTERFEIT CARDS, ACCOUNT NUMBERS, AND CARD-MAKING
EQUIPMENT HAVE BECOME WIDESPREAD. ACCORDING TO MASTERCARD INTERNATIONAL, THE
TOTAL FRAUD LOSSES REPORTED BY INDIVIDUAL BANKS IN 1981 AND 1982 GREW 1,500 PERCENT
OVER 1973 FIGURES. IN PARTICULAR, COUNTERFEIT LOSSES BY THESE BANKS IN THE SAME
PERIOD INCREASED BY *7 AN ASTRONOMICAL 76,763 PERCENT. (STATEMENT OF THOMAS F.
KELLEHER, SEPTEMBER 29, 1983, PAGE 3, BEFORE THE SUBCOMMITTEE ON CRIME OF THE HOUSE
JUDICIARY COMMITTEE, 98 CONGRESS.) VISA HAS ESTIMATED THAT COUNTERFEITS COMPRISE
14 PERCENT AND ACCOUNT NUMBER ALTERATIONS MAKE UP 53 PERCENT OF ITS LOSSES, FAR
OUTWEIGHING LOSSES FROM STOLEN OR LOST CARDS. (SEE, PAGE 3, FRAUDULENT USE OF
PAYMENT DEVICES, A BOOKLET PUBLISHED BY VISA U.S.A. INC., JUNE 1983, CITED AS ‘VISA
BOOKLET ‘ SUBSEQUENTLY.)

  THE ACTUAL SUMS LOST AS A RESULT OF CREDIT CARD COUNTERFEITING AND FRAUD
ARE STAGGERING. VISA HAS ESTIMATED THAT WORLDWIDE CARD INDUSTRY LOSSES FROM
COUNTERFEITING ALONE EXCEEDED $15 MILLION IN 1981. LOSSES INCREASED BY MORE THAN
300 PERCENT IN 1982 TO OVER $50 MILLION. APPROXIMATELY 94 PERCENT OF THOSE LOSSES
OCCURRED IN THE UNITED STATES. (SEE, PAGE 3, VISA BOOKLET.) MASTERCARD MEMBERS
REPORTED THAT ITS LOSSES FROM COUNTERFEITING INCREASED FROM $1,306,148 IN 1981 TO
$9,337,354 IN 1982. THE INCREASE IN TOTAL FRAUD LOSSES DURING THAT PERIOD IS EVEN MORE
ASTOUNDING. MASTERCARD MEMBERS REPORTED THAT BY 1982, DOLLAR LOSSES ESCALATED
TO **3693 $45,613,550-- AN INCREASE OVER 1981 ALONE OF $19.8 MILLION. KELLEHER, SEPTEMBER
29, 1983, PAGE 4 AND APPENDIX A (SEE PREVIOUS CITE).

 TESTIMONY SUBMITTED TO THE SUBCOMMITTEE ILLUSTRATES THAT RECENT FRAUDULENT
CARD ACTIVITY IS OF A TYPE FAR DIFFERENT FROM THAT EXPERIENCED PRIOR TO 1980. IN THE


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PAST, IMPROPER CARD USE TYPICALLY ORIGINATED FROM A LOST OR STOLEN CARD USED BY A
THIEF FOR PERSONAL GAIN. MUCH OF THE RECENT FRAUDULENT ACTIVITY DOES NOT INVOLVE
A LOST OR STOLEN CARD AT ALL, BUT RATHER THE IMPROPER USE OF ACCOUNT NUMBERS
AND THE MANUFACTURE OF COUNTERFEIT CARDS. THE FRAUDULENT TECHNIQUES IN THIS
AREA HAVE CLEARLY BECOME MORE SOPHISTICATED AND THE OFFENDERS ENGAGED IN SUCH
ACTIVITIES MORE ORGANIZED.

  VALID ACCOUNT NUMBERS CAN BE USED IMPROPERLY IN VARIOUS WAYS. DISHONEST
MERCHANTS AND/OR THEIR EMPLOYEES CAN OBTAIN VALID NUMBERS TAKEN FROM
AUTHORIZED SALES AT THE MERCHANT'S PLACE OF BUSINESS, TRANSCRIBE THOSE NUMBERS
ONTO BLANK SALES SLIPS, AND EITHER SUBMIT THEM TO THEIR BANKS FOR PAYMENT OR
SELL THEM TO OTHER COLLUDING MERCHANTS. PHONY SALES SLIPS CAN ALSO BE CREATED
BY EMBOSSING VALID ACCOUNT NUMBERS ON ‘WHITE PLASTIC CARDS‘ IN ORDER TO FAKE
LEGITIMATE TRANSACTIONS.

  IN ADDITION, IN RECENT YEARS LEGITIMATE TRANSACTIONS OVER THE TELEPHONE BY
USE OF AN ACCOUNT NUMBER HAVE BECOME COMMONPLACE. THOSE TRANSACTIONS ARE
POPULAR AND EXTREMELY CONVENIENT FOR THE AMERICAN CONSUMER. UNFORTUNATELY,
HOWEVER, FRAUDULENT MISREPRESENTATION OVER THE TELEPHONE HAS ALSO BECOME A
FREQUENT ACTIVITY. ANYONE WHO HAS ACCESS TO AN INDIVIDUAL'S ACCOUNT NUMBER AND
EXPIRATION DATE CAN USE THAT INFORMATION TO ORDER GOODS AND SERVICES WHICH
ARE SHIPPED TO AN ADDRESS GIVEN BY THE OFFENDER WHO THEN CHANGES LOCATIONS
BEFORE THE CARDHOLDER CAN REPORT THE UNAUTHORIZED TRANSACTION FROM HIS BILLING
STATEMENT.

 MOST SIGNIFICANTLY, ACCOUNT NUMBERS CAN ALSO BE USED TO CREATE COUNTERFEIT
CARDS. ONE COMMON TECHNIQUE UTILIZES ‘SILKSCREENING‘ OR OFFSET PRINTING OF THE
REGISTERED DESIGN OR SERVICE MARKS OF AN ORGANIZATION FOLLOWED BY EMBOSSING
FRAUDULENTLY OBTAINED VALID ACCOUNT NUMBERS ON A CARD.

 LOST AND STOLEN CARDS CAN ALSO BE USED IN A VARIATION OF THE OLD ‘SHAVE AND PASTE‘
SCHEME, WHERE AN ACCOUNT NUMBER WAS RAZORED *8 OFF ONE CARD AND ATTACHED TO
ANOTHER. A CRIMINAL CAN IRON OUT THE ORIGINAL IDENTIFYING INFORMATION LAND RE-
EMBOSS THE CARD WITH A NEW VALID ACCOUNT NUMBER.

  CRIMINALS HAVE ALSO DEVELOPED NUMEROUS METHODS FOR OBTAINING VALID ACCOUNT
NUMBERS. ACCOUNT DATA CAN BE TAKEN FROM VALID CARBON SALES SLIPS DISCARDED
BY MERCHANTS. IN OTHER INSTANCES, AN UNSUSPECTING CARDHOLDER MAY BE TRICKED
INTO DIVULGING THE INFORMATION OVER THE TELEPHONE TO PURPORTED SURVEY TAKERS,
PRODUCT SALESPEOPLE, OR ‘BANK OFFICIALS‘ CALLING TO ‘CONFIRM‘ THE ACCOUNT NUMBER.

 ONE WITNESS APPEARING BEFORE THE SUBCOMMITTEE PRESENTED FINDINGS OF A
COUNTERFEIT CREDIT CARD CONSPIRACY CASE IN WHICH MEMBERS OF SUCH A RING
PRODUCED COUNTERFEIT VISA, MASTERCARD AND AMERICAN EXPRESS CARDS. AGENTS
UNCOVERED SUFFICIENT MAGNETIC TAPE TO PRODUCE 100,000 CREDIT CARDS. WITNESSES IN
THAT CASE TESTIFIED THAT THE LEADER OF THE RING DEALT EXCLUSIVELY WITH MEMBERS OF
ORGANIZED CRIME. (KELLEHER, SEPTEMBER 29, 1983, PAGE 7 (SEE PREVIOUS CITE).)




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  **3694 DESPITE EFFORTS BY INDUSTRY TO COOPERATE WITH LAW OF ENFORCEMENT
AGENCIES IN DEVELOPING PROCEDURES TO THWART THIS TYPE OF FRAUDULENT ACTIVITY,
EVIDENCE IN THE HEARING RECORD DEMONSTRATES THAT FEDERAL LAW MUST BE IMPROVED
TO DEAL EFFECTIVELY WITH THE GROWING PROBLEM OF FRAUDULENT ACTIVITY RELATING TO
DEBIT AND CREDIT CARDS. TESTIMONY SUBMITTED TO THE SUBCOMMITTEE INDICATES THAT IN
MANY CASES STATE STATUTES CANNOT DEAL EFFECTIVELY WITH THE GROWING PROBLEM IN
LARGE PART BECAUSE THE MAJOR FRAUD CASES ARE GENERALLY INTERSTATE IN NATURE AND
OFTEN EXTEND INTERNATIONALLY.


                              COMPUTER FRAUD-- NEED FOR LEGISLATION

  OVER THE PAST QUARTER OF A CENTURY OUR SOCIETY HAS WITNESSED AN AMAZING
TECHNOLOGICAL TRANSFORMATION. THE COMPUTER HAS BECOME AN INTEGRAL PART OF
OUR EVERYDAY LIVES, CRITICAL TO OUR NATIONAL DEFENSE, FINANCIAL TRANSACTIONS,
AND INFORMATION TRANSMISSIONS. THE FEDERAL GOVERNMENT ALONE NOW HAS OVER 18,000
MEDIUM AND LARGE-SCALE COMPUTERS AT SOME4,500 SITES. IN ADDITION, THE GENERAL
SERVICES ADMINISTRATION ESTIMATES THAT THE FEDERAL GOVERNMENT COULD HAVE
BETWEEN 250,000 AND 500,000 MICRO-COMPUTERS IN PLACE BY 1990.

  DEVELOPMENTS IN PRIVATE INDUSTRY ARE EVEN MORE DRAMATIC. FOR INSTANCE, IN
STATEMENTS BEFORE THE SUBCOMMITTEE ON CRIME (MARCH 28, 1984, PAGE 15), JAMES F. FALCO
AN ASSISTANT STATE'S ATTORNEY IN MIAMI NOTED THAT IN 1976 SALES OF SOFTWARE FOR
PERSONAL COMPUTERS WERE VIRTUALLY ZERO. BY 1981, SUCH SALES HAD ZOOMED TO $600
MILLION AND, THEN, AT YEAR-END 1982, TO $1 BILLION. SALES FOR 1983 ARE ESTIMATED AT $1.5
BILLION WITH SALES OF $12 BILLION PROJECTED BY 1990.

  IN THE LAST FEW YEARS, THE SUBJECT OF COMPUTER-RELATED CRIMES HAS CAPTURED
THE ATTENTION OF LAW ENFORCEMENT PERSONNEL, CRIMINOLOGISTS, THE MEDIA, AND THE
GENERAL PUBLIC. RECENTLY, THIS HAS BEEN TRANSLATED INTO CONGRESSIONAL ATTENTION
WHEN THE COMMITTEE ON SCIENCE AND TECHNOLOGY, U.S. HOUSE OF REPRESENTATIVES
(SUBCOMMITTEE ON TRANSPORTATION, AVIATION AND MATERIALS) ISSUED A REPORT ON
‘COMPUTER AND COMMUNICATIONS SECURITY AND PRIVACY‘ WHICH IN PART DEALT WITH
COMPUTER CRIME (SERIAL AA, APRIL 1984). THIS REPORT AND TESTIMONY BEFORE THE
SUBCOMMITTEE ON CRIME INDICATES *9 THAT WHILE OUR SOCIETY HAS BEEN READILY
AFFORDED ACCESS TO COMPUTER TECHNOLOGY SO AS TO IMPROVE THE STANDARD OF LIVING
OF LAW-ABIDING CITIZENS, SO TOO HAVE CRIMINAL ELEMENTS GAINED ACCESS TO COMPUTERS
IN ORDER TO PERPETUATE CRIMES. IT HAS BEEN THE REALIZATION THAT CRIMINALS POSSESS
THE CAPABILITY TO ACCESS AND CONTROL HIGH TECHNOLOGY PROCESSES VITAL TO OUR
EVERYDAY LIVES WHICH HAS SPURRED THE RECENT ALARM OVER COMPUTER-RELATED CRIME.

  DETERMINING THE EXACT NATURE AND EXTENT OF COMPUTER CRIME HAS BEEN THE MOST
DIFFICULT ASPECT OF THIS PROBLEM. HOWEVER, THERE IS EVERY INDICATION THAT PRESENTLY
IT IS A SUBSTANTIAL PROBLEM AND THE POTENTIAL IN THE FUTURE IS IMMENSE. FOR INSTANCE,
IN A RECENT NATIONWIDE SURVEY OF PRIVATE ORGANIZATIONS AND PUBLIC AGENCIES, THE
ABA STATED: 1099

  **3695 THE ANNUAL LOSSES INCURRED AS A RESULT OF COMPUTER CRIME APPEAR, BY ANY
MEASURE, TO BE ENORMOUS. OVER 25% (72) OF THE SURVEY RESPONDENTS REPORTED ‘KNOWN
AND VERIFIABLE LOSSES DUE TO COMPUTER CRIME DURING THE LAST TWELVE MONTHS.‘ THE


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TOTAL ANNUAL LOSSES REPORTED BY THESE RESPONDENTS FALL SOMEWHERE BETWEEN $145
MILLION AND $730 MILLION. THUS, THE ANNUAL LOSSES PER RESPONDENT REPORTING LOSSES
COULD BE ANYWHERE FROM $2 MILLION TO AS HIGH AS $10 MILLION. APPROXIMATELY 28% OF
THE SURVEY RESPONDENTS REPORTED NO AVAILABLE SYSTEM TO MONITOR OR ESTIMATE THE
VALUE OF THEIR COMPUTER CRIME LOSSES.

  AS THESE COMPUTER TECHNOLOGIES AND THE MEANS FOR ABUSING THEM HAVE RAPIDLY
EMERGED, THEY HAVE BEEN CONFRONTED BY A CRIMINAL JUSTICE SYSTEM WHICH IS LARGELY
UNINFORMED CONCERNING THE TECHNICAL ASPECTS OF COMPUTERIZATION, AND BOUND
BY TRADITIONAL LEGAL MACHINERY WHICH IN MANY CASES MAY BE INEFFECTIVE AGAINST
UNCONVENTIONAL CRIMINAL OPERATIONS. DIFFICULTIES IN COPING WITH COMPUTER ABUSE
ARISE BECAUSE MUCH OF THE PROPERTY INVOLVED DOES NOT FIT WELL INTO CATEGORIES
OF PROPERTY SUBJECT TO ABUSE OR THEFT; A PROGRAM, FOR EXAMPLE, MAY EXIST ONLY IN
THE FORM OF MAGNETIC IMPULSES. ALSO, WHEN A PROGRAM OF SUBSTANTIAL COMMERCIAL
VALUE IS MISAPPROPRIATED, THE PERSON FROM WHOM IT IS STOLEN ALMOST ALWAYS REMAINS
IN POSSESSION OF THE ORIGINAL. INDEED, THE ORIGINAL PROGRAM MAY NOT HAVE BEEN
MOVED SO MUCH AS A SINGLE INCH WHILE BEING ILLICITLY COPIED. IT IS OBVIOUS THAT
TRADITIONAL THEFT/LARCENY STATUTES ARE NOT THE PROPER VEHICLE TO CONTROL THE
SPATE OF COMPUTER ABUSE AND COMPUTER ASSISTED CRIMES. FOR EXAMPLE A RECENT LAW
JOURNAL ARTICLE DESCRIBED AN ANALOGOUS PROBLEM IN THE FOLLOWING FASHION: 1100

  THE PROBLEM RAISED BY INTANGIBLE PROPERTY IS FURTHER ILLUSTRATED BY THE
CASE OF COMMONWEALTH V. YOURAWSKI, 1981 MASS.ADV.SH. 1954, 425 N.E.2D 298. THERE
THE DEFENDANT OWNED A CASSETTE TAPE CONTAINING A PIRATED COPY OF STAR WARS,
RAISING THE QUESTION OF WHETHER IMAGES AND SOUNDS ON THE TAPE WERE PROPERTY
SUBJECT TO LARCENY UNDER MASSACHUSETTS LAW. THE COURT DETERMINED THEY WERE
NOT AND DISMISSED THE INDICTMENT. THE YOURAWSKI CASE WAS ONE OF THE *10
REASONS BEHIND THE MASSACHUSETTS LEGISLATURE'S AMENDMENT TO ITS LARCENY STATUTE
DEFINING PROPERTY TO INCLUDE ELECTRONICALLY PROCESSED OR STORED DATA, EITHER
TANGIBLE OR INTANGIBLE, DATA WHILE IN TRANSIT. ACT OF MAY 31, 1983, CH. 147, (1983) 3
MASS.ADV.LEGIS.SERV. 38 (LAW CO-OP.) (TO BE CODIFIED AT MASS. GEN. LAWS ANN. CH. 266, SEC.
30).

  COMPOUNDING THIS IS THE ADVENT OF THE ACTIVITIES OF SO-CALLED ‘HACKERS‘ WHO
HAVE BEEN ABLE TO ACCESS (TRESPASS INTO) BOTH PRIVATE AND PUBLIC COMPUTER SYSTEMS,
SOMETIMES WITH POTENTIALLY SERIOUS RESULTS. THE RELATIVE EASE OF ACCESS BY THE
HACKER IS DUE TO A CORRESPONDING PROLIFERATION OF COMPUTER NETWORKING WHICH
BEGAN DURING THE 1970'S. THIS PHENOMENON WHICH IS PREDOMINANTLY INTERSTATE
IN NATURE WAS DESCRIBED BY A REPRESENTATIVE OF GTE TELENET IN THE **3696
SUBCOMMITTEE ON CRIME'S HEARING ON NOVEMBER 10, 1983, IN THE FOLLOWING FASHION:

  THE COMPUTER NETWORKING ERA BROUGHT DRAMATIC NEW CAPABILITIES TO THE
DATA COMMUNICATIONS MARKETPLACE. FOR EXAMPLE, NETWORKS ENABLE OTHERWISE
INCOMPATIBLE COMPUTERS AND TERMINALS TO COMMUNICATE WITH ONE ANOTHER BY
TRANSLATING CODES AND PROTOCOLS BETWEEN THESE DEVICES IN REAL TIME, VERY MUCH
LIKE THE UNITED NATIONS PROVIDING SIMULTANEOUS TRANSLATIONS TO A MULTILINGUAL
DIPLOMATIC CONSTITUENCY. ANOTHER EXAMPLE, IS THE ACCESSIBILITY OF COMPUTERS
WHICH ARE CONNECTED TO NETWORKS FROM LOCAL TELEPHONE EXCHANGES VIA DIAL-IN
FACILITIES. WITH THIS CAPABILITY, EVERY COMPUTER WHICH IS CONNECTED TO A MODERN



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COMPUTER NETWORK CAN BE REACHED FROM ANY OF THE 100 MILLION TELEPHONES IN
THE UNITED STATES BY MEANS OF A LOCAL TELEPHONE CALL TO THE NEAREST NETWORK
ACCESS POINT. IT IS THIS VERY CAPABILITY WHICH HAS ALSO ENABLED THE RECENT FLURRY
OF ELECTRONIC TRESPASSING INCIDENTS. BY COMBINING THE UBIQUITY OF THE TELEPHONE
WITH THE CAPABILITY OF THE PERSONAL COMPUTER, A WHOLE NEW DIMENSION OF CRIMINAL
ACTIVITY BECOMES POSSIBLE.

  AS COMPUTER NETWORKING AND DISTRIBUTED DATA PROCESSING HAS GROWN SO HAS
THE ‘USER-FRIENDLINESS‘ OF ACCESSING COMPUTER RESOURCES THROUGH THE NETWORKS.
THE REQUIREMENT OF ‘USER-FRIENDLINESS‘ IS A NATURAL OUTGROWTH OF A DESIRE TO
ALLOW LARGE NUMBERS OF AUTHORIZED USERS ACCESS TO COMPUTER RESOURCES. MOST
SYSTEMS USE SOME SORT OF VARIANT OF AN IDENTIFICATION CODE/PASSWORD SYSTEM. THIS
GENERALLY CONSISTS OF SIMPLE CODES WHICH ARE EASY FOR USERS TO REMEMBER AND
SIMPLE TO TYPE. UNTIL RECENTLY, THIS FORM OF SECURITY WAS SUFFICIENT, SINCE MOST
USERS ONLY HAD THE ABILITY TO USE ‘DUMB‘ TERMINAL DEVICES FOR ACCESS. WITHIN THE
LAST TWO YEARS THIS HAS CHANGED WITH THE ADVENT OF THE PERSONAL COMPUTER.
THE PERSONAL COMPUTER ALLOWS ITS USER TO EMPLOY THE POWER OF THE COMPUTER TO
BREAK INTO OTHER COMPUTER SYSTEMS BY SYSTEMATICALLY SPEEDING UP WHAT WOULD
OTHERWISE BE A SLOW, HIT OR MISS PROCESS. FOR EXAMPLE, THE MOTION PICTURE ‘WAR
GAMES‘ SHOWED A REALISTIC REPRESENTATION OF THE AUTOMATIC DIALING AND ACCESS
CAPABILITIES OF THE PERSONAL COMPUTER. ANOTHER WAY OF SAYING THIS IS THAT *11 PRIOR
TO THE PERSONAL COMPUTER, PASSWORD CODES WERE GENERALLY SATISFACTORY DUE TO
THE SECURITY INHERENT IN THE TEDIOUS TRIAL OF COMBINATIONS NECESSARY TO BREAK THE
PASSWORDS MANUALLY. THIS ASPECT IS NOW GONE.

 THE RESULTS OF THESE ‘HACKER‘ INCIDENTS WERE POIGNANTLY ASSESSED BY DR. WILBUR
MILLER, PRESIDENT OF DRAKE UNIVERSITY, AT OUR MOST RECENT HEARING ON MARCH 28, 1984.
HE SAID:

  TO DATE, THERE HAS BEEN A TENDENCY, ON THE PART OF THE PUBLIC, TO VIEW SUCH
VIOLATIONS AS INTELLECTUAL PRANKSTERISM. THIS IS SIMPLY NOT THE CASE. THE UBIQUITY
OF COMPUTERS IN VIRTUALLY EVERY DIMENSION OF OUR EVERYDAY LIVES UNDERLINES THIS
POINT AND DICTATES OUR CONCERN. CONCERN, HOWEVER, **3697 IS NOT ENOUGH. UNIVERSITY
LEADERS MUST CONTINUE TO ASSUME AND PURSUE THE RESPONSIBILITY OF PROVIDING
SECURE COMPUTER ACCESS TO LEGITIMATE USERS. WE MUST BE PREPARED TO TAKE STRONG
MEASURES IN RESPONSE TO INAPPROPRIATE BEHAVIOR BY THOSE WHO ARE MEMBERS OF OUR
USER COMMUNITIES. THAT, HOWEVER, IS NOT ENOUGH. SOCIETAL DEFINITIONS, DETERRENTS,
AND PUNISHMENTS ARE NEEDED TO CONTROL EXTERNAL VIOLATORS. MORE STATES MUST
MOVE TO PROVIDE LAWS THAT DEFINE COMPUTER DAMAGE AND THEFT AS CRIMINAL ACTS AND
APPROPRIATE SANCTIONS MUST BE PROVIDED. IN ADDITION, GIVEN THE INTERCONNECTEDNESS
OF THE ENTERPRISE OF HIGHER EDUCATION, FEDERAL LEGISLATION TO THESE SAME ENDS
IS ESSENTIAL. WE HAVE A PROBLEM. THE PROBLEM IS COMPUTER THEFT AND DAMAGE. WE
FEEL THAT THE PROBLEM IS A SERIOUS ONE, ONE THAT WE CANNOT ADDRESS BY OURSELVES.
WE NEED YOUR HELP. WE NEED LEGISLATION THAT WILL AID US IN OUR ATTEMPTS TO
SECURE AND MAINTAIN A QUALITY EDUCATION FOR THIS GENERATION OF STUDENTS AND FOR
GENERATIONS OF STUDENTS TO COME.




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  ANOTHER PERTINENT OBSERVATION BY DR. MILLER IN REGARD TO THE SCOPE OF JUST THE
‘HACKER‘ ASPECT OF THIS PROBLEM WAS OUTLINED IN HIS ORAL TESTIMONY IN THE FOLLOWING
FASHION:

 BY THE WAY, A LOT MORE OF THIS HACKING HAS HAPPENED. I AM CONVINCED, THAN YOU
READ ABOUT, EVEN THOUGH YOU READ A GREAT DEAL ABOUT IT. I WILL GIVE YOU AN EXAMPLE
OF THE HACKERS AND DRAKE UNIVERSITY.

 WE WERE ALMOST HOPING AT FIRST THAT THERE WOULD BE NO PUBLICITY ABOUT IT. NOW
THAT SOUNDS WEIRD THAT I AM HERE, YOU KNOW, MAKING PUBLIC STATEMENTS, BUT MY
OPINION HAS CHANGED GREATLY SINCE THAT INITIAL HAPPENING. I KNOW NOW THAT IT MUST
BE PUBLIC AND WE MUST MAKE THESE THINGS KNOWN AND WE MUST EDUCATE THE PUBLIC
AND FIND SOME AVENUES OF CORRECTION FOR IT.

 BUT THE REASON WE WERE HOPING IT MIGHT NOT BE MADE PUBLIC IS BECAUSE IT GIVES
EVERYONE ELSE IN TOWN THE SAME IDEA. THEY WANT TO TRY IT ALSO TO SEE IF THEY CAN DO
THE SAME THING SOMEONE ELSE DID. MY HUNCH IS-- AND I KNOW A FEW FACTS WHERE IT HAS
HAPPENED MORE AT SOME PLACES THAN YOU WOULD KNOW BECAUSE THEY DO NOT WANT IT
MADE PUBLIC.

  SO I THINK RIGHT NOW, IT IS A BIGGER PROBLEM THAN MOST OF US REALIZE.

  *12 AS THIS STATEMENT ILLUSTRATES, THERE IS A TREMENDOUS ATTITUDINAL PROBLEM
THAT GIVES THE COMMITTEE SOME CONCERN. PEOPLE CAN RELATE TO MUGGING A LITTLE
OLD LADY AND TAKING HER POCKETBOOK, BUT THE PERCEPTION IS THAT PERHAPS THERE IS
NOT SOMETHING SO WRONG ABOUT TAKING INFORMATION BY USE OF A DEVICE CALLED A
COMPUTER EVEN IF IT COSTS THE ECONOMY MILLIONS NOW AND POTENTIALLY BILLIONS IN THE
FUTURE.


                                            WHAT H.R. 5616 DOES

  IN THE CREDIT CARD AREA, H.R. 5616 PROHIBITS USE, PRODUCTION AND TRAFFICKING
IN ‘COUNTERFEIT‘ ACCESS DEVICES AND DEVICE-MAKING EQUIPMENT **3698 WITH A
SUBSTANTIAL PUNISHMENT OF UP TO 15 YEARS IN PRISON AND FINES UP TO TWICE THE VALUE
OBTAINED. IT ALSO PROHIBITS USE AND TRAFFICKING IN ‘UNAUTHORIZED‘ ACCESS DEVICES
WHICH ARE VALID CARDS THAT HAVE BEEN LOST, STOLEN, ETC., IF THE DEFENDANT OBTAINS
$1,000 IN VALUE IN A YEAR OR POSSESSES 15 OR MORE ‘UNAUTHORIZED‘ OR ‘COUNTERFEIT‘
ACCESS DEVICES. THESE OFFENSES CAN BE PUNISHED WITH UP TO 10 YEARS IN PRISON AND FINES
OF UP TO TWICE THE VALUE OBTAINED. REPEAT OFFENSES IN ANY OF THESE VIOLATIONS CALL
FOR A SUBSTANTIAL INCREASE IN MAXIMUM PRISON SENTENCES (20 YEARS) AND SUBSTANTIAL
FINES.

  IN THE COMPUTER AREA THE BILL ESTABLISHES A SPECIFIC FEDERAL FELONY FOR
UNAUTHORIZED ACCESS TO COMPUTERS IF THE DEFENDANT AGGREGATES $5,000 IN ILLEGAL
GAINS IN 1 YEAR (OTHER THAN FROM JUST THE USE) OR THE DEFEN ANT ACCESSES CLASSIFIED
INFORMATION REQUIRING PROTECTION AGAINST UNAUTHORIZED DISCLOSURE FOR REASONS
FOR NATIONAL DEFENSE OR FOREIGN RELATIONS. THESE OFFENSES CAN BE PUNISHED WITH
UP TO 10 YEARS IN PRISON AND FINES UP TO TWICE THE VALUE OBTAINED. REPEAT OFFENSES




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OF EITHER OF THESE VIOLATIONS CALL FOR A SUBSTANTIAL INCREASE IN MAXIMUM PRISON
SENTENCES (20 YEARS) AND SUBSTANTIAL FINES.

  THE BILL ALSO CREATES THREE MISDEMEANOR CRIMES OF UNAUTHORIZED ACCESS OR
COMPUTER ABUSE. THE FIRST INVOLVES ACCESS TO INFORMATION IN A COMPUTER PROTECTED
BY THE RIGHT TO FINANCIAL PRIVACY ACT (12 U.S.C. 3401 ET SEQ.) OR THE FAIR CREDIT
REPORTING ACT (15 U.S.C. 1681, ET SEQ.); THE SECOND INVOLVES ACCESS TO A COMPUTER
IF THERE IS A GAIN TO THE DEFENDANT OR LOSS TO OTHERS THAT AGGREGATE $5,000
OR MORE IN VALUE DURING A 1-YEAR PERIOD AND SUCH ACTIVITY AFFECTS INTERSTATE
OR FOREIGN COMMERCE; AND THIRD, IF THE DEFENDANT USES, MODIFIES, OR DISCLOSES
INFORMATION IN OR PREVENTS AUTHORIZED USE OF A COMPUTER OWNED OR OPERATED
FOR THE U.S. GOVERNMENT REGARDLESS OF LOSS OR GAIN. THESE MISDEMEANOR OFFENSES
CAN BE PUNISHED WITH UP TO 1 YEAR IN PRISON AND FINES OF $5,000 OR UP TO TWICE THE
VALUE OBTAINED OR LOSS CREATED BY THE OFFENSE. REPEAT OFFENSES OF ANY OF THESE
VIOLATIONS CALL FOR A SUBSTANTIAL INCREASE IN MAXIMUM PRISON SENTENCES (10 YEARS)
AND SUBSTANTIAL FINES.


                                            HISTORY OF THE ACT

  ON SEPTEMBER 29 AND NOVEMBER 10, 1983, AND MARCH 28, 1984, THE SUBCOMMITTEE ON CRIME
HELD HEARINGS ON THE ISSUES OF CREDIT CARD AND COMPUTER FRAUD AND ABUSE. THE BILLS
BEFORE THE SUBCOMMITTEE WERE H.R. 3181 INTRODUCED BY MR. FISH ON JUNE 1, 1983 AND H.R.
3570 INTRODUCED BY MR. HUGHES ON JULY 14, 1983. ON THE LAST DAY OF HEARINGS ON MARCH
28, 1984, THE SUBCOMMITTEE ALSO CONSIDERED *13 H.R. 5112 INTRODUCED ON MARCH 13, 1984
BY MR. HUGHES FOR HIMSELF, MR. SAWYER AND MR. NELSON. THIS BILL HAD EVOLVED FROM
THE EARLIER BILLS. DURING THIS THOROUGH PROCEDURE, THE SUBCOMMITTEE HEARD FROM
24 EXPERT WITNESSES FROM ALL WALKS OF LIFE INCLUDING MEMBERS OF CONGRESS, STATE
AND LOCAL LAW ENFORCEMENT OFFICERS, NATIONAL DISTRICT ATTORNEYS ASSOCIATION, THE
CREDIT AND BANKING INDUSTRY, DEPARTMENTS OF TREASURY AND JUSTICE, POST OFFICE
DEPARTMENT, COMMUNICATIONS AND COMPUTER INDUSTRY, UNIVERSITY AND EDUCATION
REPRESENTATIVES AND EVEN AN INCARCERATED CREDIT CARD VIOLATOR. ALL OF THE
WITNESSES AGREED THAT THERE WERE PROBLEMS IN THE AREAS THEY **3699 DISCUSSED
AND THE DIFFERENCES IN OPINION WERE ON EMPHASIS, REFINEMENTS AND THE TIMING OF
SOLUTIONS TO THESE PROBLEMS.


                                            COMMITTEE ACTION

 ON MAY 8, 1984 THE SUBCOMMITTEE ON CRIME MARKED UP H.R. 5112 AT WHICH TIME
CHAIRMAN HUGHES OFFERED AN AMENDMENT IN THE NATURE OF A SUBSTITUTE TO H.R. 5112.

  H.R. 5112, AS INTRODUCED, WOULD HAVE PROHIBITED TRANSACTIONS IN COUNTERFEITED
‘FRAUDULENT ACCESS DEVICES‘ AND COUNTERFEIT DEVICE-MAKING EQUIPMENT FOR CREDIT
AND DEBIT INSTRUMENTS IF THE ILLEGAL ACTS IN THE AGGREGATE OBTAINED ANYTHING
OF VALUE WORTH $5,000 WITHIN 1 YEAR OR IF THE DEFENDANT WAS IN POSSESSION OF 10 OR
MORE COUNTERFEIT INSTRUMENTS INDICATING THE DEFENDANT WAS MORE THAN A SMALL-
TIME THIEF. IT WOULD ALSO HAVE PROHIBITED UNAUTHORIZED ACCESS OF A COMPUTER
THAT AFFECTED INTERSTATE COMMERCE IF THE DEFENDANT THEREBY AGGREGATED $5,000
IN ILLEGAL GAINS IN ANY 1-YEAR PERIOD. THE BILL WOULD ALSO HAVE INCLUDED A



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MISDEMEANOR CRIME OF COMPUTER ABUSE IF SUCH ABUSE AFFECTED INTERSTATE COMMERCE
AND THE DEFENDANT USED, MODIFIED, OR DISCLOSED INFORMATION IN, OR PREVENTED
AUTHORIZED USE OF A COMPUTER AND RESULTED IN LOSS TO OTHERS AGGREGATING $5,000 OR
MORE IN VALUE DURING ANY 1-YEAR PERIOD.

 THE AMENDMENT IN THE NATURE OF A SUBSTITUTE OFFERED AT THE SUBCOMMITTEE
CONTAINED THE FOLLOWING NEW SUBSECTIONS:

  SECTION 1029(A)(1) WHICH PROHIBITS PRODUCING OR TRAFFICKING IN ‘COUNTERFEIT ACCESS
DEVICES‘ AND 1029(A)(2) WHICH PROHIBITS TRAFFICKING IN ‘UNAUTHORIZED ACCESS DEVICES‘
IF THE (A)(2) CONDUCT OBTAINS ANYTHING OF VALUE AGGREGATING $1,000 OR MORE DURING
A 1-YEAR PERIOD.

  THE ESSENTIAL DIFFERENCE BETWEEN THIS APPROACH AND H.R. 5112 IS THAT A DICHOTOMY
IS MADE BETWEEN ‘COUNTERFEIT‘ AND ‘UNAUTHORIZED‘ ACCESS DEVICES (THERE IS NO
THRESHOLD REQUIRED FOR PRODUCING AND TRAFFICKING IN COUNTERFEIT CARDS ON
THE GROUNDS THAT DEALING WITH COUNTERFEITS, AS OPPOSED TO CARDS WHICH ARE
GENUINE BUT BEING MISUSED, IS SUFFICIENTLY MORE SERIOUS TO WARRANT PROSECUTION
WITHOUT ESTABLISHING A DOLLAR THRESHOLD). THE THRESHOLD FOR ‘UNAUTHORIZED
ACCESS DEVICES‘ IS ESTABLISHED AT $1,000. H.R. 5112 REQUIRED A THRESHOLD OF $5,000 VALUE
OR INVOLVEMENT OF 10 OR MORE ‘FRAUDULENT‘ ACCESS DEVICES.

  SECTION 1029(A)(1) CREATES A COUNTERFEITING OFFENSE CONSISTENT WITH THE SENATE
APPROACH IN S. 1870 (NO THRESHOLD) AND THE LOWERING OF THE DOLLAR VALUE TO $1,000 FOR
‘UNAUTHORIZED‘ ACCESS DEVICES WHICH CONFORMS WITH THE THRESHOLD IN ‘USE‘ OFFENSES
IN THE TRUTH IN LENDING ACT (15 U.S.C. 1644) AND THE ELECTRONIC FUNDS TRANSFER *14 ACT
(15 U.S.C. 1693N.) AS WELL AS THE CHANGES IN THESE LAWS ENVISIONED IN H.R. 3622 (BANKING
COMMITTEE BILL) WHICH PASSED THE HOUSE ON NOVEMBER 16, 1983.

 SECTION 1029(A)(3) ESTABLISHES A SEPARATE OFFENSE OF POSSESSION OF 15 OR MORE
COUNTERFEIT OR UNAUTHORIZED ACCESS DEVICES. H.R. 5112 REQUIRED TRAFFICKING AND
POSSESSION OF 10 CARDS OF OBTAINING $5,000 OF VALUE. THE SUBCOMMITTEE CONSIDERED THE
POSSESSION OF 15 ACCESS DEVICES MORE THAN A MINOR VIOLATION AND BELIEVES THAT SUCH A
FEDERAL OFFENSE WOULD CONCENTRATE FEDERAL RESOURCES ON MAJOR TRAFFICKERS AND
COUNTERFEITERS.

   **3700 SECTION 1029(A)(4) PROHIBITS PRODUCING, POSSESSION OF OR TRAFFICKING IN DEVICE-
MAKING EQUIPMENT WITH THE INTENT TO DEFRAUD. THIS DIFFERED FROM H.R. 5112 IN THAT
IT NO LONGER HAS THE THRESHOLD OF $5,000 OR 10 FRAUDULENT CARDS.

 SECTION 1029(B) SETS UP BOTH AN ATTEMPT AND CONSPIRACY VIOLATION. H.R. 5112 HAD ONLY
AN ATTEMPT VIOLATION. THE NEW CONSPIRACY OFFENSE IS CONSISTENT WITH THE APPROACH
THE SUBCOMMITTEE TOOK IN THE PHARMACY ROBBERY BILL (CONTROLLED SUBSTANCES
REGISTRANTS PROTECTION ACT OF 1984 (P.L. 98-305)-- PENALTY FOR CONSPIRACY SET AT ONE-
HALF THAT FOR THE COMPLETED OFFENSE).

  SECTION 1029(C)(1) SETS UP A MAXIMUM PENALTY OF 10 YEARS IMPRISONMENT, AND A
FINE OF $10,000 OR ALTERNATE FINE FOR TRAFFICKING IN UNAUTHORIZED ACCESS DEVICES




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OR POSSESSION OF 15 UNAUTHORIZED OR COUNTERFEIT ACCESS DEVICES. THIS ADDS THE
ALTERNATIVE FINE TO THE H.R. 5112 SANCTIONS AND INCLUDES THE POSSESSION OFFENSE.

  SECTION 1029(C)(2) PROVIDES A MAXIMUM PENALTY OF 15 YEARS, $50,000 OR ALTERNATE
FINE FOR TRAFFICKING IN COUNTERFEIT ACCESS DEVICES OR POSSESSION, PRODUCING
OR TRAFFICKING IN DEVICE-MAKING EQUIPMENT. THIS PROVISION ADDS TRAFFICKING IN
COUNTERFEIT ACCESS DEVICES TO THE OFFENSES FOR WHICH THERE WERE MORE SEVERE
SANCTIONS IN H.R. 5112.

 SECTION 1029(C)(3) PROVIDES A MAXIMUM PENALTY OF A $100,000 FINE OR ALTERNATE FINE
AND UP TO 20 YEARS FOR A SUBSEQUENT OFFENSE UNDER THIS SUBSECTION. THIS MERELY ADDS
THE ALTERNATE FINE TO THE H.R. 5112 VERSION.

  SECTION 1029(E)(1) CHANGED THE DEFINITION OF ACCESS DEVICE IN H.R. 5112 BY SUBSTITUTING
‘THAT CAN BE USED‘ INSTEAD OF ‘EXISTING FOR THE PURPOSE OF OBTAINING‘ AND ‘THAT CAN
BE USED TO INITIATE‘ FOR ‘FOR THE PURPOSE OF INITIATING.‘

 SECTION 1029(E)(2) AND (E)(3) DEFINES ‘COUNTERFEIT ACCESS DEVICE‘ AND ‘UNAUTHORIZED
ACCESS DEVICE.‘ THESE ARE NEW TERMS WHICH REPLACED THE ‘FRAUDULENT ACCESS
DEVICE‘ TERM USED IN H.R. 5112. THIS DICHOTOMY ESSENTIALLY IS TO DISTINGUISHED
BETWEEN COUNTERFEIT ACCESS DEVICES AND GENUINE ACCESS DEVICES BEING USED WITHOUT
AUTHORITY.

  SECTION 1029(E)(5) DEFINES ‘TRAFFIC‘ A NEW TERM IN THE BILL WHICH COMBINES THE
COVERAGE OF ‘BUY, SELL OR TRANSFER,‘ AS USED IN H.R. 5112, WITH COVERAGE OF ACTS OF
‘RECEIVING.‘

 SECTION 1029(E)(6) DEFINES DEVICE-MAKING EQUIPMENT AND DELETES THE TERM ‘SPECIALLY‘
USED IN H.R. 5112.

 SECTION 1030(A)(1)(A) PROHIBITS (A FELONY) ACCESSING A COMPUTER WITHOUT
AUTHORIZATION OR, IF AUTHORIZED, ABUSING THAT AUTHORIZATION WITH INTENT TO
EXECUTE A FRAUD IF THAT FRAUD CULMINATES IN A $5,000 BENEFIT TO THE DEFENDANT OR
LOSS TO THE VICTIM. THE COVERAGE OF ‘ABUSE OF AUTHORIZATION‘ IS NEW. IN SEC. 1030(A)(1)(B)
THE SUBCOMMITTEE *15 ADDED A FELONY COMPUTER OFFENSE FOR ACCESSING A COMPUTER
AND OBTAINING CLASSIFIED INFORMATION WITHOUT A NEED TO SHOW ANY DOLLAR VALUE.

  SECTION 1030(A)(2) PROHIBITS (A MISDEMEANOR) ACCESSING A COMPUTER WITHOUT
AUTHORIZATION, OR IF AUTHORIZED, ABUSING THAT AUTHORIZATION, AND IN SO DOING THE
DEFENDANT, USES, MODIFIES OR DISCLOSES INFORMATION IN, OR PREVENTS AUTHORIZED USE
OF SUCH COMPUTER. THERE WOULD HAVE TO BE $5,000 WORTH OF BENEFIT TO THE DEFENDANT
OR LOSS TO ANOTHER. IN SEC. 1030(A)(2)(B) THE SUBCOMMITTEE ADDED A MISDEMEANOR **3701
OFFENSE FOR ANY UNAUTHORIZED ACCESS, REGARDLESS OF ANY DOLLAR VALUE, OF A U.S.
GOVERNMENT COMPUTER. (THE ADDITION OF AN ABUSE OF VALID AUTHORIZATION WAS ALSO
ADDED TO BOTH OFFENSES.) THE JURISDICTIONAL BASE IS WHETHER THE CONDUCT AFFECTS
INTERSTATE OR FOREIGN COMMERCE OR THE COMPUTER IS OPERATED FOR OR ON BEHALF OF
THE U.S. GOVERNMENT, THE LATTER BEING AN ADDITION TO H.R. 5112.




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  SECTION 1030(B) PROHIBITS ATTEMPTS TO VIOLATE (A) AND CREATES A SEPARATE CONSPIRACY
SECTION. THE CONSPIRACY SECTION WAS ADDED TO THE H.R. 5112 VERSION.

 SECTION 1030(C)(1) SETS UP A FINE OF $10,000 OR ALTERNATE FINE AND A SENTENCE OF UP
TO TEN YEARS FOR THE SUBSECTION (A)(1) COMPUTER FRAUD OFFENSE OR ATTEMPT, AND AN
ESCALATION ($100,000 OR 20 YEARS) FOR A SUBSEQUENT OFFENSE. THE ALTERNATIVE FINE WAS
ADDED TO THE H.R. 5112 VERSION.

  SECTION 1030(C)(2) SETS UP A FINE OF $5,000 OR AN ALTERNATE FINE AND A SENTENCE OF 1 YEAR
(MISDEMEANOR) FOR COMPUTER ABUSE, WITH AN ESCALATION OF $10,000 OR AN ALTERNATE
FINE AND 20 YEARS FOR A SUBSEQUENT OFFENSE. THE MAXIMUM FIXED FINE FIGURES WERE
ADDED TO THE H.R. 5112 VERSION, FROM WHICH THEY WERE UNINTENTIONALLY OMITTED.

 SECTION 3 REQUIRES A SPECIAL REPORT ON PROSECUTIONS UNDER THIS ACT FROM THE
ATTORNEY GENERAL FOR THE FIRST THREE YEARS AFTER THE BILL IS ENACTED. THIS IS AN
ADDITION TO H.R. 5112.

 THIS AMENDMENT IN THE NATURE OF A SUBSTITUTE WAS REPORTED UNANIMOUSLY AS A
CLEAN BILL (H.R. 5616) TO THE FULL COMMITTEE AND CHAIRMAN HUGHES, THE RANKING
MINORITY MEMBER MR. SAWYER, AND ALL THE MEMBERS OF THE SUBCOMMITTEE PLUS MR.
NELSON ARE ORIGINAL CO-SPONSORS.

 THE FULL COMMITTEE ON THE JUDICIARY MARKED UP H.R. 5616 ON JUNE 26, 1984 WITH THE
FOLLOWING MAJOR SUBSTANTIVE AMENDMENTS:

  (1) AN AMENDMENT TO SECTION 1030(A)(1) TO ALTER THE LANGUAGE OF THIS SECTION TO
CONFORM WITH THAT OF THE MAIL AND WIRE FRAUD STATUTES (18 U.S.C. 1341 AND 1343). IT ALSO
SPELLS OUT THE COVERAGE OF CLASSIFIED INFORMATION IN THE BILL AND INCLUDES ‘INTENT‘
LANGUAGE CONSISTENT WITH THE EXISTING ESPIONAGE LAWS (18 U.S.C. 793). THE AMENDMENT
ALSO SPLIT UP THE TWO MISDEMEANOR OFFENSES AND ADDS A CLAUSE EXCLUDING FROM
THESE SECTIONS' COVERAGE OF A PERSON AUTHORIZED TO ACCESS A COMPUTER WHO MERELY
EXCEEDS SUCH AUTHORIZATION BY THE INCIDENTAL USE OF THE COMPUTER (E.G., IF A
GOVERNMENT EMPLOYEE DOES HOMEWORK OR PLAYS COMPUTER GAMES ON A GOVERNMENT
COMPUTER.)

 (2) A SECOND OFFENSE FOR A MISDEMEANOR IS REDUCED FROM A 20-YEAR FELONY TO A 10-
YEAR FELONY.

 (3) AN OFFENSE OF ‘USING‘ A COUNTERFEIT ACCESS DEVICE OR UNAUTHORIZED ACCESS
DEVICE IS ADDED TO SEC. 1029(A)(1) AND (A)(2).

  (4) A DEFINITION OF THE WORD ‘COMPUTER‘ IS ADDED TO SEC. 1030.

  *16 (5) A CLARIFICATION IS MADE IN REGARD TO THE CONCURRENT AUTHORITY OF
THE SECRET SERVICE TO INVESTIGATE UNDER THIS BILL. THIS AMENDMENT MANDATES
COORDINATION BETWEEN THE DEPARTMENT OF JUSTICE AND THE DEPARTMENT OF THE
TREASURY.




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  (6) A NEW MISDEMEANOR OFFENSE IS CREATED FOR UNAUTHORIZED ACCESS TO
INFORMATION PROTECTED FROM DISCLOSURE BY THE RIGHT TO FINANCIAL PRIVACY ACT (12
U.S.C. 3401 ET SEQ.) AND THE FAIR CREDIT REPORTING ACT (15 U.S.C. 1681 ET SEQ.).

  **3702 THE BILL AS AMENDED WAS PASSED BY VOICE VOTE AS A COMMITTEE AMENDMENT IN
THE NATURE OF A SUBSTITUTE TO H.R. 5616.


                                      SECTION-BY-SECTION ANALYSIS

 THE FOLLOWING IS A SECTION-BY-SECTION ANALYSIS OF H.R. 5616, AS REPORTED BY THE
COMMITTEE ON THE JUDICIARY:

 SECTION 1 OF THE BILL CONTAINS ITS SHORT TITLE: THE ‘COUNTERFEIT ACCESS DEVICE AND
COMPUTER FRAUD AND ABUSE ACT OF 1984.‘

 SECTION 2(A) OF THE BILL AMENDS CHAPTER 47 OF TITLE 18 OF THE U.S.C. (RELATING TO
FRAUD AND FALSE STATEMENTS) TO ADD A NEW SECTION 1029, ENTITLED ‘FRAUD AND RELATED
ACTIVITY IN CONNECTION WITH ACCESS DEVICES.‘

 SECTION 1029 CONTAINS FIVE MAJOR PROVISIONS RELATING TO ACCESS DEVICE OFFENSES: (A)
ELEMENTS OF THE OFFENSES AND THE BASIS FOR FEDERAL JURISDICTION; (B) PUNISHMENT FOR
ATTEMPTING OR CONSPIRING TO COMMIT AN OFFENSE; (C) PUNISHMENT FOR COMMITTING AN
OFFENSE; (D) AUTHORITY FOR INVESTIGATIVE JURISDICTION; AND (E) DEFINITIONS.

  SECTION 1029(A) SETS OUT FOUR CATEGORIES OF OFFENSES WHICH, IF SUCH ACTIVITY
‘AFFECTS INTERSTATE OR FOREIGN COMMERCE,‘ ARE SUBJECT TO THE PENALTY PROVISIONS
OF SUBSECTION (C) OF THIS SECTION. IN USING THE PHRASE ‘AFFECTS INTERSTATE AND
FOREIGN COMMERCE‘ THE COMMITTEE INTENDS TO ESTABLISH A BROAD JURISDICTIONAL
BASIS. THE PROVISION IS INTENDED TO PROVIDE FEDERAL PROSECUTORS WITH THE MEANS
TO PROSECUTE EFFECTIVELY A BROAD VARIETY OF CREDIT CARD AND ACCOUNT-RELATED
FRAUD SCHEMES. NEVERTHELESS, CERTAIN THRESHOLDS CONTAINED IN THE BILL, SUCH AS
THE DOLLAR AMOUNT THRESHOLD ON TRAFFICKING IN OR USING UNAUTHORIZED DEVICES
AND THE POSSESSION OF 15 OR MORE UNAUTHORIZED OR COUNTERFEIT DEVICES, WILL INSURE
THAT FEDERAL INVOLVEMENT IS CONCENTRATED ON THOSE SITUATIONS WHERE THEY CAN
BEST SUPPLEMENT THE EFFORTS OF STATE AND LOCAL GOVERNMENTS.

 SECTION 1029(A)(1) WOULD MAKE IT A FEDERAL OFFENSE TO KNOWINGLY AND WITH INTENT
TO DEFRAUD PRODUCE, USE OR TRAFFIC IN ONE OR MORE COUNTERFEIT ACCESS DEVICES, AS
DEFINED IN PROPOSED SUBSECTION (E)(2).

  A KNOWING STATE OF MIND WITH RESPECT TO AN ELEMENT OF THE OFFENSE IS (1) AN
AWARENESS OF THE NATURE OF ONE'S CONDUCT, AND (2) AN AWARENESS OF OR A FIRM BELIEF
IN THE EXISTENCE OF A RELEVANT CIRCUMSTANCE SUCH AS WHETHER AN ACCESS DEVICE WAS
COUNTERFEIT BEFORE IT WAS USED OR TRAFFICKED IN. THE COMMITTEE INTENDS THAT THE
KNOWING STATE OF MIND REQUIREMENT MAY BE SATISFIED BY PROOF THAT THE ACTOR WAS
AWARE OF A HIGH PROBABILITY OF THE EXISTENCE OF THE CIRCUMSTANCE, ALTHOUGH A
DEFENSE SHOULD SUCCEED IF IT IS PROVEN THAT THE ACTOR ACTUALLY BELIEVED THAT THE
CIRCUMSTANCE DID NOT EXIST AFTER TAKING REASONABLE STEPS TO WARRANT SUCH BELIEF.
THIS FOLLOWS THE PRACTICE OF THE PROPOSED MODEL PENAL CODE (SECTION 2.02(7)). THIS


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APPROACH DEALS WITH THE SITUATION THAT HAS BEEN CALLED ‘WILLFUL BLINDNESS,‘ *17 THE
CASE OF THE ACTOR WHO IS AWARE OF THE PROBABLE EXISTENCE OF A MATERIAL FACT BUT
DOES NOT SATISFY HIMSELF THAT IT DOES NOT IN FACT EXIST. WILLFUL BLINDNESS WOULD
REQUIRE AN AWARENESS OF A HIGH PROBABILITY OF THE EXISTENCE OF THE CIRCUMSTANCE.
UNITED STATES V. JEWELL, 532 F.2D 697, 700 N. 7(9TH CIR.) CERT. DENIED, 426 U.S. 951(1976).

  THE COMMITTEE INTENDS THAT THE TERM ‘WITH THE INTENT‘ HAVE THE SAME CULPABLE
STATE OF MIND AS THE TERM ‘PURPOSE‘ AS USED IN THE **3703 PROPOSED MODEL PENAL CODE
(SEC. 2.02). THE DISTINCTION FROM A KNOWING STATE OF MIND WAS RECENTLY RESTATED BY
JUSTICE REHNQUIST, ‘AS WE POINTED OUT IN UNITED STATES V. UNITED STATES GYPSUM CO., 438
U.S. 422, 445(1978), A PERSON WHO CAUSES A PARTICULAR RESULT IS SAID TO ACT PURPOSEFULLY
IF 'HE CONSCIOUSLY DESIRES THAT RESULT, WHATEVER THE LIKELIHOOD OF THAT RESULT
HAPPENING FROM HIS CONDUCT,’ WHILE HE IS SAID TO ACT KNOWINGLY IF HE IS AWARE
'THAT THAT RESULT IS PRACTICALLY CERTAIN TO FOLLOW FROM HIS CONDUCT, WHATEVER HIS
DESIRE MAY BE AS TO THAT RESULT.'‘ UNITED STATES V. BAILEY, 444 U.S. 394, 404 1101 (1980).

  THERE IS NO REQUIREMENT THAT THE OFFENDER HAVE DIRECT CONTACT WITH THE
PERSON WHO IS ULTIMATELY DEFRAUDED. FOR EXAMPLE, A COUNTERFEITER MAY DEAL
WITH A DISTRIBUTOR WHO IS FULLY AWARE THAT COUNTERFEIT CARDS ARE INVOLVED, AND
THEREFORE IS NOT A VICTIM OF FRAUD. HOWEVER, THE VALUE OF THE MANUFACTURER'S
ILLEGALLY OBTAINED PRODUCT CLEARLY INDICATES AN INTENTION TO DEFRAUD ANY
INNOCENT PARTY.

  SECTION 1029(A)(2) WOULD MAKE IT A FEDERAL OFFENSE TO KNOWINGLY AND WITH INTENT TO
DEFRAUD, TRAFFIC IN OR USE ONE OR MORE UNAUTHORIZED ACCESS DEVICES DURING ANY 12-
MONTH PERIOD, IF THE CONDUCT RESULTS IN OBTAINING ANYTHING OF VALUE AGGREGATING
$1,000 OR MORE DURING THAT PERIOD. THE BILL SETS A DOLLAR AMOUNT THRESHOLD ($1,000)
FOR TRAFFICKING IN OR USING ONE OR MORE UNAUTHORIZED ACCESS DEVICES WHICH
CONFORMS WITH THE THRESHOLD FOR CERTAIN OFFENSES UNDER THE TRUTH IN LENDING ACT
(15 U.S.C. 1644) AND THE ELECTRONIC FUND TRANSFER ACT (15 U.S.C. 1693).

 THE BILL SPECIFIES A THRESHOLD DOLLAR AMOUNT FOR ‘UNAUTHORIZED‘ ACCESS DEVICES
ONLY. NO THRESHOLD IS ESTABLISHED FOR PRODUCING, TRAFFICKING IN OR USING
COUNTERFEIT DEVICES ON THE GROUNDS THAT DEALING WITH THEM, AS OPPOSED TO THOSE
THAT ARE GENUINE BUT BEING MISUSED (UNAUTHORIZED), IS SERIOUS ENOUGH TO WARRANT
PROSECUTION WITHOUT A DOLLAR THRESHOLD. COUNTERFEITING SUCH CARDS IS ANALOGOUS
TO THE COUNTERFEITING OF U.S. CURRENCY.

  SECTION 1029(A)(3) PROVIDES A SEPARATE OFFENSE FOR POSSESSION OF 15 OR MORE
COUNTERFEIT OR UNAUTHORIZED ACCESS DEVICES WITH INTENT TO DEFRAUD. THE PURPOSE
OF THE NUMERICAL LIMITATION IS TO CONCENTRATE FEDERAL GOVERNMENT INVOLVEMENT
ON MAJOR TRAFFICKERS AND COUNTERFEITERS AND TO AUTHORIZE SUCH INVOLVEMENT EVEN
IN CASES WHERE PRODUCING, TRAFFICKING IN OR USING SUCH ACCESS DEVICES CANNOT
BE ESTABLISHED. ANY COMBINATION OF COUNTERFEIT OR UNAUTHORIZED ACCESS DEVICES
WOULD BE SUFFICIENT TO MEET THE FIFTEEN-DEVICE REQUIREMENT.

 SECTION 1029(A)(4) WOULD MAKE IT A FEDERAL OFFENSE TO KNOWINGLY, AND WITH INTENT
TO DEFRAUD, PRODUCE, TRAFFIC IN, POSSESS, OR HAVE CUSTODY OR CONTROL OVER DEVICE-
MAKING EQUIPMENT, WITH THE INTENT THAT SUCH EQUIPMENT BE USED IN THE PRODUCTION



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OF A FRAUDULENT ACCESS DEVICE. THE CRIME IS SUFFICIENTLY SERIOUS TO WARRANT
PROSECUTION WITHOUT A DOLLAR THRESHOLD. THE OFFENDER NEED NOT PERSONALLY HAVE
PHYSICAL POSSESSION OF THE EQUIPMENT, AS LONG AS HE HAS CONTROL OVER *18 THE
EQUIPMENT IN THE POSSESSION OF ANOTHER. THE CONDUCT INVOLVED MUST BE ACCOMPANIED
BY AN INTENT TO DEFRAUD. HOWEVER, THE OFFENDER NEED NOT INTEND THAT HE HIMSELF
WILL USE THE EQUIPMENT TO DEFRAUD. RATHER, HE NEED MERELY INTEND THAT THE
EQUIPMENT WILL BE USE BY HIMSELF OR ANOTHER TO DEFRAUD.

  **3704 SECTION 1029(B) ADDRESSES ATTEMPT OFFENSES AND CONSPIRACY TO COMMIT
OFFENSES OUTLINED IN SUBSECTION (A). SUBSECTION 1029(B)(1) WOULD MAKE IT AN OFFENSE TO
ATTEMPT TO COMMIT ANY OF THE OFFENSES OUTLINED IN PROPOSED SUBSECTIONS (A)(1), (2), (3),
AND (4), AND SUCH ATTEMPT WOULD BE SUBJECT TO THE PENALTIES OUTLINED IN SUBSECTION
(C) OF THIS SECTION.

  SUBSECTION (B)(2) WOULD MAKE IT AN OFFENSE FOR TWO OR MORE PERSONS TO CONSPIRE TO
COMMIT ANY OF THE OFFENSES DESCRIBED IN SUBSECTION (A), IF ANY OF THE PARTIES ENGAGES
IN ANY CONDUCT IN FURTHERANCE OF SUCH OFFENSE. THE SUBSECTION PROVIDES THAT THE
PUNISHMENT FOR SUCH A CONSPIRACY OFFENSE WOULD BE THE MAXIMUM FINE SET OUT IN
SUBSECTION (C) OR IMPRISONMENT FOR NO LONGER THAN ONE-HALF THE MAXIMUM PERIOD
PROVIDED FOR SUCH AN OFFENSE UNDER SUBSECTION (C).

  SUBSECTION 1029(C) LISTS THE PENALTIES FOR COMMITTING, ATTEMPTING TO COMMIT OR
CONSPIRING TO COMMIT OFFENSES DESCRIBED IN SUBSECTION (A). IN LINE WITH THE FALSE
IDENTIFICATION CRIME CONTROL ACT OF 1982 (18 U.S.C. 1028), THE PENALTIES ARE GRADUATED
BASED UPON THE SERIOUSNESS OF THE OFFENSE INVOLVED, THE DAMAGES RESULTING, AND
THE OFFENDER'S PRIOR OFFENSES IN THE AREA. AS WAS EARLIER SPECIFIED IN SUBSECTION (B)
(2), THE PUNISHMENT FOR CONSPIRACY OFFENSES WOULD BE THE MAXIMUM FINES SET OUT
IN SUBSECTION (C) OR IMPRISONMENT FOR NO LONGER THAN ONE-HALF THE MAXIMUM TIME
PROVIDED FOR SUCH AN OFFENSE.

 SUBSECTION 1029(C)(1) WOULD AUTHORIZE A MAXIMUM FINE OF $10,000 OR TWICE THE VALUE
OBTAINED BY THE OFFENSE AND/OR A MAXIMUM TERM OF IMPRISONMENT OF 10 YEARS FOR
OFFENSES OR ATTEMPTED OFFENSES INVOLVING TRAFFICKING IN OR USE OF ONE OR MORE
UNAUTHORIZED ACCESS DEVICES AND THEREBY OBTAINING $1,000 OR MORE IN VALUE DURING
ANY 12-MONTH PERIOD OR POSSESSION OF FIFTEEN OR MORE COUNTERFEIT OR UNAUTHORIZED
ACCESS DEVICES.

 SUBSECTION 1029(C)(2) PROVIDES A MAXIMUM FINE OF $50,000 OR TWICE THE VALUE OBTAINED
BY THE OFFENSES AND/OR A MAXIMUM TERM OF IMPRISONMENT OF 15 YEARS FOR OFFENSES
RELATING TO PRODUCING, TRAFFICKING IN OR USING ONE OR MORE COUNTERFEIT ACCESS
DEVICES OR PRODUCING, TRAFFICKING IN OR POSSESSING DEVICE-MAKING EQUIPMENT. THE
COMMITTEE CONSIDERS THESE AS MORE SERIOUS OFFENSES THAN SEC. 1029(A)(2) OR (A)(3).

  SUBSECTION 1029(C)(3) OUTLINES PENALTIES FOR REPEATED OFFENSES. A MAXIMUM FINE OF
$100,000 OR TWICE THE VALUE OBTAINED AND/OR A MAXIMUM TERM OF IMPRISONMENT OF 20
YEARS IS PROVIDED FOR ANY OFFENSE UNDER A CONVICTION FOR ANY PRIOR OFFENSE UNDER
SUBSECTION (A). A PRINCIPAL PURPOSE OF THIS SUBSECTION IS TO PROVIDE A DETERRENT
AGAINST REPEATED OFFENSES BY DEFENDANTS WHO ARE ENGAGED IN THIS TYPE OF ILLEGAL
ENTERPRISE.



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  SECTION 1029(D) GIVES AUTHORITY TO THE SECRET SERVICE, IN ADDITION TO ANY OTHER
AGENCY HAVING JURISDICTION SUCH AS THE FEDERAL BUREAU OF INVESTIGATION (OR THE
U.S. POSTAL SERVICE UNDER TITLE 15), TO INVESTIGATE OFFENSES UNDER THIS NEW SECTION.
THE SECRET SERVICE CURRENTLY HAS JURISDICTION OVER COUNTERFEITING OFFENSES
INVOLVING U.S. AND FOREIGN *19 CURRENCY, AND THE COMMITTEE HAS CONCLUDED THAT
CONCURRENT JURISDICTION IS ALSO APPROPRIATE HERE. THE COMMITTEE HAS THAT THE
DEPARTMENT OF THE TREASURY AND THE DEPARTMENT OF JUSTICE SPELL OUT THEIR
VARIOUS RESPONSIBILITIES IN ORDER TO BETTER COORDINATE **3705 THEIR INVESTIGATIVE
PROCEDURES AND BELIEVES THIS SHOULD BE ACCOMPLISHED PRIOR TO ANY ACTIVITY UNDER
THIS SECTION.

  SECTION 1029(E) CONTAINS DEFINITIONS. SUBSECTION (E)(1) DEFINES ‘ACCESS DEVICE‘ TO
INCLUDE ANY CARD, PLATE, CODE, ACCOUNT NUMBER OR OTHER MEANS OF ACCOUNT
ACCESS THAT CAN BE USED, ALONE OR IN CONJUNCTION WITH ANOTHER ACCESS DEVICE,
TO OBTAIN MONEY, GOODS SERVICES, OR ANY OTHER THING OF VALUE, OR THAT CAN
BE USED TO INITIATE A TRANSFER OF FUNDS (OTHER THAN A TRANSFER ORIGINATED
SOLELY BY PAPER INSTRUMENT). THIS WOULD COVER CREDIT CARDS, DEBIT CARDS, ACCOUNT
NUMBERS AND COMBINATIONS OF THESE AND OTHER METHODS OF OBTAINING MONEY, GOODS
AND SERVICES. THE DEFINITION OF THIS TERM IS BROAD ENOUGH TO ENCOMPASS FUTURE
TECHNOLOGICAL CHANGES AND THE ONLY LIMITATION I.E., ‘(OTHER THAN A TRANSFER
ORIGINATED SOLEY BY PAPER INSTRUMENT)‘ EXCLUDES ACTIVITIES SUCH AS PASSING FORGED
CHECKS. THIS DEFINITION, HOWEVER, INCLUDES THE INVOICES, VOUCHERS, SALES DRAFTS
AND OTHER MANIFESTATIONS OF ACCESS DEVICES USED BETWEEN MERCHANTS AND CREDIT
CARD COMPANIES FOR PAYMENT FOR ACCESS DEVICE TRANSACTIONS. THUS, ANY SUCH PAPER
MEDIUM WOULD ITSELF BE AN ‘ACCESS DEVICE ‘ QUITE APART FROM ANY CARD, PLATE OR
SIMILAR DEVICE THAT MAY HAVE BEEN USED IN CREATING SUCH A PAPER INSTRUMENT.

  THE PHRASE USED ‘ALONG OR IN CONJUNCTION WITH ANOTHER ACCESS DEVICE‘ IS INTENDED
TO COVER ANY ACCOUNT ACCESS ELEMENTS OR MEANS OF IDENTIFICATION CURRENTLY
AVAILABLE OR THAT MAY BECOME TECHNOLOGICALLY AVAILABLE, WHICH MAY BE USED IN
CONNECTION WITH ACCOUNTS BUT WHICH THEMSELVES MAY NOT BE ‘ACCESS DEVICES‘. AN
EXAMPLE OF THIS WOULD BE A PERSONAL IDENTIFICATION NUMBER (PIN) WHICH MAY BE USED
IN CONNECTION WITH CARD ACCESS DEVICES.

  SECTION 1029(E)(2) DEFINES ‘COUNTERFEIT ACCESS DEVICE‘ AS ANY ACCESS DEVICE THAT
IS COUNTERFEIT, FICTITIOUS, ALTERED, OR FORGED, OR AN ‘IDENTIFIABLE COMPONENT
OF AN ACCESS DEVICE OR A COUNTERFEIT ACCESS DEVICE‘. THE TERM ‘FICTITIOUS‘ IS
INTENDED TO COVER A NUMBER OF DIFFERENT TYPES OF COUNTERFEIT DEVICES, INCLUDING
REPRESENTATIONS, DEPICTIONS OR FACSIMILES OF AN ACCESS DEVICE.

 THE DEFINITION IS INTENDED TO BE SUFFICIENTLY BROAD TO COVER COMPONENTS OF AN
ACCESS DEVICE OR A COUNTERFEIT ACCESS DEVICE, BUT WOULD EXCLUDE INDISTINGUISHABLE
RAW MATERIALS. THE COMPONENTS WOULD INCLUDE ELEMENTS OF DEVICES THAT ARE
LEGITIMATE BUT OBTAINED OR USED WITH AN INTENT TO DEFRAUD. THUS, ANY IDENTIFIABLE
COMPONENT, WHETHER IT IS IN FACT AN ACTUAL COMPONENT THAT HAS BEEN OBTAINED IN
SOME FASHION BY A PERPETRATOR WITH AN INTENT TO DEFRAUD OR A FALSE OR COUNTERFEIT
SUBSTITUTE FOR A LEGITIMATE COMPONENT, WOULD FALL WITHIN THE DEFINITION OF
COUNTERFEIT ACCESS DEVICE. THE COMMITTEE INTENDS THE TERM ‘COMPONENT‘ TO INCLUDE



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INCOMPLETE ACCESS DEVICES OR COUNTERFEIT ACCESS DEVICES, SUCH AS ANY MAG STRIPS,
HOLOGRAMS, SIGNATURE PANELS, MICROCHIPS, AND BLANK CARDS OF SO-CALLED ‘WHITE
PLASTIC.‘

  SUBSECTION (E)(3) DEFINES ‘UNAUTHORIZED ACCESS DEVICE‘ AS AN ACCESS DEVICE THAT
IS LOST, STOLEN, EXPIRED, REVOKED, CANCELLED OR OBTAINED WITH INTENT TO DEFRAUD.
THE COMMITTEE WOULD DISTINGUISH BETWEEN ACTIVITY INVOLVING A CRIMINAL OR AN
ORGANIZED CRIME RING THAT TRAFFICS IN THIS TYPE OF CARD, AND ACTIVITY WHICH WOULD
INVOLVE A *20 VALID CARD OWNER WHO KNOWINGLY USED AN EXPIRED OR REVOKED CARD.
THE LATTER ACTIVITY IS MORE APPROPRIATELY HANDLED BY STATE AND LOCAL AUTHORITIES
OR IN CIVIL ACTIONS BY CREDIT CARD COMPANIES.

  **3706 SUBSECTION (E)(4) DEFINES ‘PRODUCE‘ AS INCLUDING DESIGN, ALTER, AUTHENTICATE,
DUPLICATE, OR ASSEMBLE AND IS USED IN CONJUNCTION WITH COUNTERFEIT ACCESS DEVICES
AND DEVICE-MAKING EQUIPMENT.

  SUBSECTION (E)(5) DEFINES ‘TRAFFIC‘ TO MEAN TRANSFER OR OTHERWISE DISPOSE OF, TO
ANOTHER, OR OBTAIN CONTROL OF, WITH INTENT TO TRANSFER OR DISPOSE OF COUNTERFEIT
OR UNAUTHORIZED ACCESS DEVICES OR DEVICE-MAKING EQUIPMENT. THE COMMITTEE
INTENDS THAT THIS TERM INCLUDE THE CONCEPTS OF BUYING, SELLING, TRANSFERRING,
RECEIVING, PLEDGING, DISTRIBUTING, LOANING OR GIVING PROPERTY.

  SUBSECTION (E)(6) DEFINES ‘DEVICE-MAKING EQUIPMENT‘ AS ANY EQUIPMENT, MECHANISM,
OR IMPRESSION DESIGNED OR PRIMARILY USED FOR MAKING ACCESS DEVICES OR
COUNTERFEIT ACCESS DEVICES. THE SUBCOMMITTEE ON CRIME DELETED THE WORD
‘SPECIALLY‘ BEFORE THE WORD ‘DESIGNED‘ IN ORDER TO AVOID AN UNDULY NARROW
INTERPRETATION OF THIS PROVISION. THE COMMITTEE INTENDS COVERAGE OF, FOR EXAMPLE,
EQUIPMENT DESIGNED FOR A BROAD RANGE OF ACTIVITIES, ONE OF WHICH IS A TYPE OF
ACTIVITY INVOLVED IN THE ILLEGAL PRODUCTION OF ACCESS DEVICES. WE DO NOT INTEND
COVERAGE UNDER THE ‘DESIGNED‘ BRANCH OF THE OFFENSE TO BE LIMITED TO EQUIPMENT
DESIGNED ONLY FOR DEVICE-MAKING.


                                            COMPUTER CRIME

  SUBSECTION 1030(A)(1) PROHIBITS (A FELONY) ACCESSING A COMPUTER WITHOUT
AUTHORIZATION OR, IF AUTHORIZED, ABUSING THAT AUTHORIZATION WITH INTENT TO
EXECUTE A FRAUD IF THAT FRAUD CULMINATES IN $5,000 OF VALUE TO THE DEFENDANT,
OTHER THAN MERELY THE USE OF THE COMPUTER, IF SUCH CONDUCT AFFECTS INTERSTATE
OR FOREIGN COMMERCE. THIS SUBSECTION INVOKES THE BROAD FEDERAL JURISDICTION OF
‘AFFECTS INTERSTATE OR FOREIGN COMMERCE‘ AS DESCRIBED UNDER SUBSECTION 1029(A) BUT
LIMITS IT TO CONDUCT THAT OBTAINS VALUE OF $5,000 OR MORE WITHIN A 1-YEAR PERIOD. THE
PHRASE ‘OTHER THAN THE USE OF THE COMPUTER‘ IS TO EXCLUDE ‘TIME STEALING‘ FROM THE
FELONY OFFENSE.

  THE ‘KNOWING‘ STATE OF MIND IN SEC. 1030(A) IS THE SAME AS DESCRIBED UNDER SEC. 1029(A)
IN THIS SECTION-BY-SECTION ANALYSIS. THE LANGUAGE IN THIS SUBSECTION WAS CHANGED
FROM H.R. 5616 AS INTRODUCED TO CONFORM TO LANGUAGE IN THE MAIL AND WIRE FRAUD
STATUTES (18 U.S.C. 1341 AND 1343). IT IS NOTEWORTHY THAT SECTION 1030 DEALS WITH AN
‘UNAUTHORIZED ACCESS‘ CONCEPT OF COMPUTER FRAUD RATHER THAN THE MERE USE OF


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A COMPUTER. THUS, THE CONDUCT PROHIBITED IS ANALOGOUS TO THAT OF ‘BREAKING AND
ENTERING‘ RATHER THAN USING A COMPUTER (SIMILAR TO THE USE OF A GUN) IN COMMITTING
THE OFFENSE.

 SUBSECTION 1030(A)(2) PROHIBITS (A FELONY) ACCESSING A COMPUTER WITHOUT
AUTHORIZATION, OR IT AUTHORIZED, ABUSING THAT AUTHORIZATION AND OBTAINING WHAT
GENERICALLY IS CONSIDERED TO BE CLASSIFIED INFORMATION. THERE IS NO NEED TO PROVE
A DOLLAR THRESHOLD UNDER THIS SUBSECTION. THE ABILITY TO SHOW A SPECIFIC DOLLAR
VALUE OF GAIN OR LOSS IN THIS AREA WOULD BE DIFFICULT AND THE FEDERAL INTEREST IN
PROHIBITING UNAUTHORIZED ACCESS ITSELF IS DEEMED SUFFICIENT TO WARRANT A FELONY
CLASSIFICATION.

  *21 THE CHANGE AT THE FULL COMMITTEE LEVEL FROM THE LANGUAGE IN H.R. 5616,
AS INTRODUCED, WAS TO SPELL OUT THE DEFINITION OF CLASSIFIED INFORMATION IN
THE CLASSIFIED INFORMATION PROCEDURES ACT (18 U.S.C. APPENDIX III) AND ALTER THE
LANGUAGE TO CONFORM WITH EXISTING ESPIONAGE **3707 LAWS (18 U.S.C. 793). IN DOING
SO WE HAVE INCLUDED THE LANGUAGE ‘WITH INTENT OR REASON TO BELIEVE THAT THE
INFORMATION TO BE OBTAINED IS TO BE USED TO THE INJURY OF THE UNITED STATES, OR TO THE
ADVANTAGE OF ANY FOREIGN NATION.‘ AS THE SUPREME COURT STATED IN GORIN V. U.S., (312
U.S. 19, 28), ‘THIS REQUIRES THOSE PROSECUTED TO HAVE ACTED IN BAD FAITH. THE SANCTIONS
APPLY ONLY WHEN SCIENTER IS ESTABLISHED.‘

  SECTION 1030(A)(3) DESCRIBES AND PUNISHES TWO CATEGORIES OF MISDEMEANOR OFFENSES
THAT MAY BE COMMITTED WITH RESPECT TO THE TYPE OF INFORMATION PROTECTED BY THE
RIGHT TO FINANCIAL PRIVACY ACT (12 U.S.C. 3401 ET SEQ.) OR THE FAIR CREDIT REPORTING
ACT (15 U.S.C. 1681 ET SEQ.). FIRST, IT WOULD BE A FEDERAL OFFENSE FOR ANYONE TO
ACCESS A COMPUTER AND OBTAIN SUCH INFORMATION KNOWING THAT THE ACCESS IS
UNAUTHORIZED. SECOND, THE PROVISION ALSO WOULD MAKE IT A CRIMINAL OFFENSE FOR
ANYONE WHO HAS BEEN AUTHORIZED TO USE A COMPUTER TO ACCESS IT KNOWING THAT
THE ACCESS IS FOR A PURPOSE NOT CONTEMPLATED BY THE AUTHORIZATION. AS A RESULT, IT
PROHIBITS ACCESS TO A COMPUTER TO OBTAIN THE DESCRIBED DATA WHEN THE PERPETRATOR
KNOWS THAT THE ACCESS IS NOT AUTHORIZED OR THAT IT IS NOT WITHIN THE SCOPE OF
A PREVIOUS AUTHORIZATION. THE PROVISION DOES NOT ATTEMPT TO REACH THE SCOPE
OF INFORMATION INCIDENTALLY OBTAINED OR THE USE OF INFORMATION THAT HAS BEEN
OBTAINED LEGITIMATELY. THE PROVISION THEREFORE DOES NOT EXTEND TO ANY TYPE OR
FORM OF COMPUTER ACCESS THAT IS FOR A LEGITIMATE BUSINESS PURPOSE. THUS, ANY ACCESS
FOR A LEGITIMATE PURPOSE THAT IS PURSUANT TO AN EXPRESS OR IMPLIED AUTHORIZATION
WOULD NOT BE AFFECTED. THE PROVISION DOES NOT EXTEND TO NORMAL AND CUSTOMARY
BUSINESS PROCEDURES AND INFORMATION USAGE AND SO THESE LEGITIMATE PRACTICES
WILL NOT BE INTERRUPTED OR OTHERWISE AFFECTED. IT IMPOSES CRIMINAL SANCTIONS UPON
‘HACKERS‘ AND OTHER CRIMINALS WHO ACCESS COMPUTERS WITHOUT AUTHORIZATION.

  THE SUBSTANTIVE INFORMATION THAT WOULD BE PROTECTED BY THIS PROVISION IS
INFORMATION THAT IS WITHIN THE SCOPE OF THE RIGHT TO FINANCIAL PRIVACY ACT AND
THE FAIR CREDIT REPORTING ACT. FOR EXAMPLE, THE RIGHT TO FINANCIAL PRIVACY ACT
RESTRICTS THE DISCLOSURE BY FINANCIAL INSTITUTION TO A FEDERAL GOVERNMENTAL
AGENCY OF RECORDS RELATING TO CUSTOMERS OF THE FINANCIAL INSTITUTION WHO ARE
INDIVIDUALS OR PARTNERSHIPS CONSISTING OF FIVE OR FEWER PARTNERS. THEREFORE, THIS
PROVISION IS INTENDED TO MAKE A FEDERAL OFFENSE TO ACCESS-- KNOWING THAT THE



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ACCESS IS UNAUTHORIZED-- A COMPUTER MAINTAINED BY A ‘FINANCIAL INSTITUTION ‘ AND
THEREBY OBTAIN INFORMATION RELATING TO AN INDIVIDUAL OR A PARTNERSHIP OF FIVE
OR FEWER INDIVIDUALS, IF SUCH INFORMATION IS IDENTIFIED WITH OR IDENTIFIABLE AS
BEING DERIVED FROM THE FINANCIAL RECORDS OF A PARTICULAR CUSTOMER. THERE IS
NO REQUIREMENT, HOWEVER, THAT THE OFFENDER BE AN EMPLOYEE OF, OR OTHERWISE BE
ASSOCIATED WITH, A FEDERAL GOVERNMENTAL AGENCY.

  SIMILARLY, THE FAIR CREDIT REPORTING ACT IS INTENDED TO RESTRICT THE DISSEMINATION
OF INFORMATION IN A ‘FILE‘ RELATING TO AN INDIVIDUAL'S CREDIT WORTHINESS,
CREDIT STANDING, CREDIT CAPACITY, CHARACTER, GENERAL REPUTATION, PERSONAL
CHARACTERISTICS, OR MODE OF LIVING MAINTAINED BY A ‘CONSUMER REPORTING AGENCY,‘
SUCH AS A CREDIT *22 BUREAU. SECTION 1030(A)(3) IS INTENDED TO MAKE IT A ‘FEDERAL
OFFENSE TO ACCESS-- WITH KNOWLEDGE THAT THE ACCESS IS UNAUTHORIZED-- THIS
INFORMATION.

  **3708 SUBSECTION 1030(A)(4) PROHIBITS (A MISDEMEANOR) ACCESSING ANY COMPUTER
WITHOUT AUTHORIZATION, OF IF AUTHORIZED, ABUSING THAT AUTHORIZATION IF IN SO DOING
A DEFENDANT OBTAINS ANYTHING, OR CAUSES A LOSS, OF A VALUE TO ANOTHER. THE FEDERAL
JURISDICTIONAL THRESHOLD IS THAT THERE MUST BE $5,000 WORTH OF BENEFIT TO THE
DEFENDANT OR LOSS TO ANOTHER IN ORDER TO CONCENTRATE FEDERAL RESOURCES ON THE
MORE SUBSTANTIAL COMPUTER OFFENSES THAT AFFECT INTERSTATE OR FOREIGN COMMERCE.
THERE IS ALSO AN EXCLUSION IN THIS OFFENSE IF THE DEFENDANT HAS AUTHORIZATION TO
USE THE COMPUTERS AND MERELY ABUSES THAT AUTHORIZATION BY MEANS OF USE OF ‘TIME
STEALING.‘ THIS LATTER OFFENSE SHOULD BE HANDLED PRIVATELY OR AT THE STATE OR LOCAL
LEVEL.

  SUBSECTION 1030(A)(5) PROHIBITS ACCESSING A COMPUTER WITHOUT AUTHORIZATION, OR
IF AUTHORIZED, ABUSING THAT AUTHORIZATION, IF IN SO DOING A DEFENDANT USES,
MODIFIES, DESTROYS OR DISCLOSES INFORMATION IN, OR PREVENTS AUTHORIZED USE OF SUCH
COMPUTER AND IF THE COMPUTER IS OPERATED FOR OR ON BEHALF OF THE GOVERNMENT OF
THE UNITED STATES REGARDLESS OF ANY DOLLAR ‘THRESHOLD.‘

  THIS SUBSECTION REQUIRES THAT ‘SUCH CONDUCT AFFECTS SUCH OPERATION‘; THIS PHRASE
IS TO COVER COMPUTERS WHICH ARE USED ONLY PART-TIME FOR THE U.S. GOVERNMENT.
IF SUCH CONDUCT DOES NOT SUBSTANTIALLY AFFECT THE U.S. GOVERNMENT OPERATION,
THE PROSECUTIONS, IF ANY, WOULD HAVE TO FALL WITHIN (A)(3) OR (A)(4). THERE IS ALSO
AN EXCLUSION IN THIS SUBSECTION OF A PERSON AUTHORIZED TO ACCESS A GOVERNMENT
COMPUTER WHO MERELY EXCEEDS SUCH AUTHORIZATION BY THE USE OF A COMPUTER IN, FOR
EXAMPLE, DOING ONE'S HOMEWORK OR PLAYING COMPUTER GAMES. IT IS THE FELLING OF THE
COMMITTEE THAT THIS TYPE OF CONDUCT SHOULD BE HANDLED ADMINISTRATIVELY.

 SECTION 1030(B) PROHIBITS ATTEMPTS TO VIOLATE (A), WITH THE SAME SANCTIONS AS
PROVIDED FOR THE COMPLETED OFFENSE, AND SETS UP A SEPARATE CONSPIRACY OFFENSE
WITH THE PRISON PENALTY ONE-HALF THAT OF THE COMPLETED OFFENSE.

  SECTION 1030(C)(1) AUTHORIZES A FINE OF $10,000 OR ALTERNATE FINE OF UP TO TWICE THE
VALUE OF THE GAIN AND IMPRISONMENT OF UP TO 10 YEARS FOR A SUBSECTION (A)(1) OR (A)(2)
COMPUTER FRAUD OFFENSE OR ATTEMPT, AND AN ESCALATION OF ($100,000 OR 20 YEARS) FOR
A SUBSEQUENT OFFENSE.



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 SUBSECTION 1030(C)(2) AUTHORIZES A FINE OF $5,000 OR AN ALTERNATE FINE OF UP TO TWICE
THE VALUE OBTAINED OR LOST AND IMPRISONMENT OF UP TO 1 YEAR (MISDEMEANOR) UNDER
SUBSECTION (A)(3), (A)(4), OR (A)(5) AND AN ESCALATION TO $10,000 OR THE ALTERNATE FINE AND
UP TO 10 YEARS FOR A SUBSEQUENT OFFENSE.

 SUBSECTION 1030(D) WOULD GRANT TO THE SECRET SERVICE CONCURRENT JURISDICTION
TO INVESTIGATE VIOLATIONS OF THIS SECTION. AS IN SUBSECTION 1029(D), HOWEVER, THIS
AUTHORITY SHALL BE IN ACCORDANCE WITH AN AGREEMENT BETWEEN THE DEPARTMENT
OF THE TREASURY AND THE DEPARTMENT OF JUSTICE TO INSURE COORDINATION AND THIS
AGREEMENT SHOULD PRECEDE ACTIVITY UNDER THIS SECTION.

 SUBSECTION 1030(E) DEFINES THE TERM ‘COMPUTER‘ AS AN ELECTRONIC, MAGNETIC, OPTICAL,
ELECTROCHEMICAL, OR OTHER HIGH SPEED DATA PROCESSING DEVICE PERFORMING LOGICAL,
ARITHMETIC, OR STORAGE FUNCTIONS, AND INCLUDES ANY DATA STORAGE FACILITY OR
COMMUNICATIONS FACILITY *23 DIRECTLY RELATED TO OR OPERATING IN CONJUNCTION
WITH SUCH DEVICE, BUT SUCH TERM DOES NOT INCLUDE AN AUTOMATED TYPEWRITER OR
TYPESETTER, A PORTABLE HAND-HELD CALCULATOR, OR OTHER SIMILAR DEVICE.

  **3709 THE WHOLE ISSUE OF DEFINING THE WORD ‘COMPUTER‘ HAS PLAGUED THE
CONSIDERATION OF COMPUTER CRIME LEGISLATION SINCE ITS EARLY DAYS (SEE, COMPUTER
SYSTEMS PROTECTION ACT OF 1979, S. 240: HEARING BEFORE THE SUBCOMMITTEE ON
CRIMINAL JUSTICE OF THE SENATE COMMITTEE ON THE JUDICIARY, 96TH CONGRESS, 2ND
SESSION 8(1980). INITIALLY, IT WAS THE SUBCOMMITTEE ON CRIME'S OPINION THAT THE
DICTIONARY DEFINITION WAS AS GOOD AS ONE AVAILABLE CONSIDERING THE VOLATILE
STATE OF TECHNOLOGY IN THIS AREA. THE COMMITTEE DECIDED, HOWEVER, THAT A SPECIFIC
DEFINITION WAS DESIRABLE IN ORDER TO AVOID ATTACKS UPON THE STATUTE ON THE
GROUNDS OF VAGUENESS. THE DEFINITION IN THE BILL IS A COMBINATION OF THAT SUGGESTED
BY THE DEPARTMENT OF JUSTICE AND CONGRESSMAN NELSON'S BILL, THE FEDERAL COMPUTER
SYSTEMS PROTECTION ACT OF 1983 (H.R. 1092).

  SUBSECTIONS 1030(B) MERELY AMENDS THE TABLE OF SECTIONS OF CHAPTER 47.

  SECTION 3 SETS UP A REPORTING REQUIREMENT IN REGARD TO PROSECUTIONS UNDER THIS
BILL FOR THE NEXT 3 YEARS.


                                             OVERSIGHT FINDINGS

 THE COMMITTEE MAKES NO OVERSIGHT FINDINGS WITH RESPECT TO THIS LEGISLATION
OTHER THAN THOSE INCLUDED IN THE TEXT OF THIS REPORT.

 IN REGARD TO CLAUSE 2(L)(3)(D) OF RULE XI OF THE RULES OF THE HOUSE OF
REPRESENTATIVES, NO OVERSIGHT FINDINGS HAVE BEEN SUBMITTED TO THE COMMITTEE BY
THE COMMITTEE ON GOVERNMENT OPERATIONS.


                                            NEW BUDGET AUTHORITY




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 IN REGARD TO CLAUSE 2(L)(3)(B) OF RULE XI OF THE RULES OF THE HOUSE OF
REPRESENTATIVES, H.R. 3626 CREATES NO NEW BUDGET AUTHORITY OR INCREASED TAX
EXPENDITURES FOR THE FEDERAL GOVERNMENT.


                                   INFLATIONARY IMPACT STATEMENT

 PURSUANT TO CLAUSE 2(L)(4) OF RULE XI OF THE RULES OF THE HOUSE OF REPRESENTATIVES,
THE COMMITTEE FINDS THAT THE BILL WILL HAVE NO FORESEEABLE INFLATIONARY IMPACT
ON PRICES OR COSTS IN THE OPERATION OF THE NATIONAL ECONOMY.


                              FEDERAL ADVISORY COMMITTEE ACT OF 1972

 THE COMMITTEE FINDS THAT THIS LEGISLATION DOES NOT CREATE ANY NEW ADVISORY
COMMITTEES WITHIN THE MEANING OF THE FEDERAL ADVISORY COMMITTEE ACT OF 1972.


                                             COST ESTIMATE

 IN REGARD TO CLAUSE 7 OF RULE XIII OF THE RULES OF THE HOUSE OF REPRESENTATIVES, THE
COMMITTEE AGREES WITH THE COST ESTIMATE OF THE CONGRESSIONAL BUDGET OFFICE.


                      *24 STATEMENT OF THE CONGRESSIONAL BUDGET OFFICE

 PURSUANT TO CLAUSE 2(L)(3)(C) OF RULE XI OF THE RULES OF THE HOUSE OF
REPRESENTATIVES, AND SECTION 403 OF THE CONGRESSIONAL BUDGET **3710 ACT OF 1974, THE
FOLLOWING IS THE COST ESTIMATE ON H.R. 5616 PREPARED BY THE CONGRESSIONAL BUDGET
OFFICE.

  U.S. CONGRESS,

  CONGRESSIONAL BUDGET OFFICE,

  WASHINGTON, D.C., JULY 20, 1984.

  HON. PETER W. RODINO, JR.,

  CHAIRMAN COMMITTEE ON THE JUDICIARY,

  HOUSE OF REPRESENTATIVES, WASHINGTON, D.C.

 DEAR MR. CHAIRMAN: THE CONGRESSIONAL BUDGET OFFICE HAS REVIEWED H.R. 5616, THE
COUNTERFEIT ACCESS DEVICE AND COMPUTER FRAUD AND ABUSE ACT OF 1984, AS ORDERED
REPORTED BY THE HOUSE COMMITTEE ON THE JUDICIARY, JUNE 26, 1984. WE ESTIMATE THAT
NO SIGNIFICANT COST TO THE FEDERAL GOVERNMENT, OR TO STATE OR LOCAL GOVERNMENTS
WOULD RESULT FROM ENACTMENT OF THIS BILL.

 H.R. 5616 MAKES IT A FEDERAL CRIME TO USE, POSSESS, TRAFFIC IN, OR PRODUCE ANY
COUNTERFEIT OR UNAUTHORIZED CARD, CODE, ACCOUNT NUMBER, OR OTHER MEANS OF



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ACCOUNT ACCESS. DEPENDING UPON THE VIOLATION, A FIRST-TIME OFFENSE MAY RESULT IN
A FINE OF THE GREATER OF $50,000 OR TWICE THE VALUE OBTAINED BY THE OFFENSE AND A
PRISON TERM OF UP TO 15 YEARS. SUBSEQUENT OFFENSES WOULD RESULT IN MORE SEVERE
PENALTIES. THE BILL ALSO PROVIDES PENALTIES FOR PERSONS WHO ACCESS A COMPUTER
WITHOUT AUTHORIZATION, OR ABUSE THEIR AUTHORIZED USE OF A COMPUTER TO DEFRAUD,
TO OBTAIN CLASSIFIED INFORMATION, TO PREVENT AUTHORIZED USE OF THE COMPUTER,
OR TO DISCLOSE OR MODIFY INFORMATION. DURING THE FIRST THREE YEARS FOLLOWING
ENACTMENT, THE ATTORNEY GENERAL SHALL SUBMIT ANNUAL REPORTS TO THE CONGRESS
CONCERNING ANY PROSECUTIONS MADE UNDER THESE PROVISIONS.

  BASED ON INFORMATION FROM THE DEPARTMENT OF JUSTICE, WE EXPECT THAT THE
BILL WOULD PROVIDE A MORE SPECIFIC STATUTE ON WHICH TO BASE THE INVESTIGATION
AND PROSECUTION OF SUCH ACTIVITIES, WHICH THE JUSTICE DEPARTMENT IS CURRENTLY
UNDERTAKING UNDER OTHER AUTHORITY. ENACTMENT OF THE BILL IS NOT EXPECTED TO
RESULT IN A SIGNIFICANT CHANGE IN THE GOVERNMENT'S LAW ENFORCEMENT PRACTICES,
AND NO SIGNIFICANT COSTS ARE EXPECTED TO RESULT.

  IF YOU WISH FURTHER DETAILS ON THIS ESTIMATE, WE WILL BE PLEASED TO PROVIDE THEM.

  SINCERELY,

  RUDOLPH G. PENNER, DIRECTOR.


(Note: 1. PORTIONS OF THE SENATE, HOUSE AND CONFERENCE REPORTS, WHICH ARE
DUPLICATIVE OR ARE DEEMED TO BE UNNECESSARY TO THE INTERPRETATION OF THE LAWS,
ARE OMITTED. OMITTED MATERIAL IS INDICATED BY FIVE ASTERISKS: *****. 2. TO RETRIEVE
REPORTS ON A PUBLIC LAW, RUN A TOPIC FIELD SEARCH USING THE PUBLIC LAW NUMBER, e.g.,
TO(99-495))


H.R. REP. 98-894, H.R. Rep. No. 894, 98TH Cong., 2ND Sess. 1984, 1984 U.S.C.C.A.N. 3689, 1984 WL 37453
(Leg.Hist.)

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                        hiQ Labs, Inc. v. LinkedIn Corp.
                         Case No. 3:17-cv-03301 EMC


                  Plaintiff’s Supplemental Brief In Support Of
                       Motion for Preliminary Injunction




                       EXHIBIT Z


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                                S. Rep. No. 432, 99TH Cong., 2ND Sess. 1986, 1986
                           U.S.C.C.A.N. 2479, 1986 WL 31918, S. REP. 99-432 (Leg.Hist.)
                       **2479 P.L. 99–474, COMPUTER FRAUD AND ABUSE ACT OF 1986
                                 DATES OF CONSIDERATION AND PASSAGE
                                            House June 3, October 6, 1986
                                               Senate October 1, 3, 1986
                                  House Report (Judiciary Committee) No. 99–612,
                                      May 22, 1986 [To accompany H.R. 4718]
                                  Senate Report (Judiciary Committee) No. 99–432,
                                        Sept. 3, 1986 [To accompany S. 2281]
                                            Cong. Record Vol. 132 (1986)
                    The House bill was passed in lieu of the Senate bill after amending its language
                   to contain much of the text of the Senate bill. The Senate Report is set out below.

                                            SENATE REPORT NO. 99–432

                                                    September 3, 1986
   *1 The Committee on the Judiciary, to which was referred the bill (S. 2281) to amend title 18, United States Code,
to provide additional penalties for fraud and related activities in connection with access devices and computers, and for
other purposes, having considered the same, reports favorably thereon with amendments and recommends that the bill,
as amended, do pass.

                                                         *****

                      I. GENERAL STATEMENT AND HISTORY OF THE LEGISLATION

  During the past several years, the Congress has been investigating the problems of computer fraud and abuse to
determine whether *2 Federal criminal laws should be revised to cope more effectively with such acts. The Judiciary
Committee's concern about these problems has become more pronounced as computers proliferate in businesses and
homes across the nation and as evidence mounts that existing criminal laws are insufficient to address the problem of
computer crime.

  For some time, the United States has been in the midst of a technological explosion. The Federal Government alone
operates more than 18,000 medium-scale and large-scale computers at some 4,500 different sites, and the Office of
Technology Assessment estimates the Government's investment in computers over the past four years at roughly $60
billion. The General Services Administration estimates that there will be 250,000 to 500,000 computers in use by the
Federal Government by 1990.

  Computer use has also become much more widespread among the nation's private sector. In 1978, there were an
estimated 5,000 desk-top computers in this country; today there are nearly 5 million. Financial institutions, in particular,
rely heavily on computer **2480 communications; for instance, the Bureau of Justice Statistics reported that in 1983,
corporate transfers of funds via computer totaled more than $100 trillion. 1 In addition, more than 100,000 personal
computers have been installed in the country's schools, and computers are found in millions of American homes.

   This technological explosion has made the computer a mainstay of our communications system, and it has brought
a great many benefits to the government, to American businesses, and to all of our lives. But it has also created a new
type of criminal—one who uses computers to steal, to defraud, and to abuse the property of others. The proliferation
of computers and computer data has spread before the nation's criminals a vast array of property that, in many cases,
is wholly unprotected against crime.


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   In June 1984, the American Bar Association Task Force on Computer Crime, chaired by Joseph Tompkins, Jr.,
issued its Report on Computer Crime (hereinafter referred to as the ‘ABA Report’), a study based upon a survey of
approximately 1,000 private organizations and public agencies. 2 The ABA Report found that more than 50 percent
of the 283 respondents had been victimized by some form of computer crime, 3 and that more than 25 percent of the
respondents had sustained financial losses totaling between an estimated $145 million and $730 million during one twelve-
month period. 4 The ABA Report also concluded that computer crime is among the worst white-collar offenses. 5 The
Committee agrees but notes particularly that computer crimes pose a threat that is not solely financial in nature.

  In 1983, for example, a group of adolescents known as the ‘414 Gang’ broke into the computer system at Memorial
Sloan-Kettering Cancer Center in New York. In so doing, they gained access to *3 the radiation treatment records of
6,000 past and present cancer patients and had at their fingertips the ability to alter the radiation treatment levels that
each patient received. No financial losses were at stake in this case, but the potentially life-threatening nature of such
mischief is a source of serious concern to the Committee.

  Similarly, so-called ‘pirate bulletin boards' have sprung up around the country for the sole purpose of exchanging
passwords to other people's computer systems. The Richmond (Va.) Times-Dispatch recently reported that three such
bulletin boards operating in Virginia carry information on how to break into the computers of the U.S. Defense
Department and the Republican National Committee. While financial losses resulting from such pirate bulletin boards
may not be imminent, the Committee believes that knowingly trafficking in other people's computer passwords should
be proscribed.

 It is clear that much computer crime can be prevented by those who are potential targets of such conduct. The ABA
Report indicated that while the respondents to the survey overwhelmingly supported **2481 a Federal computer
crime statute, 6 they also believed that the most effective means of preventing and deterring computer crime is ‘more
comprehensive and effective self-protection by private business' 7 and that the primary responsibility for controlling the
incidence of computer crime falls upon private industry and individual users, rather than on the Federal, State, or local
governments. 8 The Committee strongly agrees with these views.

  The Committee also finds that education programs for both computer users and the general public should be
undertaken to make young people and others aware of the ethical and legal questions at stake in the use of computers and
to deflate the myth that computer crimes are glamorous, harmless pranks. The respondents to the ABA survey indicated
strong support for such programs, 9 many of which are underway throughout the nation. The Committee commends
those education and security improvement efforts and urges their continuation.

  At the same time, the Committee finds that Federal criminal penalties for computer crime are an appropriate
punishment for certain acts and can serve to deter would-be computer criminals and to reinforce education and security
improvement programs.

  To that end, both the Senate and House have devoted considerable attention to determining how the Federal
Government can best approach computer-related crimes. The first Federal computer crime statute was enacted in 1984
as part of P.L. 98–473. This is the present 18 U.S.C. 1030, which makes it a felony to access classified information in a
computer without authorization and makes it a misdemeanor to access financial records or credit histories in financial
institutions or to trespass into a Government computer.

 Legislation was introduced in both the Senate and House early in the 99th Congress to expand and to amend 18
U.S.C. 1030. On *4 May 23, 1985, the House Subcommittee on Crime held a hearing on H.R. 1001 (introduced



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by Representative William J. Hughes (D-N.J.) and H.R. 930 (introduced by Representative Bill Nelson (D-Fla.).
Representative Bill McCollum, R-Fla., subsequently introduced a computer crime bill, H.R. 3381, at the request of the
Department of Justice. The Senate Subcommittee on Criminal Law held a hearing on October 30, 1985, on two computer
crime bills: S. 440 (introduced by Senator Paul Trible (R-Va.) and S. 1678 (introduced by Senator Strom Thurmond, (R-
S.C., at the request of the Department of Justice). S. 1678 is the Senate companion to H.R. 3381.

   As a result of the testimony given at both the Senate and House hearings, Senator Trible and Representative Hughes
introduced identical computer crime bills (S. 2281 and H.R. 4562) on April 10, 1986. The House Subcommittee on Crime
considered H.R. 4562 on April 23, and on April 30 the subcommittee forwarded a clean bill, H.R. 4718, to the Committee
on the Judiciary in lieu of H.R 4562. The Committee on the Judiciary ordered H.R. 4718, as amended, reported on May
6 (see House Report 99–612), and on June 3 the House passed the bill by voice vote. In the Senate, the Committee on the
Judiciary held a hearing on S. 2281 on April 16, 1986. The **2482 Committee ordered the bill, as amended, reported
to the Senate on June 12, 1986.

   Throughout its consideration of computer crime, the Committee has been especially concerned about the appropriate
scope of Federal jurisdiction in this area. It has been suggested that, because some States lack comprehensive computer
crime statutes of their own, the Congress should enact as sweeping a Federal statute as possible so that no computer
crime is potentially uncovered. The Committee rejects this approach and prefers instead to limit Federal jurisdiction
over computer crime to those cases in which there is a compelling Federal interest, i.e., where computers of the Federal
Government or certain financial institutions are involved, or where the crime itself is interstate in nature. The Committee
is convinced that this approach strikes the appropriate balance between the Federal Government's interest in computer
crime and the interests and abilities of the States to proscribe and punish such offenses.

  S. 2281, as reported by the Committee, is a consensus bill aimed at deterring and punishing certain ‘high-tech’ crimes
in a manner consistent with the States' own criminal laws in this area.


                       II. DISCUSSION OF COMMITTEE ACTION AND AMENDMENTS

  On June 12, 1986, the Committee on the Judiciary met and unanimously ordered S. 2281 reported favorably to the full
Senate. Several minor amendments were also approved unanimously by the Committee.

  The first amendment was a technical change to page two, line eight of the bill, made necessary because of the second
Committee amendment. That second amendment struck lines 9–24, relating to unauthorized access of Government
computers, on page two, and inserted in their place the language that forms the new subsection 18 U.S.C. 1030(a)(3), as
reported. That subsection is explained in detail in the section-by-section analysis of this Report.

   *5 The third Committee amendment struck the new subsection (a)(5) from S. 2281 as introduced, and replaced it
with amended language. In so doing the Committee added to (a)(5) the words ‘damages, or destroys' to make explicit the
subsection's application to acts—such as erasing data—that go beyond mere alteration of information. This amendment
also changed ‘that computer’ (as written in the original S. 2281) to ‘any such Federal interest computer’. The Committee
wanted to prevent the possibility that a defense would be raised to the effect that the information that was altered,
damaged, or destroyed, was not in the very same computer on to which the offender had signed. The use of ‘any such
Federal interest computer’ makes clear that no such defense is possible. This amendment also deleted ‘another’ from the
portion of S. 2281 relating to subsection (a)(5); the phrase ‘one or more others' was inserted in its place. The Committee
does not intend that every victim of acts proscribed under (a)(5) must individually suffer a loss of $1,000. Certain types
of malicious mischief may cause smaller amounts of damages to numerous individuals, and thereby collectively create a
loss of more than $1,000. By using ‘one or more **2483 others', the Committee intends to make clear that losses caused
by the same act may be aggregated for purposes of meeting the $1,000 threshold. Finally, this amendment added to the
coverage of the new subsection (a)(5) acts that alter, damage, or destroy computerized medical records, and thereby


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impair or threaten to impair an individual's medical care. The Committee's rationale for this addition is explained more
fully in the section-by-section analysis pertaining to the new 18 U.S.C. 1030(a)(5).

   The fourth Committee amendment changed ‘such use’ to ‘the use of the financial institution's operation or the
Government's operation of such computer’. This change simply makes clear that a computer that is not used exclusively
by the United States Government or by a financial institution, as that term is defined by proposed 18 U.S.C. 1030(e)(4),
is a Federal interest computer only to the extent that its use by the Government or the financial institution is affected.
This clarification also appears in the Committee's amendment affecting proposed 18 U.S.C. 1030(a)(3).

 The fifth Committee amendment was merely a technical change made necessary because the sixth Committee
amendment added ‘department of the United States' to the list of terms defined in the bill.


                                        III. SECTION-BY-SECTION ANALYSIS

  The following is a section-by-section analysis of S. 2281, as reported by the Committee on the Judiciary.

  Section 1 of the bill contains its short title, the ‘Computer Fraud and Abuse Act of 1986’.

  Section 2(a)(1) amends 18 U.S.C. 1030(a)(2) to change the scienter requirement from ‘knowingly’ to ‘intentionally’,
for two reasons. First, intentional acts of unauthorized access—rather than mistaken, inadvertent, or careless ones—are
precisely what the Committee intends to proscribe. Second, the Committee is concerned that the ‘knowingly’ standard
in the existing statute might be inappropriate for cases involving computer technology. The Senate's *6 Report on the
Criminal Code (Report No. 96–1396, pg. 33, citing United States v. United States Gypsum Co., 438 U.S. 422, 425 9a
(1978)), states that a person is ‘said to act knowingly if he is aware ‘that the result is practically certain to folow from his
conduct, whatever his desire may be as to that result.” (Footnote omitted.) While appropriate to many criminal statutes,
this standard might not be sufficient to preclude liability on the part of those who inadvertently ‘stumble into’ someone
else's computer file or computer data. This is particularly true in those cases where an individual is authorized to sign onto
and use a particular computer, but subsequently exceeds his authorized access by mistakenly entering another computer
file or data that happens to be accessible from the same terminal. Because the user had ‘knowingly’ signed onto that
terminal in the first place, the danger exists that he might incur liability for his mistaken access to another file. This is
so because, while he may not have desired that result, i.e., the access of another **2484 file, it is possible that a trier of
fact will infer that the user was ‘practically certain’ such mistaken access could result from his initial decision to access
the computer. The substitution of an ‘intentional’ standard is designed to focus Federal criminal prosecutions on those
whose conduct evinces a clear intent to enter, without proper authorization, computer files or data belonging to another.
Again, this will comport with the Senate Report on the Criminal Code, which states that “intentional' means more than
that one voluntarily engaged in conduct or caused a result. Such conduct or the causing of the result must have been the
person's conscious objective.' (Footnote omitted.)

  Section 2(a)(2) deletes from the existing 18 U.S.C. 1030(a)(2) the phrase ‘as such terms are defined in the Right
to Financial Privacy Act of 1978 (12 U.S.C. 3401 et seq.),’. The terms to which that phrase is applicable, ‘financial
institution’ and ‘financial record,’ are defined in section (2)(g) of S. 2281.

  The premise of 18 U.S.C. 1030(a)(2) will remain the protection, for privacy reasons, of computerized credit records and
computerized information relating to customers' relationships with financial institutions. This protection is imperative
in light of the sensitive and personal financial information contained in such computer files. However, by referring to
the Right to Financial Privacy Act, the current statute limits its coverage to financial institution customers who are
individuals, or are partnerships with five or fewer partners. The Committee intends S. 2281 to extend the same privacy
protections to the financial records of all customers—individual, partnership, or corporate—of financial institutions.



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  The Department of Justice has expressed concerns that the term ‘obtains information’ in 18 U.S.C. 1030(a)(2) makes
that subsection more than an unauthorized access offense, i.e., that it might require the prosecution to prove asportation
of the data in question. 10 Because the premise of this subsection is privacy protection, the Committee wishes to make
clear that ‘obtaining information’ in this context includes mere observation of the data. Actual asportation, in the sense
of physically removing the data from its original *7 location or transcribing the data, need not be proved in order to
establish a violation of this subsection.

  Section 2(b) of S. 2281 provides a substitute for the present 18 U.S.C. 1030(a)(3), and is designed to accomplish several
goals.

  First, it will change the scienter requirement from ‘knowingly’ to ‘intentionally’. The same explanation offered for
section 2(a)(1) is applicable here.

  Second, section 2(b) will clarify the present 18 U.S.C. 1030(a)(3), making clear that it applies to acts of simple trespass
against computers belonging to, or being used by or for, the Federal Government. The Department of Justice and others
have expressed concerns about whether the present subsection covers acts of mere trespass, i.e., unauthorized access, or
whether it requires a further showing that the information perused was ‘used, modified, destroyed, or disclosed.' 11 To
alleviate those concerns, the Committee **2485 wants to make clear that the new subsection will be a simple trespass
offense, applicable to persons without authorized access to Federal computers.

  The Committee wishes to be very precise about who may be prosecuted under the new subsection (a)(3). The Committee
was concerned that a Federal computer crime statute not be so broad as to create a risk that government employees and
others who are authorized to use a Federal Government computer would face prosecution for acts of computer access and
use that, while technically wrong, should not rise to the level of criminal conduct. At the same time, the Committee was
required to balance its concern for Federal employees and other authorized users against the legitimate need to protect
Government computers against abuse by ‘outsiders.’ The Committee struck that balance in the following manner.

  In the first place, the Committee has declined to criminalize acts in which the offending employee merely ‘exceeds
authorized access' to computers in his own department (‘department’ is defined in section 2(g) of S. 2281). It is not difficult
to envision an employee or other individual who, while authorized to use a particular computer in one department,
briefly exceeds his authorized access and peruses data belonging to the department that he is not supposed to look
at. This is especially true where the department in question lacks a clear method of delineating which individuals are
authorized to access certain of its data. The Committee believes that administrative sanctions are more appropriate than
criminal punishment in such a case. The Committee wishes to avoid the danger that every time an employee exceeds his
authorized access to his department's computers—no matter how slightly—he could be prosecuted under this subsection.
That danger will be prevented by not including ‘exceeds authorized access' as part of this subsection's offense.

  In the second place, the Committee has distinguished between acts of unauthorized access that occur within a
department and those that involve trespasses into computers belonging to another department. The former are not
covered by subsection (a)(3); the latter are. Again, it is not difficult to envision an individual who, *8 while authorized to
use certain computers in one department, is not authorized to use them all. The danger existed that S. 2281, as originally
introduced, might cover every employee who happens to sit down, within his department, at a computer terminal which
he is not officially authorized to use. These acts can also be best handled by administrative sanctions, rather than by
criminal punishment. To that end, the Committee has constructed its amended version of (a)(3) to prevent prosecution
of those who, while authorized to use some computers in their department, use others for which they lack the proper
authorization. By precluding liability in purely ‘insider’ cases such as these, the Committee also seeks to alleviate concerns
raised by Senators Mathias and Leahy that the existing statute casts a wide net over ‘whistleblowers,’ who disclose
information they have gleaned from a government computer. Senators Mathias and Leahy first expressed their concerns
in 1984 **2486 about the effect of the current statute on whistleblowers. Their concerns were embodied in S. 610, a


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bill they introduced early in the 99th Congress. (See, Statements by Senator Mathias and Senator Leahy, Congressional
Record of March 7, 1985; pp. S 2728–2730. See also their ‘Additional Views' in this report.)

  The Committee has thus limited 18 U.S.C. 1030(a)(3) to cases where the offender is completely outside the Government,
and has no authority to access a computer of any agency or department of the United States, or where the offender's act of
trespass is interdepartmental in nature. The Committee does not intend to preclude prosecution under this subsection if,
for example, a Labor Department employee authorized to use Labor's computers accesses without authorization an FBI
computer. An employee who uses his department's computer and, without authorization, forages into data belonging to
another department, is engaged in conduct directly analagous to an ‘outsider’ tampering with Government computers.
In both cases, the user is wholly lacking in authority to access or use that department's computer. The Committee believes
criminal prosecution should be available in such cases.

  The Committee acknowledges that in rare circumstances this may leave serious cases of intradepartmental trespass
free from criminal prosecution under (a)(3). However, the Committee notes that such serious acts may be subject to
other criminal penalties if, for example, they violate trade secrets laws or 18 U.S.C. 1030(a)(1), (a)(4), (a)(5), or (a)(6),
as proposed in this legislation. The Committee believes this to be the best means of balancing the legitimate need to
protect the Government's computers against the need to prevent unwarranted prosecutions of Federal employees and
others authorized to use Federal computers.

  The third goal of Section 2(b) is to clarify subsection (a)(3) to make clear that one trespassing in a computer used
only part-time by the Federal Government need not be shown to have affected the operation of the government as a
whole. The Department of Justice has expressed concerns that the present subsection's language could be construed to
require a showing that the offender's conduct harmed the overall operation of the Government and that this would be
an exceedingly difficult task for Federal prosecutors. 12 *9 Accordingly, Section 2(b) will make clear that the offender's
conduct need only affect the use of the Government's operation of the computer in question.

  Section 2(c) substitutes the phrase ‘exceeds authorized access' for the more cumbersome phrase in present 18 U.S.C.
1030(a)(1) and (a)(2), ‘or having accessed a computer with authorization, uses the opportunity such access provides for
purposes to which such authorization does not extend’. The Committee intends this change to simplify the language in
18 U.S.C. 1030(a)(1) and (2), and the phrase ‘exceeds authorized access' is defined separately in Section (2)(g) of the bill.

  Section (2)(d) adds three new offenses to 18 U.S.C. 1030. The new subsection 1030(a)(4) to be created by this bill is
designed to penalize thefts of property via computer that occur as part of a scheme **2487 to defraud. It will require
a showing that the use of the computer or computers in question was integral to the intended fraud and was not merely
incidental. It has been suggested that the Committee approach all computer fraud in a manner that directly tracks the
existing mail fraud and wire fraud statutes. However, the Committee was concerned that such an approach might permit
prosecution under this subsection of acts that do not deserve classification as ‘computer fraud.’

   The Committee was concerned that computer usage that is wholly extraneous to an intended fraud might nevertheless
be covered by this subsection if the subsection were patterned directly after the current mail fraud and wire fraud laws.
If it were so paterned, the subsection might be construed as covering an individual who had devised a scheme or artifice
to defraud solely because he used a computer to keep records or to add up his potential ‘take’ from the crime. The
Committee does not believe that a scheme or artifice to defraud should fall under the ambit of subsection (a)(4) merely
because the offender signed onto a computer at some point near to the commission or execution of the fraud. While
such a tenuous link might be covered under current law where the instrumentality used is the mails or the wires, the
Committee does not consider that link sufficient with respect to computers. To be prosecuted under this subsection, the
use of the computer must be more directly linked to the intended fraud. That is, it must be used by an offender without
authorization or in excess of his authorization to obtain property of another, which property furthers the intended fraud.
Likewise, this subsection may be triggered by conduct that can be shown to constitute an attempted offense.



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   This approach is designed, in part, to help distinguish between acts of theft via computer and acts of computer trespass.
In intentionally trespassing into someone else's computer files, the offender obtains at the very least information as to
how to break into that computer system. If that is all he obtains, the offense should properly be treated as a simple
trespass. But because the offender has obtained the small bit of information needed to get into the computer system,
the danger exists that his and every other computer trespass could be treated as a theft, punishable as a felony under
this subsection. A similar problem arises from recommendations made to the Committee that every act of unauthorized
access to a ‘Federal interest computer’ be treated as theft of computer time, *10 punishable under this subsection as
part of a scheme to defraud. The Committee agrees that the mere use of a computer or computer service has a value all
its own. Mere trespasses onto someone else's computer system can cost the system provider a ‘port’ or access channel
that he might otherwise be making available for a fee to an authorized user. At the same time, the Committee believes it
is important to distinguish clearly between acts of fraud under (a)(4), punishable as felonies, and acts of simple trespass,
punishable in the first instance as misdemeanors. That distinction would be wiped out were the Committee to treat
every trespass as an attempt to defraud a service provider of computer time. One simply cannot trespass into another's
computer without occupying a portion of the time that that computer service is available. Thus, **2488 that suggested
approach would treat every act of unauthorized entry to a Federal interest computer—no matter how brief—as an act
of fraud, punishable at the felony level. The Committee does not believe this is a proper approach to this problem. For
that reason, the Committee has excluded from coverage under this subsection those instances where ‘the object of the
fraud and the thing obtained consists only of the use of the computer.’

  However, the Committee agrees that lost computer time resulting from repeated or sustained trespasses can reach
a level of seriousness sufficient to warrant Federal prosecution. The Committee believes such instances are more
appropriately punished under the provision of the new subsection (a)(5) relating to preventing authorized use of a
computer. A more detailed explanation of the Committee's intent respecting lost computer time is contained in the
analysis for (a)(5).

   The Committee remains convinced that there must be a clear distinction between computer theft, punishable as a
felony, and computer trespass, punishable in the first instance as a misdemeanor. The element in the new paragraph
(a)(4), requiring a showing of an intent to defraud, is meant to preserve that distinction, as is the requirement that the
property wrongfully obtained via computer furthers the intended fraud. The new felony created by this subsection limits
its jurisdiction to ‘Federal interest computers.’ These are defined in Section (2)(g) of the bill as computers used by the
Federal Government or by financial institutions, or as computers located in different States.

  The scienter requirement for this subsection, ‘knowingly and with intent to defraud,’ is the same as the standard used
for 18 U.S.C. 1029 relating to credit card fraud.

   The new subsection 1030(a)(5) to be created by the bill is designed to penalize those who intentionally alter, damage,
or destroy certain computerized data belonging to another. The ‘intentional’ standard is the same as that employed in
Section 2(a)(1) and 2(b)(1) of the bill. Like the new subsection 18 U.S.C. 1030(a)(3), this subsection will be aimed at
‘outsiders,’ i.e., those lacking authorization to access any Federal interest computer. It will penalize alteration, damage,
or destruction in two circumstances. The first is those which cause a loss to the victim or victims totalling $1,000 or
more in any single year period. The Committee believes this threshold is necessary to prevent the bringing of felony-level
charges against every individual who modifies another's computer data. Some *11 modifications or alterations, while
constituting ‘damage’ in a sense, do not warrant felony-level punishment, particularly when almost no effort or expense
is required to restore the affected data to its original condition. The $1,000 valuation has been reasonably calculated
by the Committee to preclude felony punishment in those cases, while preserving the option of felony punishment in
cases involving more serious alteration, damage, or destruction. In many instances where the requisite dollar amount
cannot be shown, misdemeanor-level penalties will remain available against the offender under subsections 1030(a)(2)
or 1030(a)(3).



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  The Department of Justice has suggested that the concept of ‘loss' embodied in this subsection not be limited to the
costs of **2489 actual repairs. The Committee agrees and intends that other expenses accruing to the victim—such as
lost computer time and the cost of reprogramming or restoring data to its original condition—be permitted to count
toward the $1,000 valuation. The Committee wishes to leave no doubt that it intends lost computer time to be covered
by this subsection. Once again, the Committee recognizes the inherent value of using computer time or of occupying a
portion of the time that a computer service is made available. Many commercial services obtain revenue by charging
authorized subscribers for the amount of time they are using the service. An unauthorized user can therefore impose
substantial costs on the service provider by tying up one channel of access—a channel that the provider might otherwise
be leasing at a profit to an authorized subscriber. The Committee recognizes this danger, and intends subsection (a)
(5) to cover cases where an offender, having obtained unauthorized access to the computer, prevents authorized use of
such a computer by occupying an access channel or ‘port’ that is in demand by authorized subscribers. In the preceding
discussion of subsection (a)(4), the Committee made clear that acts of trespass causing a loss of computer time should
not be treated as acts of fraud for purposes of that subsection. However, it is clear that lost computer time can impose
significant costs on providers of computer services. Where those costs total more than $1,000 in any one-year period,
the Committee believes prosecution should be available under this subsection.

  Likewise, the Committee intends that certain network communications costs be permitted to count toward the $1,000
valuation; a summary of a recent incident best illustrates this area. Often, a telecommunications firm (called the host
company) will allow users from all other the country to access its computers by dialing a phone number that is local to the
user. A second company (called a network company) will provide the service that connects the user, via phone lines, to
the host company's computer, thus acting as a bridge between the two. The fee for the network company's service is often
paid by the host company itself. In the incident under discussion, an unauthorized user programmed his computer to
make repeated, automatic calls to the host company's computers in an effort to break into these computers. The effort to
break in failed, but the user's automatic dialing mechanism made repeated use of the network company's communications
service. In turn, the network company billed the host company for the time during which the unauthorized user had
accessed its communications line. This *12 is obviously unfair to the host company. Where billings to a host company
for incidents such as this exceed $1,000 in a one-year period, the Committee believes they should be subject to prosecution
under this subsection.

  Similarly, the Committee is concerned that authorized users of computer services might incur substantial costs as a
result of relying on information contained in a database that has been tampered with. For example, an individual who
invests in a stock, after having read a computerized market analysis that had been altered to make it appear the stock's
potential had improved, has clearly **2490 incurred a cost. The Committee intends that those costs also be permitted
to count toward the $1,000 valuation.

   The second circumstance in which this subsection will penalize alteration, damage, or destruction is in connection with
data relating to medical care and treatment. The Sloan-Kettering case discussed earlier in this report is but one example
of computer crimes directed at altering medical treatment records. Where such conduct impairs or potentially impairs an
individual's medical care, the Committee does not believe a showing of $1,000 in financial losses is necessary. Tampering
with computerized medical treatment records, especially given the potentially life-threatening nature of such conduct,
is serious enough to warrant punishment without a showing of pecuniary loss to the victim or victims. The Committee
also wishes to make clear that convictions are attainable under this subsection without a showing that the victim was
actually given an incorrect or harmful treatment, or otherwise suffered as a result of the changed medical record. That
his examination, diagnosis, treatment, or care was potentially changed or impaired is sufficient to warrant prosecution
under this subsection.

  Two other important concerns have also been expressed to the Committee regarding the reach of the new subsection (a)
(5). The first is that it might cover authorized ‘repairs' to a computer system because ‘alteration’ of the data is part of the



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gravamen of the offense, and repairs presumably can involve altering data. It is not the Committee's intent to criminalize
properly authorized repair activities. For example, this section does not prohibit employees of communications common
carriers from engaging in activities that are necessary to the repair of the carrier's service. The Committee believes that
the requirement in subsection (a)(5) that alterations occur after an unauthorized access is sufficient in itself to preclude its
application to authorized repairs but wishes to leave no doubt that authorized repair activities are not covered by (a)(5).

  The second concern is that (a)(5) might be construed as criminalizing the use in computer leasing services of automatic
termination devices or so-called ‘time bombs'. Frequently, a provider of computer services will build into his program
a mechanism that automatically terminates the service if a user fails to pay his bill for the service on time. Concerns
have been expressed that the provider might be considered liable under (a)(5) for having ‘prevented authorized use’ of
the service. That is not the Committee's intent. Having failed to pay his bill for the Committee service, the delinquent
user is no longer an ‘authorized user’ of the service, and termination of his access to the service is not an offense under
this subsection.

   *13 The new subsection 1030(a)(6) to be created by the bill is a misdemeanor offense aimed at penalizing conduct
associated with ‘pirate bulletin boards,’ where passwords are displayed that permit unauthorized access to others'
computers. It will authorize prosecution of those who, knowingly and with intent to defraud, traffic in such computer
passwords. If those elements are present—and if the password in question would enable unauthorized access to a Federal
Government computer, or if the trafficking affects interstate or foreign commerce—this subsection may be invoked. The
concept of **2491 ‘traffic’ means to transfer, or otherwise dispose of, to another, or to obtain control of with intent to
transfer or dispose of such passwords; the concept was borrowed from 18 U.S.C. 1029 relating to credit card offenses.
The Committee also wishes to make clear that ‘password’, as used in this subsection, does not mean only a single word
that enables one to access a computer. The Committee recognizes that a ‘password’ may actually be comprised of a set
of instructions or directions for gaining access to a computer and intends that the word ‘password’ be construed broadly
enough to encompass both single words and longer more detailed explanations on how to access others' computers.

  Section 2(e) eliminates the specific conspiracy offense in the present law. The Committee intends that such conduct be
governed by the general conspiracy offense in 18 U.S.C. 371.

  Section 2(f) conforms the ‘fine’ provisions of 18 U.S.C. 1030 and this bill with the general fine provisions of the Criminal
Fine Enforcement Act of 1984. It also contains the penalty provisions for the two new felony provisions (5 years first
offense, 10 years second offense) and one new misdemeanor/felony provision (one year first offense, 10 years second
offense).

  Section (2)(g) establishes definitions for a ‘Federal interest computer,’ ‘State’, ‘financial institution’, ‘financial record’,
the term ‘exceeds authorized access,’ and the term ‘department of the United States', all of which are self-explanatory.
The only committee note is that obtaining information as encompassed in the definition for ‘exceeds authorized access'
would include observing information as we discussed under Section 2(a)(2) supra.

  Section 2(h) conforms the exception for proper law enforcement and intelligence activity in the computer crime bill
with the credit card legislation in 18 U.S.C. 1029(f).

 Finally, the Committee wishes to make two general observations that apply to each of the computer crime offenses
amended or created by S. 2281.

  First, the Committee recognizes the necessity that computerized information be considered ‘property’ for purposes of
Federal criminal law. To date, computer users for providers of computer services have had to wrestle with a criminal
justice system that in many respects is ill-equipped to handle their needs. Computer technology simply does not fit some
of the older, more traditional legal approaches to theft or abuse of property. For example, computer data may be ‘stolen’



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in the sense that it is copied by an unauthorized user, even though the original data has not been removed or altered in
any way. As long ago as 1983, the Department of Justice stated that:

    *14 Any enforcement action in response to criminal conduct indirectly or directly related to computers must rely
  upon a statutory restriction dealing with some other offense. This requires the law enforcement officer, initially the
  agent, and then the prosecutor, to attempt to create a ‘theory of prosecution’ that somehow fits what may be the
  square peg of computer fraud into the round hole of **2492 theft, embezzlement or even the illegal conversion of
  trade secrets. 13

  These enforcement problems can largely be overcome by recognizing computerized information as property. The
Congress began that recognition by enacting the Computer Fraud and Abuse Act of 1984. The Committee intends S.
2281 to affirm the government's recognition of computerized information as property.

   Secondly, the Committee wishes to make clear its intent to distinguish between conduct that is completely inadvertent
and conduct that is initially inadvertent but later becomes an intentional crime. It has been suggested that this is a difficult
line to draw in the area of computer technology because of the possibility of mistakenly accessing another's computer
files. Nevertheless, the Committee would expect one whose access to another's computer files or data was truly mistaken
to withdraw immediately from such access. If he does not and instead deliberately maintains unauthorized access after a
non-intentional initial contact, then the Committee believes prosecution is warranted. The individual's intent may have
been formed after his initial, inadvertent access. But his is an intentional crime nonetheless, and the Committee does not
wish to preclude prosecution in such instances.


                                                   IV. AGENCY VIEWS

  In its testimony on April 16, 1986, the Department of Justice supported S. 2281, although it recommended several
amendments to the bill. 14 The Committee adopted some of those recommendations, including an amendment clarifying
the degree to which the offense in subsection 1030(a)(3) must affect the operation of the Government computer in
question. Many of the Department's recommendations were incorporated into the Committee's report on S. 2281.


                               V. CONGRESSIONAL BUDGET OFFICE STATEMENT

                                             U.S. CONGRESS,
                                             CONGRESSIONAL BUDGET OFFICE,
                                             Washington, DC, June 25, 1986.
Hon. STROM THURMOND,
Chairman, Committee on the Judiciary, U.S. Senate, Washington, DC.
  DEAR MR. CHAIRMAN: The Congressional Budget Office has reviewed S. 2281, the Computer Fraud and Abuse
Act of 1986, as ordered *15 reported by the Senate Committee on the Judiciary, June 12, 1986. We estimate that no
significant cost to the Federal Government, and no cost to State or local governments would result from enactment of
this bill.

  S. 2281 makes a number of amendments to Section 1030 of Title 18 of the United States Code, dealing with computer
fraud and related activity. These amendments include several changes in the standards determining violations of the
law. The bill extends the **2493 existing Federal privacy protection of computerized financial information to cover
all such records of financial institutions, as defined in the bill, and clarifies the prohibition against unauthorized access
of computers used by the U.S. government. S. 2281 also creates three new offenses involving theft in the form of
unauthorized computer access with the intent to defraud, malicious damage through unauthorized computer access,




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and trafficking in computer passwords with the intent to defraud. The provisions governing fines for new and existing
offenses would be made to conform with the Criminal Fine Enforcement Act of 1984.

  Based on information from the Department of Justice, we expect that S. 2281 would provide a more specific statute
on which to base the investigation and prosecution of these activities, which the Department is currently undertaking
under other authority. Enactment of the bill is not expected to result in a significant change in the government's law
enforcement practices or expenditures.

  If you wish further details on this estimate, we will be pleased to provide them.

  With best wishes,

Sincerely,
                                            RUDOLPH G. PENNER.

                                     VI. REGULATORY IMPACT STATEMENT

  Pursuant to paragraph 11(b), rule XXVI, of the Standing Rules of the Senate, the Committee has concluded that the
bill will have no direct regulatory impact. The bill encourages, but does not require, the agencies and departments of the
Federal Government to develop clear rules and sanctions regulating the use of Government computers by employees and
other authorized individuals. The bill also encourages other owners and users of Federal interest computers to establish
clear statements of the scope of authority for those who use the Federal interest computers.

                                                          *****

                      *20 VIII. ADDITIONAL VIEWS OF MESSRS. MATHIAS AND LEAHY

  We are pleased to join with our colleagues on the Judiciary Committee in reporting S. 2281, the Computer Fraud and
Abuse Act of 1986. The authors of the legislation have effectively carried out a delicate and complex task. The result is
a bill that offers an appropriate Federal response to the real and growing problem of computer crime.

  The committee's report on S. 2281 thoroughly describes the scope of that problem, and the details of that response. As
the report notes, this bill builds upon the computer crime legislation enacted in the closing days of the 98th Congress.
We wish to emphasize that S. 2281 not only refines and extends the computer crime provisions of Public Law 98–473, it
also refocuses that legislation on its principal objectives, and minimizes the likelihood that it will be misused to cut back
on the American public's right to know about the activities of its government.

   **2494 As enacted in 1984, the provision now codified as section 1030(a)(3) of title 18 makes it a crime to ‘knowingly
use . . . or disclose information in [any] computer . . . operated for or on behalf of the Government of the United
States,’ when the defendant gains access to the computer without authorization or his conduct exceeds the scope of
his authorization. By its literal terms, this provision sweeps in all computerized government information, including
documents that must, under the Freedom of Information Act, be disclosed to any member of the public upon proper
request. Section 1030(a)(3) also glosses over the reality that the existence or exact scope of a government employee's
authority to access a particular computerized data base is not always free from doubt. Under these circumstances, any
employee asked to release data that must be disclosed under the FOIA would be understandably reluctant to do so
unless assured of the precise contours of his authorization to access it. An incorrect assertion of authorization could
expose the employee to prosecution and imprisonment. Any prudent employee would resolve doubts against disclosure,
a conclusion directly contrary to the principles of open government underlying the FOIA.




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  Motivated by these concerns arising from provisions of the House-passed computer crime bill, the Senate, on the
next-to-last day of the 98th Congress, unanimously approved our amendment to the bill which narrowed the sweeping
provisions of the disclosure offense under section 1030(a)(3). Unfortunately, in the rush toward adjournment, the House
never acted on the Senate amendment to this bill. Instead, the free-standing computer crime legislation was overtaken by
a continuing appropriations resolution, to which had been appended hundreds of pages of crime legislation, including
portions of the unamended House computer crime bill. Thus, in a particularly graphic lesson in the shortcomings of
legislation by *21 rider, section 1030(a)(3) was signed into law, despite the Senate's unanimous view that its scope was
too broad.

  The bill we now report, unlike its predecessor, has had the benefit of nearly 2 years of careful scrutiny and study
by the Subcommittee on Criminal Law. Among the many improvements that it would make is a complete revision of
section 1030(a)(3). The revised provision includes three salutary features that minimize the possibility that this computer
crime legislation could be misused to weaken the Freedom of Information Act, or to impose unnecessary obstacles to
the public's right to know about government activities.

   First, the mental state required to establish a violation of revised section 1030(a)(3) is increased from ‘knowingly’ to
‘intentionally.’ As the committee report points out, the ‘intentional’ standard precludes criminal liability for inadvertent
acts of unauthorized access. Instead, it is ‘designed to focus Federal criminal prosecutions on those who evince a clear
intent to enter, without proper authorization, computer files or data belonging to another.’

  Second, S. 2281 would eliminate coverage for authorized access that aims at ‘purposes to which such authorization
does not extend.’ This removes from the sweep of the statute one of the murkier grounds of liability, under which a
Federal employee's access to computerized data might be legitimate in some circumstances, but criminal in other (not
clearly distinguishable) circumstances **2495 that might be held to exceed his authorization. As the committee report
points out, administrative sanctions should ordinarily be adequate to deal with real abuses of authorized access to
Federal computers (assuming, of course, that no other provision of section 1030 is violated). Like the heightened scienter
requirement, this change serves to minimize the likelihood that a Federal employee, uncertain about the scope of his
authority, would face a Hobson's choice between the disclosure mandates of FOIA and the criminal sanctions of title 18.

  Finally, revised section 1030(a)(3) would not apply to access by a Federal employee of computers of that employee's
own agency. This exclusion recognizes the reality that computer access rules for employees within a single agency are
rarely as clear as rules governing access by outsiders to that agency's computers. Revised section 1030(a)(3) would provide
prosecutors a clear, workable rule, regardless of the intricacies of a particular agency's computer access policies: absent
a fraudulent motive, an employee could not be prosecuted for simple ‘trespass' into one of his agency's own computers.

  Like any bright-line rule, this one does not conform perfectly to the behavior it addresses. To treat employees of
other agencies as ‘outsiders' for the purposes of this statute may, in an exceptional instance, work some hardship. The
committee report notes that the revised subsection may, on rare occasions, prove underinclusive; as well, it may be
overinclusive in unusual cases. The fact is that many Federal agency data bases are separated from those of sister agencies
not by well-defined walls, but by permeable membranes. Information sharing may become computer sharing without
formal protocols of authorization. Access by one who appears to be an ‘outsider’ to the agency may be not only excusable,
but helpful to the agency's mission.

   *22 But certainly this imprecision can be accommodated. Just as other criminal sanctions may well be at hand in
cases that fall through the net of the revised subsection (a)(3), so administrative sanctions—and, of course, the discretion
not to prosecute—will remain available for those cases of interdepartmental unauthorized access that do not justify
prosecution.




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  S. 2281's revisions to section 1030(a)(3) do not track the approach adopted by the Senate in 1984, and embodied in our
bill in this Congress, S. 610, for correcting the course set by the 1984 computer crime legislation. Both the 1984 Senate
amendment, and S. 610, focused on the disclosure aspect of the offense created by section 1030(a)(3), and sought to
exclude from the offense information whose disclosure ought not to be discouraged. Because the revised subsection is
a simple trespass offense, rather than one requiring disclosure or some other act beyond access to the data, our earlier
approach to the problem is now less apposite. We think the balance struck by S. 2281 on this issue is reasonable. It
largely ameliorates our concern about the effect of section 1030(a)(3) on the free flow of government information to
the American people. It goes far toward restoring the incentive for Federal employees to comply voluntarily with the
Freedom of Information Act in their dealings with requests **2496 for computerized government information. At the
same time, it gives the Government an adequate prosecutorial tool for deterring and punishing unauthorized access to
sensitive Government information by those who have no colorable claim of a right to obtain it outside proper channels.

 In this and other aspects, S. 2281 constitutes a real improvement on existing computer crime law. The Subcommittee on
Criminal Law, under Senator Laxalt's leadership, and its House counterpart, the Subcommittee on Crime, have crafted
well-considered and constructive legislation, and we are pleased to support it.


  1 Bureau of Justice Statistics, Report on Electronic Funds Transfer Fraud, March 1985, NCJ–96666.

  2 Report on Computer Crime; Task Force on Computer Crime, Section of Criminal Justice, American Bar Association;
June 1984)

  3 Ibid., pp. 16–18, Table 12.

  4 Ibid., p. 38.

  5 Ibid., pp. 36–40.

  6 Ibid., p. 44.

  7 Ibid., p. 23, Table 17.

  8 Ibid., p. 11, Table 8.

  9 Ibid., p. 23, Table 17.

  9a. 98 S.Ct. 2864, 57 L.Ed.2d 854.

 10 Statement of Victoria Toensing, Deputy Assistant Attorney General, Criminal Division; before the Senate Judiciary
Committee, April 16, 1986.

  11 Ibid.

  12 Ibid.

  13 Statement by John C. Keeney, Deputy Assistant Attorney General, Criminal Division; before the Senate
Subcommittee on Oversight of Government Management, Committee on Governmental Affairs; October 26, 1983.

  14 See, Statement of Victoria Toensing, Deputy Assistant Attorney General, Criminal Division, U.S. Department of
Justice, before the Senate Judiciary Committee; April 16, 1986.


S. Rep. No. 432, 99TH Cong., 2ND Sess. 1986, 1986 U.S.C.C.A.N. 2479, 1986 WL 31918, S. REP. 99-432 (Leg.Hist.)



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                  Plaintiff’s Supplemental Brief In Support Of
                       Motion for Preliminary Injunction




                    EXHIBIT AA


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                                            1987 Cal. Legis. Serv. 1499 (West)


                                  CALIFORNIA LEGISLATIVE SERVICE 1987-88
                                       REGULAR SESSION (1987 Laws)

                                  Additions are indicated by <<+ UPPERCASE +>>
                                              Deletions by <<- * * * ->>
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                                            CHAPTER 1499
                                           Senate Bill No. 255
                            CRIMES AND OFFENSES—COMPUTERS—VIOLATIONS

 An act to repeal and add Section 502 of the Penal Code, and to amend Section 653.5 of, and to add Section 653.1 to,
the Welfare and Institutions Code, relating to crimes.

                                         LEGISLATIVE COUNSEL'S DIGEST

 SB 255, Davis. Crimes.

 (1) Existing law provides that it is a public offense to engage in certain unlawful activities with regard to a computer
system, computer network, computer program, and computer data. Existing law also allows the owner or lessee of
computer systems, networks, programs, or data to maintain a civil action against any person convicted of violating the
criminal provisions for compensatory damages.

 This bill would substantially recast existing law. It would expand the scope of the prohibited activity, as specified,
thereby imposing a state-mandated local program. It would also revise the definitions of that law. This bill would also
include provisions exempting persons engaged in designated employee labor relations activities from criminal liability.
This bill would also provide that the criminal penalties imposed by this bill do not apply to employees accessing
an employer's computer when acting within the scope of his or her employment, or the use, knowingly and without
permission, of an employer's computer outside an employee's scope of employment which does not result in an injury to
an employer, as defined, so long as the value of that use does not exceed $100.

 This bill would specify that for purposes of bringing a civil or a criminal action under this law, a person who causes, by
any means, the access of a computer, computer system, or computer network in one jurisdiction from another jurisdiction
is deemed to have personally accessed the computer, computer system, or computer network in each jurisdiction.

 (2) Under existing law, if a probation officer determines that juvenile court proceedings to declare a person a ward of
the juvenile court on the basis of criminal conduct should be commenced, the probation officer is required to cause an
affidavit to be taken to the prosecuting attorney.

 This bill provides that a probation officer shall cause an affidavit alleging that a minor is within the jurisdiction of the
juvenile court on the basis of criminal conduct to be taken immediately or within 48 hours, depending upon the age of
the minor and the nature of the offense, to the prosecuting attorney if he or she determines that proceedings to declare
the minor a ward of the juvenile court should be commenced. To the extent that the bill would require a higher level of
service upon probation officers, it would constitute a state-mandated local program.

 The California Constitution requires the state to reimburse local agencies and school districts for certain costs mandated
by the state. Statutory provisions establish procedures for making that reimbursement, including the creation of a State




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Mandates Claims Fund to pay the costs of mandates which do not exceed $500,000 statewide and other procedures for
claims whose statewide costs exceed $500,000.

 This bill would provide that for certain costs no reimbursement is required by this act for a specified reason.

 However, the bill would provide that, if the Commission on State Mandates determines that this bill contains other
costs mandated by the state, reimbursement for those costs shall be made pursuant to those statutory procedures and, if
the statewide cost does not exceed $500,000, shall be payable from the State Mandates Claims Fund.

                                The people of the State of California do enact as follows:

 Section 1. This act shall be known and may be cited as the “Comprehensive Computer Data Access and Fraud Act.”

                                                     CA PENAL § 502

 SEC. 2. Section 502 of the Penal Code is repealed.

                                                     CA PENAL § 502

  Sec. 3. Section 502 is added to the Penal Code, to read:
  (a) It is the intent of the Legislature in enacting this section to expand the degree of protection afforded to individuals,
businesses, and governmental agencies from tampering, interference, damage, and unauthorized access to lawfully
created computer data and computer systems. The Legislature finds and declares that the proliferation of computer
technology has resulted in a concomitant proliferation of computer crime and other forms of unauthorized access to
computers, computer systems, and computer data.
  The Legislature further finds and declares that protection of the integrity of all types and forms of lawfully created
computers, computer systems, and computer data is vital to the protection of the privacy of individuals as well as to the
well-being of financial institutions, business concerns, governmental agencies, and others within this state that lawfully
utilize those computers, computer systems, and data.
  (b) For the purposes of this section, the following terms have the following meanings:
  (1) “Access” means to gain entry to, instruct, or communicate with the logical, arithmetical, or memory function
resources of a computer, computer system, or computer network.
  (2) “Computer network” means two or more computer systems connected by telecommunication facilities.
  (3) “Computer program or software” means a set of instructions or statements, and related data, that when executed
in actual or modified form, cause a computer, computer system, or computer network to perform specified functions.
  (4) “Computer services” includes, but is not limited to, computer time, data processing, or storage functions, or other
uses of a computer, computer system, or computer network.
  (5) “Computer system” means a device or collection of devices, including support devices and excluding calculators
which are not programmable and capable of being used in conjunction with external files, one or more of which contain
computer programs, electronic instructions, input data, and output data, that performs functions including, but not
limited to, logic, arithmetic, data storage and retrieval, communication, and control.
  (6) “Data” means a representation of information, knowledge, facts, concepts, computer software, computer programs
or instructions. Data may be in any form, in storage media, or as stored in the memory of the computer or in transit
or presented on a display device.
  (7) “Supporting documentation” includes, but is not limited to, all information, in any form, pertaining to the design,
construction, classification, implementation, use, or modification of a computer, computer system, computer network,
computer program, or computer software, which information is not generally available to the public and is necessary for
the operation of a computer, computer system, computer network, computer program, or computer software.
  (8) “Injury” means any alteration, deletion, damage, or destruction of a computer system, computer network, computer
program, or data caused by the access.




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 (9) “Victim expenditure” means any expenditure reasonably and necessarily incurred by the owner or lessee to verify
that a computer system, computer network, computer program, or data was or was not altered, deleted, damaged, or
destroyed by the access.
 (c) Except as provided in subdivision (i), any person who commits any of the following acts is guilty of a public offense:
 (1) Knowingly accesses and without permission alters, damages, deletes, destroys, or otherwise uses any data, computer,
computer system, or computer network in order to either (A) devise or execute any scheme or artifice to defraud, deceive,
or extort, or (B) wrongfully control or obtain money, property, or data.
 (2) Knowingly accesses and without permission takes, copies, or makes use of any data from a computer, computer
system, or computer network, or takes or copies any supporting documentation, whether existing or residing internal or
external to a computer, computer system, or computer network.
 (3) Knowingly and without permission uses or causes to be used computer services.
 (4) Knowingly accesses and without permission adds, alters, damages, deletes, or destroys any data, computer software,
or computer programs which reside or exist internal or external to a computer, computer system, or computer network.
 (5) Knowingly and without permission disrupts or causes the disruption of computer services or denies or causes the
denial of computer services to an authorized user of a computer, computer system, or computer network.
 (6) Knowingly and without permission provides or assists in providing a means of accessing a computer, computer
system, or computer network in violation of this section.
 (7) Knowingly and without permission accesses or causes to be accessed any computer, computer system, or computer
network.
 (d)(1) Any person who violates any of the provisions of paragraph (1), (2), (4), or (5) of subdivision (c) is punishable
by a fine not exceeding ten thousand dollars ($10,000), or by imprisonment in the state prison for 16 months, or two
or three years, or by both that fine and imprisonment, or by a fine not exceeding five thousand dollars ($5,000), or by
imprisonment in the county jail not exceeding one year, or by both that fine and imprisonment.
 (2) Any person who violates paragraph (3) of subdivision (c) is punishable as follows:
 (A) For the first violation which does not result in injury, and where the value of the computer services used does not
exceed four hundred dollars ($400), by a fine not exceeding five thousand dollars ($5,000), or by imprisonment in the
county jail not exceeding one year, or by both that fine and imprisonment.
 (B) For any violation which results in a victim expenditure in an amount greater than five thousand dollars ($5,000)
or in an injury, or if the value of the computer services used exceeds four hundred dollars ($400), or for any second or
subsequent violation, by a fine not exceeding ten thousand dollars ($10,000), or by imprisonment in the state prison for
16 months, or two or three years, or by both that fine and imprisonment, or by a fine not exceeding five thousand dollars
($5,000), or by imprisonment in the county jail not exceeding one year, or by both that fine and imprisonment.
 (3) Any person who violates paragraph (6) or (7) of subdivision (c) is punishable as follows:
 (A) For a first violation which does not result in injury, an infraction punishable by a fine not exceeding two hundred
fifty dollars ($250).
 (B) For any violation which results in a victim expenditure in an amount not greater than five thousand dollars ($5,000),
or for a second or subsequent violation, by a fine not exceeding five thousand dollars ($5,000), or by imprisonment in
the county jail not exceeding one year, or by both that fine and imprisonment.
 (C) For any violation which results in a victim expenditure in an amount greater than five thousand dollars ($5,000),
by a fine not exceeding ten thousand dollars ($10,000), or by imprisonment in the state prison for 16 months, or two
or three years, or by both that fine and imprisonment, or by a fine not exceeding five thousand dollars ($5,000), or by
imprisonment in the county jail not exceeding one year, or by both that fine and imprisonment.
 (e)(1) In addition to any other civil remedy available, the owner or lessee of the computer, computer system, computer
network, computer program, or data may bring a civil action against any person convicted under this section for
compensatory damages, including any expenditure reasonably and necessarily incurred by the owner or lessee to verify
that a computer system, computer network, computer program, or data was or was not altered, damaged, or deleted by
the access. For the purposes of actions authorized by this subdivision, the conduct of an unemancipated minor shall be
imputed to the parent or legal guardian having control or custody of the minor, pursuant to the provisions of Section
1714.1 of the Civil Code.



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 (2) In any action brought pursuant to this subdivision the court may award reasonable attorney's fees to a prevailing
party.
 (f) This section shall not be construed to preclude the applicability of any other provision of the criminal law of this
state which applies or may apply to any transaction, nor shall it make illegal any employee labor relations activities that
are within the scope and protection of state or federal labor laws.
 (g) This section applies only to public offenses committed on or after January 1, 1988. It is the intent of the Legislature
that this section be given no retroactive effect and persons who commit a violation of the provisions of Section 502 in
effect prior to January 1, 1988, shall be held responsible therefor.
 (h) Any computer, computer system, computer program, instrument, apparatus, device, plans, instructions, or written
publication used in the commission of any public offense described in subdivision (c) may be seized under warrant or
incident to a lawful arrest. Any property seized under this subdivision is subject to forfeiture pursuant to Section 502.01.
 (i)(1) Subdivision (c) does not apply to any person who accesses his or her employer's computer system, computer
network, computer program, or data when acting within the scope of his or her lawful employment.
 (2) Paragraph (3) of subdivision (c) does not apply to any employee who accesses or uses his or her employer's computer
system, computer network, computer program, or data when acting outside the scope of his or her lawful employment,
so long as the employee's activities do not cause an injury, as defined in paragraph (8) of subdivision (b), to the employer
or another, or so long as the value of computer services, as defined in paragraph (4) of subdivision (b), which are used
do not exceed one hundred dollars ($100).
 (j) No activity exempted from prosecution under paragraph (2) of subdivision (i) which incidentally violates paragraph
(2), (4), or (7) of subdivision (c) shall be prosecuted under those paragraphs.
 (k) For purposes of bringing a civil or a criminal action under this section, a person who causes, by any means, the
access of a computer, computer system, or computer network in one jurisdiction from another jurisdiction is deemed to
have personally accessed the computer, computer system, or computer network in each jurisdiction.

                                                CA WEL & INST § 653.1

  SEC. 4. Section 653.1 is added to the Welfare and Institutions Code, to read:
  Notwithstanding Section 653, in the case of an affidavit alleging that the minor committed an offense described in
Section 602, the probation officer shall cause the affidavit to be immediately taken to the prosecuting attorney if it
appears to the probation officer that the minor has been referred to the probation officer for any violation of an offense
listed in subdivision (b) of Section 707 and that offense was allegedly committed when the minor was 16 years of age
or older. If the prosecuting attorney decides not to file a petition, he or she may return the affidavit to the probation
officer for any other appropriate action.

                                                CA WEL & INST § 653.5

 SEC. 5. Section 653.5 of the Welfare and Institutions Code is amended to read:
 (a) Whenever any person applies to the probation officer to commence proceedings in the juvenile court, the application
shall be in the form of an affidavit alleging that there was or is within the county, or residing therein, a minor within the
provisions of Section 602, or that a minor committed an offense described in Section 602 within the county, and setting
forth facts in support thereof. The probation officer shall immediately make any investigation he or she deems necessary
to determine whether proceedings in the juvenile court shall be commenced.
 (b) Except as provided in subdivision (c), if the probation officer determines that proceedings pursuant to Section 650
should be commenced to declare a person to be a ward of the juvenile court on the basis that he or she is a person
described in Section 602, the probation officer shall cause the affidavit to be taken to the prosecuting attorney.
 (c) Notwithstanding the provisions of subdivision (b), the probation officer shall cause the affidavit to be taken within
48 hours to the prosecuting attorney in all of the following cases:
 (1) If it appears to the probation officer that the minor has been referred to the probation officer for any violation of
an offense listed in subdivision (b) of Section 707.




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 (2) If it appears to the probation officer that the minor is under 16 years of age at the date of the offense and that the
offense constitutes a second felony referral to the probation officer.
 (3) If it appears to the probation officer that the minor was 16 years of age or older at the date of the offense and that
the offense constitutes a felony referral to the probation officer.
 The provisions of subdivision (c) shall not apply to a narcotics and drug offense set forth in Section 1000 of the Penal
Code.
 The prosecuting attorney shall within his or her discretionary power institute proceedings in accordance with his or
her role as public prosecutor pursuant to subdivision (b) of Section 650 and Section 26500 of the Government Code.
However, if it appears to the prosecuting attorney that the affidavit was not properly referred, that the offense for which
the minor was referred should be charged as a misdemeanor, or that the minor may benefit from a program of informal
supervision, he or she shall refer the matter to the probation officer for whatever action the probation officer may deem
appropriate.
 (d) In all matters where the minor is not in custody and is already a ward of the court or a probationer under Section
602, the prosecuting attorney, within five judicial days of receipt of the affidavit from the probation officer, shall institute
proceedings in accordance with his or her role as public prosecutor pursuant to subdivision (b) of Section 650 of this
code and Section 26500 of the Government Code, unless it appears to the prosecuting attorney that the affidavit was not
properly referred or that the offense for which the minor was referred requires additional substantiating information, in
which case he or she shall immediately notify the probation officer of what further action he or she is taking.

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 Approved by Governor September 30, 1987.

Filed with Secretary of State September 30, 1987.

CA LEGIS (1987) 1499

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                  Plaintiff’s Supplemental Brief In Support Of
                       Motion for Preliminary Injunction




                    EXHIBIT BB


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116 Colum. L. Rev. 1143

Columbia Law Review
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Essay
Orin S. Kerr a1

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NORMS OF COMPUTER TRESPASS


        This Essay develops an approach to interpreting computer trespass laws, such as the Computer Fraud and
        Abuse Act, that ban unauthorized access to a computer. In the last decade, courts have divided sharply on what
        makes access unauthorized. Some courts have interpreted computer trespass laws broadly to prohibit trivial
        wrongs such as violating terms of use to a website. Other courts have limited the laws to harmful examples
        of hacking into a computer. Courts have struggled to interpret authorization because they lack an underlying
        theory of how to distinguish authorized from unauthorized access.



        This Essay argues that authorization to access a computer is contingent on trespass norms--shared
        understandings of what kind of access invades another person's private space. Judges are unsure of how to apply
        computer trespass laws because the Internet is young and its trespass norms are unsettled. In the interim period
        before norms emerge, courts should identify the best rules to apply as a matter of policy. Judicial decisions in
        the near term can help shape norms in the long term. The remainder of the Essay articulates an appropriate
        set of rules using the principle of authentication. Access is unauthorized when the computer owner requires
        authentication to access the computer and the access is not by the authenticated user or his agent. This principle
        can resolve the meaning of authorization before computer trespass norms settle and can influence the norms
        that eventually emerge.




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*1144 INTRODUCTION

The federal government and all fifty states have enacted criminal laws that prohibit unauthorized access to a computer. 1
At first blush, the meaning of these statutes seems clear. 2 The laws prohibit trespass into a computer network just
like traditional laws ban trespass in physical space. 3 Scratch below the surface, however, and the picture quickly turns
cloudy. 4 Courts applying computer trespass laws have divided deeply over *1145 when access is authorized. 5 Circuit
splits have emerged, with judges frequently expressing uncertainty and confusion over what computer trespass laws
criminalize. 6

Consider the facts of seven recent federal cases involving the federal unauthorized access law, the Computer Fraud and
Abuse Act (CFAA). 7 In each case, the line between guilt and innocence hinged on a dispute over authorization:

        1. An employee used his employer's computer at work for personal reasons in violation of a workplace rule
        that the computer could only be used for official business. 8



        2. An Internet activist logged on to a university's open network using a new guest account after his earlier
        guest account was blocked. 9



        3. Two men used an automated program to collect over 100,000 email addresses from a website that had
        posted the information at hard-to-guess addresses based on the assumption that outsiders would not find
        it. 10



        4. A man accessed a corporate account on a website using login credentials that he purchased from an
        employee in a secret side deal. 11



        5. A company collected information from Craigslist after Craigslist sent the company a cease-and-desist
        letter and blocked the company's IP address. 12



         *1146 6. A company used an automated program to purchase tickets in bulk from Ticketmaster's website
        despite the website's use of a barrier designed to block bulk purchases by automated programs. 13




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        7. A former employee continued to access his former employer's computer network using a backdoor
        account that the former employer had failed to shut down. 14




On the surface, there are plausible arguments on both sides of these cases. The prosecution can argue that access was
unwanted, at least in some sense, and therefore was unauthorized. The defense can argue that access was allowed, at least
in some sense, and therefore was authorized. 15 Liability hinges on what concept of authorization applies. However,
courts have not yet identified a consistent approach to authorization. Authorization is not defined under most computer
trespass statutes, and the statutory definitions that exist are generally circular. 16 Violating computer trespass laws can
lead to severe punishment, often including several years in prison for each violation. 17 And yet several decades after the
widespread enactment of computer trespass statutes, the meaning of authorization remains remarkably unclear.

This Essay offers a framework to distinguish between authorized and unauthorized access to a computer. It argues that
concepts of authorization rest on trespass norms. As used here, trespass norms are broadly shared attitudes about what
conduct amounts to an uninvited entry into another person's private space. 18 Relying on the example of physical-world
trespass, this Essay contends that the scope of trespass crimes follows from identifying trespass norms in three ways: first,
characterizing the nature of the space; second, identifying the means of permitted access; and third, *1147 identifying
the context of permitted entry. These three steps can be used to identify the norms of computer trespass and to give
meaning to criminal laws on unauthorized access.

Interpreting computer trespass laws raises an important new twist. Although trespass norms in physical space are
relatively settled and intuitive, computer trespass norms online are often unsettled and contested. The Internet is new
and rapidly changing. No wonder courts have struggled to apply these laws: Doing so requires choosing among unsettled
norms in changing technologies that judges may not fully understand. In that context, courts cannot merely identify
existing norms. Instead, they must identify the best rules to apply from a policy perspective, given the state of technology
and its prevailing uses. Published court decisions can then help establish norms consistent with those rules.

After first identifying the conceptual challenges of applying computer trespass laws, this Essay argues that the principle
of authentication provides the most desirable basis for computer trespass norms. Authentication requires verifying that
the user is the person who has access rights to the information accessed. 19 Under this principle, the open norm of the
World Wide Web should render access to websites authorized unless it bypasses an authentication gate. This approach
leaves Internet users free to access websites even when their owners have put in place virtual speed bumps that can
complicate access, such as hidden addresses, cookies-based limits, and IP address blocks. 20 Further, when access requires
authentication, whether access is authorized should hinge on whether it falls within the scope of delegated authority the
authentication implies. Access to canceled accounts should be unauthorized, and access using new accounts may or may
not be authorized depending on the circumstances. 21 Finally, the lawfulness of access using a shared password should
depend on whether the user intentionally acts outside the agency of the account holder.

The authentication principle advocated in this Essay best captures the competing policy goals of modern Internet
use in light of the blunt and severe instrument of criminal law. Norms based on this principle give users wide berth
to use the Internet as the technology allows, free from the risk of arrest and prosecution, as long as they do not
contravene mechanisms of authentication. On the other hand, the norms give computer owners the ability to impose an
authentication requirement and then control who accesses private information online. The result establishes both public
and private virtual spaces online using a relatively clear and stable technological standard.




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 *1148 This Essay contains four parts. Part I shows how trespass norms apply in physical space. Part II argues that
courts should apply the same approach to computer networks but that they must identify the best trespass norms rather
than simply identify existing norms. Part III considers the trespass norms that courts should identify in the many difficult
cases involving the Web. Part IV explains how the norms of computer trespass should apply to the complex problems
raised by canceled, blocked, and shared accounts.


I. TRESPASS IN PHYSICAL SPACE

Imagine a suspicious person is lurking around someone else's home or office. The police are called, and officers watch
the suspect approach the building. Now consider: When has the suspect committed a criminal trespass that could lead
to his arrest and prosecution? This section shows how the answer comes from trespass norms in physical space--shared
understandings of obligations surrounding access to different physical spaces. The rules are not written down in trespass
statutes. Instead, those called on to interpret physical trespass laws make intuitive conclusions based on the nature of
that space and the understood purposes of different means of accessing it. From those intuitions, shared understandings
emerge about whether and when access to a physical space is permitted. By unpacking our intuitions that govern physical
trespass, we can then appreciate why courts have struggled to interpret computer trespass laws.


A. Authorization and Social Norms

The concept of trespass implies signals sent by property owners about what uses of that property are permitted. In some
cases, the signals are clear and direct. Recall the childhood game “red light, green light.” 22 In the game, the game master
barks out orders to the players. Green light, they can run. Red light, they must stop. The control is direct and in realtime,
with the game master watching the players in person. In this environment, notions of authorization are obvious. The
leader monitors and maintains complete control.

The more common and interesting problems arise when control of authorization is implicit. In most cases, permission
is deduced from the circumstances based on signals that draw on shared understandings about the world. A Martian
who landed on Earth for the first time would find the results deeply puzzling. Having never experienced human social
interaction, it would miss the signals and see the human understandings as arbitrary. From our perspective, however,
the signals are intuitive and usually seem obvious.


 *1149 Importantly, the text of criminal trespass statutes doesn't provide these answers. 23 Consider New York's trespass
law, § 140.05. The language is brief: “A person is guilty of trespass when he knowingly enters or remains unlawfully in
or upon premises.” 24 What does “unlawfully” mean? The statutory definition tries but fails to answer that question. “A
person ‘enters or remains unlawfully’ in or upon premises,” the definition says, “when he is not licensed or privileged to
do so.” 25 That's no help. When are you “licensed” to enter? What gives you a “privilege”? The text doesn't say.

Criminal trespass law can retain this textual ambiguity because the real meaning of trespass law comes from trespass
norms that are relatively clear in physical space. 26 The written law calls on the norms, and the norms tell us, at an
intuitive level, when entry to property is forbidden and when it is permitted. Although identifying social norms is often
difficult generally, the specific nature of trespass norms allows greater clarity. Trespass norms are relatively specific:
They are about shared intuitions about what is a trespass, not what is appropriate or inappropriate behavior generally.
And those norms provide relative clarity about what is a physical trespass.

Relative clarity doesn't mean absolute clarity, of course. Criminal trespass law is rarely litigated. Physical trespass tends
to be a low-level offense, 27 and it typically extends to those who unlawfully remain in place after being told by the
homeowner to leave. 28 As a practical matter, the crime may be used primarily as a way to arrest and remove someone


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who won't leave where he is not wanted rather than as a tool for criminal punishment *1150 on conviction. 29 As a
result, some ambiguities may exist but remain latent in the statute.

But even if ambiguities remain, they are substantially narrowed by the three ways that trespass norms inform the meaning
of criminal trespass laws. First, trespass norms provide a general set of rules that govern entrance based on the nature of
the space. Second, they help resolve which means of access are permitted. And third, they explain the context in which
the permitted means become authorized.


B. The Nature of the Space

The first way that trespass norms guide notions of license and privilege is by providing informal rules based on the nature
of each space. Different spaces trigger different obligations. Private homes trigger one set of rules. Commercial stores
would trigger another. A public library might trigger a third. A public park a fourth. Life experience with common social
practices creates shared understandings about what kinds of entry are permitted for different kinds of spaces.


Start with the home. The home triggers a robust set of assumptions about privacy and permission. 30 A person's home
is his castle, the common law tells us. 31 And the principle of the common law remains deeply and widely held today.
Everyone knows that you stay out of another's home unless there is an express invitation. If you break those norms,
trouble will follow. You can expect a frightened homeowner to call the police, if not to emerge with a twelve gauge pointed
in your direction. And trespass case law reflects the strong default presumption of the home: The slightest overstep or
intrusion into the home, or even just entry based on false pretenses, has been held to be a trespass. 32

But what is true for the home is not true for other physical spaces. Contrast the home with a commercial store. Imagine
it's a weekday afternoon and you find a flower shop in a suburban strip mall. The norms governing access to the shop are
very different from those governing access *1151 to a home. You can approach the store and peer through the window.
If you see no one inside, you can try to enter through the front door. If the door is unlocked, you can enter the store
and walk around. The shared understanding is that shop owners are normally open to potential customers. An unlocked
door during work hours ordinarily signals an invitation. That openness is not unlimited, of course. You can't go into
the back of the store, marked “Employees Only,” without an invitation. 33 And if the store owner tells you to leave, you
have to comply. 34 But in contrast to the closed default at a private home, the default at a commercial store is openness
absent special circumstances indicating closure.

Even open spaces can have trespass norms, and those norms can differ from the norms governing entry into enclosed
structures such as homes or stores. In a recent Fourth Amendment case, Florida v. Jardines, 35 the Supreme Court
considered the trespass norms that apply to a front porch. Officers suspected that Jardines might be growing marijuana
in his home, so they walked a drug-sniffing dog up to his front porch and had him give the front door a good, hard
sniff. 36 The dog alerted to drugs, creating probable cause for a warrant and a search. 37

The Justices ruled that walking up to the front door with the dog was a trespass that violated the Fourth Amendment
because it exceeded the implied social license governing approach to the home. 38 According to Justice Scalia, some entry
onto the front porch was permitted by social custom. Any visitor could “approach the home by the front path, knock
promptly, wait briefly to be received, and then (absent invitation to linger longer) leave.” 39 On the other hand, bringing
a drug-sniffing dog to the front door violated that customary understanding:




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        To find a visitor knocking on the door is routine (even if sometimes unwelcome); to spot that same visitor
        exploring the front path with a metal detector, or marching his bloodhound into *1152 the garden before
        saying hello and asking permission, would inspire most of us to--well, call the police. 40




The lesson is that different spaces have different trespass norms. Some spaces are open, others are closed, and still others
are open to some but closed to others. The text of trespass laws is often misleadingly simple--just the simple prohibition
against unlicensed entry. Meanwhile, the real work of distinguishing culpable invasions from nonculpable explorations
comes from space-specific norms.


C. Means of Access

The second role of trespass norms is to identify means of permitted access. Permission to enter often is implicitly limited
to specific methods of entrance. And we know which means of entry are permitted, and which are forbidden, by relying
on widely understood social understandings.

Consider entrance to a commercial store. The trespass norm governing a commercial store might be that entrance is
permitted when a ready means of access is available that can be read in context as an open invitation. That principle
implies limits on which means of access are allowed. An open window isn't an invitation to jump through the window
and go inside. If there's an open chimney or mail drop, that's not an invitation to try to enter the store. Barring explicit
permission from the store owner, the only means of permitted access to a commercial store is the front door.

The source of these principles seems to be a socially shared understanding of the intended function of walls, windows,
chimneys, and doors. Windows are there to let in light, not people. Chimneys exist to let out smoke, not admit guests
(Santa excepted). We know from life experience that these ways in are not authorized. In contrast, entry through the
unlocked front door is authorized. The front door is intended for customer entrance and exit. That's why it's there.


D. Context of Access

Trespass norms play a third role by governing the context in which entrance can occur. Entry through the front door
might be authorized, but the front door isn't for everyone. Doors usually come with locks, and locks are designed to
let some people in and keep other people out. Locks are an example of access control by which we recognize a means
of access but limit it to specific people with specific rights. 41 To complete *1153 the picture of how norms govern
authorization to enter a home, we need to consider how those norms apply to locks and keys.

The starting point is simple enough. The property owner owns the door, lock, and keys, so the owner presumptively is
in charge. If the lock breaks, the owner has to buy another one. The owner has the power to decide who gets a key and
who is permitted to use it. As a result, authorization of entrance by key depends on whether that entrance was within
the zone of authority delegated by the owner.

Imagine you are walking down the street and you see and pick up a lost house key. Possession of the key doesn't entitle
you to use the key and enter the house. You have the key, but you lack permission to use it. And you lack permission
because there's no chain of authorization coming from the owner. Picking a lock is unauthorized for the same reasons,
at least unless you're a locksmith who the owner hired to open the door after being locked out. 42 If the owner grants
you permission but later revokes it, your authorization expires with the revocation. If the homeowner gives someone else
the key but places limits on access, those limits govern authorization. 43



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The lesson of these examples is that authorization rests on trespass norms. In a world of indirect communication,
familiarity with the social signals of what entry is permitted or forbidden makes the law clear enough that most people
don't fear arrest in their everyday activity. The nature of the space provides one set of messages, norms about the
intended purpose of different means of access provide even more detailed guidance, and access controls within the zone
of permission delegated by property owners provide an additional layer of rules.


II. THE NORMS OF COMPUTER TRESPASS

The Internet has its own kind of trespass law that closely resembles its physical-world cousin. In cyberspace, the relevant
law is found in computer misuse statutes such as the CFAA. 44 The CFAA and its state equivalents ban unauthorized
access to a computer. 45 At a broad level, the purpose of those statutes is easy to describe: Unauthorized access statutes
are computer trespass statutes. 46 Applying the new statutes requires translating *1154 concepts of trespass from
physical space to the new environment of computers and networks. But as courts have found, understanding the concept
of authorization to computers ends up being surprisingly hard. 47 The courts are divided, with many courts struggling
to apply this simple-seeming concept. 48

The norms-driven nature of physical trespass law explains why courts have struggled to interpret computer trespass laws.
The trespass norms of physical space are relatively clear because they are based on shared experience over time. The
Internet and its technologies are new, however, and the trespass norms surrounding its usage are contested and uncertain.
When faced with an authorization question under a computer trespass law, today's judges bring to mind the Martian
from outer space considering how traditional trespass laws might govern trespass into a home. Without established
norms to rely on, the application of a seemingly simple concept like “authorization” becomes surprisingly hard.

This section develops three lessons for interpreting authorization in computer trespass statutes that follow from the
norms-based nature of trespass law. First, the meaning of authorization will inevitably rest on the identification of
trespass norms, which will in turn rest on models and analogies. Second, Internet technology is sufficiently new, and
the norms of computer trespass sufficiently unsettled, that judges applying computer trespass law must not just identify
existing trespass norms, but must identify as a policy matter the optimal rules that should govern the Internet. And
third, despite these challenges, trespass provides a sensible framework for regulating computer misuse and courts have
the ability to identify and apply the norms for computer trespass within the framework of existing laws.


A. The Inevitability of Norms in Computer Trespass Law

The first lesson is that the meaning of authorization in computer trespass laws inevitably rests on the identification
of proper trespass norms. Like their physical-world cousins, computer trespass laws feature unilluminating text. They
prohibit unauthorized access to computers just like physical trespass laws prohibit unlicensed entry to physical spaces.
In both contexts, the meaning of the law must draw from social understandings about access rights drawn from different
signals within the relevant spaces. Courts must identify the rules of different spaces based on understandings of the
relevant trespass norms.

It's no surprise that litigation over computer trespass laws often triggers a battle of physical-space analogies. The
government, seeking a broad reading of the law, will push analogies to physical facts that trigger strict norms. The
defense, seeking a narrow reading of the law, will push analogies *1155 to physical facts that implicate loose norms.
The battle of analogies happens not because it is inevitable that we analogize cyberspace to physical space, 49 but rather
because authorization inevitably rests on trespass norms. Litigants will use analogies from physical spaces with the
trespass norms that best aid their side.



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Consider the recent litigation in United States v. Auernheimer. 50 Auernheimer had been convicted of unauthorized access
for using a software program that collected information from an AT&T website at hard-to-guess addresses intended
to be kept private. 51 On appeal to the Third Circuit, the government's brief analogized the website to a home where
trespass norms are at their zenith. Use of the program was a computer trespass, the government argued, because a
physical trespass occurs “when an unauthorized person enters someone else's residence, even when the front door is left
open or unlocked.” 52 In contrast, the defense analogized the website to a public space where trespass norms are at their
nadir. Use of the program was not a trespass, the defense argued, because putting information on a website “ma[d]e the
information available to everyone and thereby authorized the general public to view the information.” 53 Each analogy
aimed to import a set of physical-world norms. 54


B. Because Computer Trespass Norms Are Unsettled, Courts Should Identify the Best Norms to Apply

The conflicting analogies found in computer trespass cases highlight the biggest difference between applying physical
trespass and computer trespass laws: Computer trespass norms remain uncertain. Understandings of access rights
surrounding the home are ancient, while understandings of access rights in computer networks are not. The statutes came
first, and the statutory prohibition on unauthorized access has remained fixed while computer network technology has
advanced at astonishing speed. In this environment, courts cannot merely identify existing norms. Instead, they should
make a normative policy decision about what understandings should govern the Internet. Judicial decisions will then
shape future computer trespass norms, allowing appropriate norms to emerge with the help of the courts.

*1156 To appreciate the problem, consider the rapid evolution of Internet technologies. The Internet itself is less than
fifty years old. 55 The World Wide Web is only about twenty years old. 56 The experience of using the Internet morphs
quickly. Fifteen years ago, connecting to the Internet meant logging on from a desktop computer at work or perhaps
using a dial-up connection from home. Today, connecting to the Internet is very different. Wireless connections have
become the norm, allowing anyone to access the Internet from almost anywhere. And in just the last five years, the rise
of the “smart phone” has brought the Internet to a light hand-held device that most adults leave on 24/7 and carry with
them in their pockets and purses. 57

The programs we use to access the Internet also change rapidly. A majority of Americans now have a Facebook account,
and about seventy percent of account holders visit Facebook every day. 58 But Facebook wasn't even invented until
2004, 59 and it already has become passé among teenagers who have moved on to Instagram (launched in 2010 60 ) and
Snapchat (launched in 2011 61 ). 62 Or consider the popular Apple iPhone introduced in 2007. 63 The iPhone popularized
the phrase “there's an app for that” 64 for the new applications, or “apps,” that the phone can run. Apple's *1157 iTunes
App Store has more than 1.5 million apps available already, 65 and about 1,000 new apps are submitted for approval
every day. 66 Even the specific programs we use change over time. Regular updates and improvements are the norm,
with new versions often adding features that can substantially change the user experience.

The problem is not just technological. The lawyers have stepped in, too. Companies often hire counsel to write detailed
terms of use that purport to say when access is permitted. 67 These written contractual limitations can be extremely
restrictive, 68 often creating a clash between what the technology allows a user to do and what the language of the terms
says is allowed. In that case, what governs: the technology or the language? Amidst this rapid technological change,
courts cannot merely invoke existing trespass norms to interpret authorization to access a computer. It's not clear any
widely shared norms exist yet.




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Deferring to jury verdicts is not workable, either. Trial courts have often used jury instructions that either leave
authorization undefined or else tell the jury, unhelpfully, that access is unauthorized when it is without permission. 69
A study by Matthew Kugler suggests that this leads to verdicts far beyond whatever trespass norms may emerge. 70
Kugler surveyed 593 adult Americans by asking them to review short descriptions of the facts of several CFAA cases. 71
Respondents were asked to what extent the computer user had “authorization to use the computer” in the way *1158 he
did, measured on a scale of one (not at all) to six (very much). 72 The study then asked respondents to assign the proper
punishment for the act, with respondents choosing among four options: no punishment at all; punishment akin to a
parking ticket, punishment for a minor crime such as petty theft, and punishment for a major crime such as burglary. 73

Kugler's survey suggests that lay opinion about when use is “authorized” differs considerably from trespass norms. In
most of the scenarios, respondents viewed the computer use as unauthorized. Mean values of authorization ranged from
a low of 1.43 (for an employee who used his employer's computer to sell employer trade secrets) to a high of 2.32 (for an
employee who used his employer's computer to check the weather report for personal reasons). 74 But these evaluations
had little connection to the respondents' evaluations of what should be criminal. For example, although checking the
weather report from work was generally considered unauthorized, sixty percent thought it should not be punishable at all
and another thirty-two percent concluded that it should only be punished like a parking ticket. 75 Where clear trespass
norms exist, we would expect most to say that violating them should subject the trespasser to at least some criminal
punishment. Kugler's results suggest that lay judgments of authorization probably do not accurately measure trespass
norms, at least to the extent such norms now exist.

Courts must instead decide between competing claims for what the trespass norms should be, imposing an answer as
a matter of law now rather than allowing them to develop organically. One plausible response from courts could be to
refuse to go along. If the law rests on unknown norms, perhaps courts should strike down unauthorized access statutes
as unconstitutionally void for vagueness--or at least construe them narrowly in light of the vagueness concerns they
present. 76 I have argued that position before, 77 and it retains significant force. However, the alternative path is for
courts to draw lines based on the normatively desirable rules and standards that should govern Internet use. In the
interim period before norms emerge, courts can identify the best rules to apply as a matter *1159 of policy. Judicial
decisions in the near term can influence norms in the long term.


C. Trespass Law Provides the Appropriate Framework to Resolve Computer Misuse, and Courts Can Meet the Challenge

It is worth asking whether trespass provides the right framework to apply and if judges are up to the task. I think the
answer to both questions is yes. Trespass provides an appropriate framework because it implies an essential balance.
On one hand, protecting online privacy requires recognizing some boundary that individuals cannot cross. On the other
hand, preserving the public value of the Internet requires identifying uses that individuals can enjoy without fear of
criminal prosecution. Some cases are easy. Everyone agrees that guessing another person's password to access his private
email without his permission should be considered a criminal invasion of privacy. Similarly, everyone agrees that visiting
a public website with no access controls or written restrictions should be legal. The trespass structure is sensible. The
real challenge is applying it.

I am optimistic that courts can identify and apply computer trespass norms using existing statutes. The very first federal
appellate case on the meaning of authorization in the CFAA, United States v. Morris, 78 shows why. Morris offers an
early example of how courts can identify norms of computer trespass using the same three inquiries that govern trespass
in the physical world: the nature of the space, the means of entry, and the context of entry.




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In the fall of 1988, Robert Tappan Morris, a computer science graduate student, crafted and released a program often
called “the Internet worm.” 79 Morris designed the worm to reveal the weak computer security in place on the Internet. 80
First, the program exploited what the court called a “hole or bug (an error)” in three different software programs. 81
And second, the program guessed passwords, “whereby various combinations of letters are tried out in rapid sequence
in the hope that one will be an authorized user's password.” 82 Morris sent the worm from a computer at MIT, and it
quickly spread around the world. 83 Morris was then charged with and convicted of “intentionally access[ing] a Federal
interest computer without authorization.” 84

 *1160 On appeal, the Second Circuit affirmed the conviction. Writing for the court, Judge Jon Newman found three
reasons why the access was without authorization. First, the evidence at trial demonstrated “that the worm was designed
to spread to other computers at which he had no account and no authority, express or implied, to unleash the worm
program.” 85 Second, the worm exploited security flaws in software commands. “Morris did not use either of those
features in any way related to their intended function.” 86 Instead, Morris “found holes in both programs that permitted
him a special and unauthorized access route into other computers.” 87 Finally, the worm also guessed passwords,
rendering access to those accounts unauthorized. 88

Judge Newman's brief explanation of why the Internet worm had accessed computers without authorization contains all
of the ingredients for the proper way to think about computer trespass. First, Morris addressed the nature of the virtual
space. Although the computers were connected to each other, access was limited to (and based on) private accounts. A
user needed an officially sanctioned account to access that particular machine. Much like houses on a row in a suburban
street, the computers were linked to each other but required a key or special permission to jump from the inside of one
to the inside of another.

Second, Morris focused on the means of entry. None of the programs, used as intended, were ways of gaining access
to a private account. But the Internet worm exploited security flaws by using “holes” and “bugs” in the programs that
permitted “special access” in a way that was contrary to the “intended function” of the commands. 89 Instead of gaining
access through the virtual front door, the worm gained access by exploiting security flaws: It broke in through an open
window instead. It gained entrance through a bug, not a feature.

Third, the Morris opinion focused on the context of entry. When the Internet worm accessed a private account with a
password, it did so only by guessing that password. 90 Here the analogy to physical entry seems intuitive. Guessing a
password is like picking a physical lock. A successful guess provides access, just like a successful lock pick does. But
the access is not authorized because it does not come directly or indirectly from the property owner. The trespass norm
governing locks is that access is permitted only to those who have been granted the key in a delegation of permission
beginning with the owner. Password guessing is outside the norm and therefore unauthorized.

 *1161 Morris provides a helpful model for how courts can adopt sensible and clear computer trespass norms even when
faced with new facts. A quarter century later, courts can follow the Morris example. The remaining Parts offer more
specific guidance on how courts can do that for important cases that arise in the context of the Web, as well as blocked,
canceled, and shared accounts.


III. NORMS OF THE WORLD WIDE WEB

Many tricky questions interpreting computer trespass statutes involve use of the World Wide Web. The Web did not
exist when Congress enacted the CFAA. 91 But it has quickly become an important--if not the most important-- way
people use the Internet. Identifying the trespass norms of the Web is difficult because there are two competing narratives



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in play. On one hand, the World Wide Web is open: By default, anyone can go to any website. On the other hand, website
owners frequently put up speed bumps, barriers, and caveats to access that range from hidden website addresses and
terms of use to limiting cookies and banning IP addresses. 92 The hard question is this: When should use of the Web in
the face of such efforts render the use unauthorized?

This Part argues that courts should adopt presumptively open norms for the Web. The nature of the space is inherently
open. Courts should match the open technology of the Web by applying an open trespass norm. Limited efforts to
regulate access such as terms of use, hidden addresses, cookies, and IP blocks should be construed as merely speed bumps
rather than virtual barriers. None of these methods should overcome the basic open nature of the Web. Access that
bypasses these regulations should still be authorized.

The authorization line should be deemed crossed only when access is gained by bypassing an authentication requirement.
An authentication requirement, such as a password gate, is needed to create the necessary barrier that divides open
spaces from closed spaces on the Web. This line achieves an appropriate balance for computer trespass law. It protects
privacy when meaningful steps are taken to seal off access from the public while also creating public rights to use the
Internet free from fear of prosecution. 93


*1162 A. The Inherent Openness of the Web

The first step in applying computer trespass law to the Web is to identify the nature of the space that the Web creates. The
Web is a publishing protocol for the Internet. It allows anyone in the world to publish information that can be accessed
by anyone else without requiring authentication. When a computer owner decides to host a web server, making files
available over the Web, the default is to enable the general public to access those files. A user who surfs the Web enters
an address into the prompt at the top of the browser, directing the browser to send a request for data. 94 If the address
entered is correct, the web server will respond with data that the user's browser then reassembles into a webpage. 95

This process is open to all. The computer doesn't care who drops by. By default, all visitors get service. In the language
of the computer science literature, there is no authentication requirement. 96 A visitor might be any one of the billion
or so Internet users around the world. For that matter, the visitor doesn't need to be a person. It could be a “bot,” a
computer program running automatically. It could even be a dog, as the famous New Yorker cartoon reminds us. 97
Because there is no authentication requirement, the web server welcomes all, and the norm is openness to the world.
Access is inherently authorized.

The open nature of the Web is no accident; it is a fundamental part of the Web's technological design. From its inception
in 1969, the creators of the Internet used “Requests for Comments” (RFCs) to describe the basic workings of different
Internet protocols. 98 The Internet Engineering *1163 Task Force later took over the task of crafting RFCs, and they
stand as the definitive technical discussion of the intended function of different Internet applications. Think of them as
computer-geek manuals for how the Internet works. The RFCs for the Web are RFC1945 and RFC2616. 99 They teach
how the Web works, or more specifically, they teach how “Hypertext Transfer Protocol” (HTTP) works; 100 HTTP is
one of the foundational protocols controlling data transfer between web servers and clients. And a quick review of the
RFCs for the Web shows its inherently open nature.


RFC1945 and RFC2616 describe the protocol used for the Web as “a generic, stateless, object-oriented protocol” 101 for
“distributed, collaborative, hypermedia information systems.” 102 The means of operation are general and open. The
Web works by allowing anyone to make a request for a webpage. As summarized in the RFCs, “[a] client establishes a
connection with a server and sends a request to the server in the form of a request method, URI, and protocol version,



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followed by a MIME-like message containing request modifiers.” 103 In English: Anyone can send a request without any
authentication. And then, “the server responds with a status line, including the message's protocol version and a success
or error code, followed by a MIME-like message containing server information, entity metainformation, and possible
body content.” 104 Again, in English, the server responds to anyone who has made the request.

The protocols of the Web make websites akin to a public forum. To draw an analogy, websites are the cyber-equivalent
of an open public square in the physical world. A person who connects a web server to the Internet agrees to let everyone
access the computer much like one who sells his wares at a public fair agrees to let everyone see what is for sale. Sellers
who want to keep people out, backed by the authority of criminal trespass law, shouldn't set up shop at a public fair.
Similarly, companies that want to keep people from visiting their websites shouldn't connect a web server to the Internet
and configure it so that it responds to every request. By choosing to participate in the open Web, the website owner must
accept the open trespass norms of the Web.


B. Authorized Access on the Web

Although the Web is open by default, website operators often place limits and restrictions on access to information. The
challenge for courts *1164 is to distinguish provider-imposed restrictions and limits that are at most speed bumps (that
cannot trigger trespass liability) from the real barriers to access (that can). In my view, an authentication requirement
draws the proper line. When a limit or restriction does not require authentication, access is still open to all. The limit
should be construed as insufficient to overcome the open nature of the Web. On the other hand, access that bypasses
an authentication gate should, under proper circumstances, be deemed an unauthorized trespass. An authentication
requirement provides a clear and easy-to-apply standard that both protects privacy and carves out public-access rights
online.

A decade ago, I argued that unauthorized access should be limited to access that circumvents “code-based restrictions,”
which I defined as ways of tricking the computer into “giving the user greater privileges” when “computer code” has
been used “to create a barrier designed to block the user from exceeding his privileges on the network.” 105 With the
benefit of hindsight, that formulation was vague. Trying to figure out when access circumvented a code-based restriction
proved harder than I predicted. I now see that the more precise way to formulate the standard is that unauthorized access
requires bypassing authentication. The key point is not that some code was circumvented but rather that the computer
owner conditioned access on authentication of the user and the access was outside the authentication. This section covers
examples of limits and restrictions on access that do not require authentication and should not trigger trespass liability.

Begin with a relatively simple case. Access to a website should be authorized even if the webpage address is not
published or is not intended to be widely known. This issue arose in United States v. Auernheimer, in which the federal
government charged the defendant with violating the CFAA by using a webscraper that queried website addresses that
the computer owner, AT&T, had not expected people to find. 106 The website addresses queried were very difficult to
guess because they ended in a long serial number. The defendant helped design a program to guess the numbers and
collected information from over 100,000 website addresses. 107


Had the Third Circuit reached the question, 108 it should have held that these website visits were authorized because the
website had imposed no authentication requirement. The open norm of the Web still governed. Content published on the
Web is open to all. Because the Web allows anyone to visit, a website owner necessarily assumes the risk that information
published on the Web will be found. A hard-to-guess URL is *1165 still a URL, and the information posted at that
address is still posted and accessible to the world. Accessing the URL does not violate a trespass norm because all users
are implicitly invited to access a publicly accessible address.




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This conclusion is bolstered by the social value and ubiquitous nature of websurfing together with the severity and chilling
effect of criminal punishment. We think, and therefore we Google. Courts should not lightly conclude that visiting an
unwelcome URL should subject a person to arrest by federal agents and the potential for jail time. That is a particularly
sensible approach because what looks like a hard-to-guess URL to a person may not seem hard to guess for a computer.
To a computer, an address is an address. Even complicated addresses are easy for computers to find. Consequently,
there is no workable line between an “easy” URL that can be accessed and one so hard to guess that access is implicitly
forbidden.


The open understanding of the Web should also control access that violates terms of use. 109 Many websites come
with terms of use that may on their face say when users are permitted to access the website. 110 The conditions can be
arbitrary. One site might say that users must be eighteen years old to visit; another might say that users must agree
to be polite. 111 Such terms should not be understood as controlling authorization. Access regulated only by written
terms is not authenticated access. Everyone is let in, just subject to contractual restrictions. Such written terms should
be understood as contractual waivers of liability rather than barriers to access.

This understanding is backed by the understandings of most website owners and users. Lawyers draft terms of use to
minimize liability. 112 Broad terms allow computer owners to take action against abusive users and show good faith
efforts to stop harmful practices occurring on the site. 113 True, terms of use may be drafted by lawyers to read like
limitations on access. But companies do not actually expect the many visitors to otherwise-public websites to comply
with the terms by keeping themselves *1166 out. 114 And because terms can be arbitrary, violating them implies no
culpable conduct. 115 If a public website has terms prohibiting access by people who are left-handed and enjoy opera, a
left-handed opera lover who visits the site anyway does not deserve arrest and jail time.

This understanding is also backed by the experience of most computer users. Studies suggest that very few Internet users
read terms of use. 116 (For the record, I don't.) Few users could understand them if they tried. Terms of use are often
lengthy and filled with legalese. 117 The terms can be hard to find and difficult to interpret. Such terms don't restrict
access to a computer any more than a standard waiver of rights on the back of a baseball game ticket could control rights
to enter the ballpark. Violating the terms on the ticket might change your legal rights to sue the ballpark if something
goes wrong, but it doesn't make your entry to the ballpark a trespass. Similarly, violating terms of use while accessing
a website should not render the access a computer trespass.

The same rule should apply to the use of cookies to record prior visits and prompt paywalls. Cookies are pieces of code
that websites can place on a browser to customize the user's experience. 118 Websites can use cookies to prompt repeat
visitors to subscribe rather than visit for *1167 free. Consider the popular New York Times website, nytimes.com.
When you visit the Times website, it places a cookie on your browser that records the visit. 119 The cookie allows the
Times to meter access: If a browser is used to visit more than ten stories on the site in a month, the website brings up
a screen blocking the reading of additional articles. 120 The point of the block is to pressure frequent readers to buy
a subscription. But what if a reader regularly clears out his browser, which erases the cookie and enables unlimited
access? 121 Is accessing the site after clearing out the browser unauthorized?

The answer should be that access enabled by erasing cookies is still authorized. Browsers are designed to give users
control over what cookies are stored on their browsers. 122 Such cookies do not authenticate users: They merely allow
users to customize their browsing experience. Users can accept cookies, reject cookies, or clear out the cookies kept in
their browsers as often as they like. 123 They can use different browsers or different computers. As a result, user control
of cookies is an expected and common way to use the Internet. They do not really limit access to computers; they only



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complicate access to the text of particular stories. Access limitations based on cookies are at most speed bumps rather
than barriers. Instead of keeping people out, cookies-based barriers only impose enough of a hassle to encourage some
users to buy a subscription. 124 Only the most unsophisticated users will see cookies as a barrier, and it will only be
because they don't yet understand how cookies work. 125


A more difficult case is raised by IP address blocking, which was the issue in Craigslist v. 3Taps. 126 Every device
connected to the Internet has *1168 an IP address, which is a number that represents the Internet address of that
device. 127 Web servers communicate with users on the Internet by receiving requests and sending data to them at their
IP addresses. In 3Taps, the defendant business scraped ads from Craigslist and republished them on its own website. 128
Craigslist responded by sending 3Taps a cease-and-desist letter and by blocking the IP addresses associated with 3Taps's
computers. 129 3Taps changed its IP addresses to circumvent the

        IP block. Judge Charles Breyer ruled that 3Taps's access was an unauthorized access under the CFAA
        because “[a] person of ordinary intelligence would understand Craigslist's actions to be a revocation of
        authorization to access the website.” 130 Judge Breyer explained: IP blocking may be an imperfect barrier
        to screening out a human being who can change his IP address, but it is a real barrier, and a clear signal
        from the computer owner to the person using the IP address that he is no longer authorized to access the
        website. 131




Judge Breyer is wrong. Understood in the context of the open Web, an IP block is not a real barrier. A user's IP address
is not fixed. For many users, the IP addresses of their devices will change periodically during normal use. 132 Using
multiple computers often means using multiple IP addresses. A person might surf the Web from his phone (using his
cell phone's IP address), from his laptop at home (using his home connection's IP address), and from work (using the
company's IP address). Users also can easily change their IP addresses if they wish. For some users, turning on and off
their modems at home will lead their IP addresses to change. 133 For more sophisticated users, accessing the Web using
Tor or a virtual private network allows them to change their IP addresses with the click of a button. 134 There is nothing
untoward or blameworthy about using different IP addresses. It is a routine part of using the Internet.

Because of these technical realities, bypassing an IP block is no more culpable than bending your neck to see around
someone who has temporarily blocked your view. To be sure, an IP block indicates that the computer *1169 owner
does not want at least someone at that IP address to visit the website. But that subjective desire is not enough to establish
a criminal trespass in light of the open nature of the Web. A computer owner cannot both publish data to the world and
yet keep specific users out just by expressing that intent. It is something like publishing a newspaper but then forbidding
someone to read it. Publishing on the Web means publishing to all, and IP blocking cannot keep anyone out. Merely
circumventing an IP block does not violate trespass norms.


A particularly tricky case is access that circumvents a CAPTCHA, an issue that arose in United States v. Lowson. 135
CAPTCHA is an acronym for “Completely Automated Public Turing test to tell Computers and Humans Apart.” 136
You have probably seen CAPTCHAs when buying tickets online or posting online comments. The website presents you
with an image like this requiring you to type in the words before you can proceed: 137


FIGURE 1: CAPTCHA EXAMPLE

TABULAR OR GRAPHIC MATERIAL SET FORTH AT THIS POINT IS NOT DISPLAYABLE



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The purpose of the CAPTCHA, as the full name suggests, is to allow humans in but to block computer “bots” that can
make thousands of automated requests at once. 138

The interesting question is whether use of an automated program to bypass the CAPTCHA by guessing or reading
the words is an unauthorized access. The question is difficult because the technology shares some characteristics of
a traditional authentication gate but not others. Like a password gate, it requires a code to be entered; but unlike a
password gate, it presents the code to the user. Although it's a close case, I think the better answer is that automated
bypassing of a CAPTCHA is not itself an unauthorized access. Although the CAPTCHA looks like a password gate, it
does not operate like one. The site tells everyone the password. It invites all to enter.

 *1170 It is tempting to think that a CAPTCHA authenticates users as people instead of bots. But a “bot” request is
still ultimately a request from a person. It is merely an automated request, with the person who used the software still
responsible. That person could gain access and bypass the CAPTCHA manually by visiting the page and typing in the
string of numbers that appear. As a result, a CAPTCHA is best understood as a way to slows a user's access rather than
as a way to deny authorization to access. The CAPTCHA is a speed bump instead of a real barrier to access. Courts
should hold that automated access is not a trespass merely because it bypasses a CAPTCHA.

Finally, it is worth considering the business implications of my proposed trespass rules. The examples in this section
mostly involve businesses that might try to control customer use of their computers for business reasons. A ticket seller
might use a CAPTCHA to limit scalpers, for example, just like the New York Times might use cookies to encourage
readers to purchase subscriptions. That raises a fair question: If courts hold that these methods do not constitute a
trespass, would that prevent businesses from using these methods--and if so, is that a policy reason to adopt different
trespass norms?

The answer is that criminal trespass liability is unlikely to impact business strategies. Companies can already use civil
contract law, based on terms of use, to set legal limits on how visitors use their websites. 139 Companies may not want to
enforce those limits for a range of reasons. 140 But at least as a matter of law, often they can. 141 The scope of computer
trespass laws implicates a different question: not just what user conduct is legal but what user acts are criminal. As a
practical matter, it's hard to imagine a company using a business model that depends substantially on the prospect of
the police arresting and prosecuting customers who circumvent speed bumps designed to regulate website use. Jailing
customers for using a website isn't likely to be a good business strategy. It is telling that when the government has pursued
aggressive criminal charges under the CFAA for use of websites, it has often been without the support of the companies
claimed as victims. 142


*1171 C. Unauthorized Access on the Web and the Authentication Requirement

In contrast to the examples above, bypassing an authentication requirement should trigger liability for computer trespass.
Even open spaces often have closed subspaces. Like a store open to the public in the front but for employees only in
the back, the Web can have real barriers through which access violates trespass norms and is unauthorized. This moves
the norms question from the first inquiry of the nature of the space to the second inquiry of the types of permitted
entry. What counts as a real barrier on the Web, and what ways of overcoming those barriers are authorized? When a
user bypasses an authentication requirement, either by using stolen credentials or bypassing security flaws to circumvent
authentication, access should be considered an unauthorized trespass. This standard harnesses criminal law to protect
privacy when network owners use technical means to enable access only to specific authenticated users.

The basic principle of authentication is probably intuitive to most Internet users. Every Internet user is familiar with
the notion of an account that limits access. The requirement of credentials to identify the user is an authentication
requirement. 143 When access to a computer requires an account, the user must register and obtain login credentials such


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as a username and password. Before allowing the user to access specific information, the user must establish that he is
someone with special rights to access the account. A user who cannot satisfy the authentication requirement is blocked
from access. The account structure imposes an access control that separates the insiders with accounts from outsiders
without them. Because only the account holder should be able to satisfy the authentication requirement, the world--
minus one user--is blocked. An authentication requirement creates a technical barrier to access by others. It carves out
a virtual private space within the website or service that requires proper authentication to gain access.

Authentication requirements should be understood as the basic requirement of a trespass-triggering barrier on the Web.
By limiting access to a specific person or group, the authentication requirement imposes a barrier that overrides the
Web default of open access. The norm shifts from open to closed. At that stage, the emphasis shifts to means of access.
 *1172 Much like with a physical key to a door, access is authorized to the person who was given the password. On
the other hand, as the Morris court noted, gaining access by guessing a password is just like picking a lock; both lack
authorization. 144

Exploits that circumvent authentication mechanisms or otherwise “break in” to systems are similarly unauthorized.
Morris is again instructive. Access enabled by an exploit that uses a command in a way contrary to its intended function is
unauthorized, much like entering through a window or a chimney in the physical world. For example, hacking techniques
such as SQL injection attacks are unauthorized and illegal. 145 A Structural Query Language (SQL) injection attack is
executed by attaching special extra language to the end of a web request. 146 Some web servers are misconfigured so that
this extra language will execute a command on the web server rather than return a webpage. 147 The special command
can provide access to the private database on the web server rather than just the pages to be published, providing the
attacker with means to retrieve, alter, or delete the data. 148 Although a hacker using an SQL injection attack executes the
injection by entering a command into a web browser--just like one would enter a username or password--the act exploits
a security bug or hole just like the SENDMAIL flaw used in Morris. Access using an SQL injection is unauthorized for
the same reason. An SQL injection attack is contrary to the intended function of the web browser: It violates the trespass
norms surrounding the proper means of access to information on the server.

Importantly, the application of trespass norms can be technologically arbitrary even if they are socially meaningful.
Consider the role of session cookies and persistent login cookies, which are browser cookies generated on a user's web
browser during a typical login process to a website. 149 The website generates a long number associated with that login
and passes the information back to the user's browser, with instructions for the browser to store it as a cookie. 150 When
the user subsequently visits the website, the browser passes along the unique session-cookie value back to the website.
Websites then use this information to automatically log in the user. You have likely benefited from these cookies when
using web-based email, Amazon, or Facebook. After not visiting the page *1173 for a few minutes or even a few days,
you can go back to the website and it will automatically log you in. The website does this by reading your stored login
or session cookie and matching it to an ongoing known login session. 151

Now consider how computer trespass principles might apply to access made by hijacking such information. Imagine a
third party intercepts a login cookie sent over the Web, loads it into his own browser, and visits the website. Use of the
cookie will automatically log the third party into the user's email or Facebook account without the user's permission or
knowledge. Is the third-party access authorized because it was obtained merely by sending on a specific cookie value as
part of the browser's web request? Or is it unauthorized because it does so in a way that bypasses an authentication gate?

Unauthorized use of a persistent login cookie should be considered a violation of trespass norms. The cookie acts as
a temporary password, tied to the user's permanent password, that identifies the account and provides access to it. It
circumvents the password gate in exactly the same way that entering the permanent username and password would. The
fact that the cookie is sent by the browser, which is normally an environment controlled by the user for the user's benefit,



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should not lead to a different result. This kind of cookie is an exception to the usual rule because it is a password; the
embedding of the password in the browser does not change its function as a password.

The lines here are subtle, to be clear. Recall the Auernheimer case, where the information posted on a website was available
only at a hard-toguess website address. 152 The difference between a hard-to-guess website address, which should not
act as an authentication gate, and a hard-toguess session cookie, which should, is a matter of social understanding rather
than technology. We can draw plausible lines about what acts as a password, but at some level the differences will boil
down to shared understandings that some information is part of a public address while other information is a unique
identifier. In close cases the technological arbitrariness is inevitable, as trespass norms are ultimately shared views about
what invades another's private space and what doesn't. Technology alone cannot provide the answer. 153


*1174 IV. CANCELED, BLOCKED, AND SHARED ACCOUNTS

The next set of questions asks how computer trespass statutes should apply to canceled, blocked, and shared accounts.
These questions implicate the third way that norms control trespass, the identification of norms governing the context
of permitted access. At this stage, authentication clearly implicates trespass liability. If a stranger guesses a victim's
username and password and enters those credentials to access her account without permission, that access is plainly
unauthorized. 154 On the other hand, if the user enters her own credentials to access her own private account, that access
is authorized. The hard cases lie between these two poles.

The gray area involves three basic problems. First, a computer owner might revoke the user's right to access an account
but not close the account. If the credentials still work, and the user continues to access the account using them, is that
access authorized or unauthorized? Second, a computer owner might cancel access to a user's account, and the user
might then respond by creating a new account on the same system unbeknownst to the owner. Is use of the new account
authorized or unauthorized? Third, an account holder might share her username and password with a third party who
accesses the account. Is the third-party access authorized because it was by permission of the account holder, or is it
unauthorized because it was not actually accessed by the account holder? In these cases, the law must grapple with how
authorization norms apply when account rights are terminated, modified, or shared with others.

This Part attempts to answer all three questions using the principle of authentication. As explained in Part III,
authentication of a user authorizes the user to access the account but makes access by others unauthorized. The trespass
norm should aim to preserve that delegation of authority. Again, the goal is to achieve an optimal balance. Overly
restricting delegations would prevent beneficial uses of networks by authenticated users. On the other hand, permitting
authenticated users to further delegate authority, or to ignore withdrawals of delegation, would nullify the owner's power
to designate who can access the network. Applying this approach suggests three rules. First, suspending an account
withdraws authorization to access the account. Second, a suspension may or may not signal that access to additional
accounts is prohibited. Finally, use of shared passwords should be permitted only when the third party access is within
the scope of agency of the authenticated user.

This Part concludes by discussing the role of mental states, or mens rea, on computer trespass liability. When
authorization hinges on the context of access, the user often will not know the facts that determine whether access was
authorized. In that context, the statutory requirement *1175 that unauthorized access must be intentional or knowing
plays an important role in narrowing criminal liability.


A. Canceled Accounts

The first issue is how trespass laws should apply when the authority to use an account has been revoked but the
user accesses the account anyway. The answer should come from an understanding of what authentication means. By


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permitting an account that requires authentication, the computer owner should be understood to have delegated access
rights to the authenticated user. The authenticated user has permission to access the account so long as the computer
owner grants the account. The trespass norm should be to preserve that delegation. Preserving the delegation achieves
the same dual goals as the authentication requirement provided in Part III. It enables use of computers (here, accounts
held by authorized users) while affording them appropriate space to use their delegated accounts without fear of criminal
prosecution for trespass.

Under this standard, the owner's revocation of the right to use an authenticated account revokes authorization. When
the computer owner communicates the revocation to the user, the delegated authority ends. Subsequent account access
violates trespass norms; it should be understood as entering a space where the user is no longer welcome. Because
authority to use an authenticated account should exist only inside the zone of delegated power, ending the right to access
the account should end the delegated right and end the authorization.


Courts have so far adopted this approach, as the Fourth Circuit's decision in United States v. Steele 155 demonstrates.
Robert Steele worked as a backup system administrator at a business named SRA, and for work purposes he created a
backdoor account that gave him access to SRA's network files. 156 After he resigned, Steele continued to use the account
to access SRA's network. The Fourth Circuit ruled that “the fact that Steele no longer worked for SRA when he accessed
its server logically suggests that the authorization he enjoyed during his employment no longer existed.” 157 Having left
the company, Steele's rights to access the account were revoked: “Just because SRA neglected to change a password on
Steele's backdoor account does not mean SRA intended for Steele to have continued access to its information.” 158

 *1176 This approach implies a distinction between the rules that should apply to a user who violates terms of use and a
user whose account is suspended for violating terms of use. Recall that a user who violates terms of use is not committing
an unauthorized access. 159 On the other hand, I argue here that a user whose account is revoked for violating terms of
use but uses the banned account anyway is guilty of trespass. The distinction is justified because violating terms of use
merely provides legal justification for revocation if the website owner chooses to do so. When a website owner authorizes
an account for a user, the user has access rights unless the account is actually revoked. The authority is delegated by the
issuing of the account and withdrawn by its revocation, so the act of revocation is needed to undo the act of granting
the account.


B. New Accounts Following the Banning of an Old Account

Next imagine that the computer owner cancels or blocks the account but the user can readily sign up for a new one.
Imagine Gmail suspended your email account for violating Gmail's terms of use and you want to open another Gmail
account the next day or the next year. Does the company's blocking the first account deny authorization to set up a
second account? Or is the user free to start again after having been blocked once--or twice, or three times, or even
hundreds of times?


This problem arose in the controversial case of United States v. Swartz. 160 The Internet activist Aaron Swartz created
a guest account on MIT's network and used it to download a massive number of academic articles to his laptop. 161
Network administrators canceled the guest account in response; Swartz created a new guest account. 162 When system
administrators blocked access through the new guest account, Swartz then figured out a way to circumvent guest-account
registration: He found a closet in the basement of one of MIT's buildings that stored the server, entered it, and hard-
wired his computer to the network. 163 He then assigned himself two new IP addresses from which he could continue
 *1177 his access. 164 The question was, did having been blocked with an account once mean that subsequent efforts
to obtain access were unauthorized?



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As before, the legal line should track the delegation of authority implied by authentication. The application of that
principle is trickier, however, because the revocation of delegated authority is less obvious. When anyone can open an
account, there is an implicit delegation to anyone who registers for a new account. In some contexts, a single act of
blocking does not imply a total and permanent revocation. In other contexts, it does. For example, a user who has an
account suspended for misconduct may be perfectly welcome to start again with a new account on the understanding that
no further misconduct continues. On the other hand, users who are repeatedly banned eventually must get the message
that they are not welcome.

The key question should be the objective signal sent by the banning or suspension, which will in some contexts allow the
user to create a new account but in other contexts won't. When the ban would be reasonably interpreted as “don't do
that,” creating a new account and using it properly is authorized. When the ban would be reasonably interpreted as “go
away and never come back,” creating another account is unauthorized. In the Swartz case, for example, access would
have been unauthorized by the time Swartz entered the closet to circumvent IP registration. Having had his accounts
blocked multiple times by MIT's system administrators for violating the rules on MIT's network, Swartz had received
clear signals that he was no longer welcome to create another account to continue the same conduct.

This approach once again ends up drawing a subtle distinction. Recall my earlier conclusion that an IP block is
insufficient to trigger trespass liability. 165 Circumventing an IP address ban is permitted and authorized. At the same
time, I am arguing here that if the computer owner requires an account to access a computer and then bans the account,
circumventing that ban might not be authorized if the context can be interpreted as a complete ban. Is there really a
difference? I think there is. Everyone can visit a public website, while not everyone can have the privilege of an account.
By creating the access control of an account regime, the computer owner takes control of who can access it by making
individualized decisions about specific accounts. A suspended account is not just a speed bump. It's a block to using that
account and a potential signal about opening another one. The rules governing the two cases should be different.


*1178 C. Password Sharing

The last and most difficult issue is identifying trespass norms that should govern shared passwords. Consider the facts
of United States v. Rich. 166 A financial-services company, LendingTree, sold valuable access to financial information
on its website to customers who paid a fee and received a username and password to access the site. 167 The defendant,
Brian Rich, made a side deal with an employee at one of LendingTree's customers; he agreed to pay the employee to
get the company username and password. 168 Rich then used the credentials to access the LendingTree website without
paying LendingTree. 169 The question is: Does using a shared password constitute an unauthorized access in violation
of trespass norms?

The starting point should again be that the computer owner's granting of an authenticated account delegated access
rights to the account holder. The account holder is authorized but others are not. To preserve this principle, the trespass
norm should be that access by the account holder or his agent is authorized while other access to the account is not. 170
When the account holder gives login credentials to a third party, access by the third party is authorized only when the
third party acts as the agent of the account holder.

This approach mirrors the analogous rule in the physical world. When access is limited by a physical lock and key,
whether entry is a physical trespass law depends on whether it falls within the zone of permission granted by the
owner. 171 For example, in Douglas v. Humble Oil & Refining Co., a business owner gave an employee the key to his
home so the employee could feed his pets when he was away. 172 The employee later used the key to enter the home for
a different reason. According to the court, this entry for reasons outside the scope of permission was a trespass. 173


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This approach allows computer account holders to share usernames and passwords with an agent. If the agent accesses
the account on the account holder's behalf, the agent is acting in the place of the account holder and is authorized.
The agent then has the same authorization *1179 rights as the account holder. For example, I recently set up a Gmail
account for my students to email class assignments. I gave my assistant the account password and asked her go into the
email inbox and collect them for me. When she did so, she was acting as my agent. Legally speaking, she was me. 174
She was fully authorized to access the account in her capacity as my agent. Her conduct was authorized and legal, much
like employee access to an employer's account for work purposes.

On the other hand, a third party who uses a password in pursuit of her own ends stands in the same place as a third party
who has guessed or stolen the password. Consider the facts of Rich. 175 When Rich accessed the LendingTree website
using a password, he was not acting as an agent of a legitimate customer. Rich paid for access to the password, but he did
not pay LendingTree. Instead, he paid an employee of a legitimate customer. Rich accessed the account to help himself
get richer, not to help the employee. From the perspective of LendingTree, Rich's access was no different from access
using a guessed or stolen password. Rich was not a legitimate customer or an agent of a legitimate customer. Whether
he obtained the password by stealing it from the employee or by paying for it makes no difference to LendingTree. For
that reason, Rich's access was unauthorized.

Two wrinkles need to be ironed out. First, what is the impact of terms of use to the delegated authority of the computer
owner? Recall my use of a Gmail account for class. What if Gmail's Terms of Use forbid password sharing and my
secretary's access violates those Terms? 176 In my view, terms of use barring shared access should be irrelevant for
the same reason they are irrelevant to access more generally. As explained earlier, terms of use create rights for the
computer owner rather than the account holder. 177 When terms are violated, the computer owner can suspend or restrict
the account. But violating the terms does not render access an unauthorized trespass either in the context of public
access websites or of specific accounts. By granting a user an account, the computer owner necessarily grants the user
authorization to access the account for any reason.

Second, note that my treatment of the delegation from the computer owner to an account holder is different from my
treatment of the delegation from the account holder to a third party. When authorized by the computer owner, the
account holder has full access rights. When authorized *1180 by the account holder, on the other hand, the third party
has narrower rights only to act as the account holder's agent. This distinction is justified by the underlying role of an
authentication requirement. Setting up the authentication gate and granting a user account confers rights on the account
holder and her agents. An account holder should have only a narrower power to confer access rights because otherwise
that delegation would interfere with the original authentication. If computer owner A can confer access rights to account
holder B, an unlimited power of B to confer access rights to C, D, and E would nullify A's judgment to confer access
rights to only account holder B. The rule should be that third-party access outside the agency relationship is unauthorized
access.


D. The Critical Role of Mens Rea

The problem of canceled, blocked, and shared accounts is not complete without understanding the associated mental
state, or mens rea, that accompanies computer trespass statutes. 178 The problem here is with the fact-sensitive context
of permitted entry. The facts relevant to authorization may not be known to the user. In this context, the mental state
of authorization plays a critical role. Computer trespass statutes generally require that the user commit an intentional
or knowing unauthorized access. 179 The government's burden to prove that an unauthorized access was intentional or
knowing plays a crucial role in establishing a limit on liability when authorization is lacking due to the context of entry.




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Courts have not explored the role of mental state in establishing liability for computer trespass, so it is important to
understand what a mental state or knowledge or intent might mean in this context. Consider the broadest section of
the CFAA, which prohibits “intentionally access[ing] a computer without authorization” or intentionally “exceeding
authorized access.” 180 The intent requirement plainly applies to the element that authorization is lacking. But does
the requirement of intent with respect to lack of authorization require intent as to the legal conclusion that access is
unauthorized, or does it merely mean intent as to the facts that make access legally unauthorized?


 *1181 Courts have not addressed the question, and it is surprisingly complex. 181 The usual rule, however, is that a
knowledge or intent requirement for a criminal element requires knowledge or intent about the facts that are legally
relevant to the element rather than to a legal status the element implies. 182 It is not entirely free from doubt that this
rule applies to computer trespass statutes, 183 although it is often enough the default rule in federal criminal law that it
seems likely to apply at least to the CFAA. 184 Applying the usual rule to computer trespass statutes, proving intentional
unauthorized access likely requires the government to show that the defendant knew of or hoped for the facts legally
relevant to authorization and intentionally accessed the computer anyway. The prosecution need not prove that the
defendant knew or intended his conduct *1182 to be legally unauthorized. Instead, the key question is the defendant's
state of mind about the facts that, once the law is understood, made the access unauthorized.

So construed, the mental state requirement of computer trespass has a significant narrowing effect on liability for using
canceled, blocked, and shared accounts. The individual must not only take steps that are contrary to the delegated
authority; he must know or hope that his steps are contrary to that delegated authority. Recall the Steele case, in which
the ex-employee used the backdoor account after he had resigned. 185 Steele obviously knew that the authority to access
the account had been revoked: As the Fourth Circuit explained, the company had taken his work laptop, denied him
physical access to the building, and made him sign a letter that he would not try to access the employer's network in
the future. 186 In other cases, however, the revocation might not be so clear. The ex-employee might not know that her
access rights to the account had been revoked. In such a case, she would not be guilty of criminal computer trespass.

The mental state requirement is particularly important in cases that involve shared passwords. If B shares a password
with C, C's access is without authorization when C is acting outside the agency of B. At the same time, C's access is
intentionally without authorization only if C knows or hopes of facts that would bring C's access outside the agency of
B. In many cases, C may not know how B uses the account, how often, or for what. C's state of mind about whether C
is outside the agency relationship element may sharply limit C's liability.

For example, imagine Ann gives Bob her Netflix username and password and tells Bob to feel free to use her account.
Bob then uses Ann's account as if it were his own. Whether Bob's use of Ann's account is outside the agency relationship
is itself a murky question: General permission to use the account whenever Bob likes implies a broad or even perhaps
limitless authorization. But that murkiness aside, Bob can't be criminally liable for accessing Ann's account unless he
knows or hopes that his acts are outside Ann's authorization. In the usual case, Bob would lack intent to access the
account without authorization. 187


CONCLUSION

Applying law to the Internet often rests on analogies. In litigation, each side will offer analogies that push the
decisionmaker in a particular direction. Courts faced with competing analogies must know how to decide *1183 between
them: How do you know whether Internet facts are more like one set of facts from the physical world or another?

This Essay can be understood as a conceptual guide to choosing analogies in the interpretation of computer trespass
statutes. By appreciating the role of norms in the interpretation of physical trespass laws, courts can adopt sensible



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rules based on technological realities and their social construction. Because computer-network norms remain largely
unsettled, the task is normative rather than descriptive. Judicial identification of the best norms to apply can help bring
public acceptance of those norms, or at least provide a temporary set of answers until real norms emerge.

This approach helps avoid analogies that mislead rather than inform by missing the underlying norms that make
analogies fit. Applying physical-world trespass cases to the Internet without first considering the difference between the
physical and network worlds risks applying precedents from an environment with one norm to an environment that
merits a very different one.



Footnotes
a1     Fred C. Stevenson Research Professor, George Washington University Law School. Thanks to Steve Bellovin, David Cruz,
       Tim Edgar, Hanni Fakhoury, David Fontana, Mary Anne Franks, Ahmed Ghappour, Robert Graham, James Grimmelmann,
       Stephen Henderson, Marcia Hofmann, Michael Madison, Jonathan Mayer, Janice Nadler, Paul Ohm, Michael Risch, Ken
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       workshops at Northwestern University Law School and the University of Southern California Gould School of Law for
       extremely helpful comments on an earlier draft.
1      The federal law is the Computer Fraud and Abuse Act (CFAA), codified at 18 U.S.C. § 1030 (2012). For a summary of state
       laws, see generally A. Hugh Scott, Computer and Intellectual Property Crime: Federal and State Law 639-1300 (2001); Susan
       W. Brenner, State Cybercrime Legislation in the United States of America: A Survey, 7 Richmond J.L. & Tech. 28, para. 15
       n.37 (2001), http://jolt.richmond.edu/v7i3/article2.html [http://perma.cc/4YFP-KH8S].
2      See United States v. Morris, 928 F.2d 504, 511 (2d Cir. 1991) (concluding lower court was not required to instruct jury on
       meaning of “authorization” because “the word is of common usage, without any technical or ambiguous meaning”).
3      See S. Rep. No. 104-357, at 11 (1996) (noting CFAA “criminalizes all computer trespass”).
4      See Orin S. Kerr, Vagueness Challenges to the Computer Fraud and Abuse Act, 94 Minn. L. Rev. 1561, 1572, 1574 (2010)
       [hereinafter Kerr, Vagueness Challenges] (discussing uncertain application of CFAA); Note, The Vagaries of Vagueness:
       Rethinking the CFAA as a Problem of Private Nondelegation, 127 Harv. L. Rev. 751, 751-52 (2013) (noting scope of
       CFAA-- chief federal computer crime law--“has been hotly litigated,” and “the most substantial fight” is over meaning of
       authorization).
5      See, e.g., United States v. Nosal, 676 F.3d 854, 865 (9th Cir. 2012) (en banc) (Kozinski, C.J.) (noting circuit split between
       Ninth Circuit and Fifth and Eleventh Circuits over whether employee who violates written restriction on employer's computer
       use engages in criminal unauthorized access under CFAA); NetApp, Inc. v. Nimble Storage, Inc., No. 5:13-CV-05058-LHK
       (HRL), 2015 WL 400251, at *11 (N.D. Cal. Jan. 29, 2015) (noting deep division in district courts on whether copying
       constitutes damage under CFAA); Advanced Micro Devices, Inc. v. Feldstein, 951 F. Supp. 2d 212, 217 (D. Mass. 2013)
       (noting two distinct schools of thought in case law on what makes access authorized).
6      See, e.g., CollegeSource, Inc. v. AcademyOne, Inc., 597 F. App'x 116, 129 (3d Cir. 2015) (noting meaning of authorization
       “has been the subject of robust debate”); EF Cultural Travel BV v. Explorica, Inc., 274 F.3d 577, 582 n.10 (1st Cir. 2001)
       (“Congress did not define the phrase ‘without authorization,’ perhaps assuming that the words speak for themselves. The
       meaning, however, has proven to be elusive.”); Feldstein, 951 F. Supp. 2d at 217 (“[T]he exact parameters of ‘authorized access'
       remain elusive.”).
7      18 U.S.C. § 1030 (2012).
8      See Nosal, 676 F.3d at 863-64 (holding such acts do not violate CFAA).
9      See Indictment at 4-7, United States v. Swartz, Cr. 11-ER-10260 (D. Mass. July 14, 2011) (charging criminal defendant for
       such conduct).




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10   See United States v. Auernheimer, 748 F.3d 525, 534-35 (3d Cir. 2014) (reversing conviction on venue grounds but not reaching
     whether it violated CFAA).
11   See Brief of Appellant at 10-14, United States v. Rich (4th Cir. Mar. 2, 2015) (No. 14-4774), 2015 WL 860788 (arguing such
     conduct does not violate CFAA).
12   See Craigslist Inc. v. 3Taps Inc., 942 F. Supp. 2d 962, 968-70 (N.D. Cal. 2013) (concluding such conduct violates CFAA).
13   See United States v. Lowson, Crim. No. 10-114 (KSH), 2010 WL 9552416, at *6-7 (D.N.J. Oct. 12, 2010) (discussing but not
     resolving CFAA liability for such facts).
14   See United States v. Steele, 595 F. App'x 208, 210-11 (4th Cir. 2014) (holding this violates CFAA).
15   See James Grimmelmann, Computer Crime Law Goes to the Casino, Concurring Opinions (May 2, 2013), http://
     concurringopinions.com/archives/2013/05/computercrime-law-goes-to-the-casino.html [http://perma.cc/YYP8-A8A5] (“In
     any CFAA case, the defendant can argue, ‘You say I shouldn't have done it, but the computer said I could!”’).
16   For example, the CFAA does not define “without authorization,” and the related term “exceeds authorized access” is defined
     circularly to mean “to access a computer with authorization and to use such access to obtain or alter information in the
     computer that the accesser is not entitled so to obtain or alter.” 18 U.S.C. § 1030(e)(6) (2012).
17   See generally Orin S. Kerr, Computer Crime Law 328-75 (3d ed. 2013) (discussing sentencing under CFAA).
18   The word “norms” has been used to mean many different things, ranging from practices that are common and expected
     among members of a society to practices that are perceived as morally obligated within that group. See generally Richard
     H. McAdams & Eric B. Rasmusen, Norms and the Law, in 2 Handbook of Law and Economics 1575, 1576-78 (A. Mitchell
     Polinsky & Steven Shavell eds., 2007) (defining “norms”). In this Essay, I use the term “trespass norms” to focus specifically
     on norms that relate to perceptions of invasion of private space.
19   See infra section III.C (explaining authentication).
20   See infra Part III (discussing open nature of Web and mechanisms used by site owners to restrict access).
21   See infra Part IV (discussing distinction between canceled accounts, blocked accounts, and new accounts).
22   See Red Light/Green Light, Games Kids Play, http://www.gameskidsplay.net/games/sensing_games/rl_gl.htm [http://
     perma.cc/3JVF-NZWM] (last visited Jan. 26, 2016).
23   Trespass is an accordion-like concept that can mean different things in different contexts. See, e.g., 3 William Blackstone,
     Commentaries *208-09 (discussing variations of trespass at common law). Because computer trespass laws are primarily
     criminal statutes, the discussion focuses on liability under criminal trespass statutes. I am therefore excluding consideration
     of other kinds of trespass claims such as the scope of the common law tort of trespass to chattels. See generally eBay, Inc.
     v. Bidder's Edge, Inc., 100 F. Supp. 2d 1058, 1069-70 (N.D. Cal. 2000) (applying common law tort of trespass-to-chattels
     analysis in computer context).
24   N.Y. Penal Law § 140.05 (McKinney 2010).
25   Id. § 140.00(5).
26   See Richard H. McAdams, The Origin, Development, and Regulation of Norms, 96 Mich. L. Rev. 338, 340 (1997)
     (“Sometimes norms govern behavior irrespective of the legal rule, making the choice of a formal rule surprisingly
     unimportant.”); see also Cass R. Sunstein, Social Norms and Social Roles, 96 Colum. L. Rev. 903, 914 (1996) (defining social
     norms as “social attitudes of approval and disapproval, specifying what ought to be done and what ought not to be done”).
27   For example, under New York law, trespass only carries an offense level of a violation. N.Y. Penal Law § 140.05. A violation
     carries a maximum punishment of fifteen days. Id. § 10.00(3).




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28   See, e.g., id. § 140.05 (“A person is guilty of trespass when he knowingly enters or remains unlawfully in or upon
     premises.” (emphasis added)).
29   In general, probable cause to arrest a suspect for criminal trespassing can justify the suspect's arrest and removal so long
     as the offense--typically, the refusal to leave--is occurring in the officer's presence. See, e.g., N.Y. Crim. Proc. Law § 140.10
     (McKinney 2004) (describing arrest powers).
30   See generally Stephanie M. Stern, The Inviolate Home: Housing Exceptionalism in the Fourth Amendment, 95 Cornell L.
     Rev. 905, 912 (2010) (discussing special status of home in Fourth Amendment law).
31   See Semayne's Case (1604) 77 Eng. Rep. 194, 198; 5 Co. Rep. 91 a, 93 a (“[T]he house of any one is not a castle or privilege
     but for himself.”).
32   See, e.g., People v. Bush, 623 N.E.2d 1361, 1364 (Ill. 1993) (“If ... the defendant gains access to the victim's residence through
     trickery and deceit and with the intent to commit criminal acts, his entry is unauthorized and the consent given vitiated because
     the true purpose for the entry exceeded the limited authorization granted.”); People v. Williams, 667 N.Y.S.2d 605, 607 (Sup.
     Ct. 1997) (concluding “person who gains admittance to premises through intimidation or by deception, trick or artifice, does
     not enter with license or privilege” for purposes of criminal trespass liability).
33   See, e.g., State v. Cooper, 860 N.E.2d 135, 138 (Ohio Ct. App. 2006) (entering portion of store marked “Employees Only”
     was trespass because sign “put the defendant on notice that by entering the room, he was in violation of restriction against
     access that applied to him”).
34   See, e.g., Model Penal Code § 221.2(2)(a) (Am. Law Inst. 2015) (punishing as “defiant trespass” a person who stays in a place
     when notice of trespass has been provided by “actual communication to the actor”).
35   133 S. Ct. 1409 (2013).
36   Id. at 1413.
37   Id.
38   See id. at 1417 (“[W]hether the officers had an implied license to enter the porch ... depends upon the purpose for which they
     entered. Here, their behavior objectively reveals a purpose to conduct a search, which is not what anyone would think he
     had license to do.”).
39   Id. at 1415.
40   Id. at 1416. According to Justice Scalia, the norms were readily grasped even though they were not written down: “Complying
     with the terms of that traditional invitation does not require fine-grained legal knowledge; it is generally managed without
     incident by the Nation's Girl Scouts and trick-or-treaters.” Id. at 1415.
41   See Alfred J. Menezes, Paul C. van Oorschot & Scott A. Vanstone, Handbook of Applied Cryptography 3 (1996) (defining
     “access control” as means of “restricting access to resources to privileged entities”).
42   Cf. Taha v. Thompson, 463 S.E.2d 553, 557 (N.C. Ct. App. 1995) (holding evidence that individual sent locksmith onto
     property to change locks without homeowner's permission establishes trespass).
43   See Douglas v. Humble Oil & Ref. Co., 445 P.2d 590, 591 (Or. 1968) (en banc) (holding employee who was given key to
     employer's home to feed employer's pets committed trespass when employee used key to enter home for different reason).
44   18 U.S.C. § 1030 (2012).
45   For an overview, see generally Scott, supra note 1, at 639-1300. In this Essay, I include both “access without authorization” and
     conduct that “exceeds authorized access” as within the general ban on unauthorized access. See infra section III.B (discussing
     unauthorized access).
46   See supra notes 2-5 (discussing court applications of computer trespass laws).



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47   See supra notes 2-5.
48   See supra notes 4-5 (providing examples of disagreements among courts over concept of authorization in CFAA).
49   See Mark Lemley, Place and Cyberspace, 91 Calif. L. Rev. 521, 523-26 (2003) (“[E]ven a moment's reflection will reveal that
     the analogy between the Internet and a physical place is not particularly strong.”).
50   748 F.3d 525 (3d Cir. 2014). Full disclosure: I represented Auernheimer.
51   Id. at 530-31.
52   Brief for Appellee at 34, Auernheimer, 748 F.3d 525 (No. 13-1816), 2013 WL 5427839.
53   Brief for Appellant at 15, Auernheimer, 748 F.3d 525 (No. 13-1816), 2013 WL 3488591.
54   The Third Circuit did not reach this issue, as it reversed on the ground that venue was lacking in the district where the
     prosecution was brought. Auernheimer, 738 F.3d at 541.
55   See Reno v. ACLU, 521 U.S. 844, 849-50 (1997) (tracing history of Internet from ARPANET in 1969).
56   See Tim Berners-Lee with Mark Fischetti, Weaving the Web: The Original Design and Ultimate Destiny of the World Wide
     Web by Its Inventor 69 (1999) (describing February 1993 release of first popular web browser).
57   See Riley v. California, 134 S. Ct. 2473, 2484 (2014) (recognizing “modern cell phones ... are now such a pervasive and insistent
     part of daily life” but were “unheard of ten years ago”).
58   Elizabeth Weise, Your Mom and 58% of Americans Are on Facebook, USA Today (Jan. 9, 2015,
     5:22 PM), http://www.usatoday.com/story/tech/2015/01/09/pew-surveysocial-media-facebook-linkedin-twitter-instagram-
     pinterest/21461381/ [http://perma.cc/QNK9-N5WZ].
59   Company Info: Our History, Facebook, http://newsroom.fb.com/timeline/company-info/ [http://perma.cc/9J9R-H2BT] (last
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60   MG Siegler, Instagram Launches with the Hope of Igniting Communication Through Images, TechCrunch (Oct. 6, 2010),
     http://techcrunch.com/2010/10/06/instagram-launch/ [http://perma.cc/T7E2-YNU3].
61   J.J. Colao, Snapchat: The Biggest No-Revenue Mobile App Since Instagram (Nov. 27, 2012, 1:36
     PM), http://www.forbes.com/sites/jjcolao/2012/11/27/snapchat-the-biggestno-revenue-mobile-app-since-instagram/ [http://
     perma.cc/P6LY-7J73].
62   See Joanna Stern, Teens Are Leaving Facebook and This Is Where They Are Going, ABC News (Oct. 31, 2013), http://
     abcnews.go.com/Technology/teens-leaving-facebook/story?id=20739310 [http://perma.cc/4S6G-ZHYE] (noting migration of
     teen users from Facebook to Instagram and Snapchat).
63   See Press Release, Apple, Apple Reinvents the Phone with iPhone (Jan. 9, 2007), http://www.apple.com/pr/
     library/2007/01/09Apple-Reinvents-the-Phone-with-iPhone.html [http://perma.cc/L937-DHP4]; see also Steve Jobs, iPhone
     Introduction in 2007, YouTube (Jan. 10, 2014), http://www.youtube.com/watch?v=9hUIxyE2Ns8.
64   The phrase comes from a commercial for the iPhone 3G in 2009. Apple, There's an App for That, YouTube (Feb. 4, 2009),
     http://www.youtube.com/watch?v=szrsfeyLzyg.
65   Number of Available Apps in the Apple App Store from July 2008 to June 2015, Statista, http://www.statista.com/
     statistics/263795/number-of-available-apps-in-the-appleapp-store/ [http://perma.cc/CVH8-P4J5] (last visited Jan. 26, 2016).
66   Number of Newly Developed Applications/Games Submitted for Release to the iTunes App Store from 2012 to
     2014 (Fee Based), Statista, http://www.statista.com/statistics/258160/number-of-new-apps-submitted-to-the-itunes-store-per-
     month/ [http://perma.cc/YN4W-7FM4] (last visited Jan. 26, 2016).




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67   See Judith A. Powell & Lauren Sullins Ralls, Best Practices for Internet Marketing and Advertising, 29 Franchise L.J. 231,
     235 (2010) (advising franchise operators to protect themselves by creating terms of use that allow franchisors to effectively
     control sites' content).
68   See United States v. Nosal, 676 F.3d 854, 860-63 (9th Cir. 2012) (providing examples of ways computer-use policies prohibit
     common activity).
69   See, e.g., United States v. Morris, 928 F.2d 504, 511 (2d Cir. 1991) (agreeing with lower court that “it was unnecessary to
     provide the jury with a definition of ‘authorization’ ... [s]ince the word is of common usage”); United States v. Drew, 259
     F.R.D. 449, 461 (C.D. Cal. 2009) (noting no evidence Congress intended to give specialized meaning to “authorization” and
     “authorized” in CFAA and citing dictionary definition); Transcript for Trial at 26-27, United States v. Auernheimer, Crim.
     No. 11-cr-470 (SDW), 2012 WL 5389142 (D.N.J. Oct. 26, 2012), rev'd, 748 F.3d 525 (3d Cir. 2014) (“To access without
     authorization is to access a computer without approval or permission.”).
70   See Matthew B. Kugler, Measuring Computer Use Norms (unpublished manuscript) (manuscript at 25) (Oct. 19, 2015),
     http://ssrn.com/abstract=2675895 (on file with the Columbia Law Review) [hereinafter Kugler, Measuring Norms] (noting
     participants' willingness to find common behavior blameworthy and, in some cases, criminal).
71   Id. (manuscript at 6).
72   Email from Matthew B. Kugler to Orin Kerr, Fred C. Stevenson Research Professor, George Washington Univ. Law Sch.
     (Nov. 13, 2015) (on file with the Columbia Law Review).
73   Kugler, Measuring Norms, supra note 70 (manuscript at 6).
74   Id. (manuscript at 14).
75   Id. Seventy-seven percent thought that selling trade secrets should be a serious crime like burglary, but of course, it already
     is: The crime is theft of trade secrets, a separate offense from computer trespass. See 18 U.S.C. § 1832 (2012).
76   See Kerr, Vagueness Challenges, supra note 5, at 1561 (arguing “CFAA requires courts to adopt narrow interpretations of
     the statute in light of the void-for-vagueness doctrine”).
77   See id. at 1562 (“The CFAA has become so broad, and computers so common, that expansive or uncertain interpretations
     of unauthorized access will render it unconstitutional.”).
78   928 F.2d 504 (2d Cir. 1991).
79   Id. at 505.
80   Id. (“The goal of this program was to demonstrate the inadequacies of current security measures on computer networks by
     exploiting the security defects that Morris had discovered.”).
81   Id. at 506 (internal quotation marks omitted).
82   Id.
83   Id.
84   Id. (convicting defendant under 18 U.S.C. § 1030(a)(5)(A) (1986)).
85   Id. at 510.
86   Id.
87   Id.
88   Id.




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89    Id.
90    Id.
91    Tim Berners-Lee invented the World Wide Web in 1990, and the first browser was introduced in 1993. See Berners-Lee &
      Fischetti, supra note 56, at 69 (recounting history of first web browsers).
92    See infra section III.B (discussing authorized web access).
93    The CFAA sometimes distinguishes between violations of the CFAA based on “access without authorization” and violations
      based on acts that “exceed[] authorized access.” Compare 18 U.S.C. § 1030(a)(2) (2012) (prohibiting actors from both kinds
      of violations when actors obtain information), with id. § 1030(a)(5)(B) (prohibiting only access without authorization when
      it results in damage). I agree with the conclusion of the Second and Ninth Circuits that the two forms of liability cover the
      same acts. See United States v. Valle, 807 F.3d 508, 524-28 (2d Cir. 2015); United States v. Nosal, 676 F.3d 854, 858 (9th
      Cir. 2012) (en banc). That is, a person who violates a trespass norm to gain access to a computer commits an access without
      authorization if he has no authorization to access the computer, while he exceeds authorized access if he violates a trespass
      norm to gain a new level of access to a computer that he has some prior authorization to access. Both prohibitions implicate
      the trespass norms discussed in this Essay in the same way. The only difference is whether the defendant had some prior
      authorization to access the computer before violating the trespass norm. See Orin S. Kerr, Cybercrime's Scope: Interpreting
      “Access” and “Authorization” in Computer Misuse Statutes, 78 N.Y.U. L. Rev. 1596, 1662-63 & n.283 (2003) [hereinafter
      Kerr, Cybercrime's Scope] (advocating such interpretation). For these reasons, my proposed approach applies equally to acts
      that constitute access without authorization and acts that exceed authorized access.
94    Preston Gralla, How the Internet Works 21-23, 31 (1998).
95    Id.
96    See generally William E. Burr, Donna F. Dodson & W. Timothy Polk, Nat'l Inst. of Standards & Tech., NIST Special
      Pub. 800-63, Version 1.0.2, Electronic Authentication Guideline (2006) (providing technical guidance to federal agencies on
      electronic authentication of users over open networks). Authentication requirements can be added, which changes the analysis.
      See infra section III.C (discussing implications of authentication requirements).
97    See Peter Steiner, Cartoon, On the Internet, Nobody Knows You're a Dog, New Yorker, July 5, 1993, at 61.
98    See Stephen D. Crocker, Opinion, How the Internet Got Its Rules, N.Y. Times (Apr. 6, 2009), http://
      www.nytimes.com/2009/04/07/opinion/07crocker.html (on file with the Columbia Law Review) (explaining history, function,
      and significance of RFCs).
99    T. Berners-Lee et al., Network Working Grp., Request for Comments: 1945, Internet Engineering Task Force (2006), http://
      tools.ietf.org/html/rfc1945 [http://perma.cc/PS7 4-4C3A] [hereinafter RFC1945]; T. Berners-Lee et al., Network Working
      Grp., Request for Comments: 2616, Internet Engineering Task Force (1999), http://www.ietf.org/rfc/rfc2616.txt [http://
      perma.cc/7MJN-PWFK] [hereinafter RFC2616].
100   RFC1945, supra note 99, at 1; RFC2616, supra note 99, at 1.
101   RFC1945, supra note 99, at 1.
102   RFC2616, supra note 99, at 7.
103   RFC1945, supra note 99, at 6.
104   Id. at 6-7.
105   Kerr, Cybercrime's Scope, supra note 93, at 1644-46.
106   748 F.3d 525, 530-31 (3d Cir. 2014) (presenting facts of case and criminal charges).
107   Id. at 531.



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108   The Third Circuit did not reach the authorization question, as the court reversed the conviction on venue grounds. See id.
      at 532.
109   This was the issue first raised in United States v. Drew, 259 F.R.D. 449, 451 (C.D. Cal. 2009) (“This case raises the issue of
      whether ... violations of an Internet website's terms of service constitute a crime under the [CFAA].” (footnote omitted)). Full
      disclosure: I represented Drew.
110   See United States v. Nosal, 676 F.3d 854, 861-62 (9th Cir. 2012) (providing examples).
111   See id. (listing specific details of various terms of use).
112   Consider this legal advice for franchisors who create websites:
      If a franchisor does decide to operate a site where it allows others to post content, it must address a number of issues.
      For example, it must take steps to avoid liability for copyright infringement, defamation, violation of privacy rights, and
      misappropriation of “hot news” and even criminal charges associated with such postings. It should, therefore, develop and
      publish comprehensive terms of use that prohibit inappropriate postings ....
      Powell & Ralls, supra note 67, at 235 (footnotes omitted).
113   Id.
114   In the Drew prosecution, for example, the government charged Drew with having participated in the creation of a MySpace
      profile that was not truthful in violation of MySpace's Terms of Use. Drew, 259 F.R.D. at 452 (listing charges on indictment,
      including setting up profile of “16 year old male juvenile named ‘Josh Evans”’). Although the government presented the use
      of MySpace in violation of the terms as a trespass, it turned out that the co-founder of MySpace, Tom Anderson, whose
      MySpace profile greeted every new user, lied about his age in his own profile in violation of MySpace's Terms of Use. See
      Jessica Bennett, MySpace: How Old Is Tom?, Newsweek (Oct. 27, 2007, 11:22 AM), http://www.newsweek.com/myspace-
      how-old-tom-103043 [http://perma.cc/8FZS-28ZD] (reporting on Anderson's false age on his profile).
115   See Kerr, Cybercrime's Scope, supra note 93, at 1657-58 (“[A] qualitative difference exists between the culpability and threat to
      privacy and security raised by breach of a computer use contract on one hand, and circumvention of a code-based restriction
      on the other.”).
116   According to one study, only 1.4% of users fully read end user license agreements (EULAs) for software programs,
      even though they require explicit agreement and generally require the user to claim she read the agreement. See Jens
      Grossklags & Nathan Good, Empirical Studies on Software Notices to Inform Policy Makers and Usability Designers, http://
      people.ischool.berkeley.edu/~jensg/research/paper/Grossklags07-USEC.pdf [http://perma.cc/VP8S-RGVF] (last visited Jan.
      26, 2016). The readership of terms of use on a website is likely much lower, as readers ordinarily are not prompted to do so
      and are less likely to see visiting a website as a significant occasion.
117   See Aleecia M. McDonald & Lorrie Faith Cranor, The Cost of Reading Privacy Policies, 4 I/S: J.L. & Pol'y for Info. Soc'y 543,
      565 (2008) (concluding it would take hundreds of hours for typical consumer to actually read privacy policies encountered
      in one year of typical Internet use).
118   See In re Google Inc. Cookie Placement Consumer Privacy Litig., 988 F. Supp. 2d 434, 439-40 (D. Del. 2013) (“Cookies
      are used in internet advertising to store website preferences, retain the contents of shopping carts between visits, and keep
      browsers logged into social networking services and web mail as individuals surf the internet.”).
119   Amit Agarwal, How to Bypass the New York Times Paywall (July 15, 2013), http://www.labnol.org/internet/nyt-paywall/18992
      [http://perma.cc/R6XH-2GKD].
120   Id.
121   See id. (describing how to bypass New York Times paywall by deleting cookies).
122   This is the case with traditional browser cookies, at least. Different kinds of cookies may present different issues. See, e.g.,
      Paul Lanois, Privacy in the Age of the Cloud, 15 J. Internet L. 3, 5 (2011) (discussing flash cookies).




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123   For example, in the popular Chrome browser, users can go into “incognito” mode, which will not store cookies. Alternatively,
      they can delete all of the cookies stored on their browsers. See Laura, Google, Manage Your Cookies and Site Data,
      Chrome Help, http://support.google.com/chrome/answer/95647?hl=en [http://perma.cc/W262-45MU] (last visited Jan. 26,
      2016) (describing how to delete cookies). Each step takes only seconds and is a common and expected part of surfing the Web.
124   See Danny Sullivan, The Leaky New York Times Paywall & How “Google Limits” Led to “Search Engine Limits,” Search
      Engine Land (Mar. 22, 2011, 4:45 AM), http://searchengineland.com/leaky-new-york-times-paywall-google-limits-69302
      [http://perma.cc/DW9Y-8KVZ] (describing shortcoming of New York Times paywall system).
125   The same principle also applies to browser restrictions based on “user agents,” an issue that arose but was not resolved in the
      Auernheimer case. See Appellant's Amended Reply Brief at 13-14, United States v. Auernheimer, 748 F.3d 525 (3d Cir. 2014)
      (No. 13-1816), 2013 WL 6825411 (“Changing the user agent does not make a person guilty of trespass, whether that trespass
      is a physical trespass or the cyber trespass of the CFAA.”).
126   964 F. Supp. 2d 1178 (N.D. Cal. 2013).
127   E.g., id. at 1181 n.2.
128   Id. at 1180.
129   Id. at 1180-81.
130   Id. at 1186.
131   Id. at 1186 n.7.
132   Why Does Your IP Address Change Now and Then?, What Is My IP Address, http://whatismyipaddress.com/keeps-changing
      [http://perma.cc/QE8N-KDLB] (last visited Jan. 26, 2016).
133   See How to Change Your IP Address, What Is My IP Address, http://whatismyipaddress.com/change-ip [http://
      perma.cc/9GLE-73RK] (last visited Jan. 26, 2016) (noting turning modem off and then back on will sometimes change IP
      address).
134   See Quentin Hardy, VPNs Dissolve National Boundaries Online, for Work and Movie-Watching, N.Y. Times: Bits
      Blog (Feb. 8, 2015, 5:30 AM), http://bits.blogs.nytimes.com/2015/02/08/in-ways-legal-and-illegal-vpn-technology-is-erasing-
      international-borders/ (on file with the Columbia Law Review) (“Millions of people around the world now pay for virtual
      private computer networks ... to hook into a server in the United States.”).
135   No. 10-114 (KSH), 2010 WL 9552416 (D.N.J. Oct. 12, 2010).
136   E.g., Craigslist, Inc. v. Naturemarket, Inc., 694 F. Supp. 2d 1039, 1048 (N.D. Cal. 2010).
137   See CAPTCHA: Telling Humans and Computers Apart Automatically, CAPTCHA, http://www.captcha.net/ [http://
      perma.cc/9FHM-C62D] (last visited Jan. 26, 2016) (using this image as sample).
138   See id. (explaining usefulness of CAPTCHAs).
139   See, e.g., Ward v. TheLadders.com, Inc., 3 F. Supp. 3d 151, 162 (S.D.N.Y. 2014) (denying motion to dismiss in contract claim
      brought under website terms of use); Cvent, Inc. v. Eventbrite, Inc., 739 F. Supp. 2d 927, 937-38 (E.D. Va. 2010) (evaluating
      contract claim based on website terms of use).
140   Suing customers is costly and can trigger negative press attention, making such suits rare even if website misuse is common.
141   See, e.g., Ward, 3 F. Supp. 3d at 162 (denying motion to dismiss claim based on violation of website's terms of use).
142   For example, in the Lori Drew case, which involved a CFAA prosecution for violating MySpace's Terms of Use, MySpace
      remained curiously silent throughout the case. See, e.g., Scott Glover & P.J. Huffstutter, ‘Cyber Bully’ Fraud Charges Filed
      in L.A., L.A. Times (May 16, 2008), http://articles.latimes.com/2008/may/16/local/me-myspace16 [http://perma.cc/6QY3-




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      M9DX] (reporting on Drew's indictment and noting MySpace had not responded to request for comment). In the Auernheimer
      case, the victim, AT&T, was also quiet: At sentencing, when the probation office asked AT&T to detail its losses at sentencing,
      AT&T declined to respond. Brief of Defendant-Appellant at 52, United States v. Auernheimer, 748 F.3d 525 (3rd Cir. 2014)
      (No. 13-1816), 2013 WL 3488591. In the Aaron Swartz case, the victim, JSTOR, actively opposed the prosecution. See,
      e.g., Zach Carter et al., Aaron Swartz, Internet Pioneer, Found Dead Amid Prosecutor ‘Bullying’ in Unconventional Case,
      Huffington Post (Jan. 13, 2013), http://www.huffingtonpost.com/2013/01/12/aaron-swartz_n_2463726.html [http://perma.cc/
      VXS8-W4LM] (“JSTOR opposed prosecuting Swartz ....”).
143   See generally William E. Burr, Donna F. Dodson & W. Timothy Polk, Nat'l Inst. of Standards & Tech.,
      Electronic Authentication Guideline 12-13 (2006), http://csrc.nist.gov/publications/nistpubs/800-63/SP800-63V1_0_2.pdf
      [http://perma.cc/VXS8-W4LM] (noting credentials are required part of e-authentication process).
144   United States v. Morris, 928 F.2d 504, 509 (2d Cir. 1991).
145   Claridge v. RockYou, Inc., 785 F. Supp. 2d 855, 858 (N.D. Cal. 2011).
146   E.g., Josh Shaul, Why Do SQL Injection Attacks Continue to Succeed?, SC Mag. (May 24, 2011), http://
      www.scmagazine.com/why-do-sqlinjectionattacks-continue-to-succeed/article/203679/ [http://perma.cc/PM4C-TECV].
147   Id.
148   Id.
149   Michael R. Siebecker, Cookies and the Common Law: Are Internet Advertisers Trespassing on Our Computers?, 76 S. Cal.
      L. Rev. 893, 897 (2003).
150   See id. at 897-90 (outlining process by which cookies are placed on computers, how they work once deposited, and purposes
      they serve).
151   After a period of inactivity, the session may expire and the session cookie no longer works. At that point, the user must enter
      in the username and password to log in.
152   See supra notes 50-53 (discussing Auernheimer facts and issues).
153   Good security practices can help avoid the murkiest cases, however. For example, imagine a website required users to enter
      a secret password to enter the site but announced that the password was either “red” or “green.” Such an example blurs the
      line between speed bump and authentication gate. But it is easy for website owners to avoid the blurry lines simply by having
      better authentication practices.
154   See United States v. Morris, 928 F.2d 504, 511 (2d Cir. 1991) (discussing “unauthorized access” requirement).
155   595 F. App'x 208 (4th Cir. 2014).
156   Id. at 209-10.
157   Id. at 211.
158   Id. For a similar case reaching the same result, see United States v. Shahulhameed, No. 14-5718, 2015 WL 6219237, at *2 (6th
      Cir. Oct. 22, 2015) (holding employee's authorization to access his work account ended when he was informed by telephone and
      email that he was fired). The point was assumed by the parties and apparently accepted by the court in LVRC Holdings LLC
      v. Brekka, 581 F.3d 1127, 1136 (9th Cir. 2009) (noting “[t]here is no dispute” that if employee accessed company computer
      after leaving company then employee “would have accessed a protected computer ‘without authorization’ for purposes of
      the CFAA”).
159   See Morris, 928 F.2d at 511 (discussing meaning of “unauthorized access”).
160   Indictment, United States v. Swartz, Cr. 11-ER-10260 (D. Mass. July 14, 2011). Swartz committed suicide before his case went
      to trial. John Schwartz, Internet Activist, a Creator of RSS, Is Dead at 26, Apparently a Suicide, N.Y. Times (Jan. 12, 2013),




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      http://www.nytimes.com/2013/01/13/technology/aaron-swartz-internet-activist-dies-at-26.html (on file with the Columbia Law
      Review). I will assume the facts in the indictment are true.
161   Indictment at 4-5, United States v. Swartz, Cr. 11-ER-10260 (D. Mass. July 14, 2011).
162   See id. at 4 (noting computer was registered under “fictitious guest name ‘Gary Host”’).
163   See id. at 8-9 (describing observation of Swartz “entering the restricted basement network wiring closet” and “attempt[ing]
      to evade identification”).
164   Id. at 7-8.
165   See supra notes 126-134 and accompanying text (discussing trespass liability for circumventing IP blocks).
166   610 F. App'x 334 (4th Cir. 2015).
167   Brief of Appellant at 3, Rich, 610 F. App'x 334 (No. 14-4774), 2015 WL 860788, at *9.
168   Id. at 4.
169   Id.
170   See generally Restatement (Third) of Agency § 1.01 (Am. Law Inst. 2006) (defining agent).
171   See, e.g., Rich v. Tite-Knot Pine Mill, 421 P.2d 370, 374 (Or. 1966) (noting “one who originally enters the premises as a licensee
      may forfeit his license and become a trespasser if he exceeds its scope”).
172   445 P.2d 590, 591 (Or. 1968) (en banc).
173   See id. (“The undisputed evidence was that the only purpose for which Douglas had authorized his employee to use the house
      key was to attend to the feeding of the Douglas's household pets.”).
174   See State ex rel. Coffelt v. Hartford Accident & Indem. Co., 314 S.W.2d 161, 163 (Tenn. Ct. App. 1958) (“The basis for holding
      the principal for the acts of his agent is that the agent acts as the principal's alter ego or other self.”).
175   United States v. Rich, 610 F. App'x 334, 335-36 (4th Cir. 2015).
176   They don't, at least right now. See Google Terms of Service, Google (Apr. 14, 2014), http://www.google.com/intl/en/policies/
      terms/ [http://perma.cc/7T2J-PEQL] (including warning to “keep your password confidential” but refraining from enacting
      formal requirement).
177   See supra section III.B (discussing legal implications of terms of use).
178   For an introduction to mens rea, see generally Joshua Dressler, Understanding Criminal Law 117-36 (6th ed. 2012).
179   See, e.g., 18 U.S.C. § 1030(a)(2) (2012) (prohibiting intentional access without authorization or exceeding authorized access);
      Cal. Penal Code § 502(c)(7) (West 2010) (prohibiting “access[]” to “any computer, computer system, or computer network”
      that is “[k]nowing[] and without permission”); Colo. Rev. Stat. Ann. § 18-5.5-102 (West 2013) (prohibiting knowing access
      without authorization or exceeding authorized access).
180   18 U.S.C. § 1030(a)(2).
181   See generally Kenneth W. Simons, Ignorance and Mistake of Criminal Law, Noncriminal Law, and Fact, 9 Ohio St. J. Crim. L.
      487 (2012) (exploring difficulty raised by mental states with respect to criminal elements having aspects of both law and fact).
182   See, e.g., McFadden v. United States, 135 S. Ct. 2298, 2304 (2015) (holding, in prosecutions for knowingly distributing a
      controlled substance, government must prove either that defendant knew substance he distributed was on list of controlled
      substances or that defendant “knew the identity of the substance he possessed” and it was on the controlled-substances list);
      Elonis v. United States, 135 S. Ct. 2001, 2009 (2015) (“[A] defendant generally must know the facts that make his conduct
      fit the definition of the offense even if he does not know that those facts give rise to a crime.” (citations omitted) (internal


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      quotation marks omitted) (quoting Staples v. United States, 511 U.S. 600, 607 n.3 (1994))); Morissette v. United States, 342
      U.S. 246, 271 (1952) (“He must have had knowledge of the facts, though not necessarily the law, that made the taking a
      conversion.”); United States v. Brown, 669 F.3d 10, 19-20 (1st Cir. 2012) (ruling, in prosecution for intentionally thwarting
      officers in course of their official duties, it was irrelevant that defendant believed officers were enforcing unconstitutional law
      and that therefore officers were not acting in course of their official duties).
183   For example, in Liparota v. United States, the Court construed a statute that punished knowingly using or possessing food
      stamps in a way unauthorized by law as requiring knowledge that the use or possession was legally unauthorized. 471 U.S. 419,
      433 (1985). Applying Liparota, it could be argued that intentional unauthorized access also requires intent-- here, awareness
      or hope--about the act being legally unauthorized. This might be bolstered by the text of physical trespass statutes, which
      often plainly requires knowledge that presence is legally unauthorized. See, e.g., Model Penal Code § 221.2(2) (Am. Law Inst.
      2015) (“A person commits an offense if, knowing that he is not licensed or privileged to do so, he enters or remains in any
      place as to which notice against trespass is given ....”). Liparota is potentially distinguishable, however, because the lack of
      authorization in the computer trespass statute concerns lack of authorization with respect to the relevant norms, not the
      relevant law. Further, not all physical-trespass statutes have required knowledge as to the absence of legal privilege. See, e.g.,
      N.J. Stat. Ann. § 2A:170-31 (repealed 1979).
184   See supra notes 160-164 (discussing defendant's knowledge of facts in United States v. Swartz). This is bolstered by the common
      use of “willfulness” in federal criminal statutes to indicate knowing violation of a legal duty, see, e.g., Cheek v. United States,
      498 U.S. 192, 193 (1991) (applying willfulness standard to failure to file federal income tax return), a use that does not appear
      in the CFAA. A 1986 Senate report has a brief discussion of the purpose of changing the mental state for unauthorized access
      from knowing to intentional. S. Rep. No. 99-432, at 5-6 (1986), reprinted in 1986 U.S.C.C.A.N. 2479, 2483-84. The discussion
      is unclear and can be read as supporting either position.
185   United States v. Steele, 595 F. App'x 208 (4th Cir. 2014).
186   Id. at 211.
187   If courts construe the intent requirement as going to the legal conclusion that authorization is lacking, then the mental state
      requirement has an even more dramatic effect. It would prohibit liability unless the government can prove beyond a reasonable
      doubt that the defendant knew or hoped that his conduct was unlawful.

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                  Plaintiff’s Supplemental Brief In Support Of
                       Motion for Preliminary Injunction




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Judicial Council Of California Civil Jury Instruction 2210

Judicial Council Of California Civil Jury Instructions | July 2017 Update
By the Judicial Council of California Advisory Committee on Civil Jury Instructions

Economic Interference




                         2210 Affirmative Defense—Privilege to Protect Own Financial Interest


[Name of defendant] claims that there was no intentional interference with contractual relations because [he/she/it] acted
only to protect [his/her/its] legitimate financial interests. To succeed, [name of defendant] must prove all of the following:


1. That [name of defendant] had a [legitimate] financial interest in the contractual relations because [specify financial
   interest];

2. That [name of defendant] acted only to protect [his/her/its] own financial interest;

3. That [name of defendant] acted reasonably and in good faith to protect it; and

4. That [name of defendant] used appropriate means to protect it.

 New June 2016

Directions for Use

Give this instruction as an affirmative defense to a claim for intentional interference with contractual relations. (See
CACI No. 2201.) The defense presents a justification based on the defendant’s right to protect its own financial interest.

In element 1, the jury should be told the specific financial interest that the defendant was acting to protect. Include
“legitimate” if the jury will be asked to determine whether that financial interest was legitimate, as opposed perhaps to
pretextual or fraudulent.


Sources and Authority

   • “In harmony with the general guidelines of the test for justification is the narrow protection afforded to a party
      where (1) he has a legally protected interest, (2) in good faith threatens to protect it, and (3) the threat is to protect
      it by appropriate means. Prosser adds: ‘Where the defendant acts to further his own advantage, other distinctions
      have been made. If he has a present, existing economic interest to protect, such as the ownership or condition
      of property, or a prior contract of his own, or a financial interest in the affairs of the person persuaded, he is
      privileged to prevent performance of the contract of another which threatens it; and for obvious reasons of policy
      he is likewise privileged to assert an honest claim, or bring or threaten a suit in good faith.’ ” (Richardson v. La
      Rancherita (1979) 98 Cal.App.3d 73, 81 [159 Cal.Rptr. 285], internal citation omitted.)
   • “Justification for the interference is an affirmative defense and not an element of plaintiff's cause of
     action.” (Richardson, supra, 98 Cal.App.3d at p. 80.)
   • “Something other than sincerity and an honest conviction by a party in his position is required before justification
      for his conduct on the grounds of ‘good faith’ can be established. There must be an objective basis for the belief
      which requires more than reliance on counsel.” (Richardson, supra, 98 Cal.App.3d at pp. 82−83.)


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    • “A thoroughly bad motive, that is, a purpose solely to harm the plaintiff, of course, is sufficient to exclude any
       apparent privilege which the interests of the parties might otherwise create, just as such a motive will defeat the
       immunity of any other conditional privilege. If the defendant does not act in a bona fide attempt to protect his
       own interest or the interest of others involved in the situation, he forfeits the immunity of the privilege. … Conduct
       is actionable, when it is indulged solely to harm another, since the legitimate interest of the defendant is practically
       eliminated from consideration. The defendant's interest, although of such a character as to justify an invasion of
       another's similar interest, is not to be taken into account when the defendant acts, not for the purpose of protecting
       that interest, but solely to damage the plaintiff.” (Bridges v. Cal-Pacific Leasing Co. (1971) 16 Cal.App.3d 118,
       132 [93 Cal.Rptr. 796], original italics.)

Secondary Sources

5 Witkin, Summary of California Law (10th ed. 2005) Torts, § 760

3 Levy et al., California Torts, Ch. 40, Fraud and Deceit and Other Business Torts, § 40.119 (Matthew Bender)

49 California Forms of Pleading and Practice, Ch. 565, Unfair Competition, § 565.137 (Matthew Bender)

12 California Points and Authorities, Ch. 122, Interference, § 122.42 et seq. (Matthew Bender)



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REGULATION


The Next Battle in Antitrust Will
Be About Whether One Company
Knows Everything About You
by Bala Iyer, Mohan Subramaniam, and U. Srinivasa Rangan
JULY 06, 2017




Vincent Tsui for HBR



Google’s battle with the European Union has come to a head. On June 27 this year the EU ﬁned
Google $2.7 billion for alleged monopolistic or unfair trade practices. Google has appealed and is
now preparing its defense. The EU’s case asserts, among other things, that Google unfairly exploits
its dominance in search engines and smartphone operating systems to restrict competition in
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shopping services, ad placement services, and smartphone app store markets. In an earlier article,
two of us (Bala and Srinivasa) provided a context to understand the respective argument of the EU
and Google using the lens of digital-age markets. We highlighted how antitrust, the underpinnings
of which are based on industrial-age economic theories, needs new thinking in the digital age to
ensure that antitrust policies continue to remain eﬀective guardians of consumer welfare without
inadvertently impeding economic progress.


But as important as today’s antitrust questions are, regulators shouldn’t lose sight of the bigger
picture. The coming battle in antitrust will not be about controlling markets in the traditional sense.
It will be about the battle for control over consumers’ information. The tech titans are currently in a
race to see which of them can build a better digital replica of their consumers, which means ﬁnding
a way to not just collect user data but also make it harder for competitors to do so. Tomorrow’s
monopolies won’t be able to be measured just by how much they sell us. They’ll be based on how
much they know about us and how much better they can predict our behavior than competitors.


How Monopoly Has Typically Worked
Monopolies were easier to deﬁne within well-circumscribed industries. Concentration ratios or
assessments of dominance based on relative market shares were straightforward to measure. More
important, the anticompetitive or anticonsumer welfare eﬀects of any such monopolistic structures
were easier to pin down. For example, Standard Oil’s monopoly in the oil industry could be directly
tied price gouging within that industry. However, digital markets do not follow the contours of
conventional industry structures. They evolve more as interlocking ecosystems, and it’s often
diﬃcult to determine how a monopoly position in one part of that ecosystem aﬀects the rest of
it. Based on observable market shares, the EU is correct in its claim that Google has a monopoly in
search and smartphone OS. But evidence of its anticonsumer welfare eﬀects is not clear-cut within
those speciﬁc areas. In fact, Google gives those services away for free. Moreover, Google will most
likely argue that its search engine has made e-commerce more eﬃcient for consumers despite
bundling it with AdSense and that its Android operating system has helped make smartphones and
apps more ubiquitous and cheap despite bundling them with the Play Store. Essentially its case will
rest on the tenuousness of the link between monopoly in one part of an interlocking ecosystem or
technology stack and anticompetitive eﬀects, if any, on another.
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The tenuousness between monopolies and their anticonsumer welfare eﬀects introduced by digital
markets is only going to increase in the coming years. The next battle for monopoly may no longer
be in observable markets or tangible parts of an interlocking ecosystem such as search or operating
systems. And it may become even more diﬃcult to tie any of the detrimental eﬀects of these new
monopolies to any speciﬁc company, market, or ecosystem. This new battle is for control of the
digital replica of every individual. Google, Facebook, Amazon, and other such digital titans are
already battling for dominance in this realm, ﬁghting over who possesses a more complete digital
replica of most individuals. As this battle intensiﬁes, even the titans themselves may not have the
necessary metrics to accurately gauge their relative dominance. And antitrust enforcers are a long
way from being equipped to guard against its potential anticompetitive eﬀects. Yet this is where the
digital world is taking us.


What Is a Digital Replica?
A digital replica is a digital representation of an individual, object, or asset. Such a representation is
constructed based on an individual, object, or asset’s interactions with its environment. In physical
objects and assets, the concept has recently picked up steam with the easy availability of sensors
and internet-of-things (IoT) connectivity. For instance, GE reportedly has 66,000 jet engine,
locomotive, and turbine assets, each of which has a unique digital replica. The digital replica of its
jet engine, for instance, relies on a variety of sensors that capture and transmit detailed information
as the jet engine operates. This information is processed on a platform (Predix) using advanced
modeling techniques. As a consequence, GE not only gets accurate predictions of how each
component in the jet engine is faring but also is able to optimize the operation of the jet engine for
maximum eﬃciency. The more elaborate and accurate the sensors, and the more the asset operates
and interacts with its environment, the more precise its digital replica becomes. Using digital
replicas, GE oﬀers its customers new services such as predictive maintenance, which helps them
plan for maintenance before a critical part of the engine breaks down. GE also oﬀers outcome-based
pricing, appropriating a part of the cost savings in fuel because of increased eﬃciency in the
engine’s performance.


Digital replicas are found in a growing number of physical assets, such as mattresses, toothbrushes,
cars, excavators, CT scanners, dishwashers, and refrigerators. As most of such assets have a ﬁnite
range of functions and interactions with their environments, it is understandable that the ﬁrms
that own and operate them also have complete control over their digital replicas. Individuals,
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however, are far more complex than physical assets; their digital replicas understandably are much
harder to construct and control. Yet because of the ubiquity of e-commerce platforms, social media,
IoT devices, smartphone apps, and the internet, most individuals leave substantial digital traces of
their preferences, behaviors, and personas. They do so because the more intricate information they
provide about themselves, the more customized services they get in return. This provides the digital
titans with an unprecedented opportunity to collect all possible facets of this information and to
construct as complete a digital replica as possible for every individual, one that most closely
predicts peoples’ behavior. The company that monopolizes this realm will wield far more power
than what we have seen thus far.


How Do the Digital Titans Create Individual Digital Replicas?
When Google developed its search engine, it probably never thought that it would start a journey
toward building digital replicas for individuals. Every search we conduct oﬀers select facets of our
persona to Google. Similarly, every movie we watch through Netﬂix, every question we ask Alexa or
Siri, and every interaction we have with our friends on Facebook imparts diﬀerent slices of our
persona, each contributing to a full digital replica of ourselves built by a digital titan. It is not
surprising that these titans are trying everything they can think of to capture diﬀerent facets of our
personas. This in part explains many of their new forays outside of traditional tech services into
domains such as automobiles and health care. A car can provide a treasure trove of information
about our behavior. Most industrial-age ﬁrms, despite venturing into digital replicas, appear more
interested in embellishing their traditional product sales and services. GE may make its dishwashers
and refrigerators more attractive because of predictive maintenance features through its digital
replicas. By contrast, a digital titan such as Amazon appears more interested in how we interact with
a whole host of appliances and other objects in our homes through Alexa.


Historically, many ﬁrms have had deep knowledge about only speciﬁc facets of an individual’s life.
For example, ﬁnancial institutions knew the ﬁnancial lives of their customers; retailers accumulated
knowledge about their customers’ buying habits; and even libraries had information on users’
reading habits. What they lacked, however, was a composite knowledge about individuals that came
through the pooling of such information. Since competition was sector by sector, ﬁrms did not have
the incentive to pool such information. Moreover, pooling disparate information was an onerous
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task, and no ﬁrm had the desire to expend resources on such an eﬀort. In other words, the analog
versions of digital replicas were only partial pictures of individuals possessed by diﬀerent market
participants.


The arrival of the digital age has changed this picture completely. Digital titans like Google, Amazon,
and Facebook now recognize that having a complete digital replica is not only desirable but also
feasible. It is desirable because of enormous cross-selling and cross-advertising opportunities that
would accrue for the ﬁrm that gets there ahead of others. It is becoming feasible because of how
digitization has enveloped our lives, how we routinely leave digital traces as we interact in the
digital world, and through technologies, such as APIs, that are making it easier for companies to
share or access diﬀerent slices of information that they possess.


What Are the Implications?
If access to high-quality data on customer preferences is what companies are seeking, the ability to
collect, connect, and integrate data from various sources will become the new competitive moat.
This moat will restrict other competitors from gaining access to and control over individual digital
replicas. Such new-age monopolies may not be visible through traditional industry concentration
measures, but they will wield tremendous inﬂuence over consumers. Their allure will be their
ability to provide unprecedented personalization based on the information they hold. Yet with such
personalization customers may be restricted to see only what the provider wants them to see.


Monopolies in traditional markets are easy to detect. But a monopoly in who gets access to how
individuals think, behave, and make day-to-day decisions is not. Individuals getting lured into
providing monopoly access to their digital replicas because of the convenience of personalized
services may never realize that their choices are being made not by them but by their providers.


What Are Some Remedies?
Customers could try to control their identifying information and be careful about what access they
provide to companies when they are in the market for a product or service. However, that’s easier
said than done. The more that personalization kicks in, the more we will expect sharing information
to be the new norm.
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Regulators will need to understand how to detect and prevent digital-age monopolies that
enable control over individual digital replicas. While they should continue to watch out for mergers,
acquisitions, and alliances that lead to market consolidation, regulators’ attention should also be
trained on eﬀorts to consolidate access to information, enabling only a few ﬁrms to piece together
full individual digital replicas. More important, they should also be watching out for how ﬁrms
manage their APIs. These tactics may not be as visible as alliances or mergers, but they are potent
tools for data integration and piecing together digital replicas.


Governments can control the infrastructure that provides identity services, with which they
can prevent any one company from having a complete digital replica. The Indian government, with
its Aadhaar card and UPI services, is one such example. With this control, the government can seek
users’ permission before allowing the search provider to integrate information.


Digital titans can create a protocol to share information and prevent anyone from getting an unfair
advantage. This doesn’t address privacy concerns, but it would go a long way toward assuaging our
fears about this new form of information monopoly. When search results are provided, the titan
should show the sources from which the information is gathered. This type of transparency will
allow the customer to determine the sources of bias in the information provided.


In sum, data acquisition for digital replicas can manifest itself in many forms. These quests for data
may pose major challenges for regulatory authorities keen on maintaining a well-functioning market
system. As digital titans expand their reach and ownership of data across multiple domains, they
may create a world where the atomistic competition so beloved by economists may become
impossible.




                  Bala Iyer is a professor and chair of the Technology, Operations, and Information Management
                  Division at Babson College in Wellesley, Massachusetts. Follow him on Twitter @BalaIyer.
                CaseMohan    Subramaniam
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                                           is an associate      07/20/17
                                                           professor         Page
                                                                     of strategy    186 of College’s
                                                                                 at Boston 187       Carroll
                     School of Management. Follow him on Twitter @emsub57.




                     U. Srinivasa Rangan holds the Luksic Chair Professorship in Strategy and Global Studies at
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